AR005471
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                                                                                            Received: November 07, 2019
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                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: Web

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2706
      Comment Submitted by Carlos Whetten



                                                  Submitter Information
      Name: Carlos Whetten


                                                      General Comment
      I am an immigration attorney representing immigrants in Las Vegas, Nevada, including those seeking asylum.
      The vast majority of my clients asking for asylum have a genuine fear of returning to their country because of
      past persecution and the threat of future persecution. Under current U.S. and international law, they have the
      right to seek asylum in our country. This proposed rule change is part and parcel of this administrations effort to
      make the U.S. a hostile destination for individuals fleeing persecution in their countries of origin. This is
      evidenced by this rule change as well as the third-country transit bar, the proposed wide-sweeping public charge
      rule, and the institution of the so-called Migrant Protection Protocols. By removing the ability of asylum seekers
      to gain meaningful employment within a short and predictable timeframe, the Trump Administration effectively
      turns asylum seekers into the very public charges it seeks to exclude. Additionally, this policy change would
      make the work authorization process more unpredictable and inefficient by removing the ability to hold USCIS
      accountable to any deadline.Asylum seekers would lose wages and benefits as a result of delayed entry into the
      U.S. labor force, straining their ability to support themselves and their families. USCIS admits that lost
      compensation to asylum applicants ranges from $255.88 million to $774.76 million in taxable income per year.
      The loss of income to asylum-seekers will cause an outsized amount of harm to this already-vulnerable
      community. A lack of income means not being able to afford food, housing, medical treatment, health insurance,
      or legal representation. Furthermore, individuals will be unable to secure a valid ID (needed for many social
      services) and be increasingly vulnerable to exploitation, trafficking, and underground economic risks. The lack
      of ability to work and correlating lack of income also vastly increases the risk that people coming to the United
      States will become a public charge.




                                                                                                               AR005472
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2707
      Comment Submitted by Christine Hollister



                                                  Submitter Information
      Name: Christine Hollister


                                                      General Comment
      The Left is supporting a system that jeopardizes our national security just because some bureaucrat came up with
      an arbitrary timeline. This has to change and it must change now.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2708
      Comment Submitted by Lina Shayo, Mesa Law



                                                  Submitter Information
      Name: Lina SHAYO
      Address:
        15 Stark Street
        Manchester, NH, 03101
      Organization: Mesa Law


                                                      General Comment
      DHS Docket No. USCIS-2018-0001.
      Asylum seekers turn to the U.S. for a safe haven and protection. This rule to eliminate the 30-day processing
      time for work authorization will undermine asylum seekers abilities to sustain themselves. The proposed rule
      change will allow DHS to have unlimited time to decide if and when asylum seekers will be issued work
      authorization, during which time asylum seekers would have no means of supporting themselves and be forced to
      wait and survive on the charity of others. The Rule will only compound the devastating delays that many asylum
      seekers face. DHS, which suffers backlogs in almost every benefit category, will have no incentive to issue a
      prompt decision. Further, as described below, the Rule is not in the economic interest of the United States which
      benefits greatly from the contributions of refugees and asylum seekers. It compounds the impact of the already
      lengthy 180-day waiting period before asylum seekers are eligible for work authorization and is unnecessary
      given that DHS has shown itself capable of near-complete compliance with the 30-day adjudication requirement.
      DHSs argument that the proposed rule is due in part to fraud concerns is contradictory since DHS should want to
      expedite EAD determinations and quickly vet applications, as it currently does, to detect and investigate any
      concerns about applications rather than create extensive delays.

      Preventing asylum seekers from securing lawful employment is not in the United States economic interest
      Ensuring that asylum seekers can secure lawful employment as soon as possible is in the economic interest of the
      United States. According to the Department of Health and Human Services, refugees and their family members
      contributed more than $343 billion in revenue to federal, state and local coffers. On balance, refugees contributed
      $63 billion more than they received in benefits from various programs. The U.S. economy benefits greatly from
      this population that works so hard when given a chance and permission to work. According to the Brookings
      Institute, refugees and asylum seekers engage in entrepreneurship at much higher rates than U.S. born
                                                                                                               AR005474
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      individuals. In the U.S., for example, while immigrants are 15 percent of the population, they represent 25
      percent of entrepreneurs. Small businesses and the jobs they create are the engines of growth, innovation, and
      economic stability of the United States. Given the fact that asylum seekers are fleeing persecution in their home
      countries, the vast majority do not have sufficient resources to support themselves and their families for the
      duration of their immigration proceedings. The rule to eliminate the 30-day adjudication requirement would
      impose additional hardship on asylum seekers because they would face uncertainty and inconsistency in DHS
      processing. The proposed Rule would prevent asylum seekers from being able to support themselves and their
      loved ones through lawful employment.

      Eliminating the 30-day adjudication requirement would result in extensive waiting periods for asylum seekers to
      be issued employment authorization Asylum seekers already bear the burden of government back-logs and
      adjudication delays. Even with a return to the Asylum Offices processing of First in, First out, asylum applicants
      face great difficulties in getting their cases heard. When a decision on an asylum seekers' case is delayed, it
      negatively impacts their ability to provide for themselves, support family, and build a life here in the United
      States. Many asylum seekers wait months, if not years, for their cases to be heard and then adjudicated. Asylum
      seekers are already required to wait a lengthy period of 180-days before they are eligible for work authorization.
      During this time, as mentioned above, they rely on others for support to survive. Removing the 30-day
      processing time requirement would cause significant harm to already vulnerable individuals. Without a time limit
      for processing initial applications, DHS would have no incentive to adjudicate these cases on time and asylum
      seekers who are statutorily eligible to work would be unable to do so for an unknowable period. We already see
      asylum seekers face significant barriers while waiting for the employment documents to be renewed. Eliminating
      the 30-day processing requirement would place initial EAD eligible asylum seekers in the same uncertain
      waiting period as renewal applicants, but it would be far worse for asylum seekers who were applying for work
      authorization for the first time as they would not have the ability to sustain themselves. At least for asylum
      seekers who are renewing work authorization, they have the benefit of the 180-day auto-extension while DHS
      manages its backlog and processing delays. The ability to obtain an EAD within 30 days of filing is life-changing
      for asylum seekers who have already waited 150 days to apply. This rule should not be changed.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2709
      Comment Submitted by Barbara Schrubbe



                                                  Submitter Information
      Name: Barbara Schrubbe


                                                      General Comment
      Please help President Trump secure Americas safety by removing the arbitrary bureaucratic timeline.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2710
      Comment Submitted by Lea Phillips



                                                  Submitter Information
      Name: Lea Phillips


                                                      General Comment
      Please support immigration reform.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2711
      Comment Submitted by Clair Evans



                                                  Submitter Information
      Name: clair evans


                                                      General Comment
      Tell Washington to Support President Trump's Immigration Reforms!




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2712
      Comment Submitted by Janet Hutson



                                                  Submitter Information
      Name: Janet Hutson


                                                      General Comment
      We stand behind you President Trump




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2713
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      I am an immigration lawyer in both private and non-profit practice. My interest in the proposed rule is to see that
      asylum seekers and the US economy are not needlessly harmed.

      Asylum seekers would lose wages and benefits as a result of delayed entry into the U.S. labor force, straining
      their ability to support themselves and their families. USCIS admits that lost compensation to asylum applicants
      ranges from $255.88 million to $774.76 million in taxable income per year. The loss of income to asylum-
      seekers will cause an outsized amount of harm to this already-vulnerable community. A lack of income means
      not being able to afford food, housing, medical treatment, health insurance, or legal representation. Furthermore,
      individuals will be unable to secure a valid ID (needed for many social services) and be increasingly vulnerable
      to exploitation, trafficking, and underground economic risks. The lack of ability to work and correlating lack of
      income also vastly increases the risk that people coming to the United States will become a public charge.

      Further, USCIS admits that all levels of government will lose tax revenue as a result of the proposed rule change.
      USCIS projects a loss of $39.15 million to $118.54 million per year because delayed work authorization will
      prevent asylum seekers and their employers from contributing to Medicare and social security.

      Finally, this proposed rule should never be implemented because the government handles these work
      authorizations within 30 days pursuant to a court order.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2714
      Comment Submitted by Nora Searle



                                                  Submitter Information
      Name: Nora Searle


                                                      General Comment
      I am deeply disturbed and concerned by this proposed rule. I work in the immigration field and I know the
      enormous impact that employment authorization has on the lives of asylum seekers.

      Delays in asylum seekers getting their work authorization (Employment Authorization Document or "EAD")
      approval can lead to:

      Lost income to the asylum seeker and their family
      Food insecurity
      Inability to secure a valid ID. A work permit and a social security number (SSN) are often necessary
      requirements to applications for a state ID.
      Risk of homelessness/housing insecurity
      Inability to access health insurance (most state ACA health exchanges require a SSN and work authorization
      materials to qualify)
      Vulnerability to exploitation, trafficking, and underground economy risks
      Lack of access to community service agencies, shelters, and social service programs (many of whom require
      some form of valid ID, proof of residency, or proof of income)
      Loss of ability to support themselves and their families
      Feelings of fear, desperation, and overall mental health concerns




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2715
      Comment Submitted by Cynthia Mazariegos



                                                  Submitter Information
      Name: Cynthia Mazariegos
      Address:
        2527 North menard Ave
        Chicago, IL, 60639


                                                      General Comment
      Asylum seekers would lose wages and benefits as a result of delayed entry into the U.S. labor force, straining
      their ability to support themselves and their families. USCIS admits that lost compensation to asylum applicants
      ranges from $255.88 million to $774.76 million in taxable income per year. The loss of income to asylum-
      seekers will cause an outsized amount of harm to this already-vulnerable community. A lack of income means
      not being able to afford food, housing, medical treatment, health insurance, or legal representation. Furthermore,
      individuals will be unable to secure a valid ID (needed for many social services) and be increasingly vulnerable
      to exploitation, trafficking, and underground economic risks. The lack of ability to work and correlating lack of
      income also vastly increases the risk that people coming to the United States will become a public charge.
      Lost Tax Revenue for the Government. USCIS admits that all levels of government will lose tax revenue as a
      result of the proposed rule change. USCIS projects a loss of $39.15 million to $118.54 million per year because
      delayed work authorization will prevent asylum seekers and their employers from contributing to Medicare and
      social security.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2716
      Comment Submitted by Rebecca Sosa



                                                  Submitter Information
      Name: Rebecca Sosa


                                                      General Comment
      Please consider keeping the 30-day deadline for USCIS to adjudicate work authorizations. Allowing asylum
      seekers to obtain work authorization quickly benefits all Americans from the American worker to the individual
      asylum seeker, and reduces risk of exploitation to the most vulnerable among us.

      Harm Caused to Asylum Seekers. Asylum seekers would lose wages and benefits as a result of delayed entry into
      the U.S. labor force, straining their ability to support themselves and their families. USCIS admits that lost
      compensation to asylum applicants ranges from $255.88 million to $774.76 million in taxable income per year.
      The loss of income to asylum-seekers will cause an outsized amount of harm to this already-vulnerable
      community. A lack of income means not being able to afford food, housing, medical treatment, health insurance,
      or legal representation. Furthermore, individuals will be unable to secure a valid ID (needed for many social
      services) and be increasingly vulnerable to exploitation, trafficking, and underground economic risks. The lack
      of ability to work and correlating lack of income also vastly increases the risk that people coming to the United
      States will become a public charge.

      Lost Tax Revenue for the Government. USCIS admits that all levels of government will lose tax revenue as a
      result of the proposed rule change. USCIS projects a loss of $39.15 million to $118.54 million per year because
      delayed work authorization will prevent asylum seekers and their employers from contributing to Medicare and
      social security.

      thank you




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2717
      Comment Submitted by Andrea Duron



                                                  Submitter Information
      Name: ANDREA DURON


                                                      General Comment
      Lost Tax Revenue for the Government. USCIS admits that all levels of government will lose tax revenue as a
      result of the proposed rule change. USCIS projects a loss of $39.15 million to $118.54 million per year because
      delayed work authorization will prevent asylum seekers and their employers from contributing to Medicare and
      social security.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2718
      Comment Submitted by Gen Kimura



                                                  Submitter Information
      Name: Gen Kimura
      Address:
        12910 Memorial Dr
        Houston, 77079-7303
      Email: gkimura@outlook.com
      Phone: 8322476932


                                                      General Comment
      In the notice, USCIS makes frequent reference to a rise in national security threats as a reason to spend more
      time and resources on each decision. However, USCIS has reported that it has been able to decide over 99% of
      EADs within the 30-day timeframe for over the past year. Therefore, USCIS has proven its ability to adequately
      vet the amount of requests in a timely fashion. Moreover, its argument regarding increased threats serves only to
      prompt the need for a speedier process to properly protect national security, rather than its request to delay the
      process further. This need for a speedier process is further compounded by the fact that the EAD applicants are
      asylum-seekers already residing in the United States. If vetting must be done to prevent security risks, then
      having unvetted people in the U.S. subjected to a potentially indefinite review period seems contrary to the
      departments stated interests.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2719
      Comment Submitted by Richard Wheeler



                                                  Submitter Information
      Name: Richard Wheeler


                                                      General Comment
      As a citizen of the United States it is of the most importance that we protect &amp; secure our borders and to vet
      all who wish to enter our country.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2720
      Comment Submitted by Dale Mahaffey



                                                  Submitter Information
      Name: Dale Mahaffey


                                                      General Comment
      Washington needs to support President Trumps immigration reforms.




                                                                                                               AR005487
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2721
      Comment Submitted by Evelyn Snow



                                                  Submitter Information
      Name: evelyn snow


                                                      General Comment
      Please tell Washington to support president Trump's immagration reforms! Evelyn




                                                                                                               AR005488
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2722
      Comment Submitted by Danny Maness



                                                  Submitter Information
      Name: Danny Maness


                                                      General Comment
      Please support Trump with immigration reform. God has told us to protect our lands. Praise God and support our
      president




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                                                                                            Comments Due: November 08, 2019
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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2723
      Comment Submitted by Tracie Klinke



                                                  Submitter Information
      Name: Tracie Klinke


                                                      General Comment
      Lost Tax Revenue for the Government. USCIS admits that all levels of government will lose tax revenue as a
      result of the proposed rule change. USCIS projects a loss of $39.15 million to $118.54 million per year because
      delayed work authorization will prevent asylum seekers and their employers from contributing to Medicare and
      social security.

      Increased Delay Contrary to National Security Interests. In the notice, USCIS makes frequent reference to a rise
      in national security threats as a reason to spend more time and resources on each decision. However, USCIS has
      reported that it has been able to decide over 99% of EADs within the 30-day timeframe for over the past year.
      Therefore, USCIS has proven its ability to adequately vet the amount of requests in a timely fashion. Moreover,
      its argument regarding increased threats serves only to prompt the need for a speedier process to properly protect
      national security, rather than its request to delay the process further. This need for a speedier process is further
      compounded by the fact that the EAD applicants are asylum-seekers already residing in the United States. If
      vetting must be done to prevent security risks, then having unvetted people in the U.S. subjected to a potentially
      indefinite review period seems contrary to the departments stated interests.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2724
      Comment Submitted by Juan Mendez



                                                  Submitter Information
      Name: Juan Mendez


                                                      General Comment
      DHS Docket No. USCIS-2018-0001 ("The Rule") will have significant and long-lasting negative effects on the
      ability of PAIRs asylum clients to support themselves and their loved ones while they are waiting for their claims
      to be heard. By definition, an asylum seeker is an individual who has suffered grave harm, including torture and
      sexual violence on account of a statutory protected ground, and who flees his or her home country with very few
      possessions and little support or financial resources. Asylum seekers turn to the U.S. for a safe haven and
      protection. This rule to eliminate the 30-day processing time for work authorization will undermine asylum
      seekers abilities to sustain themselves. The Rule will allow DHS to have unlimited time to decide if and when
      asylum seekers will be issued work authorization, during which time asylum seekers would have no means of
      supporting themselves and be forced to wait and survive on the charity of others. The Rule will only compound
      the devastating delays that many asylum seekers face. DHS, which suffers backlogs in almost every benefit
      category, will have no incentive to issue a prompt decision. Further, the Rule is not in the economic interest of
      the United States which benefits greatly from the contributions of refugees and asylum seekers. It compounds the
      impact of the already lengthy 180-day waiting period before asylum seekers are eligible for work authorization
      and is unnecessary given that DHS has shown itself capable of near complete compliance with the 30-day
      adjudication requirement. DHSs argument that the proposed rule is due in part to fraud concerns is contradictory
      since DHS should want to expedite EAD determinations and quickly vet applications, as it currently does, to
      detect and investigate any concerns about applications rather than create extensive delays. Preventing asylum
      seekers from securing lawful employment is not in the United States economic interest Ensuring that asylum
      seekers can secure lawful employment as soon as possible is in the economic interest of the United States.

      According to the Department of Health and Human Services, refugees and their family members contributed
      more than $343 billion in revenue to federal, state and local coffers. On balance, refugees contributed $63 billion
      more than they received in benefits from various programs. The U.S. economy benefits greatly from this
      population that works so hard when given a chance and permission to work. According to the Brookings
      Institute, refugees and asylum seekers engage in entrepreneurship at much higher rates than U.S. born
      individuals. In the U.S., for example, while immigrants are 15 percent of the population, they represent 25
                                                                                                               AR005491
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      percent of entrepreneurs. Small businesses and the jobs they create are the engines of growth, innovation, and
      economic stability of the United States. Given the fact that asylum seekers are fleeing persecution in their home
      countries, the vast majority do not have sufficient resources to support themselves and their families for the
      duration of their immigration proceedings. The rule to eliminate the 30-day adjudication requirement would
      impose additional hardship on asylum seekers because they would face uncertainty and inconsistency in DHS
      processing. It would prevent asylum seekers from being able to support themselves and their loved ones through
      lawful employment. Eliminating the 30-day adjudication requirement would result in extensive waiting periods
      for asylum seekers to be issued employment authorization Asylum seekers already bear the burden of
      government back-logs and adjudication delays. Even with a return to the Asylum Offices processing of First in,
      First out, asylum applicants face great difficulties in getting their cases heard. When a decision on an asylum
      seekers case is delayed, it negatively impacts their ability to provide for themselves, support family, and build a
      life here in the United States. Many asylum seekers wait months, if not years, for their cases to be adjudicated.
      Asylum seekers are already required to wait a lengthy period of 180-days before they are eligible for work
      authorization. During this time, they rely on others for support to survive. Removing the 30-day processing time
      requirement would cause significant harm to already vulnerable individuals. Without a time limit for processing
      initial applications, DHS would have no incentive to adjudicate these cases in a timely manner and asylum
      seekers who are eligible to work would be unable to do so for an unknowable period of time. Asylum seekers
      already face significant barriers while waiting for the employment documents to be renewed. Eliminating the 30-
      day processing requirement would place initial EAD eligible asylum seekers in the same uncertain waiting
      period as renewal applicants, but it would be far worse for those applying for work authorization for the first time
      as they would not have the ability to sustain themselves.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2725
      Comment Submitted by Diana McFarland



                                                  Submitter Information
      Name: Diana McFarland


                                                      General Comment
      USCIS admits that all levels of government will lose tax revenue as a result of the proposed rule change. USCIS
      projects a loss of $39.15 million to $118.54 million per year because delayed work authorization will prevent
      asylum seekers and their employers from contributing to Medicare and social security.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2726
      Comment Submitted by Nayeli Luna



                                                  Submitter Information
      Name: Nayeli Luna


                                                      General Comment
      I write to you to express my comments on the new proposed rule to eliminate the 30-day processing times for
      initial employment authorization documents for asylum seekers. This rule does not appear to be in the spirit of
      humanitarian assistance to those fleeing persecution.
      Because asylum seekers are not employment eligible until their application has been pending for 180 days, many
      meritless cases are adjudicated before this time and generally cases that have been pending for 180 days have
      merit. The proposed rule change appears to be part of this administrations efforts to make the US a hostile
      destination for families fleeing persecution.
      Many individuals seeking asylum are families and the lack of income that this rule intents to inflict means not
      being able to afford food, housing, medical treatment, health insurance, or legal representation. Furthermore,
      allowing individuals to apply for employment authorization allows them to obtain drivers licenses, insurance and
      other necessary documents. This in turn protects US citizens by insuring that all drivers are properly vetted and
      insured.
      This proposed regulation is not in the best interest of American citizens or immigrants and it appears to further
      the anti-immigrant sentiment that has sadly become a characteristic of this administration.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2727
      Comment Submitted by Lee Halverson



                                                  Submitter Information
      Name: Lee HALVERSON


                                                      General Comment
      Support our President on Immigration reform




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2728
      Comment Submitted by Laura Sanchez



                                                  Submitter Information
      Name: Laura Sanchez


                                                      General Comment
      My name is Laura Sanchez and I am an immigration attorney at a non-profit in San Francisco, CA. I am
      submitting my comment against this proposed rule change.

      This proposed rule change is part and parcel of this administrations effort to make the U.S. a hostile destination
      for individuals fleeing persecution in their countries of origin. This is evidenced by this rule change as well as the
      third-country transit bar, the proposed wide-sweeping public charge rule, and the institution of the so-called
      Migrant Protection Protocols. By removing the ability of asylum seekers to gain meaningful employment within
      a short and predictable timeframe, the Trump Administration effectively turns asylum seekers into the very
      public charges it seeks to exclude. Additionally, this policy change would make the work authorization process
      more unpredictable and inefficient by removing the ability to hold USCIS accountable to any deadline.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2729
      Comment Submitted by Rebecca P.



                                                  Submitter Information
      Name: Rebecca P.


                                                      General Comment
      I oppose this proposed rule. This proposed rule will harm asylum seekers and their families, and USCIS even
      estimates it will lead to $100s of millions of lost tax revenue.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2730
      Comment Submitted by Curtis Erdmann, CJ Lake, LLC on behalf of Alameda County Board of Supervisors



                                                  Submitter Information
      Name: Curtis Erdmann
      Submitter's Representative: Curtis Erdmann
      Organization: CJ Lake, LLC
      Government Agency Type: Local
      Government Agency: Alameda County Board of Supervisors


                                                      General Comment
      See attached file(s)



                                                            Attachments
      The Alameda County Board of Supervisors in California




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2731
      Comment Submitted by David Annicchiarico



                                                  Submitter Information
      Name: David Annicchiarico


                                                      General Comment
      I strongly oppose this. This proposed rule will harm asylum seekers and their families, and USCIS even
      estimates it will lead to $100s of millions of lost tax revenue. Bad for America.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2732
      Comment Submitted by Julia Dietz



                                                  Submitter Information
      Name: Julia Dietz


                                                      General Comment
      I am an immigration attorney who has been working with asylum seekers and other immigrants for
      approximately 8 years. I write to strongly oppose the proposed rule. As the situation stands, the 30-day
      adjudication timeline provides some measure of security and predictability to asylum seekers who are already
      some of the most vulnerable members of our communities. There is absolutely no benefit to further delaying
      receipt of employment authorization documents (EADs) by asylum seekers. Any spurious concerns that people
      are simply filing I-589s to get work permits has already been addressed by the 150-day wait period to apply.
      Introducing further delays and increased unpredictability into the process of obtaining a work permit only
      increases the time asylum-seeking families must rely on charity or other outside support (or worse, are barely
      able to get by, facing food insecurity, homelessness, etc.). Lack of work permits prevents them from gaining
      employment, supporting themselves, and spending into their local economies and the national tax base (note:
      USCIS admits that lost compensation to asylum applicants ranges from $255.88 million to $774.76 million in
      taxable income per year). Lack of a work permit also often means inability to gain a state ID or license, which
      can cause access issues for health care, community services, homeless shelters, and other necessary social
      supports.

      My clients have fled horrific situations in their homelands. For many, the decision to flee was one of life or
      death. Following the trauma they have endured, being able to work legally is even more important: it allows
      them to build some stability, feel productive and provide for their families and themselves.

      Furthermore, obtaining an EAD and a job is usually the only way asylum-seeking immigrants can afford to hire a
      lawyer for their asylum case. It is already unconscionable that non English-speaking asylum seekers - who have
      often gone through very minimal schooling if any - are forced to fend for themselves against a trained
      government lawyer just to seek protection. But to create further barriers to obtaining representation threatens the
      minimal due process afforded to immigrants in our immigration courts.

      Lastly, I think it's important as a nation that we turn away from the disgusting, hateful anti-immigrant agenda
                                                                                                               AR005506
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      advanced by the Trump Administration. This proposed rule is plainly part of the administration's inhumane plan
      to deter asylum seekers from seeking protection in the United States. This is evidenced by this proposed rule
      change as well as, e.g., the third-country transit bar, the proposed public charge rule, the cruel and unjust Migrant
      Persecution Protocols ("MPP"), family separation policies, and many other efforts this administration has made
      to deter the lawful human right to seek asylum. Ironically, by removing the ability of asylum seekers to gain
      meaningful employment within a short and predictable timeframe, the Trump Administration effectively turns
      asylum seekers into the very public charges it seeks to exclude.

      As an alternative to this proposed rule, and if the issue is that USCIS claims to need more than 30 days to
      adjudicate applications and vet applicants, then USCIS should simply allow applications to be submitted further
      in advance of the 180-day mark, such as at 120 days, which would allow 60 days for adjudication and vetting.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2733
      Comment Submitted by Dillon Colucci



                                                  Submitter Information
      Name: Dillon Colucci
      Address:
        1840 Century Park East
        19th Floor
        Los Angeles, CA, 90067
      Email: coluccid@gtlaw.com
      Phone: 3105867749


                                                      General Comment
      The government and the economy will lose valuable tax revenue as a result of the proposed rule change. USCIS
      projects a loss of $39.15 million to $118.54 million per year because delayed work authorization will prevent
      asylum seekers and their employers from contributing to Medicare and social security. That is unjustifiable from
      a regulatory perspective.

      As the law is currently written, asylum seekers must wait 180 days before they may be granted authorization to
      work. They are permitted to submit their application after 150 days, giving USCIS the 30-day timeframe in
      question to process the requests. If USCISs goal is to have more time to process each request in order to increase
      flexibility and free up resources to work on other applications, then it could easily shorten the waiting time
      before asylum-seekers are allowed to submit their application. If USCIS feels that a 60-day timeframe would be
      more beneficial, then it may allow applications to be submitted after 120 days, rather than 150. Allowing asylum-
      seekers to submit their applications earlier could allow the department to have up to 180 days to process and
      properly vet each individual while reducing the risk of harm to each applicant.

      This proposed rule change is part and parcel of this administrations effort to make the U.S. a hostile destination
      for individuals fleeing persecution in their countries of origin. This is evidenced by this rule change as well as the
      third-country transit bar, the proposed wide-sweeping public charge rule, and the institution of the so-called
      Migrant Protection Protocols. By removing the ability of asylum seekers to gain meaningful employment within
      a short and predictable timeframe, the Trump Administration effectively turns asylum seekers into the very
      public charges it seeks to exclude. Additionally, this policy change would make the work authorization process
                                                                                                               AR005508
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      more unpredictable and inefficient by removing the ability to hold USCIS accountable to any deadline.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2734
      Comment Submitted by Vilda Mayuga, New York Department of State



                                                  Submitter Information
      Name: Vilda Mayuga


                                                      General Comment
      The New York Department of State (DOS) opposes the proposed rule change as outlined in the Department of
      Homeland Security (DHS) Notice of Proposed Rulemaking (NPRM), Removal of 30-Day Processing Provision
      for Asylum Applicant-Related Form I-765 Employment Authorization Applications.

      DOS oversees the Office for New Americans (ONA), the nations first statutorily-created state-level immigrant
      services office dedicated to helping immigrants successfully integrate into New Yorks communities and fully
      participate in New York States civic and economic life. ONA offers a variety of programs and tools to welcome
      immigrants and facilitate their success. Since its inception, ONA has fostered the economic, social, and cultural
      integration of immigrants through access to English-for-Speakers-of-Other-Languages (ESOL) training,
      preparation for the naturalization process, connections to business resources, and development and leveraging of
      employment enhancing opportunities and professional skills. ONAs programs have allowed over 350,000
      immigrants, including asylees/refugees, to participate in and contribute to the economic and social well-being of
      New York State.

      DHSs proposed changes would increase the amount of time that asylum applicants must wait in order to receive
      an Employment Authorization Document (EAD). Asylum applicants must already wait a significant period of
      time to receive an EAD because their application must have been pending for at least 150 days before they are
      eligible to apply for an EAD. By removing the 30-day processing time period for an EAD, asylum applicants will
      wait even longer periods of time before receiving work authorization. Given the vulnerable position this puts
      them in, asylum applicants who are desperate to earn an income may be more likely to become or remain
      homeless for a longer period of time and to be victimized by perpetrators of labor trafficking while waiting for
      their EAD.

      The proposed rule change will cause irreparable harm to ONA and the people of the State of New York by
      significantly limiting the ability of asylum seekers to earn an income, which would have severe consequences in
      their day-to-day lives and their abilities to perform tasks such as paying their rent, heating, and electricity;
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      purchasing healthy food for their children, including children who are U.S. citizens; and forgoing the use of
      necessary health and well-being life items. In addition, the rule change would impact ONAs ability to fulfill its
      obligations under State law and would require ONA and its partners to expend costs and take on other burdens it
      cannot recoup.

      As explained in detail below, we are concerned that the NPRM:

      Negatively impacts immigrants and their families in NYS by increasing the amount of time that asylum
      applicants must wait in order to receive an EAD, thus making it difficult for asylum applicants to earn an income
      while awaiting a decision on their application, and making them vulnerable for homelessness, labor trafficking,
      and other health impacts.

      Creates an administrative burden and interferes with ONAs ability to carry out its statutory obligation to provide
      new Americans with services to help them contribute to their community.

      Affects the ability of ONAs partners to provide assistance as outlined under their current state contracts,
      particularly in those service areas where they have demonstrated expertise, such as workforce development,
      ESOL training, etc.

      Compounds the chilling effect the change to the public charge rule published on August 14, 2019, has had on our
      community. Even during its current legal challenge, asylum seekers, while not affected by the changes to the
      public charge rule, because of a lack of income, may need to seek public benefits but may instead choose to
      forgo any type of assistance due to fear and misunderstanding about their eligibility for public benefits.
      For these reasons, we urge you to withdraw the proposed rule.




                                                            Attachments
      DOS-ONA comments on NPRM I-765 Asylum Applicants




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2735
      Comment Submitted by Marla Samora



                                                  Submitter Information
      Name: Marla Samora


                                                      General Comment
      I am an immigration attorney who represents asylum seekers. Asylum seekers would lose wages and benefits as a
      result of delayed entry into the U.S. labor force, straining their ability to support themselves and their families.
      USCIS admits that lost compensation to asylum applicants ranges from $255.88 million to $774.76 million in
      taxable income per year. The loss of income to asylum-seekers will cause an outsized amount of harm to this
      already-vulnerable community. A lack of income means not being able to afford food, housing, medical
      treatment, health insurance, or legal representation. Furthermore, individuals will be unable to secure a valid ID
      (needed for many social services) and be increasingly vulnerable to exploitation, trafficking, and underground
      economic risks. The lack of ability to work and correlating lack of income also vastly increases the risk that
      people coming to the United States will become a public charge. As the law is currently written, asylum seekers
      must wait 180 days before they may be granted authorization to work. They are permitted to submit their
      application after 150 days, giving USCIS the 30-day timeframe in question to process the requests. If USCISs
      goal is to have more time to process each request in order to increase flexibility and free up resources to work on
      other applications, then it could easily shorten the waiting time before asylum-seekers are allowed to submit their
      application. If USCIS feels that a 60-day timeframe would be more beneficial, then it may allow applications to
      be submitted after 120 days, rather than 150. Allowing asylum-seekers to submit their applications earlier could
      allow the department to have up to 180 days to process and properly vet each individual while reducing the risk
      of harm to each applicant.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2736
      Comment Submitted by Franz Elliott



                                                  Submitter Information
      Name: Franz Elliott


                                                      General Comment
      Do not play with our national security, take the necessary time to do this right




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2737
      Comment Submitted by Natalia Mercado Violand, Ropes & Gray LLP



                                                  Submitter Information
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      Organization: Ropes & Gray LLP


                                                      General Comment
      I, through my employer Ropes & Gray LLP, have provided pro bono legal services to indigent asylum seekers.
      For all of these clients, we submitted Employment Authorization Document (EAD) applications. I submit these
      comments in opposition to the Proposed Rule Removal of 30-Day Processing Provision for Form I-765 (c)(8)
      Employment Authorization Applications (Sep. 9, 2019), DHS Docket No. USCIS-2018-0001 (hereinafter, the
      Rule). The Rule would eliminate the requirement that DHS adjudicate initial requests for employment
      authorization by asylum applicants within 30-days of filing.

      The Rule is not in the economic interest of the United States which benefits greatly from the contributions of
      refugees and asylum seekers. It compounds the impact of the already lengthy 180-day waiting period before
      asylum seekers are eligible for work authorization and is unnecessary given that DHS has shown itself capable of
      near complete compliance with the 30-day adjudication requirement. DHSs argument that the proposed rule is
      due in part to fraud concerns is contradictory since DHS should want to expedite EAD determinations and
      quickly vet applications, as it currently does, to detect and investigate any concerns about applications rather than
      create extensive delays.

      Ensuring that asylum seekers can secure lawful employment as soon as possible is in the economic interest of the
      United States. According to the Department of Health and Human Services, refugees and their family members
      contributed more than $343 billion in revenue to federal, state and local coffers. On balance, refugees contributed
      $63 billion more than they received in benefits from various programs. The U.S. economy benefits greatly from
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      this population that works so hard when given a chance and permission to work. According to the Brookings
      Institute, refugees and asylum seekers engage in entrepreneurship at much higher rates than U.S. born
      individuals. In the U.S., for example, while immigrants are 15 percent of the population, they represent 25
      percent of entrepreneurs. Small businesses and the jobs they create are the engines of growth, innovation, and
      economic stability of the United States.

      Given the fact that asylum seekers are fleeing persecution in their home countries, the vast majority do not have
      sufficient resources to support themselves and their families for the duration of their immigration proceedings.
      The rule to eliminate the 30-day adjudication requirement would impose additional hardship on asylum seekers
      because they would face uncertainty and inconsistency in DHS processing. The proposed Rule would prevent
      asylum seekers from being able to support themselves and their loved ones through lawful employment.

      Asylum seekers already bear the burden of government back-logs and adjudication delays. Even with a return to
      the Asylum Offices processing of First in, First out, asylum applicants face great difficulties in getting their cases
      heard. When a decision on an asylum seekers case is delayed, it negatively impacts their ability to provide for
      themselves, support family, and build a life here in the United States. Many asylum seekers wait months, if not
      years, for their cases to be heard and then adjudicated.

      Asylum seekers are already required to wait a lengthy period of 180-days before they are eligible for work
      authorization. During this time, as mentioned above, they rely on others for support to survive. Removing the 30-
      day processing time requirement would cause significant harm to already vulnerable individuals. Without a time
      limit for processing initial applications, DHS would have no incentive to adjudicate these cases in a timely
      manner and asylum seekers who are statutorily eligible to work would be unable to do so for an unknowable
      period of time.

      We already see asylum seekers face significant barriers while waiting for the employment documents to be
      renewed. Eliminating the 30-day processing requirement would place initial EAD eligible asylum seekers in the
      same uncertain waiting period as renewal applicants, but it would be far worse for asylum seekers who were
      applying for work authorization for the first time as they would not have the ability to sustain themselves. At
      least for asylum seekers who are renewing work authorization, they have the benefit of the 180-day auto-
      extension while DHS manages its backlog and processing delays.

      In July 2018, the U.S. District Court for the Western District of Washington ruled that USCIS must adjudicate
      asylum seekers initial applications for employment authorization within 30 days, as is specified at 8 C.F.R.
      208.7(a)(1). As part of the ruling, USCIS was ordered to submit status reports indicating compliance with the 30-
      day adjudication requirement. In December 2018, DHS reported adjudicating 96.3% of asylum-seekers initial
      applications for employment authorization within 30 days.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2738
      Comment Submitted by Rachel Pulda



                                                  Submitter Information
      Name: Rachel Pulda


                                                      General Comment
      In the notice, USCIS makes frequent reference to a rise in national security threats as a reason to spend more
      time and resources on each decision. However, USCIS has reported that it has been able to decide over 99% of
      EADs within the 30-day timeframe for over the past year. Therefore, USCIS has proven its ability to adequately
      vet the amount of requests in a timely fashion. Moreover, its argument regarding increased threats serves only to
      prompt the need for a speedier process to properly protect national security, rather than its request to delay the
      process further. This need for a speedier process is further compounded by the fact that the EAD applicants are
      asylum-seekers already residing in the United States. If vetting must be done to prevent security risks, then
      having unvetted people in the U.S. subjected to a potentially indefinite review period seems contrary to the
      departments stated interests.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2739
      Comment Submitted by Ruth Fankushen



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      Phone: 5304002355
      Submitter's Representative: Ruth Fankushen


                                                      General Comment
      Asylum seekers should be allowed to work as soon as possible.




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2740
      Comment Submitted by Esther Benjamin, World Education Services



                                                  Submitter Information
      Name: Esther Benjamin
      Organization: World Education Services


                                                      General Comment
      See attached file(s)



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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2741
      Comment Submitted by Anonymous



                                                  Submitter Information
      Name: Anonymous Anonymous


                                                      General Comment
      Asylum seekers should be allowed to work as soon as possible!




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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2742
      Comment Submitted by Nancy Kelly



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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2743
      Comment Submitted by Anne Mackin, Greater Boston Legal Services



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      Fax: 617-371-1222


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      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-2744
      Comment Submitted by Tonya Mildon, University of Oregon



                                                  Submitter Information
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                                                      General Comment
      My name is Tonya Mildon. I am currently an instructor at the University of Oregon, but my first teaching job
      was teaching job search and English language skills at a refugee center in Portland, Oregon.

      Because it was my first job, I had no idea that near 100% attendance is not the normand this was for 6 hours a
      day, 5 days a week classes. I had no idea that it was unusual for mostif not allof my students to stay laser focused
      on the task at hand, hour after hour, day after day, no matter how dry or challenging the material. I had no idea
      that I would one day deal with 18 year olds who feel they are too good to do homework because they have rich
      parents, because at the refugee center, I had former doctors and lawyers who diligently applied themselves to
      learn the skills they would need to apply to be janitors and dishwashers in this new country. I had no idea that I
      would someday hear complaints about too much homework from students whose only responsibility is to go to
      school, because the refugees I was working with usually had children and aging parents and all the other
      responsibilities that go along with juggling a family anywhere, let alone in a new country as they were going to
      school full-time while also trying to find a job and a permanent place to live.

      But I did have an idea of the trauma my students were overcoming. I had students break down crying in class
      describing the violent deaths of their loved ones, and their own flights from violence and war and poverty and
      persecution. And then I saw them get right back to work. I did have an idea of how proud they were of the work
      they were doing every day in my class, because it would bring them one step closer to finding a job that would
      allow them to support their families and begin to build a new life here. I did have an idea of what courage and
      strength and resilience looked like, because I witnessed it every day.

      Asylum seekers must be allowed to work because, if they are like the 100s of refugees I was privileged to teach,
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      they want to work, and they deserve to work. They want to support themselves and their families, and they want
      to become contributing members of the country that has given them shelter.




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     IQTPS]QIRX EYXLSVM^EXMSR ETTPMGEXMSR                         -QTVSZMRK 6IKYPEXMSR ERH 6IKYPEXSV]              [EW TVSTSWIH XS EPMKR I\MWXMRK
     8LMW VYPI EPWS VIQSZIW XLI TVSZMWMSR                         6IZMI[                                            VIKYPEXSV] XI\X [MXL (,7 TSPMGMIW
     VIUYMVMRK XLEX XLI ETTPMGEXMSR JSV                         7YQQEV]                                           MQTPIQIRXIH YRHIV XLI 6IXIRXMSR SJ
     VIRI[EP QYWX FI VIGIMZIH F] 97'-7                        &EGOKVSYRH ERH 4YVTSWI SJ XLI *MREP               )&z)&zERH)&z-QQMKVERX
     HE]W TVMSV XS XLI I\TMVEXMSR SJ XLI
                                                                  6YPI                                              ;SVOIVW ERH 4VSKVEQ -QTVSZIQIRXW
                                                                4STYPEXMSR                                        %JJIGXMRK ,MKL7OMPPIH 2SRMQQMKVERX
     IQTPS]QIRX EYXLSVM^EXMSR                                  8VERWJIVW 'SWXW ERH &IRIJMXW SJ XLI 6YPI        ;SVOIVW JMREP VYPI  *6  
     (%8)7 8LMW JMREP VYPI MW IJJIGXMZI %YKYWX                E 8VERWJIVW ERH 'SWX                                  %' 6YPI  [LMGL FIGEQI
                                                       F &IRIJMXW                                          IJJIGXMZI .ERYEV]   (,7
     *36 *968,)6 -2*361%8-32 '328%'8                          G 0EFSV 1EVOIX 3ZIVZMI[
                                                                                                                    TVSZMHIH MXW EREP]WMW ERH NYWXMJMGEXMSRW
     (ERMIP /ERI &VERGL 'LMIJ 7IVZMGI                        H %PXIVREXMZIW
                                                               & 6IKYPEXSV] *PI\MFMPMX] %GX
                                                                                                                    ERH MRZMXIH TYFPMG GSQQIRX *SPPS[MRK
     'IRXIV 3TIVEXMSRW 97 'MXM^IRWLMT ERH                                                                        XLI VIZMI[ ERH EREP]WMW SJ TYFPMG
                                                               ' 'SRKVIWWMSREP 6IZMI[ %GX
     -QQMKVEXMSR 7IVZMGIW 97'-7  (,7                                                                            GSQQIRXW (,7 MW EHSTXMRK MXW
                                                               ( 9RJYRHIH 1ERHEXIW 6IJSVQ %GX SJ 
     1EWWEGLYWIXXW 2; ;EWLMRKXSR ('                          ) )\IGYXMZI 3VHIV  *IHIVEPMWQ                  TVSTSWIH VIKYPEXMSR MR EPP QEXIVMEP
     zXIPITLSRIzz                     * )\IGYXMZI 3VHIV  'MZMP .YWXMGI               VIWTIGXW ERH MRGSVTSVEXIW F] VIJIVIRGI
     79440)1)28%6= -2*361%8-32                                   6IJSVQ                                            XLI VIEWSRMRK ERH HEXE MR XLI TVSTSWIH
                                                               + 4ETIV[SVO 6IHYGXMSR %GX                           VYPI I\GITX XS XLI I\XIRX MRHMGEXIH
     8EFPI SJ 'SRXIRXW
                                                               , *EQMP] %WWIWWQIRX
     - )\IGYXMZI 7YQQEV]                                      - )\IGYXMZI 3VHIV                                  %W RSXIH MR XLI TVSTSWIH VYPI TVMSV XS XLI

        % 4YVTSWI SJ XLI 6IKYPEXSV] %GXMSR                    . 2EXMSREP )RZMVSRQIRXEP 4SPMG] %GX                 6SWEVMS Z 97'-7  * 7YTT H  ;(
        & 0IKEP %YXLSVMX]                                         2)4%                                             ;EWL   GSYVX SVHIV MR JMWGEP ]IEV  XLI
        ' 7YQQEV] SJ XLI *MREP 6YPI 4VSZMWMSRW                / 2EXMSREP 8IGLRSPSK] 8VERWJIV ERH                  EHNYHMGEXMSR TVSGIWWMRK XMQIW JSV XLIWI IQTPS]QIRX
        ( 7YQQEV] SJ 'SWXW ERH &IRIJMXW                                                                            EYXLSVM^EXMSR ETTPMGEXMSRW I\GIIHIH XLI VIKYPEXSV]
                                                                  %HZERGIQIRX %GX                                   WIX XMQIJVEQI SJ  HE]W QSVI XLER LEPJ XLI XMQI
        ) )JJIGXMZI (EXI                                      0 )\IGYXMZI 3VHIV                              -R VIWTSRWI XS XLI 6SWEVMS Z 97'-7 PMXMKEXMSR ERH
        * -QTPIQIRXEXMSR                                      1 )\IGYXMZI 3VHIV  4VSXIGXMSR SJ              XS GSQTP] [MXL XLI GSYVX SVHIV 97'-7 HIHMGEXIH EW
     -- &EGOKVSYRH ERH (MWGYWWMSR                                'LMPHVIR *VSQ )RZMVSRQIRXEP ,IEPXL                QER] VIWSYVGIW EW TVEGXMGEFPI XS XLIWI
        % )PMQMREXMSR SJ (E] 4VSGIWWMRK                       6MWOW ERH 7EJIX] 6MWOW                            EHNYHMGEXMSRW FYX GSRXMRYIW XS JEGI E LMWXSVMG
           8MQIJVEQI                                           2 )\IGYXMZI 3VHIV  %GXMSRW                    EW]PYQ ETTPMGEXMSR FEGOPSK [LMGL MR XYVR MRGVIEWIW
        & 6IQSZEP SJ XLI (E] *MPMRK                                                                             XLI RYQFIVW SJ ETTPMGERXW IPMKMFPI JSV TIRHMRK
                                                                  'SRGIVRMRK 6IKYPEXMSRW 8LEX                       EW]PYQ )%(W ,S[IZIV 97'-7 HSIW RSX [ERX XS
           6IUYMVIQIRX                                            7MKRMJMGERXP] %JJIGX )RIVK] 7YTTP]
        ' 'SVVIWTSRHMRK 97 (ITEVXQIRX SJ                                                                         GSRXMRYI XLMW VIEPPSGEXMSR SJ VIWSYVGIW EW E PSRK
                                                                  (MWXVMFYXMSR SV 9WI                              XIVQ WSPYXMSR FIGEYWI MX VIQSZIW VIWSYVGIW JVSQ
           .YWXMGI (3. 6IKYPEXMSRW                             3 7MKREXYVI                                         SXLIV GSQTIXMRK [SVO TVMSVMXMIW MR SXLIV TVSHYGX
     --- 6IWTSRWI XS 4YFPMG 'SQQIRXW SR XLI                                                                        PMRIW ERH EHHW HIPE]W XS SXLIV XMQIWIRWMXMZI
           4VSTSWIH 6YPI                                     8EFPI SJ %FFVIZMEXMSRW                                 EHNYHMGEXMSR XMQIJVEQIW ERH XLYW MW JMREPM^MRK XLMW
        % +IRIVEP *IIHFEGO SR XLI 2461                                                                             VYPI
         +IRIVEP 7YTTSVX JSV XLI 2461                      &'9 &EGOKVSYRH 'LIGO 9RMX                                  (,7 LEW QEHI SRI XIGLRMGEP GSVVIGXMSR XS XLI

         +IRIVEP 3TTSWMXMSR XS XLI 2461                    '*(3 'IRXIV *VEYH (IXIGXMSR 3TIVEXMSRW                 TVSTSWIH VYPI (,7 LEH TVSTSWIH XS VITPEGI SPH
        & (,7 7XEXYXSV] %YXLSVMX] ERH 0IKEP                 '*6 'SHI SJ *IHIVEP 6IKYPEXMSRW                        VIJIVIRGIWXSuuXLI7IVZMGIvvMR'*6 E  ERH
           -WWYIW                                            (,7 (ITEVXQIRX SJ ,SQIPERH 7IGYVMX]                     G  [MXL VIJIVIRGIW XS 97'-7 &YX MR GSRXI\X XLI
         (,7 7XEXYXSV] %YXLSVMX]                           )%( )QTPS]QIRX %YXLSVM^EXMSR (SGYQIRX                  VIJIVIRGIXSuuXLI7IVZMGIvvMR'*6 G  MW
                                                             ,7% ,SQIPERH 7IGYVMX] %GX SJ                       FIWX VIEH XS VIJIV XS JYRGXMSRW GYVVIRXP] TIVJSVQIH
         6SWEVMS Z 97'-7 'SYVX 3VHIV                                                                             F] 97 -QQMKVEXMSR ERH 'YWXSQW )RJSVGIQIRX E
         3XLIV 'SQQIRXW SR 7XEXYXSV] %YXLSVMX]             -2% -QQMKVEXMSR ERH 2EXMSREPMX] %GX                    HMJJIVIRX GSQTSRIRX SJ (,7 8LI JMREP VYPI
           SV 0IKEP -WWYIW                                   246 2SXMGI SJ 4VSTSWIH 6YPIQEOMRK                      XLIVIJSVI VITPEGIW XLI PEXXIV VIJIVIRGI XS uuXLI
        ' 6IQSZEP SJ (E] 4VSGIWWMRK                      97'-7 97 'MXM^IRWLMT ERH -QQMKVEXMSR                 7IVZMGIvv[MXLEVIJIVIRGIXSuu(,7vvQSVIFVSEHP]
           8MQIJVEQI                                           7IVZMGIW                                             VEXLIV XLER NYWX 97'-7



:IV(EXI 7IT "    .YR     .OX    43    *VQ    *QX    7JQX    )@*6@*1@.267+1   .26
                                                                                                                                            AR005539
                         *IHIVEP 6IKMWXIV  :SP  2S   1SRHE] .YRI    6YPIW ERH 6IKYPEXMSRW                                                   

     FIPS[ (,7 EPWS TVSZMHIW QSVI VIGIRX                    TSXIRXMEP MQTEGXW SJ XLI VYPI FYX XLI                 )%( ETTPMGEXMSRW ERH XLI GSWX XS XLI
     HEXE FIPS[ [LIVI EZEMPEFPI                            EREP]WMW VIPMIW SR EWWYQTXMSRW VIPEXIH XS              EKIRG] JSV EHNYHMGEXMSR MW GSZIVIH F]
                                                             E TVI'3:-( IGSRSQ] ;LMPI JYXYVI                      JIIW TEMH F] SXLIV FIRIJMX VIUYIWXIVW %W
     & 0IKEP %YXLSVMX]
                                                             IGSRSQMG GSRHMXMSRW EVI GYVVIRXP] XSS                  E TVMQEV] KSEP 97'-7 WIIOW XS
       8LI EYXLSVMX] SJ XLI 7IGVIXEV] SJ                     HMJJMGYPX XS TVIHMGX [MXL ER] GIVXEMRX]               EHIUYEXIP] ZIX ETTPMGERXW ERH
     ,SQIPERH 7IGYVMX] 7IGVIXEV] JSV XLIWI                   (,7 RSXIW XLEX E LMKLIV YRIQTPS]QIRX                   EHNYHMGEXI ETTPMGEXMSRW EW UYMGOP] ERH
     VIKYPEXSV] EQIRHQIRXW MW JSYRH MR                       VEXI QE] VIWYPX MR PS[IV GSWXW SJ XLMW                 IJJMGMIRXP] EW TSWWMFPI ,S[IZIV XLMW
     ZEVMSYW WIGXMSRW SJ XLI -QQMKVEXMSR ERH                 VYPI EW VITPEGMRK TIRHMRK EW]PYQ                       JMREP VYPI QE] HIPE] XLI EFMPMX] XS [SVO
     2EXMSREPMX] %GX -2%   97'  IX                  ETTPMGERX [SVOIVW [SYPH QSWX PMOIP] FI                 JSV WSQI MRMXMEP ETTPMGERXW [LSWI )%(
     WIU ERH XLI ,SQIPERH 7IGYVMX] %GX SJ                  IEWMIV XS HS 'SRWIUYIRXP] EW                         TVSGIWWMRK MW HIPE]IH FI]SRH XLI HE]
      ,7% 4YFPMG0E[z                    YRIQTPS]QIRX MW LMKL XLMW VYPI MW PIWW                VIKYPEXSV] XMQIJVEQI
     7XEX   97'  IX WIU +IRIVEP                PMOIP] XS VIWYPX MR E PSWW SJ TVSHYGXMZMX]                8LI MQTEGXW SJ XLMW VYPI EVI QIEWYVIH
     EYXLSVMX] JSV MWWYMRK XLI JMREP VYPI MW                 SR FILEPJ SJ GSQTERMIW YREFPI XS                       EKEMRWX E FEWIPMRI ;LMPI [I LEZI EHHIH
     JSYRH MR WIGXMSR  E SJ XLI -2%                     VITPEGI JSVKSRI PEFSV                                 WSQI QSVI VIGIRX HEXE ERH MRJSVQEXMSR
     97'  E  [LMGL EYXLSVM^IW XLI                                                                           TYVWYERX XS TYFPMG GSQQIRXW XLI GSWXW
     7IGVIXEV] XS EHQMRMWXIV ERH IRJSVGI XLI                    (,7 MW VIQSZMRK XLI VIUYMVIQIRX XS                  EVI FIRGLQEVOIH XS *=  GSRWMWXIRX
     MQQMKVEXMSR ERH REXMSREPMX] PE[W ERH XS                 EHNYHMGEXI MRMXMEP )%( ETTPMGEXMSRW JSV                [MXL XLI 2461 8LMW FEWIPMRI VIJPIGXW
     IWXEFPMWL WYGL VIKYPEXMSRW EW LI HIIQW                  TIRHMRK EW]PYQ ETTPMGERXW [MXLMR                     XLI FIWX EWWIWWQIRX SJ XLI [E] XLI
     RIGIWWEV] JSV GEVV]MRK SYX WYGL                         HE]W -R *=  TVMSV XS XLI 6SWEVMS                 [SVPH [SYPH PSSO EFWIRX XLMW EGXMSR *SV
     EYXLSVMX] 7II EPWS  97'  E  %                 Z 97'-7 GSYVX SVHIV  * 7YTT H                  XLMW VYPIQEOMRK 97'-7 EWWYQIW XLEX MR
      F  *YVXLIV EYXLSVMX] JSV XLI VIKYPEXSV]                ;( ;EWL   XLI                             XLI EFWIRGI SJ XLMW JMREP VYPI XLI
     EQIRHQIRX MR XLI JMREP VYPI MW JSYRH MR                 EHNYHMGEXMSR TVSGIWWMRK XMQIW JSV MRMXMEP              FEWIPMRI EQSYRX SJ XMQI XLEX 97'-7
     WIGXMSR  H  SJ XLI -2%  97'                    *SVQ-zYRHIVXLI4IRHMRK%W]PYQ                   [SYPH XEOI XS EHNYHMGEXI [SYPH FI 
      H   [LMGL WXEXIW XLEX ER                         %TTPMGERX GEXIKSV] I\GIIHIH XLI                        HE]W 97'-7 EPWS EWWYQIW XLEX EJXIV XLMW
     ETTPMGERX JSV EW]PYQ MW RSX IRXMXPIH XS                 VIKYPEXSV]WIX XMQIJVEQI SJ  HE]W                    JMREP VYPI FIGSQIW IJJIGXMZI
     IQTPS]QIRX EYXLSVM^EXMSR ERH QE] RSX                   QSVI XLER LEPJ XLI XMQI ,S[IZIV                      EHNYHMGEXMSRW [MPP EPMKR [MXL (,7
     FI KVERXIH EW]PYQ ETTPMGEXMSRFEWIH                     97'-7 EHNYHMGEXIH ETTVS\MQEXIP]                      TVSGIWWMRK XMQIW EGLMIZIH MR *= 
     IQTPS]QIRX EYXLSVM^EXMSR TVMSV XS                    TIVGIRX SJ ETTPMGEXMSRW [MXLMR  HE]W                 FIJSVI XLI 6SWEVMS Z 97'-7 GSYVX
     HE]W EJXIV JMPMRK SJ XLI ETTPMGEXMSR JSV                -R VIWTSRWI XS XLI 6SWEVMS Z 97'-7                    SVHIV  8LMW MW SYV FIWX IWXMQEXI SJ [LEX
     EW]PYQ FYX SXLIV[MWI EYXLSVM^IW XLI                    PMXMKEXMSR ERH XS GSQTP] [MXL XLI                      [MPP SGGYV EJXIV XLMW VYPI FIGSQIW
     7IGVIXEV] XS TVIWGVMFI F] VIKYPEXMSR XLI                6SWEVMS GSYVX SVHIV 97'-7 LEW                         IJJIGXMZI 97'-7 FIPMIZIW XLI *= 
     XIVQW ERH GSRHMXMSRW SJ IQTPS]QIRX                      HIHMGEXIH EW QER] VIWSYVGIW EW                         XMQIJVEQIW EVI WYWXEMREFPI ERH I\TIGXW
     EYXLSVM^EXMSR JSV EW]PYQ ETTPMGERXW                    TVEGXMGEFPI XS XLIWI EHNYHMGEXMSRW FYX                XS QIIX XLIWI XMQIJVEQIW JSPPS[MRK XLI
                                                             GSRXMRYIW XS JEGI E LMWXSVMG EW]PYQ                    IJJIGXMZI HEXI SJ XLMW VYPI 8LIVIJSVI
     ' 7YQQEV] SJ XLI *MREP 6YPI 4VSZMWMSRW                 ETTPMGEXMSR FEGOPSK [LMGL MR XYVR                     97'-7 EREP]^IH XLI MQTEGXW SJ XLMW VYPI
       (,7 GSRWMHIVIH XLI TYFPMG GSQQIRXW                    MRGVIEWIW XLI RYQFIVW SJ ETTPMGERXW                    F] GSQTEVMRK XLI GSWXW ERH FIRIJMXW SJ
     VIGIMZIH ERH XLMW JMREP VYPI EHSTXW XLI                 IPMKMFPI JSV TIRHMRK EW]PYQ )%(W                      EHNYHMGEXMRK MRMXMEP )%( ETTPMGEXMSRW JSV
     VIKYPEXSV] XI\X TVSTSWIH MR XLI 2SXMGI SJ               ,S[IZIV 97'-7 JMRHW XLMW VIEPPSGEXMSR                 TIRHMRK EW]PYQ ETTPMGEXMSRW [MXLMR 
     4VSTSWIH 6YPIQEOMRK 2461                                SJ VIWSYVGIW YRWYWXEMREFPI EW E PSRK                  HE]W GSQTEVIH XS XLI EGXYEP XMQI MX XSSO
     TYFPMWLIH MR XLI *IHIVEP 6IKMWXIV SR                    XIVQ WSPYXMSR FIGEYWI MX VIQSZIW                       XS EHNYHMGEXI XLIWI )%( ETTPMGEXMSRW MR
     7ITXIQFIV   MR EPP QEXIVMEP                      VIWSYVGIW JVSQ GSQTIXMRK [SVO                          *= 
     VIWTIGXW 7II 6IQSZEP SJ (E]                         TVMSVMXMIW MR SXLIV TVSHYGX PMRIW ERH                     97'-7 RSXIW XLEX MR *=  
     4VSGIWWMRK 4VSZMWMSR JSV %W]PYQ                         EHHW HIPE]W XS SXLIV XMQIWIRWMXMZI                    TIVGIRX SJ ETTPMGEXMSRW [IVI TVSGIWWIH
     %TTPMGERX6IPEXIH*SVQ-z                           EHNYHMGEXMSR XMQIJVEQIW &] IPMQMREXMRK                [MXLMR  HE]W ERH  TIVGIRX [IVI
     )QTPS]QIRX %YXLSVM^EXMSR                                XLI HE] EHNYHMGEXMZI XMQIJVEQI                     TVSGIWWIH [MXLMR  HE]W -R *= 
     %TTPMGEXMSRW 4VSTSWIH 6YPI  *6                      97'-7 MW FIXXIV EFPI XS TVMSVMXM^I WXEXYW             XLI JMKYVIW [IVI  TIVGIRX ERH 
                                                       KVERXMRK [SVOPSEHW FEWIH SR EKIRG] ERH                 TIVGIRX VIWTIGXMZIP] -R XLI EREP]WMW SJ
       %W E GSRWIUYIRGI XLMW JMREP VYPI                     HITEVXQIRX TVMSVMXMIW 97'-7 LEW RSX                   MQTEGXW SJ XLMW VYPI 97'-7 EWWYQIH 
     QEOIW XLI JSPPS[MRK QENSV VIZMWMSRW XS                  IWXMQEXIH XLI GSWXW SJ LMVMRK EHHMXMSREP                   3R %TVMP   4VIWMHIRX 8VYQT HMVIGXIH
     XLI ETTPMGEXMSR JSV IQTPS]QIRX                          SJJMGIVW ERH XLIVIJSVI LEW RSX IWXMQEXIH               (,7 XS TVSTSWI VIKYPEXMSRW XLEX [SYPH WIX E JII JSV
     EYXLSVM^EXMSR JSV EW]PYQ WIIOIVW                        XLI GSWXW XLEX QMKLX FI EZSMHIH MJ XLI                 ER EW]PYQ ETTPMGEXMSR RSX XS I\GIIH XLI GSWXW SJ
     TVSKVEQ VIKYPEXMSRW                                    QENSV VIZMWMSRW MR XLMW JMREP VYPI EVI RSX             EHNYHMGEXMRK XLI ETTPMGEXMSR EW EYXLSVM^IH F]
        )PMQMREXIW XLI HE] EHNYHMGEXMSR                 MQTPIQIRXIH ,MVMRK QSVI SJJMGIVW                      WIGXMSR  H  SJ XLI -2%  97'  H 
     VIUYMVIQIRX JSV MRMXMEP JMPMRKW ERH                                                                           ERH SXLIV ETTPMGEFPI WXEXYXIW ERH [SYPH WIX E JII
                                                             [SYPH RSX MQQIHMEXIP] ERH MR EPP GEWIW                 JSV ER MRMXMEP ETTPMGEXMSR JSV IQTPS]QIRX
        IPMQMREXIW XLI VIUYMVIQIRX XLEX
                                                             WLSVXIR EHNYHMGEXMSR XMQIJVEQIW                        EYXLSVM^EXMSR JSV XLI TIVMSH ER EW]PYQ GPEMQ MW
     ETTPMGEXMSRW XS VIRI[ IQTPS]QIRX                                                                               TIRHMRK 7II 4VIWMHIRXMEP 1IQSVERHYQ JSV XLI
                                                             FIGEYWI  %HHMXMSREP XMQI [SYPH FI
     EYXLSVM^EXMSR QYWX FI VIGIMZIH F]                                                                              %XXSVRI] +IRIVEP ERH 7IGVIXEV] SJ ,SQIPERH
                                                             VIUYMVIH XS VIGVYMX SRFSEVH ERH XVEMR                 7IGYVMX] SR %HHMXMSREP 1IEWYVIW XS )RLERGI &SVHIV
     97'-7  HE]W TVMSV XS XLI I\TMVEXMSR SJ
                                                             RI[ IQTPS]IIW ERH  JSV GIVXEMR                      7IGYVMX] ERH 6IWXSVI -RXIKVMX] XS 3YV -QQMKVEXMSR
     XLIETTPMGERXvWIQTPS]QIRX                                                                                    7]WXIQ %TV    EZEMPEFPI EX LXXTW
                                                             ETTPMGEXMSRW EHHMXMSREP XMQI MW RIIHIH
     EYXLSVM^EXMSR                                                                                                 [[[[LMXILSYWIKSZTVIWMHIRXMEPEGXMSRW
                                                             XS JYPP] ZIX ETTPMGERXW VIKEVHPIWW SJ                 TVIWMHIRXMEPQIQSVERHYQEHHMXMSREPQIEWYVIW
     ( 7YQQEV] SJ 'SWXW ERH &IRIJMXW                        WXEJJMRK PIZIPW *YVXLIV WMQTP] LMVMRK                IRLERGIFSVHIVWIGYVMX]VIWXSVIMRXIKVMX]
       (,7 RSXIW XLEX XLI IWXMQEXIW JVSQ XLI                 QSVI SJJMGIVW MW RSX EP[E]W JIEWMFPI HYI               MQQMKVEXMSRW]WXIQ PEWX ZMWMXIH .YRI   
                                                             XS FYHKIXEV] GSRWXVEMRXW ERH XLI JEGX                  8LIMQTPIQIRXEXMSRSJXLI4VIWMHIRXvWHMVIGXMZI
     2461 VIKEVHMRK YRIQTPS]QIRX                                                                                   [SYPH XEOI TPEGI ZME E WITEVEXI VYPIQEOMRK ORS[R
     RYQFIV SJ EW]PYQ ETTPMGERXW TIV ]IEV                   XLEX 97'-7 GSRHYGXW RSXMGI ERH                         EW XLI JII VYPI XLVSYKL [LMGL 97'-7 EREP]^IW
     ERH 97'-7 TVSGIWWMRK EVI RSX GYVVIRXP]                  GSQQIRX VYPIQEOMRK XS VEMWI JIIW ERH                   EHNYHMGEXMZI ERH STIVEXMSREP GSWXW FMERRYEPP] ERH
                                                             MRGVIEWI VIZIRYI JSV WYGL LMVMRK EGXMSRW              WIXW JIIW WII  *6  2SZ   TVSTSWIH
     ETTPMGEFPIEW'3:-(zLEWLEHE                                                                              VYPI  FYX MX MW YRGIVXEMR [LIXLIV WYGL E VIZMWIH JII
     HVEQEXMG MQTEGX SR EPP XLVII (,7 SJJIVW                8LIVI MW GYVVIRXP] RS JII JSV EW]PYQ                   WXVYGXYVI [SYPH VIHYGI XLI SZIVEPP VIWSYVGI FYVHIR
     XLMW EREP]WMW EW E KPMQTWI SJ XLI                       ETTPMGEXMSRW SV XLI GSVVIWTSRHMRK MRMXMEP              EWWSGMEXIH [MXL XLI HE] EHNYHMGEXMSR XMQIJVEQI



:IV(EXI 7IT "    .YR     .OX    43    *VQ    *QX    7JQX    )@*6@*1@.267+1   .26
                                                                                                                                           AR005540
                    *IHIVEP 6IKMWXIV  :SP  2S   1SRHE] .YRI    6YPIW ERH 6IKYPEXMSRW

     TIVGIRX SJ EHNYHMGEXMSRW LETTIRIH                        VITPEGIQIRX PEFSV JSV XLI TSWMXMSR XLI                  %GGSVHMRKP] MJ XLI TSTYPEXMSR SJ EPMIRW
     [MXLMR  HE]W ,S[IZIV FIGEYWI                        EW]PYQ ETTPMGERX [SYPH LEZI JMPPIH XLMW                MW PIWW XLER IWXMQEXIH EW E VIWYPX SJ XLI
     EGXYEP EHNYHMGEXMSRW MR *=W  ERH                     VYPI [SYPH LEZI TVMQEVMP] HMWXVMFYXMSREP                FVSEHIV EW]PYQ )%( VYPI XLI IWXMQEXIH
      [MXLMR XLI HE] XMQIJVEQI EVI                     IJJIGXW MR XLI JSVQ SJ XVERWJIVW JVSQ                   MQTEGXW SJ XLMW VYPI GSYPH FI SZIVWXEXIH
     WPMKLXP] PIWW XLER XLI  TIVGIRX                       EW]PYQ ETTPMGERXW XS SXLIVW EPVIEH] MR                  FIGEYWI XLI TSTYPEXMSR EJJIGXIH QE] FI
     EREP]^IH 97'-7 LEW SZIVIWXMQEXIH XLI                   XLI PEFSV QEVOIX SV [SVOIVW MRHYGIH XS                  PS[IV XLER IWXMQEXIH MR XLMW VYPI
     MQTEGXW SJ XLMW VYPI [MXL VIWTIGX XS XLMW                VIXYVR XS XLI PEFSV QEVOIX  97'-7                         -R MRWXERGIW [LIVI E GSQTER] GERRSX
     ZEVMEFPI [LIR PIWW XLER  TIVGIRX SJ                   EGORS[PIHKIW XLEX XLIVI QE] FI                          LMVI VITPEGIQIRX PEFSV JSV XLI TSWMXMSR
     EHNYHMGEXMSRW LETTIR [MXLMR  HE]W -X                  EHHMXMSREP STTSVXYRMX] GSWXW XS                         XLI EW]PYQ ETTPMGERX [SYPH LEZI JMPPIH
     MW RSXIH XLEX XLI VIPMERGI SR XLI                     IQTPS]IVW WYGL EW EHHMXMSREP WIEVGL                     97'-7 EGORS[PIHKIW XLEX WYGL HIPE]W
     TIVGIRX VEXI WPMKLXP] SZIVWXEXIW XLI GSWXW              GSWXW ,S[IZIV MJ GSQTERMIW GERRSX                     QE] VIWYPX MR XE\ PSWWIW XS XLI
        8LI MQTEGXW SJ XLMW VYPI MRGPYHI FSXL                 JMRH E VIEWSREFPI WYFWXMXYXI JSV XLI PEFSV              KSZIVRQIRX -X MW HMJJMGYPX XS UYERXMJ]
     TSXIRXMEP HMWXVMFYXMSREP IJJIGXW [LMGL                   ER EW]PYQ ETTPMGERX [SYPH LEZI                          MRGSQI XE\ PSWWIW FIGEYWI MRHMZMHYEP
     EVI XVERWJIVW ERH GSWXW 8LI TSXIRXMEP                  TVSZMHIH XLMW VYPI [SYPH TVMQEVMP] FI                  XE\ WMXYEXMSRW ZEV] [MHIP]  FYX 97'-7
     HMWXVMFYXMSREP MQTEGXW JEPP SR XLI                       E GSWX XS XLIWI GSQTERMIW XLVSYKL PSWX                  IWXMQEXIW XLI TSXIRXMEP PSWW XS SXLIV
     EW]PYQ ETTPMGERXW [LS QE] FI HIPE]IH                     TVSHYGXMZMX] ERH TVSJMXW                               IQTPS]QIRX XE\ TVSKVEQW REQIP]
     MR IRXIVMRK XLI 97 PEFSV JSVGI 8LI                       97'-7 YWIW XLI PSWX GSQTIRWEXMSR XS                  1IHMGEVI ERH WSGMEP WIGYVMX] [LMGL
     TSXIRXMEP HMWXVMFYXMSREP MQTEGXW                         EW]PYQ ETTPMGERXW EW E QIEWYVI SJ XLI                   LEZI E GSQFMRIH XE\ VEXI SJ  TIVGIRX
      XVERWJIVW [SYPH FI MR XLI JSVQ SJ PSWX                  SZIVEPPMQTEGXSJXLIVYPI{IMXLIVEW                     TIVGIRX ERH  TIVGIRX
     STTSVXYRMX] XS VIGIMZI GSQTIRWEXMSR                      HMWXVMFYXMSREP MQTEGXW XVERWJIVW SV EW E                VIWTIGXMZIP]  ;MXL FSXL XLI IQTPS]II
      [EKIW ERH FIRIJMXW  % TSVXMSR SJ XLMW                  TVS\]JSVFYWMRIWWIWvGSWXJSVPSWX                    ERH IQTPS]IV RSX TE]MRK XLIMV
     PSWX GSQTIRWEXMSR QMKLX FI XVERWJIVVIH                   TVSHYGXMZMX] -X HSIW RSX MRGPYHI                       VIWTIGXMZI TSVXMSR SJ 1IHMGEVI ERH
     JVSQ EW]PYQ ETTPMGERXW XS SXLIVW XLEX                    EHHMXMSREP GSWXW XS FYWMRIWWIW JSV PSWX                 WSGMEP WIGYVMX] XE\IW XLI XSXEP IWXMQEXIH
     EVI GYVVIRXP] MR XLI 97 PEFSV JSVGI                   TVSJMXW ERH STTSVXYRMX] GSWXW SV XLI                    XE\ PSWW JSV 1IHMGEVI ERH WSGMEP WIGYVMX]
     TSWWMFP] MR XLI JSVQ SJ EHHMXMSREP [SVO                  HMWXVMFYXMSREP MQTEGXW JSV XLSWI MR ER                  MW  TIVGIRX 0SWX [EKIW VERKMRK
     LSYVW SV SZIVXMQI TE] % TSVXMSR SJ XLI                  ETTPMGERXvWWYTTSVXRIX[SVO8LIPSWX                  JVSQ  QMPPMSR XS  QMPPMSR
     MQTEGXW SJ XLMW VYPI QE] EPWS FI FSVRI                   GSQTIRWEXMSR XS EW]PYQ ETTPMGERXW                       [SYPH VIWYPX MR IQTPS]QIRX XE\ PSWWIW
     F] GSQTERMIW XLEX [SYPH LEZI LMVIH XLI                   GSYPH VERKI JVSQ  QMPPMSR XS                     XS XLI KSZIVRQIRX VERKMRK JVSQ 
     EW]PYQ ETTPMGERXW LEH XLI] FIIR MR XLI                    QMPPMSR ERRYEPP] HITIRHMRK SR                   QMPPMSR XS  QMPPMSR %KEMR
     PEFSV QEVOIX IEVPMIV FYX [IVI YREFPI XS                  XLI [EKIW XLI EW]PYQ ETTPMGERX [SYPH                    HITIRHMRK SR XLI GMVGYQWXERGIW SJ XLI
     JMRH EZEMPEFPI [SVOIVW 8LIWI                            LEZI IEVRIH 8LI ]IEV XSXEP                          IQTPS]II XLIVI GSYPH FI EHHMXMSREP
     GSQTERMIW [SYPH MRGYV E GSWX EW XLI]                    HMWGSYRXIH PSWX GSQTIRWEXMSR XS EW]PYQ                  JIHIVEP MRGSQI XE\ PSWWIW RSX IWXMQEXIH
     QE] FI PSWMRK XLI TVSHYGXMZMX] ERH                       ETTPMGERXW EX  TIVGIRX GSYPH VERKI JVSQ                LIVI 8LIVI QE] EPWS FI WXEXI ERH PSGEP
     TSXIRXMEP TVSJMXW XLI EW]PYQ ETTPMGERX                    FMPPMSR XS  FMPPMSR ERH EX                MRGSQI XE\ PSWWIW XLEX [SYPH ZEV]
     QE] LEZI TVSZMHIH LEH XLI EW]PYQ                         TIVGIRX GSYPH VERKI JVSQ  FMPPMSR                 EGGSVHMRK XS XLI NYVMWHMGXMSR
     ETTPMGERX FIIR MR XLI PEFSV JSVGI                        XSFMPPMSR ]IEVWz                       8LMW VYPI [MPP TSWWMFP] VIWYPX MR
     IEVPMIV                                                   97'-7 VIGSKRM^IW XLEX XLI MQTEGXW SJ                 VIHYGIH STTSVXYRMX] GSWXW XS XLI JIHIVEP
        'SQTERMIW QE] EPWS MRGYV                              XLMW JMREP VYPI GSYPH FI SZIVWXEXIH MJ XLI              KSZIVRQIRX 7MRGI XLI 6SWEVMS GSYVX
     STTSVXYRMX] GSWXW F] LEZMRK XS GLSSWI                    TVSZMWMSRW SJ E WITEVEXI 2461 XLEX (,7                  SVHIV GSQTIPPIH 97'-7 XS GSQTP] [MXL
     XLI RI\X FIWX EPXIVREXMZI XS MQQIHMEXIP]                 TYFPMWLIH MR 2SZIQFIV  uuFVSEHIV                    XLI HE] TVSZMWMSR MR *=  97'-7
     JMPPMRK XLI NSF XLI EW]PYQ ETTPMGERX                     EW]PYQ)%(2461vv EVIJMREPM^IHEW                    LEW VIHMWXVMFYXIH MXW EHNYHMGEXMSR
     [SYPH LEZI JMPPIH 97'-7 HSIW RSX ORS[                   TVSTSWIH 7II %W]PYQ %TTPMGEXMSR                       VIWSYVGIW XS [SVO YT XS JYPP GSQTPMERGI
     [LEX XLMW RI\X FIWX EPXIVREXMZI QE] FI                   -RXIVZMI[ ERH )QTPS]QIRX                               &] VIQSZMRK XLI HE] XMQIJVEQI
     JSV XLSWI GSQTERMIW %W E VIWYPX 97'-7                  %YXLSVM^EXMSR JSV %TTPMGERXW 4VSTSWIH                  XLIWI VIHMWXVMFYXIH VIWSYVGIW GER FI
     HSIW RSX ORS[ XLI TSVXMSR SJ SZIVEPP                     6YPI  *6  2SZ                          VIEPPSGEXIH TSXIRXMEPP] VIHYGMRK HIPE]W
     MQTEGXW SJ XLMW VYPI XLEX EVI XVERWJIVW SV               7TIGMJMGEPP] XLI FVSEHIV EW]PYQ )%(                    MR TVSGIWWMRK SJ WXEXYWKVERXMRK FIRIJMX
     GSWXW -J GSQTERMIW GER JMRH                             2461 [SYPH PMQMX SV HIPE] IPMKMFMPMX]                   VIUYIWXW ERH EZSMHMRK GSWXW EWWSGMEXIH
                                                              JSV IQTPS]QIRX EYXLSVM^EXMSR JSV                        [MXL LMVMRK EHHMXMSREP IQTPS]IIW
        8LI MRJSVQEXMSR VIKEVHMRK XLI TVSGIWWMRK SJ          GIVXEMR EW]PYQ ETTPMGERXW                             97'-7 LEW RSX IWXMQEXIH XLIWI EZSMHIH
     XLIWI ETTPMGEXMSRW [EW TVSZMHIH F] 97'-7 3JJMGI SJ
     4IVJSVQERGI ERH 5YEPMX] 345                                -R XLI FVSEHIV EW]PYQ )%( 2461 (,7                 IRLERGIFSVHIVWIGYVMX]VIWXSVIMRXIKVMX]
        8VERWJIV TE]QIRXW EVI QSRIXEV] TE]QIRXW JVSQ
                                                              TVSTSWIH XS QSHMJ] MXW GYVVIRX VIKYPEXMSRW              MQQMKVEXMSRW]WXIQ PEWX ZMWMXIH .YRI   
                                                                                                                          7II 1SVI XLER  TIVGIRX SJ [SVOIVW TE] RS
     SRI KVSYT XS ERSXLIV XLEX HS RSX EJJIGX XSXEP            KSZIVRMRK EW]PYQ ETTPMGEXMSRW MRXIVZMI[W ERH
     VIWSYVGIW EZEMPEFPI XS WSGMIX] 7II 31&'MVGYPEV%z     IPMKMFMPMX] JSV IQTPS]QIRX EYXLSVM^EXMSR FEWIH SR E     JIHIVEP MRGSQI XE\ 7ITXIQFIV   EZEMPEFPI
      TEKIW  ERH  JSV JYVXLIV HMWGYWWMSR SJ XVERWJIV     TIRHMRK EW]PYQ ETTPMGEXMSR 8LEX 2461 [EW               EX LXXTW[[[QEVOIX[EXGLGSQWXSV]QMPPMSR
     TE]QIRXWERHHMWXVMFYXMSREPIJJIGXW'MVGYPEV%zMW    MRXIRHIH XS MQTPIQIRX E 4VIWMHIRXMEP HMVIGXMZI          EQIVMGERW[SRXTE]ER]JIHIVEPMRGSQIXE\IWXLMW
     EZEMPEFPI EX LXXTW[[[[LMXILSYWIKSZWMXIW          VIPEXIH XS IQTPS]QIRX EYXLSVM^EXMSR JSV EW]PYQ          ]IEVLIVIW[L]
                                                                                                                          8LI ZEVMSYW IQTPS]QIRX XE\IW EVI HMWGYWWIH MR
     [LMXILSYWIKSZJMPIWSQFGMVGYPEVW%ETHJ           ETTPMGERXW 3R %TVMP   4VIWMHIRX 8VYQT
        8LI EREP]WMW EGGSYRXW JSV HIPE]IH IRXV] MRXS XLI     HMVIGXIH (,7 XS TVSTSWI VIKYPEXMSRW XLEX [SYPH FEV      QSVI HIXEMP EX LXXTW[[[MVWKSZFYWMRIWWIW
     PEFSV JSVGI ERH HSIW RSX EGGSYRX JSV XLI TSXIRXMEP      EPMIRW [LS LEZI IRXIVIH SV EXXIQTXIH XS IRXIV XLI       WQEPPFYWMRIWWIWWIPJIQTPS]IHYRHIVWXERHMRK
     GMVGYQWXERGI YRHIV [LMGL XLMW VYPI QE] GSQTPIXIP]        9RMXIH 7XEXIW YRPE[JYPP] JVSQ VIGIMZMRK                 IQTPS]QIRXXE\IW 7II -67 4YFPMGEXMSR  'MVGYPEV
     JSVIGPSWIEREPMIRvWIRXV]MRXSXLIPEFSVJSVGI7YGL   IQTPS]QIRX EYXLSVM^EXMSR FIJSVI ER] ETTPMGEFPI          ))QTPS]IVvW8E\+YMHIJSVWTIGMJMGMRJSVQEXMSRSR
     E TSWWMFPI GMVGYQWXERGI GSYPH SGGYV MJ 97'-7             ETTPMGEXMSR JSV VIPMIJ SV TVSXIGXMSR JVSQ VIQSZEP LEW   IQTPS]QIRX XE\ VEXIW LXXTW[[[MVWKSZTYFMVW
     YPXMQEXIP] HIRMIW ER )%( ETTPMGEXMSR XLEX [EW            FIIR KVERXIH ERH XS IRWYVI MQQIHMEXI VIZSGEXMSR        THJTCTHJ
                                                                                                                          'EPGYPEXMSR  TIVGIRX WSGMEP WIGYVMX]  
     TIRHMRK TEWX  HE]W HYI XS XLMW VYPI WSPIP]            SJ IQTPS]QIRX EYXLSVM^EXMSR JSV EPMIRW [LS EVI
     FIGEYWI XLI YRHIVP]MRK EW]PYQ ETTPMGEXMSR LEH            HIRMIH EW]PYQ SV FIGSQI WYFNIGX XS E JMREP SVHIV        TIVGIRX 1IHMGEVI »  IQTPS]II ERH IQTPS]IV
     FIIR HIRMIH HYVMRK XLI I\XIRHIH TIRHIRG] SJ XLI          SJ VIQSZEP 7II 4VIWMHIRXMEP 1IQSVERHYQ JSV XLI         PSWWIW !  TIVGIRX XSXEP IWXMQEXIH XE\ PSWW XS
     )%( ETTPMGEXMSR -R WYGL E WGIREVMS XLIVI [SYPH         %XXSVRI] +IRIVEP ERH 7IGVIXEV] SJ ,SQIPERH              KSZIVRQIRX
                                                                                                                          'EPGYPEXMSRW 0S[IV FSYRH PSWX [EKIW 
     FI EHHMXMSREP GSWXW ERH XVERWJIV IJJIGXW HYI XS XLMW     7IGYVMX] SR %HHMXMSREP 1IEWYVIW XS )RLERGI &SVHIV
     VYPI 7YGL GSWXW ERH XVERWJIV IJJIGXW EVI RSX            7IGYVMX] ERH 6IWXSVI -RXIKVMX] XS 3YV -QQMKVEXMSR       QMPPMSR »  TIVGIRX IWXMQEXIH XE\ VEXI ! 
     EGGSYRXIH JSV FIPS[ 7MQMPEVP] XLI VYPI HSIW RSX        7]WXIQ %TV    EZEMPEFPI EX LXXTW            QMPPMSR
     IWXMQEXI EZSMHIH XYVRSZIV GSWXW XS XLI IQTPS]IV          [[[[LMXILSYWIKSZTVIWMHIRXMEPEGXMSRW                   9TTIV FSYRH PSWX [EKIW  QMPPMSR » 
     EWWSGMEXIH [MXL WYGL E WGIREVMS                         TVIWMHIRXMEPQIQSVERHYQEHHMXMSREPQIEWYVIW            TIVGIRX IWXMQEXIH XE\ VEXI !  QMPPMSR



:IV(EXI 7IT "    .YR     .OX    43    *VQ    *QX    7JQX    )@*6@*1@.267+1    .26
                                                                                                                                             AR005541
                         *IHIVEP 6IKMWXIV  :SP  2S   1SRHE] .YRI    6YPIW ERH 6IKYPEXMSRW                                                                                  

     GSWXW %HHMXMSREPP] 97'-7 HSIW RSX                     XMQI XS EHHVIWW REXMSREP WIGYVMX] ERH                                      VIHYGI GSRJYWMSR VIKEVHMRK )%(
     ERXMGMTEXI XLEX VIQSZMRK XLI WITEVEXI                   JVEYH GSRGIVRW ERH XS QEMRXEMR                                            VIRI[EP VIUYMVIQIRXW JSV TIRHMRK
     HE] )%( JMPMRK VIUYMVIQIRX [SYPH                     XIGLRSPSKMGEP EHZERGIW MR HSGYQIRX                                         EW]PYQ ETTPMGERXW ERH IRWYVI XLI
     VIWYPX MR ER] GSWXW XS XLI JIHIVEP                      TVSHYGXMSR ERH MHIRXMX] ZIVMJMGEXMSR                                      VIKYPEXSV] XI\X VIJPIGXW GYVVIRX (,7
     KSZIVRQIRX                                             %TTPMGERXW [SYPH VIP] SR YTXSHEXI                                        TSPMG]ERHVIKYPEXMSRWYRHIV(,7vW
        8LMW VYPI [MPP FIRIJMX 97'-7 F]                      TVSGIWWMRK XMQIW [LMGL TVSZMHI                                            JMREP  %' 6YPI
     EPPS[MRK MX XS STIVEXI YRHIV PSRKXIVQ                 EGGYVEXI I\TIGXEXMSRW SJ EHNYHMGEXMSR
     WYWXEMREFPI GEWI TVSGIWWMRK XMQIW JSV                                                                                                 8EFPI  TVSZMHIW E HIXEMPIH WYQQEV]
                                                             XMQIW
     MRMXMEP )%( ETTPMGEXMSRW JSV TIRHMRK                       8LI XIGLRMGEP GLERKI VIQSZMRK XLI                                       SJ XLI VIKYPEXSV] GLERKIW ERH XLI
     EW]PYQ ETTPMGERXW XS EPPS[ WYJJMGMIRX                  HE] JMPMRK VIUYMVIQIRX MW I\TIGXIH XS                                   I\TIGXIH MQTEGXW SJ XLMW JMREP VYPI

                                                        8%&0) {7911%6= 3* 463:-7-327 %2( -14%'87
                                                                                                                                                                            )\TIGXIH FIRIJMXW JVSQ
            'YVVIRX TVSZMWMSR                 'LERKI XS TVSZMWMSR                )\TIGXIH GSWXW ERH XVERWJIVW JVSQ GLERKIH TVSZMWMSR
                                                                                                                                                                              GLERKIH TVSZMWMSR

     97'-7 LEW E HE] MRMXMEP )%(    97'-7 MW IPMQMREXMRK XLI TVSZM    5YERXMXEXMZI 8LMW TVSZMWMSR GSYPH HIPE] XLI EFMPMX] SJ WSQI MRM                             5YERXMXEXMZI 2SX IWXMQEXIH
      EHNYHMGEXMSR XMQIJVEQI JSV ET    WMSRW JSV XLI HE] EHNY         XMEP ETTPMGERXW XS [SVO % TSVXMSR SJ XLI MQTEGXW SJ XLI VYPI
      TPMGERXW [LS LEZI TIRHMRK         HMGEXMSR XMQIJVEQI ERH             [SYPH FI XLI PSWX GSQTIRWEXMSR XVERWJIVVIH JVSQ EW]PYQ ET
      EW]PYQ ETTPMGEXMSRW              MWWYERGI SJ MRMXMEP )%(W JSV       TPMGERXW XS SXLIVW GYVVIRXP] MR XLI [SVOJSVGI TSWWMFP] MR XLI
                                        TIRHMRK EW]PYQ ETTPMGERXW         JSVQ SJ EHHMXMSREP [SVO LSYVW SV SZIVXMQI TE] % TSVXMSR SJ
                                                                           XLI MQTEGXW SJ XLI VYPI [SYPH FI PSWX TVSHYGXMZMX] GSWXW XS
                                                                           GSQTERMIW XLEX [SYPH LEZI LMVIH EW]PYQ ETTPMGERXW LEH
                                                                           XLI] FIIR MR XLI PEFSV QEVOIX FYX [LS [IVI YREFPI XS JMRH
                                                                           EZEMPEFPI [SVOIVW 97'-7 YWIW XLI PSWX GSQTIRWEXMSR XS
                                                                           EW]PYQ ETTPMGERXW EW E QIEWYVI SJ XLIWI HMWXVMFYXMSREP MQ
                                                                           TEGXW XVERWJIVW ERHEWETVS\]JSVFYWMRIWWIWvGSWXJSVPSWX
                                                                           TVSHYGXMZMX] 8LI PSWX GSQTIRWEXMSR HYI XS TVSGIWWMRK
                                                                           HIPE]W GSYPH VERKI JVSQ  QMPPMSR XS  QMPPMSR
                                                                           ERRYEPP] 8LI XSXEP XIR]IEV HMWGSYRXIH PSWX GSQTIRWEXMSR
                                                                           JSV]IEVWzEZIVEKIWFMPPMSRERHFMP
                                                                           PMSR EX HMWGSYRX VEXIW SJ  ERH  TIVGIRX VIWTIGXMZIP]
                                                                           97'-7 HSIW RSX ORS[ XLI TSVXMSR SJ SZIVEPP MQTEGXW SJ XLMW
                                                                           VYPI XLEX EVI XVERWJIVW SV GSWXW 0SWX [EKIW VERKMRK JVSQ
                                                                            QMPPMSR XS  QMPPMSR [SYPH VIWYPX MR IQTPS]
                                                                           QIRX XE\ PSWWIW XS XLI KSZIVRQIRX VERKMRK JVSQ  QMP
                                                                           PMSR XS  QMPPMSR ERRYEPP]
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     EYXLSVM^EXMSR ERH WMQTPMJMIW XLI                                    -- &EGOKVSYRH ERH (MWGYWWMSR
                                                                                                                                GLERKIH WYFWXERXMEPP] WMRGI XLEX XMQI
     VIUYMVIQIRXW JSV EW]PYQ WIIOIVW                                     % )PMQMREXMSR SJ (E] 4VSGIWWMRK                    )%( ETTPMGEXMSRW EVI RS[ EHNYHMGEXIH
     VIUYIWXMRK XS VIRI[ IQTPS]QIRX                                      8MQIJVEQI                                              EX 97'-7 WIVZMGI GIRXIVW %W HMWGYWWIH
     EYXLSVM^EXMSR                                                                                                             MR XLI TVSTSWIH VYPI ERH MR VIWTSRWI XS
                                                                         4VSGIWWMRK SJ %TTPMGEXMSRW JSV
     * -QTPIQIRXEXMSR                                                                                                          GSQQIRXW FIPS[ (,7 FIPMIZIW XLEX XLI
                                                                         )QTPS]QIRX %YXLSVM^EXMSR (SGYQIRXW
                                                                                                                                HE] XMQIJVEQI MW SYXHEXIH HSIW RSX
        8LI GLERKIW MR XLMW VYPI [MPP ETTP] XS                            )%(W
                                                                                                                                EGGSYRX JSV XLI GYVVIRX ZSPYQI SJ
     EHNYHMGEXMSR SJ MRMXMEP ETTPMGEXMSRW JSV                              4YVWYERX XS  '*6                              ETTPMGEXMSRW ERH RS PSRKIV VIJPIGXW
     [SVO EYXLSVM^EXMSR JMPIH SR SV EJXIV XLI                            E G   ERH E E  
     IJJIGXMZI HEXI SJ XLI VYPI F] XLSWI [MXL                            TIRHMRK EW]PYQ ETTPMGERXW QE] VIUYIWX                     7II 6YPIW ERH 4VSGIHYVIW JSV %HNYHMGEXMSR SJ

     TIRHMRK EW]PYQ ETTPMGEXMSRW ERH                                     ER )%( F] JMPMRK ER )%( ETTPMGEXMSR                    %TTPMGEXMSRW JSV %W]PYQ SV ;MXLLSPHMRK SJ
     VIRI[EP ETTPMGERXW JMPMRK SR SV EJXIV XLI                           YWMRK*SVQ-z%TTPMGEXMSRJSV                     (ITSVXEXMSR ERH JSV )QTPS]QIRX %YXLSVM^EXMSR 
                                                                                                                                *6  (IG    -RWTIGXMSR ERH )\TIHMXIH
     IJJIGXMZI HEXI %W RSXIH MR XLI TVIEQFPI                            )QTPS]QIRX %YXLSVM^EXMSR 9RHIV                       6IQSZEP SJ %PMIRW (IXIRXMSR ERH 6IQSZEP SJ
     XS XLI TVSTSWIH VYPI 6SWEVMS GPEWW                                 '*6  E  TVMSV XS XLMW JMREP VYPI                %PMIRW 'SRHYGX SJ 6IQSZEP 4VSGIIHMRKW %W]PYQ
     QIQFIVW [LS LEZI JMPIH XLIMV MRMXMEP                                97'-7vEHNYHMGEXSV]XMQIJVEQIJSV                     4VSGIHYVIW  *6   1EV   



:IV(EXI 7IT "        .YR        .OX      43       *VQ    *QX    7JQX    )@*6@*1@.267+1   .26
                                                                                                                                                      AR005544
                    *IHIVEP 6IKMWXIV  :SP  2S   1SRHE] .YRI    6YPIW ERH 6IKYPEXMSRW

     GYVVIRX STIVEXMSREP VIEPMXMIW                          MR *=   MR *=                 XLEX [IVI IUYMTTIH [MXL WXERHEPSRI
     7TIGMJMGEPP] MR XLI XMQI WMRGI XLI                       MR *=   MR                   QEGLMRIW JSV WYGL TYVTSWIW ;LMPI
     TVIZMSYW VYPI [EW IREGXIH EW]PYQ                       *=  ERH  MR *=                       HIGIRXVEPM^IH GEVH TVSHYGXMSR VIWYPXIH
     ETTPMGEXMSRW JMPIH [MXL 97'-7 LEZI                      ;LMPI VIGIMTXW LEZI HMTTIH WPMKLXP] MR                 MR MQQIHMEXI ERH GYWXSQM^IH
     VIEGLIH LMWXSVMG PIZIPW TIEOMRK QSWX                   XLI PEWX X[S JMWGEP ]IEVW TVMSV XS XLEX               EHNYHMGEXMSRW JSV XLI TYFPMG XLI GEVHW
     VIGIRXP] EX  MR *=  8LMW                    XLIVI [EW E  TIVGIRX MRGVIEWI MR                 TVSHYGIH HMH RSX GSRXEMR WXEXISJXLIEVX
     MRGVIEWI MR ETTPMGEXMSR VIGIMTXW EPSRK                 ERRYEP EJJMVQEXMZI EW]PYQ VIGIMTXW SZIV                WIGYVMX] JIEXYVIW ERH XLI] [IVI
     [MXL XLI WMKRMJMGERX ERH PSRKWXERHMRK                   XLI WTER SJ  ]IEVW XLEX HMVIGXP]                      WYWGITXMFPI XS XEQTIVMRK ERH
     FEGOPSK EX 97'-7 SJ EJJMVQEXMZI EW]PYQ                  GSRXVMFYXIH XS XLI MRGVIEWI MR G  )%(                 GSYRXIVJIMXMRK 7YGL HIJMGMIRGMIW
     ETTPMGEXMSRW uuEW]PYQFEGOPSKvvSV                    VIGIMTXW 97'-7 VIGIMZIH  MRMXMEP                FIGEQI MRGVIEWMRKP] ETTEVIRX EW XLI
     uuEJJMVQEXMZIEW]PYQFEGOPSKvv LEW                   )%( ETTPMGEXMSRW JVSQ EPMIRW [MXL                      9RMXIH 7XEXIW JEGIH RI[ ERH MRGVIEWMRK
     GSRXVMFYXIH XS ER MRGVIEWI MR VIGIMTXW SJ               TIRHMRK EW]PYQ ETTPMGEXMSRW MR *=                      XLVIEXW XS REXMSREP WIGYVMX] ERH TYFPMG
     MRMXMEP )%( ETTPMGEXMSRW JSV TIRHMRK                      MR *=   MR *=                 WEJIX]
     EW]PYQ ETTPMGERXW XLEX LEW WYVTEWWIH                      MR *=   MR                      -R VIWTSRWI XS XLIWI GSRGIVRW XLI
     EZEMPEFPI 97'-7 VIWSYVGIW &]                           *=   MR *=  ERH                       JSVQIV -27 ERH (,7 QEHI GSRWMHIVEFPI
     IPMQMREXMRK XLI HE] TVSZMWMSR (,7                    MR *=  97'-7 EPWS                         IJJSVXW XS YTKVEHI ETTPMGEXMSR
     WIIOW XS QEMRXEMR VIEPMWXMG GEWI                        VIGIMZIH  VIRI[EP )%(                            TVSGIHYVIW ERH PIZIVEKI XIGLRSPSK] MR
     TVSGIWWMRK XMQIW JSV MRMXMEP )%(                        ETTPMGEXMSRW JVSQ EPMIRW [MXL TIRHMRK                  SVHIV XS IRLERGI MRXIKVMX] WIGYVMX] ERH
     ETTPMGEXMSRW JMPIH F] TIRHMRK EW]PYQ                    EW]PYQ ETTPMGEXMSRW MR *=                   IJJMGMIRG] MR EPP EWTIGXW SJ XLI
     ETTPMGERXW XS EHHVIWW REXMSREP WIGYVMX]                MR *=   MR *=                   MQQMKVEXMSR TVSGIWW ERH F]  (,7
     ERH JVEYH GSRGIVRW ERH XS QEMRXEMR                     MR *=   MR *=                   JYPP] MQTPIQIRXIH XLIWI GIRXVEPM^EXMSR
     XIGLRSPSKMGEP EHZERGIW MR HSGYQIRX                      MR *=  ERH  MR *=  -R                  IJJSVXW
     TVSHYGXMSR ERH MHIRXMX] ZIVMJMGEXMSR XLEX               *=  97'-7 VIGIMZIH E XSXEP SJ                        -R KIRIVEP (,7 RS[ VIUYMVIW
     97'-7 QYWX JYPJMPP EW E TEVX SJ MXW GSVI                 ETTPMGEXMSRW [LMGL MRGPYHI                     ETTPMGERXW XS JMPI %TTPMGEXMSRW JSV
     QMWWMSR [MXLMR (,7 8LMW VYPIQEOMRK                     MRMXMEP ERH VIRI[EPW SJ  TPYW                   )QTPS]QIRX %YXLSVM^EXMSR EX E 97'-7
     HSIW RSX GLERKI ER] VIUYMVIQIRXW SV                      VITPEGIQIRXW XLI PEXXIV SJ [LMGL                0SGOFS\ [LMGL MW E 4SWX 3JJMGI FS\
     IPMKMFMPMX] JSV ETTP]MRK JSV SV FIMRK                   EVIMQQEXIVMEPXSXLMWVYPI JSV*SVQ-z              YWIH XS EGGIPIVEXI XLI TVSGIWWMRK SJ
     KVERXIH EW]PYQ SV IQTPS]QIRX                             JVSQ TIRHMRK EW]PYQ ETTPMGERXW                    ETTPMGEXMSRW F] IPIGXVSRMGEPP] GETXYVMRK
     EYXLSVM^EXMSR 6EXLIV MX VIJPIGXW XLI                  [MXL PIWW XLER LEPJ EW MRMXMEP                         HEXE ERH VIGIMZMRK ERH HITSWMXMRK
     STIVEXMSREP GLERKIW RIGIWWEV] HYI XS                    ETTPMGEXMSRW  SV  TIVGIRX                  JIIW -J (,7 YPXMQEXIP] ETTVSZIW XLI
     MRGVIEWIH IQTPS]QIRX EYXLSVM^EXMSR                      8LIVI [IVI  VIRI[EP                             ETTPMGEXMSR E GEVH SVHIV MW WIRX XS E
     ETTPMGEXMSR ZSPYQIW FEWIH SR ER                         ETTPMGEXMSRW  TIVGIRX MR *=                   GEVH TVSHYGXMSR JEGMPMX] [LIVI E
     YRHIVP]MRK ETTPMGEXMSR JSV EW]PYQ                        8LI MRGVIEWI MR FSXL MRMXMEP ERH                     XEQTIVVIWMWXERX GEVH VIJPIGXMRK XLI
                                                             VIRI[EP )%( ETTPMGEXMSRW GSYTPIH [MXL                  WTIGMJMG IQTPS]QIRX EYXLSVM^IH
     +VS[XL SJ 6IGIMTXW ERH &EGOPSK                          XLI KVS[XL MR XLI RYQFIV SJ EW]PYQ                     GEXIKSV] MW TVSHYGIH ERH XLIR QEMPIH XS
       8LI KVS[XL SJ EW]PYQ ETTPMGEXMSR                      GEWIW JMPIH MR VIGIRX ]IEVW LEW KVSWWP]                XLI ETTPMGERX ;LMPI XLI HE]
     VIGIMTXW F] 97'-7 EPSRK [MXL XLI                       SYXTEGIH 7IVZMGI 'IRXIV 3TIVEXMSRW                     XMQIJVEQI QE] LEZI QEHI WIRWI [LIR
     KVS[MRK EW]PYQ FEGOPSK LEW                             VIWSYVGIW WTIGMJMGEPP] FIGEYWI 97'-7                  PSGEP SJJMGIW TVSGIWWIH ETTPMGEXMSRW ERH
     GSRXVMFYXIH XS ER MRGVIEWI MR )%(                       LEW LEH XS VIEPPSGEXI VIWSYVGIW JVSQ                   TVSHYGIH XLI GEVHW (,7 FIPMIZIW XLEX
     ETTPMGEXMSRW JVSQ TIRHMRK EW]PYQ                        SXLIV TVSHYGX PMRIW XS EHNYHMGEXI XLIWI                XLI MRXIVZIRMRK GLERKIW HMWGYWWIH EFSZI
     ETTPMGERXW XLEX LEW WYVTEWWIH EZEMPEFPI                 )%( ETTPMGEXMSRW                                    RS[ QIER XLEX E HE] XMQIJVEQI MW
     7IVZMGI 'IRXIV 3TIVEXMSRW VIWSYVGIW %W                                                                        RSX VIJPIGXMZI SJ GYVVIRX TVSGIWWIW
                                                             'LERKIW MR -RXEOI ERH (SGYQIRX
     SJ *IFVYEV]  XLI EJJMVQEXMZI EW]PYQ                                                                       *VEYH 'VMQMREPMX] ERH 2EXMSREP
                                                             4VSHYGXMSR
     GEWIPSEH WXSSH EX ETTVS\MQEXIP]                                                                         7IGYVMX] 'SRWMHIVEXMSRW
     ETTPMGEXMSRW  ERH MX LEH FIIR KVS[MRK                   %HHMXMSREPP] EX XLI XMQI XLI HE]
                                                             XMQIJVEQI [EW IWXEFPMWLIH )%(W                         (,7 LEW FIIR YREFPI XS QIIX XLI 
     JSV WIZIVEP ]IEVW 'VIHMFPI JIEV WGVIIRMRK
     JSV EPMIRW ETTVILIRHIH EX SV RIEV XLI                   [LMGL[IVIJSVQIVP]ORS[REW*SVQW-z                 HE] TVSGIWWMRK XMQIJVEQI MR GIVXEMR
                                                             & [IVI TVSHYGIH F] PSGEP SJJMGIW                   GEWIWHYIXSGLERKIWXSXLIEKIRG]vW
     97 FSVHIV WII  '*6  MRGVIEWIH
                                                                                                                    ZIXXMRK TVSGIHYVIW ERH MRGVIEWIH
     XS SZIV  MR JMWGEP ]IEV *= 
                                                                8LIWI RYQFIVW SRP] EHHVIWW XLI EJJMVQEXMZI
     JVSQ  MR *=  %JJMVQEXMZI                                                                                7II 97'-7 1IQSVERHYQ JVSQ 1MGLEIP %]XIW
                                                             EW]PYQ ETTPMGEXMSRW XLEX JEPP YRHIV XLI NYVMWHMGXMSR
     EW]PYQ ETTPMGEXMSRW MRGVIEWIH XS SZIV                   SJ97'-7v%W]PYQ(MZMWMSR(IJIRWMZIEW]PYQ           )PMQMREXMSRSJ*SVQ-z&)QTPS]QIRX
      MR *=  JSV XLI JMVWX XMQI MR                ETTPMGERXW [LS JMPI XLIMV EW]PYQ ETTPMGEXMSRW [MXL    %YXLSVM^EXMSR 'EVH %YK    -R .ERYEV]
      ]IEVW 8LI 97'-7 %W]PYQ (MZMWMSR                   XLI(ITEVXQIRXSJ.YWXMGIvW)\IGYXMZI3JJMGIJSV       XLI JSVQIV -27 FIKER MWWYMRK RI[ QSVI
     VIGIMZIH  EJJMVQEXMZI EW]PYQ                      -QQMKVEXMSR 6IZMI[ )3-6 EVI EPWS IPMKMFPI JSV          WIGYVI )%(W JVSQ E GIRXVEPM^IH PSGEXMSR ERH
                                                              G  )%(W 8LIVI MW ER SRKSMRK FEGOPSK SJ TIRHMRK      EWWMKRIHERI[JSVQRYQFIV -z XSHMWXMRKYMWL
     ETTPMGEXMSRW MR *=   MR *=                   HIJIRWMZI EW]PYQ GEWIW EX )3-6 [LMGL LEW              MX JVSQ XLI PIWW WIGYVI PSGEPP] TVSHYGIH )%(W
                                                             ETTVS\MQEXIP]  GEWIW TIRHMRK 7II                *SVQW-z& (,7WXSTTIHMWWYMRK*SVQ-z&
        (,7 GSRXMRYIW XS VIGSKRM^I XLI VIKYPEXSV]                                                                 )%(W JVSQ PSGEP SJJMGIW EPXSKIXLIV MR 
                                                             1IQSVERHYQ JVSQ .IJJ 7IWWMSRW %XXSVRI] +IRIVEP
     LMWXSV] JSV SVMKMREPP] TVSQYPKEXMRK XLMW TVSZMWMSR     6IRI[MRK 3YV 'SQQMXQIRX XS XLI 8MQIP] ERH                  %W]PYQ ETTPMGERXW LS[IZIV QEOI XLIMV MRMXMEP
     ERH HMWGYWWIW XLMW I\XIRWMZIP] MR XLI GSQQIRX           )JJMGMIRX %HNYHMGEXMSR SJ -QQMKVEXMSR 'EWIW XS         VIUYIWX JSV IQTPS]QIRX EYXLSVM^EXMSR HMVIGXP] SR
     VIWTSRWIW                                              7IVZI XLI 2EXMSREP -RXIVIWX (IG    8LI         XLI %TTPMGEXMSR JSV %W]PYQ ERH ;MXLLSPHMRK SJ
        %R EJJMVQEXMZI EW]PYQ ETTPMGEXMSR JMPIH F] E       HIJIRWMZI EW]PYQ FEGOPSK EX )3-6 EPWS GSRXVMFYXIW      6IQSZEP*SVQ-zERHRIIHRSXJMPIEWITEVEXI
     TVMRGMTEP EW]PYQ ETTPMGERX QE] MRGPYHI E                XS ER MRGVIEWI MR FSXL MRMXMEP ERH VIRI[EP G  )%(     %TTPMGEXMSR JSV )QTPS]QIRX %YXLSVM^EXMSR
     HITIRHIRX WTSYWI ERH GLMPHVIR [LS QE] EPWS JMPI        ETTPMGEXMSRW                                          JSPPS[MRK E KVERX SJ EW]PYQ -J XLI] EVI VIUYIWXMRK
     XLIMV S[R )%( ETTPMGEXMSRW FEWIH SR XLI TIRHMRK            -R VIWTSRWI XS XLI KVS[MRK FEGOPSK ERH GSYVX     IQTPS]QIRX EYXLSVM^EXMSR FEWIH SR XLIMV TIRHMRK
     EW]PYQ ETTPMGEXMSR %R EJJMVQEXMZI EW]PYQ               SVHIVIH MQTPIQIRXEXMSR SJ XLI HE] EHNYHMGEXMSR      EW]PYQ ETTPMGEXMSR XLI] QYWX JMPI E WITEVEXI
     ETTPMGEXMSR MW SRI XLEX MW JMPIH [MXL 97'-7 ERH RSX     XMQIPMRI MR 6SWEVMS Z 97'-7 6SWEVMS Z 97'-7     VIUYIWXJSVIQTPS]QIRXEYXLSVM^EXMSRSR*SVQ-z
     MR VIQSZEP TVSGIIHMRKW FIJSVI XLI )\IGYXMZI 3JJMGI      * 7YTT H  ;( ;EWL   7IVZMGI 'IRXIV      
     JSV -QQMKVEXMSR 6IZMI[ )3-6                            3TIVEXMSRW VIEPPSGEXIH EZEMPEFPI SJJMGIV VIWSYVGIW        97'-7 [IFWMXI EX LXXTW[[[YWGMWKSZEFSYX
        8LI 97'-7 6IJYKII %W]PYQ ERH -RXIVREXMSREP       XS QIIX XLI HE] TVSGIWWMRK XMQI JSV MRMXMEP )%(     YWHMVIGXSVEXIWERHTVSKVEQSJJMGIWPSGOFS\
     3TIVEXMSRW 4EVSPI 7]WXIQ TVSZMHIH XLMW HEXE SR          ETTPMGEXMSRW GEYWMRK E WXVEMR EGVSWW SXLIV 7IVZMGI    MRXEOIPSGOFS\MRXEOITVSGIWWMRKXMTWLIIX PEWX
     1EVGL                                           'IRXIV 3TIVEXMSRW TVSHYGX PMRIW                       ZMI[IH 1EVGL   



:IV(EXI 7IT "    .YR     .OX    43    *VQ    *QX    7JQX    )@*6@*1@.267+1   .26
                                                                                                                                           AR005545
                         *IHIVEP 6IKMWXIV  :SP  2S   1SRHE] .YRI    6YPIW ERH 6IKYPEXMSRW                                                  

     FEGOKVSYRH GLIGOW [LMGL VIWYPXIH JVSQ                  GSQTPIXIH ERH E JMRHMRK MW QEHI XLI                   %' 6YPI EYXSQEXMGEPP] I\XIRHW XLI
     XLIKSZIVRQIRXvWVIWTSRWIXS7ITXIQFIV                 EHNYHMGEXSV YWIW XLI MRJSVQEXMSR                       IQTPS]QIRX EYXLSVM^EXMSR ERH )%(W
     XIVVSVEXXEGOW uuvv                    TVSZMHIH JVSQ &'9 ERHSV '*(3 XS                       JEPPMRK [MXLMR XLI HIWMKREXIH GEXIKSVMIW
     7TIGMJMGEPP] XLI -QQMKVEXMSR ERH                       HIXIVQMRI [LIXLIV XLI EPMIR MW IPMKMFPI                EW PSRK EW  8LI EPMIR JMPIH XLI VIUYIWX
     2EXYVEPM^EXMSR 7IVZMGI -27  JSPPS[IH                   XS VIGIMZI XLI VIUYIWXIH FIRIJMX                      XS VIRI[ LMW SV LIV )%( FIJSVI MXW
     F] 97'-7 QEHI QYPXMTPI GLERKIW XS                         8LIWI WIGYVMX] TVSGIHYVIW                           I\TMVEXMSR HEXI  XLI EPMIR MW
     IRLERGI XLI GSZIVEKI SJ WIGYVMX] GLIGOW                MQTPIQIRXIH TSWX  ERH [IPP EJXIV                   VIUYIWXMRK VIRI[EP FEWIH SR XLI WEQI
     HIXIGX ETTPMGERXW [LS TSWI VMWOW XS                     XLI IWXEFPMWLQIRX SJ XLI HE]                        IQTPS]QIRX EYXLSVM^EXMSR GEXIKSV]
     REXMSREP WIGYVMX] ERH TYFPMG WEJIX]                    EHNYHMGEXMSR XMQIJVEQI MR 
                                                                                                                    YRHIV [LMGL XLI I\TMVMRK )%( [EW
     HIXIV FIRIJMXW JVEYH ERH IRWYVI XLEX                   GSYTPIH [MXL WYHHIR MRGVIEWIW MR
                                                                                                                    KVERXIHERH  XLIEPMIRvWVIUYIWXJSV
     FIRIJMXW EVI KVERXIH SRP] XS IPMKMFPI                   ETTPMGEXMSRW LEZI I\XIRHIH
                                                             EHNYHMGEXMSR ERH TVSGIWWMRK XMQIW JSV                  VIRI[EP MW FEWIH SR E GPEWW SJ EPMIRW
     ETTPMGERXW MR VIWTSRWI XS                                                                                [LSWI IPMKMFMPMX] XS ETTP] JSV
       8LIWI GLERKIW MRGPYHIH XLI GVIEXMSR                   ETTPMGEXMSRW [MXL TSXIRXMEP IPMKMFMPMX]
     SJ XLI %TTPMGEXMSR 7YTTSVX 'IRXIVW XS                   MWWYIW HMWGSZIVIH HYVMRK FEGOKVSYRH                    IQTPS]QIRX EYXLSVM^EXMSR GSRXMRYIW
     GSPPIGX ETTPMGERX JMRKIVTVMRXW                         GLIGOW FI]SRH XLI GYVVIRX VIKYPEXSV]                   IZIR EJXIV XLI )%( I\TMVIW ERH MW FEWIH
     MRXIVEKIRG] W]WXIQW GLIGOW JSV EPP                      HE] XMQIJVEQI -X [SYPH FI GSRXVEV]                 SR ER IQTPS]QIRX EYXLSVM^EXMSR
     ETTPMGEXMSRW ERH *&- REQI GLIGO                         XS97'-7vGSVIQMWWMSRWERHYRHIVQMRI                 GEXIKSV] XLEX HSIW RSX JMVWX VIUYMVI
     WGVIIRMRKERHXLIGVIEXMSRSJ97'-7vW                 XLI MRXIKVMX] SJ XLI GEVHW MWWYIH MJ 97'-7             97'-7 XS EHNYHMGEXI ER YRHIVP]MRK
     3JJMGI SJ *VEYH (IXIGXMSR ERH 2EXMSREP                  [IVI XS VIHYGI SV IPMQMREXI ZIXXMRK                    ETTPMGEXMSR TIXMXMSR SV VIUYIWX -H %W
     7IGYVMX] *(27 XS TVSZMHI GIRXVEPM^IH                    TVSGIHYVIW WSPIP] XS QIIX E HE]                     RSXIH MR XLI TVIEQFPI XS XLI  %'
     WYTTSVX ERH TSPMG] KYMHERGI JSV WIGYVMX]                HIEHPMRI IWXEFPMWLIH HIGEHIW EKS                      6YPI ERH XLMW VYPI ERH EW GYVVIRXP]
     GLIGOW ERH ERXMJVEYH STIVEXMSRW -R                     -R WYQ (,7 MW JMREPM^MRK IPMQMREXMSR               VIJPIGXIH SR XLI 97'-7 [IFWMXI XLI
     %YKYWX  XLI ,SQIPERH 7IGYVMX]                      SJ XLI HE] TVSGIWWMRK TVSZMWMSR EX                 EYXSQEXMG I\XIRWMSR EQIRHQIRX ETTPMIW
     4VIWMHIRXMEP (MVIGXMZI ,74(                          '*6  E  FIGEYWI SJ XLI MRGVIEWIH                 XS EPMIRW [LS LEZI TVSTIVP] JMPIH
     'SQTVILIRWMZI 8IVVSVMWX6IPEXIH                         ZSPYQI SJ EJJMVQEXMZI EW]PYQ                           ETTPMGEXMSRW JSV EW]PYQ 7II MH  '*6
     7GVIIRMRK 4VSGIHYVIW HMVIGXIH (,7                    ETTPMGEXMSRW ERH EGGSQTER]MRK                          E G  *6EXz
     XS                                                     %TTPMGEXMSRW JSV )QTPS]QIRX                            R
                                                             %YXLSVM^EXMSR SZIV X[S HIGEHIW SJ
     MRGSVTSVEXI WIGYVMX] JIEXYVIW    XLEX VIWMWX         GLERKIW MR MRXEOI ERH )%( HSGYQIRX                        &IGEYWI XLI  %' 6YPI
     GMVGYQZIRXMSR XS XLI KVIEXIWX I\XIRX TSWWMFPI                                                                  IJJIGXMZIP] TVIZIRXW KETW MR [SVO
     ?ERH GSRWMHIVA MRJSVQEXMSR MRHMZMHYEPW QYWX             TVSHYGXMSR ERH XLI RIIH XS
     TVIWIRX MRGPYHMRK EW ETTVSTVMEXI XLI X]TI SJ         ETTVSTVMEXIP] ZIX ETTPMGERXW JSV JVEYH                EYXLSVM^EXMSR JSV EW]PYQ ETTPMGERXW
     FMSQIXVMG MHIRXMJMIV?WA SV SXLIV JSVQ SJ                GVMQMREPMX] ERH REXMSREP WIGYVMX]                     [MXL I\TMVMRK IQTPS]QIRX
     MHIRXMJMGEXMSR SV MHIRXMJ]MRK MRJSVQEXMSR XS FI         GSRGIVRW (,7 FIPMIZIW XLEX XLI HE]                 EYXLSVM^EXMSR ERH )%(W (,7 JMRHW MX
     TVIWIRXIH EX TEVXMGYPEV WGVIIRMRK                      XMQIJVEQI HMH RSX TVSZMHI WYJJMGMIRX                   YRRIGIWWEV] XS GSRXMRYI XS VIUYMVI XLEX
     STTSVXYRMXMIW                                          JPI\MFMPMX] JSV (,7 XS QIIX MXW GSVI                   TIRHMRK EW]PYQ ETTPMGERXW JMPI JSV
        7MRGI  97'-7 MQTPIQIRXIH                        QMWWMSRW SJ IRJSVGMRK ERH EHQMRMWXIVMRK                VIRI[EP SJ XLIMV IQTPS]QIRX
     GLERKIW MR XLI GSPPIGXMSR SJ FMSKVETLMG                 SYV MQQMKVEXMSR PE[W ERH IRLERGMRK                     EYXLSVM^EXMSRHE]WFIJSVIXLI)%(vW
     ERH FMSQIXVMG MRJSVQEXMSR JSV HSGYQIRX                  WIGYVMX]                                              WGLIHYPIH I\TMVEXMSR MR SVHIV XS TVIZIRX
     TVSHYGXMSR VIPEXIH XS MQQMKVEXMSR                          'EWI TVSGIWWMRK XMQI MRJSVQEXMSR QE]                KETW MR IQTPS]QIRX EYXLSVM^EXMSR -R
     FIRIJMXW MRGPYHMRK XLI %TTPMGEXMSR JSV                 FI JSYRH EX LXXTWIKSZYWGMWKSZ                    SVHIV XS VIGIMZI XLI EYXSQEXMG
     )QTPS]QIRX%YXLSVM^EXMSR *SVQ-z                      TVSGIWWMRKXMQIW ERH EW]PYQ                          I\XIRWMSR ETTPMGEXMSRW QE] FI JMPIH
       97'-7 QYWX ZIVMJ] XLI MHIRXMX] SJ                 ETTPMGERXW GER EGGIWW XLI [IF TEKI JSV                 FIJSVI XLI IQTPS]QIRX EYXLSVM^EXMSR
     ER EPMIR ETTP]MRK JSV ER )%( ERH                        VIEPMWXMG TVSGIWWMRK XMQIW EW 97'-7                    I\TMVIW XLSYKL MX MW EHZMWEFPI XS WYFQMX
     HIXIVQMRI [LIXLIV ER] GVMQMREP                         VIKYPEVP] YTHEXIW XLMW MRJSVQEXMSR
                                                                                                                    XLI ETTPMGEXMSR IEVPMIV XS QEOI
     REXMSREP WIGYVMX] SV JVEYH GSRGIVRW                    & 6IQSZEP SJ XLI (E] *MPMRK                        EPPS[ERGI JSV XLI XMQI MX XEOIW JSV
     I\MWX ERH GLERKIW XS FMSKVETLMG ERH                     6IUYMVIQIRX                                            ETTPMGERXW XS VIGIMZI E VIGIMTX
     FMSQIXVMGMRJSVQEXMSRMQTVSZI97'-7vW                                                                         EGORS[PIHKMRK97'-7vEGGITXERGISJ
                                                                (,7 MW VIQSZMRK  '*6  H 
     EFMPMX] XS GEVV] SYX XLIWI JYRGXMSRW                                                                          XLI VIRI[EP ETTPMGEXMSR [LMGL GER FI
     9RHIV XLI GYVVIRX REXMSREP WIGYVMX] ERH                 FIGEYWI  '*6 E H  EW EQIRHIH
                                                             MR  WIVZIW XLI WEQI TSPMG] TYVTSWI                YWIH EW TVSSJ SJ XLI I\XIRWMSR ERH XS
     JVEYH ZIXXMRK KYMHIPMRIW [LIR ER
                                                             EW  '*6  H  ERH MW EVKYEFP] EX                  EGGSYRXJSVGYVVIRX*SVQ-z
     EHNYHMGEXSV HIXIVQMRIW XLEX E GVMQMREP
                                                             GVSWWTYVTSWIW [MXL XLEX TVSZMWMSR                    TVSGIWWMRK XMQIW %W XLI HE] JMPMRK
     REXMSREP WIGYVMX] ERHSV JVEYH GSRGIVR
                                                             9RHIV XLI  %' 6YPI GIVXEMR                      VIUYMVIQIRX MW RS PSRKIV RIGIWWEV] (,7
     I\MWXW XLI GEWI MW JSV[EVHIH XS XLI
                                                             EPMIRW IPMKMFPI JSV IQTPS]QIRX                         MW JMREPM^MRK VIQSZEP SJ XLEX VIKYPEXSV]
     &EGOKVSYRH 'LIGO 9RMX &'9 SV 'IRXIV
     *VEYH (IXIGXMSR 3JJMGI '*(3 JSV                         EYXLSVM^EXMSR YRHIV HIWMKREXIH                         TVSZMWMSR
     EHHMXMSREP ZIXXMRK 3RGI ZIXXMRK MW                   GEXIKSVMIW QE] LEZI XLI ZEPMHMX] SJ XLIMV
                                                             IQTPS]QIRX EYXLSVM^EXMSR MJ                                7II EPWS 97'-7 %YXSQEXMG )QTPS]QIRX

        -R  *(27 [EW TVSQSXIH XS E (MVIGXSVEXI        ETTPMGEFPI ERH )%(W I\XIRHIH JSV YT XS                 %YXLSVM^EXMSR (SGYQIRX )%( )\XIRWMSR LXXTW
     [MXLMR97'-7vWSVKERM^EXMSREPWXVYGXYVI[LMGL         HE]WJVSQXLIHSGYQIRXvW                          [[[YWGMWKSZ[SVOMRKYRMXIHWXEXIWEYXSQEXMG
     IPIZEXIH MXW TVSJMPI ERH FVSYKLX STIVEXMSREP            I\TMVEXMSR HEXI MJ XLI] JMPI ER                        IQTPS]QIRXEYXLSVM^EXMSRHSGYQIRXIEHI\XIRWMSR
     MQTVSZIQIRXW XS MXW MQTSVXERX [SVO 7II 97'-7          ETTPMGEXMSR XS VIRI[ XLIMV )%( FIJSVI                   PEWX VIZMI[IHYTHEXIH *IF   
     *VEYH (IXIGXMSR ERH 2EXMSREP 7IGYVMX] (MVIGXSVEXI
     LXXTW[[[YWGMWKSZEFSYXYWHMVIGXSVEXIWERH        XLI)%(vWI\TMVEXMSRHEXI7II  '*6                       %W )%( ETTPMGERXW [MXL TIRHMRK EW]PYQ

                                                             E H   7TIGMJMGEPP] XLI                    ETTPMGEXMSRW EVI RSX EYXLSVM^IH JSV IQTPS]QIRX
     TVSKVEQSJJMGIWJVEYHHIXIGXMSRERHREXMSREP
     WIGYVMX]JVEYHHIXIGXMSRERHREXMSREPWIGYVMX]                                                                MRGMHIRX XS WXEXYW XLIWI ETTPMGERXW RIIH FSXL XLIMV
     HMVIGXSVEXI                                                                                                   EYXLSVM^EXMSR ERH HSGYQIRX XS FI I\XIRHIH 8LYW
                                                             7XEXIW MQQMKVEXMSR PE[W ERH VIKYPEXMSRW TVIGPYHI
        ,74( 'SQTVILIRWMZI 8IVVSVMWX6IPEXIH
                                                             97'-7 JVSQ KVERXMRK MQQMKVEXMSR FIRIJMXW XS EPMIRW     [LIVIZIV (,7 HMWGYWWIW I\TMVEXMSR VIRI[EP SV
     7GVIIRMRK 4VSGIHYVIW %YK    EZEMPEFPI EX       [MXL GIVXEMR GVMQMREP SV EHQMRMWXVEXMZI ZMSPEXMSRW    I\XIRWMSR SJ ER IQTPS]QIRX EYXLSVM^EXMSR
     LXXTWJEWSVKMVTSJJHSGWRWTHLWTHLXQP          7II IK  '*6  E  EKKVEZEXIH JIPSR] FEV       HSGYQIRX JSV XLMW TSTYPEXMSR MX EPWS QIERW
        97'-7 GSRHYGXW FEGOKVSYRH GLIGOW SR EPMIRW         XS IQTPS]QIRX EYXLSVM^EXMSR JSV EW]PYQ                 I\TMVEXMSR VIRI[EP SV I\XIRWMSR SJ IQTPS]QIRX
     ETTP]MRK JSV ER MQQMKVEXMSR FIRIJMX FIGEYWI 9RMXIH      ETTPMGERXW                                            EYXLSVM^EXMSR



:IV(EXI 7IT "    .YR     .OX    43    *VQ    *QX    7JQX    )@*6@*1@.267+1   .26
                                                                                                                                           AR005546
                    *IHIVEP 6IKMWXIV  :SP  2S   1SRHE] .YRI    6YPIW ERH 6IKYPEXMSRW

     ' 'SVVIWTSRHMRK 97 (ITEVXQIRX SJ                     TVSZMHI XMQIP] ERH EGGYVEXI HIGMWMSRW                  (,7vWJSGYWSRVIUYMVMRKEPMIRWXSFI
     .YWXMGI (3. 6IKYPEXMSRW                                 EGVSWW XLI QER] SXLIV X]TIW SJ FIRIJMX                 WIPJWYJJMGMIRX -R TEVXMGYPEV WIZIVEP
        8LMW VYPI VIQSZIW  XLI HE]                       VIUYIWXW MX VIGIMZIW                                  GSQQIRXIVW MRHMGEXIH XLEX XLMW
     TVSGIWWMRK TVSZMWMSR JSV MRMXMEP                           'SQQIRXW 1ER] GSQQIRXIVW                           VIKYPEXMSR MW MR XIRWMSR [MXL XLI
     IQTPS]QIRX EYXLSVM^EXMSR ETTPMGEXMSRW                   I\TVIWWIH WYTTSVX JSV XLI VYPI XS EWWMWX               uu-REHQMWWMFMPMX] SR 4YFPMG 'LERKI
     JSV XLSWI [MXL TIRHMRK EW]PYQ                           XLIEKIRG]vWXLSVSYKLZIXXMRKTVSGIWWIW               +VSYRHWvvJMREPVYPI[LMGL[EW
     ETTPMGEXMSRW ERH  XLI HE]                          ERH TVSXIGXMSRW EKEMRWX JVEYH ERH                      TVSQYPKEXIH MR %YKYWX  7II  *6
     XMQIJVEQI JSV VIGIMTX SJ ER ETTPMGEXMSR                 REXMSREP WIGYVMX] GSRGIVRW 7SQI                        %YK    'SQQIRXIVW
     XS VIRI[ IQTPS]QIRX EYXLSVM^EXMSR 7II                  GSQQIRXIVW I\TVIWWIH GSRGIVR XLEX XLI                  I\TVIWWIH GSRGIVR XLEX XLI TSXIRXMEP JSV
                                                             HE] XMQIJVEQI [SYPH JSVGI XLI                       E PSRKIV [EMX XS VIGIMZI IQTPS]QIRX
      '*6  E   ERH H  8LIWI
                                                             EKIRG]XSuuGYXGSVRIVWvvMRZIXXMRK
     TVSZMWMSRW GER WXMPP FI JSYRH MR XLI                                                                           EYXLSVM^EXMSR [SYPH TVIZIRX EW]PYQ
                                                             TVSGIWWIW
     TEVEPPIP VIKYPEXMSRW YRHIV XLI EYXLSVMX]                                                                       WIIOIVW JVSQ FIGSQMRK WIPJWYJJMGMIRX EW
                                                                6IWTSRWI (,7 ETTVIGMEXIW
     SJ XLI (ITEVXQIRX SJ .YWXMGI (3.  EX                  GSQQIRXIVWvKIRIVEPWYTTSVXJSVXLMW                  UYMGOP] EW TSWWMFPI ERH GSYPH GEYWI
     '*6 TEVX  'SQTEVI SPH  '*6                        VYPIQEOMRK -R EPP EHNYHMGEXMSRW 97'-7                XLIQ XS FIGSQI E TYFPMG GLEVKI %
      E  ERH H  [MXL  '*6                            [SVOW XS TVSZMHI XLSVSYKL ZIXXMRK XS                   GSQQIRXIV EPWS GMXIH  97' 
      E  ERH H                                       EHZERGI 97 MRXIVIWXW MRGPYHMRK                      TVSZMHMRK E 'SRKVIWWMSREP WXEXIQIRX
        8LMW VYPI VIZMWIW SRP] XLI (,7                                                                              XLEX uu?WAIPJWYJJMGMIRG] LEW FIIR E FEWMG
                                                             HIXIGXMRK ERH HIXIVVMRK MQQMKVEXMSR
     VIKYPEXMSRW EX  '*6                                                                                     TVMRGMTPI SJ 9RMXIH 7XEXIW MQQMKVEXMSR
                                                             JVEYH ERH TVSXIGXMRK EKEMRWX XLVIEXW XS
     2SX[MXLWXERHMRK XLI PERKYEKI SJ XLI                                                                            PE[WMRGIXLMWGSYRXV]vWIEVPMIWX
                                                             REXMSREP WIGYVMX] ERH TYFPMG WEJIX]
     TEVEPPIP (3. VIKYPEXMSRW MR  '*6                                                                              MQQMKVEXMSRWXEXYXIWvv
                                                             [LMPI EX XLI WEQI XMQI JEMVP]
      EW SJ XLI IJJIGXMZI HEXI SJ XLMW                EHQMRMWXIVMRK PE[JYP MQQMKVEXMSR 8LI
     JMREP VYPI XLI VIZMWIH PERKYEKI SJ  '*6                                                                         6IWTSRWI 97'-7 HMWEKVIIW [MXL XLI
                                                             I\MWXMRK XMQIJVEQI ERH GSYVX SVHIV LEZI                TVIQMWI SJ XLIWI GSQQIRXW %W]PYQ
      E  ERH VIQSZEP SJ  '*6                          RSX VIWYPXIH MR XLI EKIRG] GYXXMRK
      H MW FMRHMRK SR (,7 ERH MXW                                                                              WIIOIVW EVI RSX WYFNIGX XS TYFPMG GLEVKI
                                                             GSVRIVW MR GSRHYGXMRK FEGOKVSYRH                       MR XLI EHNYHMGEXMSR SJ XLIMV EW]PYQ
     EHNYHMGEXMSRW (,7 [MPP RSX FI FSYRH                    GLIGOW LS[IZIV MX LEW TPEGIH E WIVMSYW
     F] XLI HE] TVSZMWMSR SJ XLI (3.                                                                             ETTPMGEXMSRW 0MOI[MWI XLI TYFPMG
                                                             WXVEMRSRXLIEKIRG]vWVIWSYVGIWXS                   GLEVKI KVSYRH SJ MREHQMWWMFMPMX] MW RSX
     VIKYPEXMSRW EX  '*6  E   (3.                   GSRHYGX XLIWI GLIGOW [MXLMR  HE]W
     LEW RS EYXLSVMX] XS EHNYHMGEXI                                                                                 ETTPMGEFPI XS EW]PIIW WIIOMRK EHNYWXQIRX
                                                             :IXXMRK MW XVMKKIVIH F] MRHMZMHYEP FIRIJMX
     IQTPS]QIRX EYXLSVM^EXMSR ETTPMGEXMSRW                                                                         SJ WXEXYW XS PE[JYP TIVQERIRX VIWMHIRGI
                                                             VIUYIWXW MR XLMW GEWI XLI )%(
     (,7 LEW FIIR MR GSRWYPXEXMSR [MXL (3.                   ETTPMGEXMSR *MPMRK ER ETTPMGEXMSR JSV                 7MRGI XLMW TSTYPEXMSR MW RSX WYFNIGX XS
     SR XLMW VYPIQEOMRK ERH (3. QE] MWWYI                   EW]PYQ XVMKKIVW ZIXXMRK EW HSIW ETTP]MRK               MREHQMWWMFMPMX] FEWIH SR FIMRK PMOIP] XS
     GSRJSVQMRK GLERKIW EX E PEXIV HEXI                     JSV IQTPS]QIRX EYXLSVM^EXMSR 6IZMI[                   FIGSQI E TYFPMG GLEVKI 97'-7 HSIW RSX
                                                             SJ ERH VIWSPYXMSR SJ HIVSKEXSV]                        JMRH XLMW VYPI MR XIRWMSR [MXL
     --- 6IWTSRWI XS 4YFPMG 'SQQIRXW SR
                                                             MRJSVQEXMSR VIPEXMRK XS ER ETTPMGERX MW                VYPIQEOMRK VIPEXIH XS XLMW KVSYRH SJ
     XLI 4VSTSWIH 6YPI
                                                             GSRHYGXIH [MXLMR XLI SJJMGI LERHPMRK                   MREHQMWWMFMPMX] %HHMXMSREPP] XLI
     % +IRIVEP *IIHFEGO SR XLI 2461                         XLEX TEVXMGYPEV ETTPMGEXMSR %W]PYQ                    TYVTSWI SJ XLMW VYPIQEOMRK MW XS EHHVIWW
       -R VIWTSRWI XS XLI TVSTSWIH VYPI (,7                 ETTPMGEXMSRW EVI TVSGIWWIH MR EW]PYQ                   XLI YRWYWXEMREFPI FYVHIR HYI XS VMWMRK
     VIGIMZIH SZIV  GSQQIRXW HYVMRK                     SJJMGIW [LMPI IQTPS]QIRX EYXLSVM^EXMSR                RYQFIV SJ )%( ETTPMGEXMSRW ERH XLI
     XLI TYFPMG GSQQIRX TIVMSH (,7                          ETTPMGEXMSRW EVI TVSGIWWIH MR WIVZMGI                  VIWSYVGIW VIUYMVIH XS QEMRXEMR HE]
     VIZMI[IH XLI TYFPMG GSQQIRXW VIGIMZIH                   GIRXIVW :IXXMRK MW GSRHYGXIH                          TVSGIWWMRK XMQIW 97'-7 HEXE WYTTSVXW
     MR VIWTSRWI XS XLI TVSTSWIH VYPI ERH                    XLVSYKLSYX XLI EHNYHMGEXMSR TVSGIWW                   XLI STIVEXMSREP RIIH JSV XLMW VYPIQEOMRK
     EHHVIWWIW VIPIZERX GSQQIRXW MR XLI                      LS[IZIV ZIXXMRK SJXIR MW SGGYVVMRK MR                  FEWIH SR XLI WMKRMJMGERX MRGVIEWI MR )%(
     TVIEQFPI XS XLMW JMREP VYPI KVSYTIH F]                 VIPEXMSR XS XLI TEVXMGYPEV ETTPMGEXMSR                 ETTPMGEXMSRW MR VIGIRX ]IEVW EW [IPP EW
     WYFNIGX EVIE (,7 HSIW RSX EHHVIWW                      VEXLIV XLER MR VIPEXMSR XS XLI EPMIR SR ER             MRGVIEWIH VIUYMVIQIRXW JSV WIGYVMX]
     GSQQIRXW WIIOMRK GLERKIW MR 97 PE[W                  IRXIVTVMWI PIZIP                                      GLIGOW ERH ZIXXMRK [LMGL PIRKXLIR XLI
     VIKYPEXMSRW SV EKIRG] TSPMGMIW XLEX EVI                   'SQQIRXW 7IZIVEP GSQQIRXIVW                        XMQI MX XEOIW XS TVSGIWW IEGL GEWI
     YRVIPEXIH XS XLI GLERKIW TVSTSWIH MR                    WYTTSVXIHVIQSZMRKuuFYVIEYGVEXMGvv                   -RGVIEWMRK VIWSYVGIW JSV XLMW
     XLI 2461 8LMW JMREP VYPI HSIW RSX                      XMQIPMRIW 'SQQIRXIVW I\TVIWWIH XLEX                   EHNYHMGEXMSR MRHIJMRMXIP] XS QIIX ER
     VIWSPZI MWWYIW SYXWMHI XLI WGSTI SJ XLMW                WYGL XMQIPMRIW EVI EVFMXVEV] ERH EVI                   SYXHEXIH VIKYPEXSV] XMQIJVEQI [SYPH
     VYPIQEOMRK                                             HIXVMQIRXEP XS TVSTIV ZIXXMRK SJ                       GSQI EX WMKRMJMGERX GSWX TSXIRXMEPP] MR
                                                             ETTPMGERXW                                            JIIW ERH IJJMGMIRGMIW JSV SXLIV FIRIJMX
      +IRIVEP 7YTTSVX JSV XLI 2461                            6IWTSRWI 97'-7 EKVIIW [MXL                         VIUYIWXSVW %HHMXMSREPP] XLMW
        'SQQIRXW 1ER] GSQQIRXIVW                            GSQQIRXIVW XLEX E WIPJMQTSWIH HE]                  VYPIQEOMRK FVMRKW XLI VIKYPEXMSRW
     TVSZMHIH KIRIVEP I\TVIWWMSRW SJ WYTTSVX                 XMQIJVEQI MW RS PSRKIV ER EGGYVEXI                     VIPEXMRK XS G  TVSGIWWMRK MR PMRI [MXL
     JSV4VIWMHIRX8VYQTvWSZIVEPP                          VIJPIGXMSRSJXLIEKIRG]vWEFMPMX]XS                 SXLIV )%( GPEWWMJMGEXMSRW JSV [LMGL
     MQQMKVEXMSR TSPMGMIW ERH VIJSVQW                       EHNYHMGEXI XLIWI ETTPMGEXMSRW MR E
        6IWTSRWI (,7 ETTVIGMEXIW XLI                        WYWXEMREFPI QERRIV 8LMW VYPIQEOMRK                       3R 2SZIQFIV   (,7 TVSTSWIH XS WIX
     I\TVIWWMSR SJ WYTTSVX JSV XLI )\IGYXMZI                 [MPP EPPS[ 97'-7 KVIEXIV JPI\MFMPMX] XS                E  JII JSV MRMXMEP IQTPS]QIRX EYXLSVM^EXMSR
     &VERGL MR XLI VIEPQ SJ MQQMKVEXMSR                      WLMJX [SVOPSEHW FEWIH SR WIVZMGI GIRXIV                ETTPMGEXMSRW JSV XLSWI [MXL TIRHMRK EW]PYQ
     TSPMG] LS[IZIV [I RSXI XLEX XLI VIEWSR                GETEGMX] ERH XS GSRXMRYI XS GSRHYGX                    ETTPMGEXMSRW 7II 97 'MXM^IRWLMT ERH -QQMKVEXMSR
     JSV TVSQYPKEXMRK XLMW VYPI MW XS EHHVIWW                                                                       7IVZMGIW *II 7GLIHYPI ERH 'LERKIW XS 'IVXEMR
                                                             RIGIWWEV] ZIXXMRK [LMPI TVSZMHMRK                     3XLIV -QQMKVEXMSR &IRIJMX 6IUYIWX 6IUYMVIQIRXW
     GETEGMX] VIWSYVGIW ERH IJJMGMIRGMIW                   EGGYVEXI ERH XMQIP] EHNYHMGEXMSRW                       *6  2SZ    %PXLSYKL XLI JII VYPI
     EGVSWW 97'-7 STIVEXMSRW 8LI PIKEG]                     [MXLSYX E HMWTVSTSVXMSREXI MQTEGX XS XLI               LEW ]IX XS FI JMREPM^IH (,7 WXEXIH XLEX MX [EW
     VIKYPEXMSR JEMPW XS EGGSYRX JSV TVSGIWWMRK              EHNYHMGEXMSR SJ SXLIV FIRIJMX VIUYIWXW                TVSTSWMRK XS GLEVKI XLI JII XS OIIT JIIW PS[IV JSV
     GLERKIW ERH MRGVIEWIH JMPMRK ZSPYQIW                                                                           EPP JIITE]MRK )%( ETTPMGERXW %W HMWGYWWIH MR XLI
     ERH HSIW RSX TVSZMHI XLI EKIRG] XLI                      +IRIVEP 3TTSWMXMSR XS XLI 2461                      2461 TVIGIHMRK XLMW JMREP VYPI XLI EKIRG] MW
                                                                                                                    YRGIVXEMR [LIXLIV XLI JII [SYPH VIHYGI XLI SZIVEPP
     JPI\MFMPMX] MX RIIHW XS IJJIGXMZIP] QEREKI                 'SQQIRXW % RYQFIV SJ GSQQIRXIVW                    VIWSYVGI FYVHIR EWWSGMEXIH [MXL XLI HE]
     XLMW [SVOPSEH [LMPI GSRXMRYMRK XS                       RSXIH XLEX XLI TVSTSWIH VYPI GSRXVEHMGXW               XMQIJVEQI



:IV(EXI 7IT "    .YR     .OX    43    *VQ    *QX    7JQX    )@*6@*1@.267+1   .26
                                                                                                                                          AR005547
                         *IHIVEP 6IKMWXIV  :SP  2S   1SRHE] .YRI    6YPIW ERH 6IKYPEXMSRW                                                  

     TVSGIWWMRK XMQIPMRIW [IVI TVIZMSYWP]                       'SQQIRXW 7IZIVEP GSQQIRXIVW                        MPPIKEPP] HMWGVMQMREXMRK EKEMRWX 'IRXVEP
     VIQSZIH                                                MRHMGEXIH XLI] XLMRO EW]PYQ WIIOIVW                    ERH 7SYXL %QIVMGER QMKVERXW
        'SQQIRXW 1ER] GSQQIRXIVW EPWS                       WLSYPH FI EFPI XS [SVO EW WSSR EW                         6IWTSRWI 8LMW VYPIQEOMRK ETTPMIW
     MRHMGEXIH GSRGIVR XLEX XLMW VYPIQEOMRK                  TSWWMFPI                                              IUYEPP] XS EPP EW]PYQ WIIOIVW ERH HSIW
     [SYPH LEZI E RIKEXMZI MQTEGX SR                            6IWTSRWI ;LMPI 97'-7 EGORS[PIHKIW                  RSX HMWGVMQMREXI EKEMRWX EPMIRW FEWIH SR
     ETTPMGERXWv[IPPFIMRKMRXLEXHIPE]WMR                XLIWIGSQQIRXIVWvSTMRMSRWXLIIEVPMIWX              IXLRMGMX] SV GSYRXV] SJ SVMKMR 8LI
     )%( ETTPMGEXMSR TVSGIWWMRK [SYPH PIEH                   HEXI PIKEPP] TSWWMFPI MW EX XLI HE]                HIQSKVETLMGW SJ EW]PYQ WIIOIVW E
     XS SV I\EGIVFEXI MWWYIW PMOI                            QEVO EW 'SRKVIWW I\TPMGMXP] HIXIVQMRIH                TSTYPEXMSR XLEX LEW ]IX XS IWXEFPMWL
     LSQIPIWWRIWW JSSH MRWIGYVMX] QIRXEP                   XLEX EW]PYQ ETTPMGERXW [LS EVI RSX                     IPMKMFMPMX] JSV EW]PYQ WLMJX SZIV XMQI
     LIEPXL TVSFPIQW ERH PEGO SJ EGGIWW XS                  SXLIV[MWI IPMKMFPI JSV IQTPS]QIRX                      FEWIH SR GSYRXV] GSRHMXMSRW EVSYRH XLI
     LIEPXLGEVI                                             EYXLSVM^EXMSR uuWLEPP RSX FI KVERXIH WYGL              KPSFI 8LMW VYPIQEOMRK EHHVIWWIW
        6IWTSRWI 97'-7 WXVMZIW XS TVSGIWW EPP               EYXLSVM^EXMSR TVMSV XS  HE]W EJXIV XLI              97'-7vEZEMPEFPIVIWSYVGIWERHGETEGMX]
     FIRIJMXW VIUYIWXW IJJMGMIRXP] ERH XLMW                  HEXI SJ JMPMRK SJ XLI ETTPMGEXMSR JSV                  XS TVSGIWW ETTPMGEXMSRW JSV EW]PYQ
     VYPIQEOMRK HSIW RSX QEOI GLERKIW XS                     EW]PYQvv-2%WIGXMSR H  97'              WIIOIVW SJ EPP IXLRMGMXMIW ERH
     IPMKMFMPMX] VIUYMVIQIRXW SV XLI TVSGIWW                  H   ,S[IZIV XLI STIVEXMSREP                    REXMSREPMXMIW ERH XLI TVSGIWWMRK GLERKIW
     F] [LMGL EW]PYQ WIIOIVW SFXEMR                          VIEPMXMIW EVI RSX XLEX WMQTPI 97'-7 MW                TVSZMHIH F] XLMW VYPIQEOMRK [MPP
     IQTPS]QIRX EYXLSVM^EXMSR 6IKEVHPIWW                    GLEVKIH [MXL HYXMJYPP] EHQMRMWXIVMRK                   GSRXMRYI XS FI ETTPMIH IUYMXEFP]
     SJ XLI YRHIVP]MRK FEWMW JSV ETTP]MRK JSV                PE[JYP MQQMKVEXMSR FIRIJMXW ERH XLI -2%                   'SQQIRXW 3RI GSQQIRXIV MRHMGEXIH
     IQTPS]QIRX EYXLSVM^EXMSR EPP                           WTIGMJMGEPP] GLEVKIW XLI EKIRG] [MXL XLI               XLEX XLI] XLSYKLX XLI TVSTSWIH VYPI MW
     ETTPMGERXW JMPMRK MRMXMEPP] EVI WYFNIGX XS              EYXLSVMX] XS MQTPIQIRX XLI PE[                        TEVX SJ E WXVYGXYVI MRXIRHIH XS MKRSVI
     WSQI TIVMSH SJ TVSGIWWMRK XMQI XLEX QE]                 MRGPYHMRK XLI HMWGVIXMSR XS KVERX [SVO                 QMKVERXW ERH XVET XLIQ MR ER MPPIKEP
     HIPE] XLIMV EFMPMX] XS SFXEMR IQTPS]QIRX                EYXLSVM^EXMSR XS XLSWI [LS LEZI ETTPMIH                WXEXYW
     SV SXLIV WIVZMGIW                                      JSV EW]PYQ 97'-7 IRHIEZSVW XS TVSGIWW                    6IWTSRWI %PMIRW WIIOMRK EW]PYQ
        'SQQIRXW 7IZIVEP GSQQIRXIVW                         FIRIJMX VIUYIWXW EW UYMGOP] ERH                        QYWX FI TL]WMGEPP] TVIWIRX MR XLI
     STTSWIH XLI VYPI SR XLI FEWMW XLEX )%(W                 IJJMGMIRXP] EW VIWSYVGIW EPPS[ ERH [MPP                9RMXIH 7XEXIW TYVWYERX XS -2% WIGXMSR
     EVI IWWIRXMEP XS XLI IGSRSQMG WYVZMZEP SJ               GSRXMRYI XS HS WS JSV ETTPMGERXW WIIOMRK                E   FYX QE] SV QE] RSX LEZI
     ZYPRIVEFPI EW]PYQ WIIOIVW                              ER )%( FEWIH SR E TIRHMRK ETTPMGEXMSR                  IRXIVIH PE[JYPP] SV FI QEMRXEMRMRK
                                                             JSV EW]PYQ 8LMW VYPIQEOMRK WMQTP]                     PE[JYP WXEXYW *YVXLIV ER )%( HSIW RSX
        6IWTSRWI 8LMW VYPIQEOMRK HSIW RSX
                                                             VIQSZIWEREKIRG]vWERXMUYEXIHERH                    GLERKIEREPMIRvWYRHIVP]MRKWXEXYWSV
     TVIZIRX IPMKMFPI EW]PYQ WIIOIVW JVSQ
                                                             WIPJMQTSWIH GSRWXVEMRX XS EGGSYRX JSV                 PMOIPMLSSH SJ FIMRK IPMKMFPI JSV EW]PII
     SFXEMRMRK )%(W RSV HSIW MX QEOI
                                                             MRGVIEWIH STIVEXMSREP ERH JMPMRK ZSPYQI                WXEXYW FYX WMQTP] TVSZMHIW IZMHIRGI
     WYFWXERXMZI GLERKIW XS IPMKMFMPMX] SV
                                                             GLERKIW XLEX LEZI SGGYVVIH SZIV X[S                    XLEX ER EPMIR MW XIQTSVEVMP] EYXLSVM^IH
     EHNYHMGEXMSR VIUYMVIQIRXW -X QIVIP]
                                                             HIGEHIW WMRGI XLI TVSQYPKEXMSR SJ XLI                  XS [SVO MR XLI 9RMXIH 7XEXIW MR XLMW
     VIQSZIW E WIPJMQTSWIH XMQIJVEQI JSV
                                                             TVIZMSYW VYPI                                         MRWXERGI FEWIH SR E TIRHMRK ETTPMGEXMSR
     97'-7 XS EHNYHMGEXI WYGL ETTPMGEXMSRW                      'SQQIRXW 'SQQIRXIVW WXEXIH XLI]
     FIGEYWI XLEX GSRWXVEMRX MW RS PSRKIV                                                                           JSV EW]PYQ
                                                             FIPMIZI XLMW VYPIQEOMRK XS FI                             'SQQIRXW 7SQI GSQQIRXIVW
     STIVEXMSREPP] JIEWMFPI 97'-7 TYFPMGP]                  ERXMXLIXMGEP XS %QIVMGER ZEPYIW *SV
     TSWXW TVSGIWWMRK XMQI MRJSVQEXMSR WS                                                                          WYKKIWXIH XLEX XLI HE] HIEHPMRI MW
                                                             I\EQTPI SRI GSQQIRXIV WXEXIH uu                   RIIHIH XS IRWYVI KSZIVRQIRX
     XLEX EW]PYQ WIIOIVW LEZI MRJSVQEXMSR SR                 ?XLI 9RMXIH 7XEXIW MWA GSRWMHIVIH XLI
     LS[ PSRK XLI EHNYHMGEXMZI TVSGIWW MW                                                                           EGGSYRXEFMPMX]
                                                             uPERHSJSTTSVXYRMX]vFYX]IX[IVIJYWI                  6IWTSRWI 97'-7 EGORS[PIHKIW XLI
     XEOMRK ERH GER TPER EGGSVHMRKP] 97'-7                  XS KMZI TISTPI VYRRMRK JSV JIEV SJ
     EGORS[PIHKIW XLEX XLMW VYPI QE] GEYWI                                                                          MQTSVXERGI SJ EGGSYRXEFMPMX] ERH
                                                             TIVWIGYXMSR XLI STTSVXYRMX] XS XV] XS                  GSRXMRYSYWP] WIIOW XS MQTVSZI ERH
     WSQI TVSGIWWMRK HIPE]W XLEX QE]                         EWWMQMPEXIXSSYVGYPXYVIvv%RSXLIV
     MRGVIEWI XLI TIVMSH HYVMRK [LMGL                                                                               WXVIEQPMRI [SVO TVSGIWWIW XS MQTVSZI
                                                             WXEXIH uu   ?PAIX YW RSX JSVKIX XLEX [I            IJJMGMIRG] ERH TVSZMHI EGGYVEXI ERH
     EW]PYQ WIIOIVW VIP] SR MRHMZMHYEPW SV                   EVI E REXMSR FYMPX SR ZEPYIW XLEX XLSWI
     SVKERM^EXMSRW JSV WYTTSVX 8LMW                                                                                XMQIP] EHNYHMGEXMZI HIGMWMSRW %W [MXL
                                                             [LS RIIH LIPT GER EP[E]W PSSO XS XLMW                  ER] EHNYHMGEXMSR 97'-7 TSWXW
     VYPIQEOMRK HSIW RSX EMQ XS GVIEXI                       KVIEXREXMSRJSVWYTTSVXERHVIJYKIvv
     YRHYI LEVHWLMTW SV XS GEYWI                                                                                   TVSGIWWMRK XMQIW JSV XLIWI ETTPMGEXMSRW
                                                                6IWTSRWI 97'-7 HMWEKVIIW [MXL XLI
     YRRIGIWWEV] HIPE]W MR TVSGIWWMRK                        GSQQIRXIVWvTVIQMWI8LMWVYPIJSGYWIW                WS XLEX ETTPMGERXW GER YRHIVWXERH [LEX
     ETTPMGEXMSRW 6IKEVHPIWW SJ XLI                         SR97'-7vSTIVEXMSREPGETEGMX]ERHXLI                XS I\TIGX %TTPMGERXW LEZI EZIRYIW XS
     YRHIVP]MRK FEWMW JSV ETTP]MRK JSV                       VIWSYVGIW VIUYMVIH XS QEMRXEMR XLI                  EHHVIWW I\GIWWMZI HIPE]W XLVSYKL GEWI
     IQTPS]QIRX EYXLSVM^EXMSR EPP                           HE] TVSGIWWMRK XMQIPMRI EW VIGIMTXW ERH                WXEXYW MRUYMVMIW I\TIHMXI VIUYIWXW [LIR
     ETTPMGERXW JMPMRK MRMXMEPP] EVI WYFNIGX XS              ZIXXMRK VIUYMVIQIRXW LEZI MRGVIEWIH                    GMVGYQWXERGIW [EVVERX ERH IZIR
     WSQI TIVMSH SJ TVSGIWWMRK XMQI XLEX QE]                 HVMZI XLMW VYPIQEOMRK 'SRXMRYSYWP]                    NYHMGMEP VIHVIWW XLVSYKL JMPMRK E
     HIPE] XLIMV EFMPMX] XS SFXEMR PE[JYP                    MRGVIEWMRK VIWSYVGIW EPPSGEXIH XS E                    QERHEQYW EGXMSR XS GSQTIP E HIGMWMSR
     IQTPS]QIRX SV SXLIV WIVZMGIW 97'-7                     TEVXMGYPEV EHNYHMGEXMSR X]TI RIKEXMZIP]                6IQSZMRK XLI HE] XMQIJVEQI HSIW
     FIPMIZIW XLEX MXW STIVEXMSREP RIIHW                     MQTEGXW TVSHYGXMSR JSV SXLIV FIRIJMX                   RSX EFWSPZI 97'-7 SJ MXW VIWTSRWMFMPMX]
     SYX[IMKL GSRGIVRW SZIV TSXIRXMEP QMRSV                  VIUYIWX X]TIW 8LMW VYPI HSIW RSX VIHYGI               XS EHNYHMGEXI ETTPMGEXMSRW EW UYMGOP]
     MRGVIEWIW MR TVSGIWWMRK XMQIW                          SV IPMQMREXI XLI STTSVXYRMX] JSV ER                    ERH IJJMGMIRXP] EW TSWWMFPI FYX HSIW
        'SQQIRXW 7SQI GSQQIRXIVW                            EW]PYQ WIIOIV [LS LEW ]IX XS IWXEFPMWL                 VIGSRGMPI GLERKIW MR TVSGIWWMRK
     I\TVIWWIH GSRGIVR XLEX HIPE]W MR [SVO                   IPMKMFMPMX] JSV EW]PYQ SR XLI QIVMXW XS                VIUYMVIQIRXW JSV ZIXXMRK EW [IPP EW
     EYXLSVM^EXMSR [SYPH TVIZIRX EW]PYQ                      ETTP] JSV SV VIGIMZI ER )%(                           MRGVIEWMRK ETTPMGEXMSR ZSPYQI
     WIIOIVW JVSQ SFXEMRMRK ZEPMH WXEXI -(W                    'SQQIRXW % GSYTPI SJ GSQQIRXIVW                       'SQQIRXW 7SQI GSQQIRXIVW
        6IWTSRWI -RHMZMHYEP WXEXI                           MRHMGEXIH XLI] XLSYKLX XLMW VYPIQEOMRK                 EWWIVXIH XLEX 97'-7 MW GETEFPI SJ
     KSZIVRQIRXW HIXIVQMRI XLI                               [EW HMWGVMQMREXSV] XS GSQQYRMXMIW SJ                   QEMRXEMRMRK XLI HE] EHNYHMGEXMSR
     HSGYQIRXEV] VIUYMVIQIRXW JSV WXEXI                     GSPSV MRGPYHMRK ,MWTERMG MRHMZMHYEPW                    7II 97'-7 'LIGO 'EWI 4VSGIWWMRK 8MQIW
     MWWYIH MHIRXMJMGEXMSRW ERH XLIVIJSVI                    %RSXLIV GSQQIRXIV WXEXIH XLI TVSTSWIH                  LXXTWIKSZYWGMWKSZTVSGIWWMRKXMQIW PEWX ZMI[
     XLIWIVIUYMVIQIRXWEVISYXWMHI97'-7v                  VYPI [SYPH GSRXMRYI [LEX XLEX                          *IFVYEV]    7IPIGX XLI JSVQ X]TI ERH XLI
     TYVZMI[                                                GSQQIRXIV GPEMQIH [EW E LMWXSV] SJ                     WIVZMGI GIRXIV TVSGIWWMRK XLI ETTPMGEFPI GEWI



:IV(EXI 7IT "    .YR     .OX    43    *VQ    *QX    7JQX    )@*6@*1@.267+1   .26
                                                                                                                                           AR005548
                    *IHIVEP 6IKMWXIV  :SP  2S   1SRHE] .YRI    6YPIW ERH 6IKYPEXMSRW

     XMQIPMRI EW MX LEW FIIR HSMRK WS JSV                      'SQQIRXW 'SQQIRXIVW WXEXIH XLEX                    MRHMGEXIH XLEX MRXIRXMSR 'J IK
     ]IEVW                                                  'SRKVIWW MRXIRHIH JSV EW]PYQ                           2EXMSREP (IJIRWI %YXLSVM^EXMSR %GX JSV
        6IWTSRWI 97'-7 LEW EGLMIZIH                         ETTPMGERXW XS LEZI [SVO EYXLSVM^EXMSR EW               *MWGEP=IEV4YFPMG0E[z
     GSQTPMERGI [MXL XLI 6SWEVMS Z 97'-7                    WSSR EW TSWWMFPI EJXIV XLI HE]                     WIG  H  & uu0MFIVMER 6IJYKII
     GSYVX SVHIV  * 7YTT H  ;(                  [EMXMRK TIVMSH EW IZMHIRGIH F] XLI                    -QQMKVEXMSR*EMVRIWWvv  uu-JER
     ;EWL   EW  TIVGIRX SJ EW]PYQ                 MRGPYWMSR SJ WYGL [EMXMRK TIVMSH MR XLI                ETTPMGEXMSR JSV EHNYWXQIRX SJ WXEXYW
     VIPEXIH )%(W [IVI TVSGIWWIH [MXLMR                    -QQMKVEXMSR ERH 2EXMSREPMX] %GX -2%                   YRHIV WYFWIGXMSR F MW TIRHMRK JSV E
     HE]W JSV *= 97'-7 LEW LEH XS                       3XLIVWPMOI[MWIGSQQIRXIHXLEX-2%vW                  TIVMSH I\GIIHMRK  HE]W ERH LEW RSX
     HIZSXI WMKRMJMGERX EHHMXMSREP VIWSYVGIW                 I\TVIWW [EMXMRK TIVMSH GERRSX FI                       FIIR HIRMIH XLI 7IGVIXEV] WLEPP
     XS EGLMIZMRK XLIWI VEXIW [LMGL MR XYVR                 I\XIRHIH F] (,7 GMXMRK -2% WIGXMSR                    EYXLSVM^I IQTPS]QIRX JSV XLI
     EHZIVWIP] MQTEGXW SXLIV PMRIW SJ                         H  % MMM  [LMGL TVSZMHIW XLEX MR                 ETTPMGEFPIEPMIRvv &YX'SRKVIWWHMHRSX
     EHNYHMGEXMSRW 8LI VIWSYVGIW RIIHIH XS                  XLI EFWIRGI SJ I\GITXMSREP                             IZIR VIUYMVI (,7 XS SJJIV IQTPS]QIRX
     WYWXEMR XLMW VEXI EW ETTPMGEXMSR ZSPYQIW                GMVGYQWXERGIW JMREP EHQMRMWXVEXMZI                    EYXLSVM^EXMSR EX EPP PIX EPSRI EVXMGYPEXI
     ERH ZIXXMRK VIUYMVIQIRXW IMXLIV MRGVIEWI                EHNYHMGEXMSR SJ XLI EW]PYQ ETTPMGEXMSR                ER EHNYHMGEXMSR XMQIJVEQI
     SV JEMP XS EFEXI JVSQ LMWXSVMGEPP] LMKL                 RSX MRGPYHMRK EHQMRMWXVEXMZI ETTIEP                       97'  TVSZMHIW E
     PIZIPW [MPP GSRXMRYI XS JSVGI XLI EKIRG]                WLEPP FI GSQTPIXIH [MXLMR  HE]W EJXIV               'SRKVIWWMSREP WXEXIQIRX XLEX uu7IPJ
     XS HMZIVX VIWSYVGIW JVSQ SXLIV TVMSVMXMIW               XLI HEXI WYGL ETTPMGEXMSR MW JMPIH 8LI                WYJJMGMIRG] LEW FIIR E FEWMG TVMRGMTPI SJ
     EX KVIEXIV PIZIPW 8LMW MW RSX WYWXEMREFPI              GSQQIRXIVW WXEXIH XLEX XLI HE]                     9RMXIH 7XEXIW MQQMKVEXMSR PE[ WMRGI
     ERH YRJEMV XS SXLIV FIRIJMX VIUYIWXSVW                  WXEXYXSV] [EMXMRK TIVMSH JSV IQTPS]QIRX                XLMWGSYRXV]vWIEVPMIWXMQQMKVEXMSR
     [LS EPWS VIP] SR XMQIP] EHNYHMGEXMSRW                   EYXLSVM^EXMSR XEOIR XSKIXLIV [MXL XLI                 WXEXYXIvv;LMPI97'-7EKVIIWXLEXWIPJ
     JVSQ 97'-7 JSV SXLIV MQQMKVEXMSR                        HE] WXEXYXSV] XMQIJVEQI JSV EW]PYQ                 WYJJMGMIRG] MW ER MQTSVXERX EMQ SJ
     WXEXYWKVERXMRK FIRIJMX VIUYIWXW                       EHNYHMGEXMSRW QEOI GPIEV XLEX 'SRKVIWW                MQQMKVEXMSR PE[ ERH TSPMG] 97'-7
                                                             MRXIRHIH EW]PYQ WIIOIVW XS SFXEMR [SVO                 QYWX GSRWMHIV MXW [SVOPSEHW ERH XLI
     & (,7 7XEXYXSV] %YXLSVMX] ERH 0IKEP
                                                             EYXLSVM^EXMSR EW I\TIHMXMSYWP] EW                      STIVEXMSREP MQTEGXW SJ SYXHEXIH
     -WWYIW
                                                             TSWWMFPI IMXLIV FIJSVI  HE]W MJ 97'-7              VIKYPEXSV] XMQIPMRIW JSV EHNYHMGEXMRK
       7SQI GSQQIRXIVW TVSZMHIH MRTYX SR                     EHNYHMGEXIH XLI EW]PYQ ETTPMGEXMSR MR                  )%(W JSV EPMIRW [LS LEZI RSX ]IX
     (,7vWWXEXYXSV]ERHPIKEPEYXLSVMXMIWXS               XLEX XMQIJVEQI SV EW WSSR EW TSWWMFPI                 IWXEFPMWLIH IPMKMFMPMX] JSV EW]PYQ
     TVSQYPKEXI XLMW VIKYPEXMSR                             EJXIV  HE]W MJ XLI EW]PYQ ETTPMGEXMSR                  'SQQIRXW % GSQQIRXIV WXEXIH XLEX
      (,7 7XEXYXSV] %YXLSVMX]                              [EW WXMPP TIRHMRK EX XLEX XMQI                        XLI -2% EYXLSVM^IH (,7 XS TVSQYPKEXI
                                                                %RSXLIV GSQQIRXIV WXEXIH uu?XALI                   XLI TVSTSWIH VYPI 8LI GSQQIRXIV
        'SQQIRXW % GSQQIRXIV WEMH XLI                       4VSTSWIH 6YPI WLEVTP] GSRXVEHMGXW E                    JYVXLIV WXEXIH XLEX XLIVI MW RS
     TVSTSWIHVYPIGSRXVEZIRIW'SRKVIWWv                    FEWMG TVMRGMTPI SJ 9RMXIH 7XEXIW                       JYRHEQIRXEP VMKLX XS WIIO WEJIX] ERH
     MRXIRXMSR XS TVSXIGX QMKVERXW [MXL [IPP                MQQMKVEXMSRPE[WMRGISYVREXMSRvW                    TVSXIGXMSR MR XLI 9RMXIH 7XEXIW
     JSYRHIH JIEVW SJ TIVWIGYXMSR 7MQMPEVP]                IEVPMIWX MQQMKVEXMSR WXEXYXIW [IVI                        6IWTSRWI 97'-7 GSRGYVW XLEX MX LEW
     SXLIVW GSQQIRXIH XLEX XLI TVSTSWIH                      TEWWIH7IPJWYJJMGMIRG]vvGMXMRKXS               XLI EYXLSVMX] KVERXIH F] XLI WXEXYXI XS
     VYPI GSRXVEZIRIW 'SRKVIWWMSREP MRXIRX XS                97'  XS NYWXMJ] XLI VIUYMVIQIRX                 TVSQYPKEXI XLMW VYPIQEOMRK 8LMW
     TVSQSXI IJJIGXMZI WIXXPIQIRX ERH                        JSV I\TIHMXMSYW TVSGIWWMRK SJ EW]PYQ                   VYPIQEOMRK HSIW RSX LS[IZIV MQTEGX
     GSRJSVQ [MXL MRXIVREXMSREP PE[ EW                      WIIOIVWv)%(ETTPMGEXMSRW                            EREPMIRvWVMKLXXSWIIOWEJIX]ERH
     IZMHIRGIHMRXLI6IJYKII%GXSJvW                    6IWTSRWI 97'-7 VIWTIGXJYPP]                        TVSXIGXMSR MR XLI 9RMXIH 7XEXIW RSV HSIW
     PIKMWPEXMZI LMWXSV] ERH MXW PERKYEKI                    HMWEKVIIW[MXLXLIGSQQIRXIVWv                        MX MQTSWI GLERKIW XS XLI TVSGIWW SV
     WMQMPEV XS XLEX SJ XLI 92 4VSXSGSP SR XLI               WXEXYXSV] MRXIVTVIXEXMSR -2% WIGXMSR                  IPMKMFMPMX] VIUYMVIQIRXW EWWSGMEXIH [MXL
     7XEXYW SJ 6IJYKIIW SJ  %RSXLIV                      H  WXEXIW MR TIVXMRIRX TEVX uu%R                WIIOMRK EW]PYQ
     GSQQIRXIV EKVIIH WXEXMRK XLEX XLI                  ETTPMGERX JSV EW]PYQ MW RSX IRXMXPIH                      'SQQIRXW 7SQI GSQQIRXIVW
     4VSXSGSP ERH 97 PE[ [IVI MR VIWTSRWI                  ?IQTLEWMW EHHIHA XS IQTPS]QIRX                         HMWEKVIIH [MXL IPMQMREXMRK XLI HE]
     XS ;SVPH ;EV -- ERH XLI ,SPSGEYWX                      EYXLSVM^EXMSR FYX WYGL EYXLSVM^EXMSR                  TVSGIWWMRK XMQIJVEQI WXEXMRK XLEX MX MW
        6IWTSRWI 8LMW VYPIQEOMRK HSIW RSX                   QE] FI TVSZMHIH YRHIV VIKYPEXMSR F]                    EVFMXVEV] ERH GETVMGMSYW 'SQQIRXIVW
     MQTIHIEREPMIRvWSTTSVXYRMX]XSWIIO                  XLI ?7IGVIXEV]A %R ETTPMGERX [LS MW RSX               WXEXIH XLEX XLIVI [EW RS VEXMSREP
     EW]PYQ MR XLI 9RMXIH 7XEXIW ERH HSIW                    SXLIV[MWI IPMKMFPI JSV IQTPS]QIRX                      GSRRIGXMSR FIX[IIR XLI TVSTSWEP ERH
     RSX GSRXVEZIRI 'SRKVIWWMSREP MRXIRX SV                  EYXLSVM^EXMSR WLEPP RSX FI KVERXIH WYGL                XLI JEGXW VIPMIH YTSR XLEX XLI EKIRG]
     I\TPMGMX 'SRKVIWWMSREP HMVIGXMZIW                      EYXLSVM^EXMSR TVMSV XS  HE]W                        VIPMIH SR MRETTVSTVMEXI JEGXSVW ERH
     4VSZMHMRK ER EW]PYQ WIIOIV [MXL XLI                     ?IQTLEWMW EHHIHA EJXIV XLI HEXI SJ JMPMRK              JEMPIH XS GSRWMHIV EPXIVREXMZIW
     STTSVXYRMX] XS ETTP] JSV XIQTSVEV]                      XLIETTPMGEXMSRJSVEW]PYQvv8LI                     7TIGMJMGEPP] XLI] WXEXIH XLEX XLI EKIRG]
     IQTPS]QIRX EYXLSVM^EXMSR [LMPI ER                       WXEXYXSV] PERKYEKI TPEMRP] GVIEXIW E                   HMHRSXHMWGPSWIXLIz
     ETTPMGEXMSR JSV EW]PYQ MW TIRHMRK MW E                  QMRMQYQ VIUYMVIQIRX JSV XLI XMQI ER                    TVSGIWWMRK XMQIW GER EHIUYEXIP] ZIX
     HMWGVIXMSREV] FIRIJMX EW TVSZMHIH F]                   EW]PYQ ETTPMGEXMSR GER FI TIRHMRK                      ETTPMGERXW HYVMRK XLI  HE]W JEMPIH XS
     'SRKVIWW 7II -2% WIGXMSR  H                        FIJSVI XLI HMWGVIXMSREV] EYXLSVMX] XS                  GSRWMHIV XLI MQTEGX XS ETTPMGERXW RSX
      uu%R ETTPMGERX JSV EW]PYQ MW RSX                       KVERX IQTPS]QIRX EYXLSVM^EXMSR MW                      VIGIMZMRK ER )%( ERH MRETTVSTVMEXIP]
     IRXMXPIH XS IQTPS]QIRX EYXLSVM^EXMSR                   TIVQMXXIH FYX HSIW RSX TVSLMFMX E PSRKIV              GSRWMHIVIH VIHYGIH PMXMKEXMSR EW E JEGXSV
     FYX WYGL EYXLSVM^EXMSR QE] FI TVSZMHIH                  [EMX XMQI [LIXLIV F] VIKYPEXMSR                         'SQQIRXIVW EPWS WXEXIH XLEX (,7 HMH
     YRHIV VIKYPEXMSR F] XLI ?7IGVIXEV] SJ                   TSPMG] SV XLI XMQI MX XEOIW XS EHNYHMGEXI             RSX EHIUYEXIP] GSRWMHIV EPXIVREXMZIW
     ,SQIPERH7IGYVMX]Avv 97'-7WXVMZIWXS                WYGL ER ETTPMGEXMSR EJXIV E QMRMQYQ SJ                 7TIGMJMGEPP] GSQQIRXIVW WXEXIH XLEX
     TVSZMHI XMQIP] ERH IJJMGMIRX                             HE]W LEW TEWWIH 8LI WITEVEXI                      (,7 HMH RSX I\TPEMR [L] MX GERRSX LMVI
     EHNYHMGEXMSRW JSV EPP FIRIJMX VIUYIWXW                 TVSZMWMSR EVXMGYPEXMRK E HE] EW]PYQ                EHHMXMSREP WXEJJ [L] MX MW EFERHSRMRK
     MRGPYHMRK EW]PYQ ERH VIPEXIH FIRIJMXW                  EHNYHMGEXMSR XMQIJVEQI HSIW RSX GLERKI                 XLI XMQIJVEQI EPXSKIXLIV VEXLIV XLER
     FYX XLI WMKRMJMGERX MRGVIEWIW MR                        XLMW GSRGPYWMSR ,EH 'SRKVIWW [MWLIH XS                I\XIRHMRKMX GLEPPIRKMRK(,7vW
     ETTPMGEXMSRW JSV EW]PYQ EVI SZIVXE\MRK                  VIUYMVI XLI 7IGVIXEV] XS EYXLSVM^I                     GSQTEVMWSR XS 6IXIRXMSRSJ)&z)&z
     SYV VIWSYVGIW XS TVSGIWW ERGMPPEV]                      IQTPS]QIRX JSV ETTPMGERXW EJXIV                     ERH)&z-QQMKVERX;SVOIVWERH
     FIRIJMXW [MXLMR XLI HE] VIKYPEXSV]                   HE]W LEH IPETWIH WMRGI XLI EW]PYQ                      4VSKVEQ -QTVSZIQIRXW %JJIGXMRK ,MKL
     XMQIJVEQI                                              ETTPMGEXMSR [EW JMPIH MX GSYPH LEZI                   7OMPPIH 2SRMQQMKVERX ;SVOIVW  *6


:IV(EXI 7IT "    .YR     .OX    43    *VQ    *QX    7JQX    )@*6@*1@.267+1   .26
                                                                                                                                      AR005549
                         *IHIVEP 6IKMWXIV  :SP  2S   1SRHE] .YRI    6YPIW ERH 6IKYPEXMSRW                                          

      2SZ  uu%'vv ERH                  GPIEV [L] (,7 VINIGXIH XLI STXMSR SJ                   EHNYHMGEXMSRW [MPP KIRIVEPP] EPMKR [MXL
     EWWIVXIH XLEX (,7 MKRSVIH XLEX FIJSVI                   GLERKMRK XLI HE] EW]PYQ ETTPMGERX                   (,7 TVSGIWWMRK XMQIW EGLMIZIH MR *=
     6SWEVMS Z 97'-7  SJ ETTPMGERXW                      )%( TVSGIWWMRK XMQIJVEQI XS  HE]W                    FIJSVI XLI 6SWEVMS Z 97'-7 GSYVX
     [IVI EHNYHMGEXIH [MXLMR  HE]W                        %W (,7 [VSXI MR XLI TVSTSWIH VYPI                     SVHIV  * 7YTT H  ;(
        6IWTSRWI (,7 VIWTIGXJYPP] HMWEKVIIW                 QEMRXEMRMRK ER] EHNYHMGEXMSR XMQIJVEQI                 ;EWL   8S XLI I\XIRX XLEX
     [MXL GSQQIRXIVW XLEX MX LEW RSX                         JSV XLMW )%( [SYPH YRRIGIWWEVMP]                       PIKMXMQEXI VIPMERGI MRXIVIWXW QE] I\MWX MR
     HIQSRWXVEXIH E VEXMSREP GSRRIGXMSR                      GSRWXVMGX EHNYHMGEXMSR [SVOJPS[W                      XLMW GSRXI\X (,7 EHIUYEXIP] EHHVIWWIH
     FIX[IIR MXW TVSTSWEP ERH XLI JEGXW                      9PXMQEXIP] 97'-7 MW YREFPI XS TPER MXW                WYGLMRXIVIWXWMR(,7vWTVSTSWEPXS
     FIJSVI XLI EKIRG] (,7 LEW YTHEXIH XLI                  [SVOPSEH ERH WXEJJMRK RIIHW [MXL XLI                   KVERHJEXLIV MRXS XLI HE] EHNYHMGEXMSR
     VYPI[MXLQSVIHEXEJSV*=z                  PIZIP SJ GIVXEMRX] XLEX E FMRHMRK                      XMQIJVEQI EPP 6SWEVMS GPEWW QIQFIVW
     -R XLI TVSTSWIH VYPI (,7 TVSZMHIH HEXE                 XMQIJVEQI QE] VIUYMVI ERH LEW RS [E]                  [LS JMPIH XLIMV )%( ETTPMGEXMSRW TVMSV
     VIKEVHMRK *=  TVSGIWWMRK XMQIW                     SJ TVIHMGXMRK [LEX REXMSREP WIGYVMX] ERH               XS XLI IJJIGXMZI HEXI SJ XLI JMREP VYPI
     HIWGVMFIH GYVVIRX TVSGIWWMRK XMQIW                     JVEYH GSRGIVRW QE] FI SV [LEX                            (,7 I\TPMGMXP] VIGSKRM^IH MXW TEWX
     I\TPEMRIH MXW ZIXXMRK TVSGIHYVIW ERH                    TVSGIHYVIW [SYPH FI RIGIWWEV] MR XLI                   VIKYPEXSV] LMWXSV] SR XLMW MWWYI ERH
     LS[ XLI] LEZI GLERKIH WMRGI 7ITXIQFIV                   JYXYVI                                                LYQERMXEVMER GSRGIVRW MR XLI TVSTSWIH
       ERH WLS[IH XLEX QSWX                             (,7 VIGSKRM^IW TSXIRXMEP MQTEGXW XS                 VYPI (,7 LEW XVMIH XS JMRH [E]W XS
     ETTPMGEXMSRW XLEX VIUYMVIH EHHMXMSREP                   ETTPMGERXW SJ RSX VIGIMZMRK ER )%( EX                  VIHYGI EHNYHMGEXMSR XMQIW JSV XLMW
     ZIXXMRK XSSO QSVI XLER  HE]W XS                       XLI IEVPMIWX TSWWMFPI NYRGXYVI LS[IZIV               TSTYPEXMSR WYGL EW VIXYVRMRK XS XLI
     EHNYHMGEXI (,7 EPWS I\TPEMRIH XLEX                     XLMW VYPI HSIW RSX TVSLMFMX SV SXLIV[MWI               TVSGIWWMRK SJ EJJMVQEXMZI EW]PYQ
     SXLIV EHNYHMGEXMSRW LEZI FIIR HIPE]IH                   PMQMXEREW]PYQETTPMGERXvWIPMKMFMPMX]               ETTPMGEXMSRWSREuuPEWXMRJMVWXSYXvv
     EW E GSRWIUYIRGI SJ HMZIVXMRK WMKRMJMGERX               JSV ER )%( SV XS ETTP] JSV SV VIGIMZI                   0-*3 FEWMW (,7 LEW JYVXLIV
     VIWSYVGIW JVSQ SXLIV FIRIJMX VIUYIWX                    EW]PYQ 97'-7 I\TIGXW XLEX XLMW VYPI                   GSRWMHIVIH LYQERMXEVMER JEGXSVW
     X]TIW MR SVHIV XS EHNYHMGEXI G                         [MPP KIRIVEPP] EPMKR EHNYHMGEXMSRW [MXL                WYFQMXXIH F] GSQQIRXIVW FYX EW RSXIH
     ETTPMGEXMSRW [MXLMR XLI HE]                          97'-7 TVSGIWWMRK XMQIW EGLMIZIH MR *=                  MR XLI TVSTSWIH VYPI XLI I\MWXMRK HE]
     XMQIJVEQI                                               % TSXIRXMEPP] WQEPP WYGL EW E                 XMQIJVEQI LEW FIGSQI YRXIREFPI (,7
        (,7 GSRWMHIVIH EPXIVREXMZIW WYGL EW                 XS HE] HIPE] MR EHNYHMGEXMSR XMQI EW               TVSTSWIH ERH MW JMREPM^MRK E WSPYXMSR MR
     LMVMRK EHHMXMSREP WXEJJ SV I\XIRHMRK XLI                GSQTEVIH XS GYVVIRX TVSGIWWMRK XMQIW                  XLMW VYPIQEOMRK XLEX MW MRXIRHIH XS
     XMQIJVEQI XS  HE]W (,7                               [SYPH EPPS[ XLI EKIRG] XLI JPI\MFMPMX] MR              FEPERGIXLIEKIRG]vWGSVIQMWWMSRW[MXL
     EGORS[PIHKIH XLEX MX MW [SVOMRK XS                      VIWSYVGIW XS JYPP] ZIX ETTPMGERXW XLVSYKL              TVSZMHMRK ER EZIRYI JSV EW]PYQ
     GSQTP][MXLXLIGSYVXSVHIVvW                          E WYWXEMREFPI ETTVSEGL JSV ]IEVW XS                    ETTPMGERXW XS SFXEMR IQTPS]QIRX
     TVSGIWWMRK XMQIW FYX XLEX WYGL ER                      GSQI                                                  EYXLSVM^EXMSR (,7 MW GSQQMXXIH XS
     ETTVSEGL MW YRWYWXEMREFPI HYI XS XLI                       0EWXP] (,7 HMH RSX [VSRKJYPP]                      EHNYHMGEXMRK XLIWI ETTPMGEXMSRW EW
     I\XVIQI VIWSYVGI WXVEMR )ZIR MJ (,7                    GSRWMHIV VIHYGIH PMXMKEXMSR EW E JEGXSV               UYMGOP] EW TSWWMFPI MR E XVERWTEVIRX ERH
     [IVI EFPI XS LMVI WXEJJ XS EXXIQTX XS                   EW MX [EW MQTSVXERX ERH XVERWTEVIRX XS                 WYWXEMREFPI QERRIV
     QMXMKEXI ER MRGVIEWIH XMQIJVEQI JVSQ ER                 RSXI XS XLI TYFPMG XLEX MX ERXMGMTEXIH ER
     STIVEXMSREP TIVWTIGXMZI (,7 [SYPH                      IRH XS PMXMKEXMSR SZIV XLI HE]                       6SWEVMS Z 97'-7 'SYVX 3VHIV
     WXMPP RIIH XS VIGVYMX ZIX SRFSEVH ERH                EHNYHMGEXMSR XMQIJVEQI FYX XLEX                          7SQI GSQQIRXIVW TVSZMHIH MRTYX SR
     XVEMR RI[ EHNYHMGEXSVW ERH PMOIP]                      ETTPMGERXW GSYPH MR WSQI GEWIW WXMPP                   XLI GSYVX SVHIV MR 6SWEVMS Z 97'-7 
     I\XIRH XLI XMQIJVEQI *YVXLIV                          GLEPPIRKI XLI EKIRG] SR uuYRVIEWSREFPI                 * 7YTT H  ;( ;EWL  
     I\XIRHMRK XLI VIKYPEXSV] XMQIJVEQI XS                   HIPE]vvXLISVMIW                                        'SQQIRXW % GSQQIRXIV WXEXIH XLEX
      SV  HE]W [SYPH RSX RIGIWWEVMP]                        'SQQIRXW 'SQQIRXIVW WXEXIH XLEX                    XLI VYPI ETTIEVW XS FI ER EXXIQTX XS
     VIWYPX MR E XMQIJVEQI XLEX MW JIEWMFPI MR               XLI TVSTSWIH VYPI [EW ER YRWYTTSVXIH                   VIZIVWI 6SWEVMS Z 97'-7 EWWIVXMRK XLEX
     EPP GEWIW (,7 I\TPMGMXP] WXEXIH XLEX                   WMKRMJMGERX HITEVXYVI JVSQ TEWX TSPMG]                 MX MW ZIV] HSYFXJYP XLEX GSYVXW [MPP
     FIJSVI 6SWEVMS MX [EW EHNYHMGEXMRK                   ERH XLEX MX QYWX EREP]^I VIPMERGI                      JEZSVEFP] VIZMI[ ER EXXIQTX XS VIZIVWI
     TIVGIRX SJ ETTPMGEXMSRW [MXLMR  HE]W                 MRXIVIWXW GMXMRK *'' Z *S\ 8IPIZMWMSR                XLI TVIZMSYW VYPMRK XLVSYKL E VIKYPEXSV]
     ERH XLYW HMWEKVIIW [MXL XLI GSQQIRXIV                   7XEXMSRW  97                             TVSGIWW 7MQMPEVP] ERSXLIV GSQQIRXIV
     XLEX (,7 MKRSVIH XLEX JEGX (,7 LEW                     'SQQIRXIVW EPWS WXEXIH XLEX XLI                        WEMH XLI TVSTSWIH VYPI MW ER EXXIQTX XS
     WIIR E HVEWXMG MRGVIEWI MR EW]PYQ                       EKIRG]vWTVMSVVYPIQEOMRKWSRXLIMWWYI               EZSMH XLI 6SWEVMS PMXMKEXMSR ERH MXW
     ETTPMGEXMSRW MR VIGIRX ]IEVW ERH XLMW                  IREGXIH XLI HE] XMQIJVEQI JSV                       GSQTPMERGI TPER EREPSKM^MRK XLI PEXXIV
     MRGVIEWI [EW RSX ERXMGMTEXIH ERH                       LYQERMXEVMER VIEWSRW XS QMXMKEXI                       XS E GSRXVEGX
     XLIVIJSVI GSYPH RSX LEZI FIIR                           LEVHWLMTW SR EW]PYQ ETTPMGERXW uuXS                      6IWTSRWI 8LI HIGMWMSR MR 6SWEVMS Z
     GSRWMHIVIH [LIR XLI JSVQIV -27                          IRWYVI XLEX FSRE JMHI EW]PIIW EVI IPMKMFPI             97'-7 [EW TVIHMGEXIH SR XLI I\MWXMRK
     TVSQYPKEXIH XLI HE] XMQIJVEQI QSVI                   XS SFXEMR IQTPS]QIRX EYXLSVM^EXMSR EW                  VIKYPEXSV] WGLIQI MR [LMGL 97'-7
     XLER  ]IEVW EKS 8S TVSQYPKEXI                        UYMGOP] EW TSWWMFPI GMXMRK XS -RWTIGXMSR               GVIEXIH E HE] TVSGIWWMRK XMQIJVEQI
     ERSXLIV XMQIJVEQI GSYPH PIEH XS WMQMPEV                 ERH )\TIHMXIH 6IQSZEP SJ %PMIRW                       7TIGMJMGEPP] XLI 6SWEVMS GSYVX SVHIV
     VIWYPXW ERH HIPE]W WLSYPH ZSPYQIW                       (IXIRXMSR ERH 6IQSZEP SJ %PMIRW                       JSYRH XLEX 97'-7 ZMSPEXIH XLI I\MWXMRK
     MRGVIEWI JYVXLIV MR XLI JYXYVI                         'SRHYGX SJ 6IQSZEP 4VSGIIHMRKW                        HE] VIKYPEXSV] XMQIJVEQI ERH
        (,7 VIGSKRM^IW XLEX %' VIPEXIH XS                  %W]PYQ 4VSGIHYVIW  *6                         IRNSMRIH 97'-7 uuJVSQ JYVXLIV JEMPMRK XS
     IQTPS]QIRXFEWIH ETTPMGEXMSRW XLEX HS                   z 1EV 'SQQIRXIVW                   EHLIVI XS XLI HE] HIEHPMRI JSV
     RSX RIGIWWEVMP] MRZSPZI XLI WEQI                        WXEXIH XLEX XLMW VYPIQEOMRK HSIW RSX                   EHNYHMGEXMRK )%( ETTPMGEXMSRW EW WIX
     LYQERMXEVMER GSRWMHIVEXMSRW ,S[IZIV                   EGORS[PIHKI LYQERMXEVMER JEGXSVW                      JSVXLMR'*6 E  vv8LIGSYVX
     (,7 EPWS RSXIW XLEX XLSYKL %' [EW                        6IWTSRWI *SV VIEWSRW HMWGYWWIH                     SVHIVMWGSRXMRKIRXYTSR97'-7v
     TVMQEVMP] JSGYWIH SR IQTPS]QIRXFEWIH                   IPWI[LIVI MR XLMW JMREP VYPI EW [IPP EW               I\MWXMRK ERXMUYEXIH VYPI %W XLI HE]
     MQQMKVEXMSR MX HMH TVSZMHI JSV                         TVSZMHIH MR XLI TVSTSWIH VYPI XLMW                    XMQIJVEQI [EW IWXEFPMWLIH F] EKIRG]
     EYXSQEXMG I\XIRWMSR SJ )%(W JSV XLSWI                   VYPIQEOMRK JYPP] EGORS[PIHKIW XLI                      VYPIQEOMRK MX GER PMOI[MWI FI GLERKIH
     [LS LEZI TVSTIVP] JMPIH EW]PYQ                          EKIRG]vWTEWXTVEGXMGIERHTVSZMHIH                  F] EKIRG] VYPIQEOMRK [LIR XLI EKIRG]
     ETTPMGEXMSRW 7II  '*6 E H                     NYWXMJMGEXMSRW ERH HEXE XS WYTTSVX MXW                 EGORS[PIHKIW MXW TVMSV TSPMG] TVSZMHIW
     8LI TYVTSWI SJ XLI HMWGYWWMSR                           GLERKI 97'-7 TVIHMGXW ERH I\TIGXW                   VIEWSRW JSV XLI GLERKI ERH TVSQYPKEXIW
     VIJIVIRGIH F] XLI GSQQIRXIV MW XS QEOI                  XLEX [MXL JMREPM^MRK XLMW VYPI                        E RI[ VYPI %W RSXIH MR XLMW VYPIQEOMRK


:IV(EXI 7IT "    .YR     .OX    43    *VQ    *QX    7JQX    )@*6@*1@.267+1   .26
                                                                                                                                      AR005550
                      *IHIVEP 6IKMWXIV  :SP  2S   1SRHE] .YRI    6YPIW ERH 6IKYPEXMSRW

     ERH WYTTSVXIH [MXL EZEMPEFPI HEXE                        6SWEVMS Z 97'-7  * 7YTT H                 MW JSYRH MR WIGXMSR  E SJ XLI -2% 
     97'-7 LEW HIXIVQMRIH XLEX GLERKMRK                         R ;( ;EWL   8LI 'SYVX                   97'  E  [LMGL EYXLSVM^IW XLI
     GSRHMXMSRW MRGPYHMRK MRGVIEWIH ZIXXMRK                   GSRWMHIVIH XLI LYQER [IPJEVI GSRGIVRW                 7IGVIXEV] XS EHQMRMWXIV ERH IRJSVGI XLI
     VIUYMVIQIRXW ERH VMWMRK ETTPMGEXMSR                       RSX WIGYVMX] GSRGIVRW EW TEVX SJ MXW                  MQQMKVEXMSR ERH REXMSREPMX] PE[W ERH XS
     ZSPYQIW VIRHIV XLI JSVQIV VIKYPEXSV]                     EREP]WMW SJ XLI 86%' Z *''  *H                  IWXEFPMWL WYGL VIKYPEXMSRW EW LI HIIQW
     WGLIQI RSRZMEFPI                                          (' 'MV   JEGXSVW 7II 6SWEVMS              RIGIWWEV] JSV GEVV]MRK SYX WYGL
        ;MXL VIWTIGX XS XLI GPEMQ XLEX XLMW                     * 7YTT H EX  ;MXL VIWTIGX                  EYXLSVMX] 7II EPWS  97'  E  % 
     VYPIQEOMRK EXXIQTXW XS EZSMH XLI                          XS XLI GPEMQW VIKEVHMRK WXEXYXSV]                       F  *YVXLIV EYXLSVMX] JSV XLI VIKYPEXSV]
     6SWEVMS PMXMKEXMSR ERH MXW GSQTPMERGI                     SFPMKEXMSR 97'-7 HMWEKVIIW [MXL XLI                   EQIRHQIRX MR XLI JMREP VYPI MW JSYRH MR
     TPER 97'-7 VIWTIGXJYPP] HMWEKVIIW [MXL                   GSQQIRXIV EW MX MW RSX HITEVXMRK JVSQ                 WIGXMSR  H  SJ XLI -2%  97'
     XLMW GLEVEGXIVM^EXMSR SJ XLI TYVTSWI ERH                  ER] WXEXYXSV] SFPMKEXMSR -2% WIGXMSR                   H   [LMGL WXEXIW ER ETTPMGERX JSV
     REXYVI SJ XLMW VYPIQEOMRK ,S[IZIV                        H  I\TPMGMXP] WXEXIW XLEX ER                      EW]PYQ MW RSX IRXMXPIH XS IQTPS]QIRX
     97'-7 MW MR GSQTPMERGI [MXL XLI GSYVX                     uuETTPMGERX JSV EW]PYQ MW RSX IRXMXPIH XS              EYXLSVM^EXMSR ERH QE] RSX FI KVERXIH
     SVHIV MR 6SWEVMS                                         IQTPS]QIRX EYXLSVM^EXMSR FYX WYGL                     EW]PYQ ETTPMGEXMSRFEWIH IQTPS]QIRX
        'SQQIRXW 7IZIVEP GSQQIRXIVW                           EYXLSVM^EXMSR QE] FI TVSZMHIH YRHIV                    EYXLSVM^EXMSR TVMSV XS  HE]W EJXIV
     WXEXIH XLEX XLI 6SWEVMS HIGMWMSR                          VIKYPEXMSRF]XLI%XXSVRI]+IRIVEPvv                 JMPMRK SJ XLI ETTPMGEXMSR JSV EW]PYQ FYX
     VIGSKRM^IH XLEX XLI FEPERGI SJ IUYMXMIW                   97'-7 LEW RSX HITEVXIH JVSQ XLI                        SXLIV[MWI EYXLSVM^IW XLI 7IGVIXEV] XS
     WYTTSVXIH I\TIHMIRX EHNYHMGEXMSR SJ                       WXEXYXIvWXI\X8LIWXEXYXIEPWSTVIWGVMFIW           TVIWGVMFI F] VIKYPEXMSR XLI XIVQW ERH
     MRMXMEP )%( ETTPMGEXMSRW WS XLEX EW]PYQ                   E QMRMQYQ TIVMSH XLI EW]PYQ                            GSRHMXMSRW SJ IQTPS]QIRX EYXLSVM^EXMSR
     WIIOIVW QE] SFXEMR IQTPS]QIRX                             ETTPMGEXMSR QYWX FI TIRHMRK TVMSV XS                   JSV EW]PYQ ETTPMGERXW
     EYXLSVM^EXMSR[LIR[EMXMRK{SJXIRJSV                     IPMKMFMPMX] JSV GSRWMHIVEXMSR SJ ER
     ]IEVW{XSLEZIXLIMVEW]PYQ                                                                                      -RXIVREXMSREP 0E[
                                                               ETTPMGEXMSR JSV ER )%( 8LI JEGX XLEX XLI
     ETTPMGEXMSRW VIWSPZIH 'SQQIRXIVW                         WXEXYXI HSIW RSX QERHEXI IQTPS]QIRX                       'SQQIRXW % GSQQIRXIV WXEXIH XLEX
     GMXIH XLI  TVSTSWIH VYPI MR [LMGL                    EYXLSVM^EXMSR JSV XLMW TSTYPEXMSR                      XLI TVSTSWIH VYPI MW GSRXVEV] XS XLI 
     -27 GSRGPYHIH XLEX MX [EW ETTVSTVMEXI XS                  HIQSRWXVEXIW XLEX XLI EKIRG] GSYPH                     4VSXSGSPvWuuJEMVERHIJJMGMIRXvvEW]PYQ
     EHNYHMGEXI ETTPMGEXMSRW JSV IQTPS]QIRX                    GSQTP][MXLXLIWXEXYXIvWSFPMKEXMSRWXS              WXERHEVH 8LI GSQQIRXIV TVSZMHIH
     EYXLSVM^EXMSR [MXLMR  HE]W SJ VIGIMTX                  TVSXIGX LYQER [IPJEVI F] RSX TVSZMHMRK                 GMXEXMSRW XS I\IGYXMZI WXEXIQIRXW ERH
     VIKEVHPIWW SJ XLI QIVMXW SJ XLI                           ER] EZIRYI JSV IQTPS]QIRX                              GEWI PE[ MR EVKYMRK XLEX XLI 
     YRHIVP]MRK EW]PYQ GPEMQ                                EYXLSVM^EXMSR XS XLMW TSTYPEXMSR 8LI                  4VSXSGSP MW ER EYXLSVMX] MR 97 VIJYKII
        6IWTSRWI 8LI VYPI HSIW RSX GLERKI                     EKIRG] LEW RSX IPIGXIH XS XEOI XLEX                    PE[ %RSXLIV GSQQIRXIV WXEXIH XLEX XLI
     XLI FEWMW YTSR [LMGL 97'-7 QE] KVERX                      STXMSR FYX VEXLIV LEW GVIEXIH E                       9RMZIVWEP (IGPEVEXMSR SJ ,YQER 6MKLXW
     IQTPS]QIRX EYXLSVM^EXMSR XS ER EW]PYQ                     VIKYPEXSV] QIGLERMWQ XS TVSZMHI ER                      9(,6 ERHXLI9RMXIH7XEXIWv
     WIIOIV TYVWYERX XS -2% WIGXMSR                            STTSVXYRMX] JSV IQTPS]QIRX                             GSQQMXQIRX XS MX MR XLI -RXIVREXMSREP
      H   -X VIQSZIW ER SYXHEXIH                          EYXLSVM^EXMSR ;MXLMR XLEX GSRXI\X                    'SRZIRXMSR SR 'MZMP ERH 4SPMXMGEP
     XMQIJVEQI JSV XLI VIEWSRW WXEXIH EFSZI                   VIWSYVGI GSRWXVEMRXW ERH STIVEXMSREP                   6MKLXW XLI 6IJYKII 'SRZIRXMSR ERH
     -R XLI ZEWX QENSVMX] SJ GEWIW XLMW [MPP                  RIIHW LEZI GEYWIH (,7 XS VIGSRWMHIV                    4VSXSGSP ERH XLI 'SRZIRXMSR %KEMRWX
     RSX VIWYPX MR EHHMXMSREP ]IEVW SJ HIPE]W                  XLI WIPJMQTSWIH VIKYPEXSV] XMQIJVEQI                 8SVXYVI GVIEXI E JYRHEQIRXEP VMKLX XS
     MR IQTPS]QIRX EYXLSVM^EXMSR 8LI                          (,7 MW WMQTP] WIIOMRK XS EPMKR XLI                     EW]PYQ XLEX [SYPH FI [IEOIRIH F] XLI
     QIVMXW SJ XLI YRHIVP]MRK EW]PYQ                           VIKYPEXMSR [MXL E JIEWMFPI STIVEXMSREP                 TVSTSWIH VYPI %RSXLIV GSQQIRXIV WEMH
     ETTPMGEXMSR EVI E WITEVEXI EHNYHMGEXMSR                   VIEPMX] ;MXL VIWTIGX XS XLI JVEYH ERH                 XLI VYPI MW E ZMSPEXMSR SJ XLI 9RMZIVWEP
     ERH YRXMP E HIGMWMSR MW VIEGLIH SR XLEX                   REXMSREP WIGYVMX] GSRGIVRW HMWGYWWIH MR                (IGPEVEXMSR SJ ,YQER 6MKLXW %VXMGPI 
     ETTPMGEXMSR XLI EW]PYQ WIIOIV QE] FI                     XLI TVSTSWIH VYPI ERH MR XLMW JMREP VYPI              7IGXMSR  %RSXLIV GSQQIRXIV EPWS
     KVERXIH ER )%( SR XLI FEWMW SJ XLI                        (,7 VIMXIVEXIW XLEX IRLERGMRK WIGYVMX]                 GMXIH XLI -RXIVREXMSREP 'SZIRERX SR
     TIRHMRK ETTPMGEXMSR                                      MW E GSVI KSEP SJ XLI EKIRG] 97'-7 JEGIW              )GSRSQMG 7SGMEP ERH 'YPXYVEP 6MKLXW
        'SQQIRXW %R SVKERM^EXMSR                              PMQMXEXMSRW MR MHIRXMJ]MRK ERH XVEGOMRK                 -')7'6 EW TVSZMHMRK E VMKLX XS [SVO
     GSQQIRXIH XLEX XLI 6SWEVMS GSYVX ERH                      JVEYH EW I\TPEMRIH MR XLI +%3 VITSVX                  XLEX XLI TVSTSWIH VYPI [SYPH
     97 7YTVIQI 'SYVX TVIGIHIRX MR                           HMWGYWWIH IPWI[LIVI MR XLMW TVIEQFPI                  GSRXVEZIRI 8LMW GSQQIRXIV EPWS GMXIH
     4IVIMVE Z 7IWWMSRW  7 'X                       ]IX XLI EKIRG] QYWX IRWYVI IEGL                        %VXMGPI  SJ XLI 3VKERM^EXMSR SJ
        HIXIVQMRIH XLEX uuVIWSYVGI                        ETTPMGERX MW TVSTIVP] ZIXXIH ERH TVSZMHI               %QIVMGER 7XEXIW 3%7  %VXMGPI <-: SJ
     GSRWXVEMRXWvvERHZEKYIuuTVEGXMGEP                      MXW EHNYHMGEXSVW [MXL XLI VIUYMWMXI XMQI               XLI %QIVMGER (IGPEVEXMSR SR XLI 6MKLXW
     GSRGIVRWvvHSRSXNYWXMJ]HITEVXMRKJVSQ                 XS HS WS                                              ERH (YXMIW SJ 1ER ERH %VXMGPI  SJ XLI
     WXEXYXSV] SFPMKEXMSRW XS TVSXIGX LYQER                                                                           %HHMXMSREP 4VSXSGSP XS XLI %QIVMGER
     [IPJEVI %RSXLIV GSQQIRXIV WXEXIH XLEX                     3XLIV 'SQQIRXW SR 7XEXYXSV]                         'SRZIRXMSR SR ,YQER 6MKLXW MR XLI
     XLI TVSTSWIH VYPI JEMPW XS EGORS[PIHKI                    %YXLSVMX] SV 0IKEP -WWYIW                              %VIE SJ )GSRSQMG 7SGMEP ERH 'YPXYVEP
     XLMW LYQERMXEVMER JEGXSV MR MXW EREP]WMW                    'SQQIRXW 3RI GSQQIRXIV                             6MKLXW 7IZIVEP GSQQIRXIVW STTSWIH XLI
     ERH ER MRHMZMHYEP GSQQIRXIV WEMH XLI                      UYIWXMSRIH97'-7vEYXLSVMX]XSWIXER]                TVSTSWIH VYPI WXEXMRK MX GSRXVEZIRIW XLI
     TVSTSWEPGMXIWuuZEKYIvvWIGYVMX]                        HIEHPMRIW GSRGIVRMRK 97 MQQMKVEXMSR                  MRXIRX SJ XLI 92 6IJYKII 'SRZIRXMSR
     GSRGIVRW WXEXMRK XLEX XLI JIHIVEP GSYVX                  TSPMGMIW                                              ERH XLI 6IJYKII %GX SJ  %RSXLIV
     MR 6SWEVMS JSYRH WYGL GSRGIVRW XS FI                         6IWTSRWI %W RSXIH MR WIGXMSR & SJ XLI              GMXIH %VXMGPIW  ERH  SJ XLI 
     WYJJMGMIRXP] PS[ XLEX MX SVHIVIH 97'-7 XS                 )\IGYXMZI 7YQQEV] SJ XLMW TVIEQFPI                    6IJYKII 'SRZIRXMSR EW FMRHMRK XLI
     GSQTP] [MXL XLI HE] TVSGIWWMRK                         XLI EYXLSVMX] SJ XLI 7IGVIXEV] SJ                      9RMXIH 7XEXIW XS KVERX EW]PYQWIIOIVW
     HIEHPMRI                                                 ,SQIPERH 7IGYVMX] 7IGVIXEV] JSV XLIWI                  XLI VMKLX XS IQTPS]QIRX 8LI
        6IWTSRWI 97'-7 WIIOW XS GPEVMJ] XLEX                  VIKYPEXSV] EQIRHQIRXW MW JSYRH MR                      GSQQIRXIV TVSZMHIH I\EQTPIW SJ SXLIV
     XLI 6SWEVMS GSYVX GSRWMHIVIH 4IVIMVE Z                   ZEVMSYW WIGXMSRW SJ XLI -QQMKVEXMSR ERH                REXMSRW [MXL QSVI KIRIVSYW [SVO
     7IWWMSRW MR E JSSXRSXI JMRHMRK XLEX                      2EXMSREPMX] %GX -2%   97'  IX                 EYXLSVM^EXMSR PE[W
     uuQIVMXPIWW GSRWMHIVEXMSRW HS RSX NYWXMJ]                 WIU ERH XLI ,SQIPERH 7IGYVMX] %GX SJ                    6IWTSRWI %W E XLVIWLSPH QEXXIV XLMW
     HITEVXMRKJVSQXLIPE[vWGPIEVXI\Xvv                    ,7% 4YFPMG0E[z                   VYPI HSIW RSX EFVSKEXI XLI EFMPMX] SJ
                                                               7XEX   97'  IX WIU +IRIVEP               EW]PYQ ETTPMGERXW XS WIIO SV VIGIMZI
        7II    *6   1EV                EYXLSVMX] JSV MWWYMRK XLI TVSTSWIH VYPI                IQTPS]QIRX EYXLSVM^EXMSR VEXLIV MX


:IV(EXI 7IT "      .YR     .OX    43    *VQ    *QX    7JQX    )@*6@*1@.267+1   .26
                                                                                                                                        AR005551
                         *IHIVEP 6IKMWXIV  :SP  2S   1SRHE] .YRI    6YPIW ERH 6IKYPEXMSRW                                          

     WMQTP] QSHMJMIW XLI XMQIJVEQIW YRHIV                    LEW IREGXIH E WTIGMJMG WXEXYXI               EYXLSVM^EXMSR XS XLSWI [MXL TIRHMRK
     [LMGL ETTPMGEXMSRW JSV WYGL                             EYXLSVM^MRK XLI EKIRG] MR XLI VIEPQ SJ       EW]PYQ ETTPMGEXMSRW MW WXEXYXSVMP]
     EYXLSVM^EXMSR QE] FI EHNYHMGEXIH                       IQTPS]QIRX JSV EW]PYQ WIIOIVW 8LMW          EYXLSVM^IH FYX RSX QERHEXIH ERH XLMW
        %PXLSYKL XLI 9RMXIH 7XEXIW MW E TEVX]                VYPIMW[MXLMRXLI(ITEVXQIRXvWWXEXYXSV]   VYPIQEOMRK MW MRXIRHIH XS IRWYVI XLEX
     XS XLI  4VSXSGSP [LMGL MRGSVTSVEXIW                EYXLSVMX] -R ER] IZIRX XLI VYPI HSIW       PMQMXIH VIWSYVGIW EVI EPPSGEXIH MR E
     %VXMGPIW  XS  SJ XLI  6IJYKII                    RSX FEV ER EW]PYQ ETTPMGERX JVSQ             QERRIV [LMGL FIWX EPPS[W XLI EKIRG] XS
     'SRZIRXMSR XLI 4VSXSGSP MW RSX WIPJ                   ETTP]MRK JSV SV VIGIMZMRK [SVO               TVSGIWWRSXSRP]EW]PYQWIIOIVWvMRMXMEP
     I\IGYXMRK 7II IK -27 Z 7XIZMG                 EYXLSVM^EXMSR SV UYEPMJ]MRK JSV EW]PYQ      ETTPMGEXMSRW JSV IQTPS]QIRX
     97   R   /LER Z                       VEXLIVMXEPMKRW(,7vWTVSGIWWMRKSJ       EYXLSVM^EXMSR XMQIP] FYX EPWS EPP SXLIV
     ,SPHIV  *H   XL 'MV                      WYGL ETTPMGEXMSRW [MXL EKIRG] VIWSYVGIW      FIRIJMX VIUYIWXW
       8LI 9RMXIH 7XEXIW LEW                            ERH TVSZMHIW WYJJMGMIRX JPI\MFMPMX] JSV
     MQTPIQIRXIH %VXMGPI  SJ XLI                       (,7 XS QIIX MXW GSVI QMWWMSRW SJ                'SQQIRXW % GSQQIRXIV WXEXIH XLEX
     'SRZIRXMSR{[LMGLTVSZMHIWXLEXTEVX]                   IRJSVGMRK ERH EHQMRMWXIVMRK SYV              97'-7 QYWX TVSZMHI E GPIEV TMGXYVI SJ
     WXEXIW uuWLEPP EW JEV EW TSWWMFPI JEGMPMXEXI            MQQMKVEXMSR PE[W ERH IRLERGMRK               XLI MQTEGX SJ E TVSTSWEP MR MXW TVSTSWIH
     XLI EWWMQMPEXMSR ERH REXYVEPM^EXMSR SJ                  WIGYVMX]                                    VYPI ERH XLEX YTHEXMRK MXW EREP]WMW MR XLI
     VIJYKIIWvv{XLVSYKLXLI-2%vWEW]PYQ                                                                 JMREP VYPI HSIW RSX TVSZMHI ER EHIUYEXI
     TVSZMWMSR WIGXMSR  7II -27 Z                      3XLIV 0IKEP 'SQQIRXW                         STTSVXYRMX] JSV TYFPMG GSQQIRX
     'EVHS^E*SRWIGE  97                           'SQQIRXW % GSQQIRXIV WXEXIH XLEX            6IWTSRWI 97'-7 [SYPH HMVIGX XLI
       UYSXEXMSR QEVOW SQMXXIH  %W XLI                  XLI TVSTSWIH VYPI TVIWIRXW E HYI             GSQQIRXIV XS XLI VIKYPEXSV] MQTEGX
     7YTVIQI 'SYVX LEW VIGSKRM^IH %VXMGPI                   TVSGIWW MWWYI MR HMWGVMQMREXMRK EKEMRWX
                                                                                                          EREP]WMW MR XLI TVSTSWIH VYPI 97'-7
     MWuuTVIGEXSV]vvERHuuHSIWRSXVIUYMVI             EW]PYQ ETTPMGERXW F] HIR]MRK XLIQ
                                                                                                          QSRIXM^IH XLI MQTEGXW [LIVI TSWWMFPI
     ?ERA MQTPIQIRXMRK EYXLSVMX] EGXYEPP] XS                 XMQIP] EHNYHMGEXMSRW %RSXLIV
                                                             GSQQIRXIV EKVIIH WXEXMRK XLEX               ERH HMWGYWWIH UYEPMXEXMZIP] XLSWI XLEX
     KVERXEW]PYQXSEPPvvTIVWSRWHIXIVQMRIH
                                                             VIQSZMRK XLI XMQIJVEQI [SYPH                 GSYPH RSX FI QSRIXM^IH -R EHHMXMSR
     XS FI VIJYKIIW -H 2SV MW XLI 9RMXIH
                                                             IJJIGXMZIP] EPPS[ XLI KSZIVRQIRX XS          HEXE YTHEXIW MRGSVTSVEXIH MR XLMW JMREP
     7XEXIW VIUYMVIH XS TVSZMHI [SVO
     EYXLSVM^EXMSR JSV EW]PYQ ETTPMGERXW PIX                HIR]EW]PYQGPEMQWF]uuHSMRKRSXLMRKvv VYPI LEZI RSX WYFWXERXMEPP] GLERKIH XLI
     EPSRI [MXLMR E TEVXMGYPEV XMQIJVEQI                    FIGEYWI VIQSZMRK XLI XMQIJVEQI [SYPH         EWWIWWQIRXW SJ XLI TVSTSWIH MQTEGXW
        8LI -2% TVSZMHIW XLEX uu?EAR ETTPMGERX               HITVMZI ETTPMGERXW SJ ER STTSVXYRMX] XS      7II IK  *6 EX  uu8LI MQTEGXW
     JSV EW]PYQ MW RSX IRXMXPIH XS                           GLEPPIRKI EKIRG] HIPE]W % GSQQIRXIV         SJ XLMW VYPI [SYPH MRGPYHI FSXL
     IQTPS]QIRX EYXLSVM^EXMSR FYX WYGL                      WXEXIH XLEX F] HITVMZMRK EW]PYQ             HMWXVMFYXMSREP IJJIGXW [LMGL EVI
     EYXLSVM^EXMSR QE] FI TVSZMHIH YRHIV                     ETTPMGERXW XLI STTSVXYRMX] XS VIGIMZI        XVERWJIVW ERH GSWXW?*2A 8LI
     VIKYPEXMSRF]XLI%XXSVRI]+IRIVEPvv                XMQIP] HE] RSXMGI SJ [LIXLIV SV RSX       HMWXVMFYXMSREP MQTEGXW [SYPH JEPP SR XLI
     97'  H   8LI MQTPIQIRXMRK                      XLI] LEZI VIGIMZIH IQTPS]QIRX                EW]PYQ ETTPMGERXW [LS [SYPH FI
     VIKYPEXMSRW IWXEFPMWL XLEX WYFNIGX XS                  EYXLSVM^EXMSR XLMW TVSTSWIH VIWGMRHMRK      HIPE]IH MR IRXIVMRK XLI 97 PEFSV JSVGI
     GIVXEMR VIWXVMGXMSRW ER ETTPMGERX JSV                  SJ XLI HE] XMQIPMRI ZMSPEXIW              8LI HMWXVMFYXMSREP MQTEGXW XVERWJIVW
     EW]PYQ WLEPP FI IPMKMFPI XS VIUYIWX                     ETTPMGERXWv*MJXL%QIRHQIRXVMKLXWRSX [SYPH FI MR XLI JSVQ SJ PSWX
     IQTPS]QIRX EYXLSVM^EXMSR  '*6                         XS FI HITVMZIH SJ PMJI PMFIVX] SV          GSQTIRWEXMSR [EKIW ERH FIRIJMXW 
      E  ;LMPI XLI VIKYPEXMSRW EPPS[                   TVSTIVX] [MXLSYX HYI TVSGIWW                97'-7 HSIW RSX ORS[ XLI TSVXMSR SJ
     EW]PYQ ETTPMGERXW XS VIUYIWX                               6IWTSRWI 97'-7 HMWEKVIIW [MXL XLIWI SZIVEPP MQTEGXW SJ XLMW VYPI XLEX EVI
     IQTPS]QIRX EYXLSVM^EXMSR XLI %GX                       GSQQIRXW XLEX XLI VYPI ZMSPEXIW HYI          XVERWJIVW SV GSWXW -J GSQTERMIW GER JMRH
     QEOIW MX GPIEV XLEX XLIVI MW RS                         TVSGIWW 8LMW VYPIQEOMRK HSIW RSX            VITPEGIQIRX PEFSV JSV XLI TSWMXMSR XLI
     IRXMXPIQIRX XS MX %HHMXMSREPP] XLI %GX                HMWGVMQMREXI EKEMRWX EW]PYQ WIIOIVW SV       EW]PYQ ETTPMGERX [SYPH LEZI JMPPIH XLMW
     MXWIPJ HSIW RSX MQTSWI E XIQTSVEP                       EFVMHKI XLIMV VMKLXW EW XLI] EVI WXMPP EFPI VYPI [SYPH LEZI TVMQEVMP] HMWXVMFYXMSREP
     PMQMXEXMSR SR XLI EKIRG] XS GSQTPIXI                    XS ETTP] JSV ERH VIGIMZI IQTPS]QIRX          IJJIGXW MR XLI JSVQ SJ XVERWJIVW JVSQ
     EHNYHMGEXMSRWSJEW]PYQETTPMGERXWv                    EYXLSVM^EXMSR FYX VEXLIV FVMRKW XLI         EW]PYQ ETTPMGERXW XS SXLIVW EPVIEH] MR
     ETTPMGEXMSR JSV IQTPS]QIRX                              VIKYPEXSV] WGLIQI F] [LMGL XLIWI             XLI PEFSV QEVOIX SV [SVOIVW MRHYGIH XS
     EYXLSVM^EXMSR )PMQMREXMRK XLI HE]                   ETTPMGEXMSRW EVI TVSGIWWIH MR PMRI [MXL      VIXYVR XS XLI PEFSV QEVOIX  ,S[IZIV MJ
     XMQIJVEQI JSV EHNYHMGEXMSR SJ ER EW]PYQ                 TVSGIWWMRK JSV SXLIV X]TIW SJ
                                                                                                          GSQTERMIW GERRSX JMRH VIEWSREFPI
     ETTPMGERXvWETTPMGEXMSRJSVIQTPS]QIRX                 ETTPMGEXMSRW JSV IQTPS]QIRX
                                                                                                          WYFWXMXYXIW JSV XLI PEFSV XLI EW]PYQ
     EYXLSVM^EXMSR MW XLIVIJSVI GSRWMWXIRX                   EYXLSVM^EXMSR 8LI VYPIQEOMRK EPWS HSIW
                                                                                                          ETTPMGERXW [SYPH LEZI TVSZMHIH XLMW
     [MXL XLI %GX [LMGL GSRWXMXYXIW XLI 97                RSX IJJIGXMZIP] PIEH XS HIRMEPW SJ XLI
                                                             YRHIVP]MRK EW]PYQ GPEMQ FIGEYWI MX           VYPI [SYPH TVMQEVMP] FI E GSWX XS XLIWI
     MQTPIQIRXEXMSR SJ XLI XVIEX]
                                                             HSIW RSX EQIRH ER] SJ XLI IPMKMFMPMX]        GSQTERMIW XLVSYKL PSWX TVSHYGXMZMX]
     SFPMKEXMSRW 7II ;IMRFIVKIV Z 6SWWM
      97    RSXMRK XLI                         VIUYMVIQIRXW SV TVSGIWWIW VIPEXIH XS XLI ERH TVSJMXW 97'-7 EPWS WSPMGMXIH
     KIRIVEP TVIWYQTXMSR XLEX 97 PE[                       EW]PYQ ETTPMGEXMSR 8S XLI I\XIRX XLEX MX EHHMXMSREP HEXE ERH JIIHFEGO JVSQ
                                                             HSIW GEYWI HIPE]W MR ER ETTPMGERX            GSQQIRXIVW 97'-7 FIPMIZIW XLI
     GSRJSVQW XS 97 MRXIVREXMSREP XVIEX]
     SFPMKEXMSRW                                            VIGIMZMRK ER )%( (,7 RSXIW XLEX MX          TVSTSWEP MXWIPJ ERH XLI HE] GSQQIRX
        8S XLI I\XIRX XLEX GSQQIRXIVW                        I\TIGXW XS VIXYVR XS XLI TVSGIWWMRK          TIVMSH TVSZMHIH QSVI XLER WYJJMGMIRX
     HMWGYWWIH SXLIV MRXIVREXMSREP XVIEXMIW SV               XMQIJVEQI MR IJJIGX TVMSV XS 6SWEVMS        STTSVXYRMX] JSV GSQQIRX
     MRWXVYQIRXW XLEX EVXMGYPEXI GIVXEMR                     [LMGL XLI EKIRG] FIPMIZIW MW E               ' 6IQSZEP SJ (E] 4VSGIWWMRK
     TVMRGMTPIW VIPEXMRK XS E VMKLX XS [SVO                 QEREKIEFPI ERH VIEPMWXMG XMQIJVEQI          8MQIJVEQI
     (,7 EGORS[PIHKIW XLSWI XVIEXMIW ERH                     *YVXLIV TVSZMHMRK IQTPS]QIRX
     MRWXVYQIRXW FYX RSXIW XLEX XLI] EVI                                                                   (,7 6EXMSREPI ERH 2IIH JSV XLI 6YPI
     IMXLIV RSRWIPJI\IGYXMRK SV RSRFMRHMRK                RSX SJ MXW S[R JSVGI MQTSWI SFPMKEXMSRW EW E QEXXIV
     SV EVI XVIEXMIW XS [LMGL XLI 9RMXIH                     SJMRXIVREXMSREPPE[vv MH EX  uu?8ALI 9RMXIH         (,7 VIGIMZIH LYRHVIHW SJ
     7XEXIW MW RSX E TEVX] ,IVI 'SRKVIWW
                                                             7XEXIW VEXMJMIH XLI ?-RXIVREXMSREPA 'SZIRERX ?SR 'MZMP   WYFQMWWMSRW SR XLI RIIH JSV XLI
                                                             ERH 4SPMXMGEP 6MKLXWA SR XLI I\TVIWW YRHIVWXERHMRK       TVSTSWIH VIQSZEP SJ XLI HE]
                                                             XLEX MX [EW RSX WIPJI\IGYXMRK ERH WS HMH RSX MXWIPJ
        7II IK 7SWE Z %PZEVI^1EGLEMR  97       GVIEXI SFPMKEXMSRW IRJSVGIEFPI MR XLI JIHIVEP            TVSGIWWMRKXMQIJVEQISV(,7vVEXMSREPI
     z   SFWIVZMRKXLEXXLI9(,6uuHSIW     GSYVXWvv                                              JSV XLI WEQI


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                    *IHIVEP 6IKMWXIV  :SP  2S   1SRHE] .YRI    6YPIW ERH 6IKYPEXMSRW

     *VEYH ERH 2EXMSREP 7IGYVMX]                   97'-7 MW GSQTP]MRK [MXL XLI 6SWEVMS                              SJ WXSTTMRK XLI HE] EHNYHMGEXMSR
        'SQQIRXW 'SQQIRXIVW EWWIVXIH XLEX GSYVX SVHIV 6SWEVMS Z 97'-7  *                                    XMQIJVEQI MJ MX WYWTIGXW JVEYH F]
     WIGYVMX] ERH JVEYH HIXIGXMSR HS RSX           7YTT H  ;( ;EWL   HSMRK                            VIUYIWXMRK EHHMXMSREP TVSSJ JVSQ ER
     GSRJPMGX [MXL XLI HE] VYPI ERH XLEX       WS MW GEYWMRK E WIVMSYW WXVEMR SR EKIRG]                         ETTPMGERX
                                                   VIWSYVGIW                                                          6IWTSRWI ;LMPI MX MW XVYI XLEX XLI 
     97'-7 GER EPVIEH] XEOI EHHMXMSREP XMQI
                                                      %PXLSYKL 97'-7 LEW RSX TYFPMWLIH                              HE] EHNYHMGEXMSR XMQIJVEQI QE] FI
     XS TVSGIWW )%(W [LIVI XLIVI MW
                                                   VITSVXW VIKEVHMRK JVEYH F] EPMIRW WIIOMRK                        TEYWIH SV VIWXEVXIH MR GIVXEMR MRWXERGIW
     WYWTIGXIH JVEYH 3RI GSQQIRXIV WXEXIH
                                                                                                                    EGGSVHMRK XS GIVXEMR VIKYPEXMSRW
     XLEX XLIVI MW RS IZMHIRGI XLEX XLI HE] ER )%( FEWIH SR E TIRHMRK EW]PYQ
                                                   ETTPMGEXMSR MX LEW MRXIVREP TVSGIHYVIW                          TEYWMRK SV VIWXEVXMRK XLI EHNYHMGEXMSR
     XMQIJVEQI VIWYPXIH MR MRGVIEWIH KVERXW
                                                   XS QSRMXSV ERH ZIX ETTPMGEXMSRW ERH                              XMQIJVEQI MW RSX TSWWMFPI MR EPP
     SJ JVEYHYPIRX ETTPMGEXMSRW
                                                   TIXMXMSRW JSV JVEYH VMWOW 8LI +%3                               MRWXERGIW XS EGGSQQSHEXI VSYXMRI
        6IWTSRWI (,7 HMWEKVIIW [MXL
                                                   VITSVX JSGYWIH SR XLI QIVMXW SJ XLI                              FEGOKVSYRH GLIGOW ERH JVEYH HIXIGXMSR
     GSQQIRXIVW XLEX MJ (,7 VIXEMRW XLI 
                                                   YRHIVP]MRK EW]PYQ ETTPMGEXMSR ERH                               EGXMZMXMIW ERH MRZIWXMKEXMSRW 97'-7
     HE] XMQIJVEQI MX [MPP FI EFPI XS XEOI
                                                   MRWXERGIW [LIVI ER EPMIR [LS [EW                                 HMWEKVIIW XLEX MX GER SV WLSYPH WXST XLI
     EHHMXMSREP XMQI XS ZIX GIVXEMR EW]PYQ
                                                   KVERXIH EW]PYQ WXEXYW [EW PEXIV JSYRH XS                         EHNYHMGEXMSR XMQIJVEQI MR XLI QERRIV
     ETTPMGERXW JSV XLI )%( ERH XLEX JVEYH
                                                   LEZI SFXEMRIH XLEX WXEXYW F] JVEYH                              TVSTSWIH XS EGGSQQSHEXI X]TMGEP
     HIXIGXMSR HSIW RSX GSRJPMGX [MXL XLI 
                                                   %HHMXMSREPP] XLI +%3 JMRHMRKW WXEXIH                            EHNYHMGEXMZI TVSGIHYVIW VEXLIV XLER
     HE] XMQIJVEQI 8LI VIKYPEXSV]                                                                                  VIQSZMRK XLI XMQIJVEQI EPXSKIXLIV EW
     XMQIJVEQI ERH 6SWEVMS GSYVX SVHIV             XLEX 97'-7 LEW uuPMQMXIH GETEFMPMXMIW XS
                                                   HIXIGX EW]PYQ JVEYH    -HIRXMJ]MRK                           XLMW VYPI HSIW
     VIWXVMGXXLIEKIRG]vWEFMPMX]XSMRE                                                                           'SQQIRXW % GSQQIRXIV WXEXIH XLEX
     WYWXEMREFPI QERRIV JYPP] ERH                 ERH MQTPIQIRXMRK EHHMXMSREP JVEYH
                                                                                                                    (,7 VIGIMZIW FMSQIXVMG MRJSVQEXMSR
     XLSVSYKLP] ZIX ETTPMGERXW %HHMXMSREPP] HIXIGXMSR XSSPW GSYPH IREFPI 97'-7 XS                                 HYVMRK XLI HE] [EMXMRK TIVMSH
     MR QSWX GEWIW [LIVI EHHMXMSREP ZIXXMRK        HIXIGX JVEYH QSVI IJJIGXMZIP] [LMPI
                                                   YWMRKVIWSYVGIWQSVIIJJMGMIRXP]vv  8LI                       HYVMRK [LMGL MX LEW EQTPI XMQI XS
     [EW RIGIWWMXEXIH XLI EHNYHMGEXMSR XSSO                                                                        GSRHYGX FEGOKVSYRH GLIGOW %RSXLIV
     PSRKIV XLER  HE]W                          EHNYHMGEXMSR      SJ ETTPMGEXMSRW JSV G 
                                                   IQTPS]QIRX EYXLSVM^EXMSR MW PMQMXIH MR                           GSQQIRXIV WXEXIH XLEX F] TVSTSWMRK
        %HIUYEXIP] ERH XLSVSYKLP] ZIXXMRK                                                                           XLMWVIKYPEXMSR97'-7MWuuFVSEHGEWXMRKvv
     ETTPMGERXWMQTVSZIW97'-7vWEFMPMX]XS       WGSTI XS XLI MRWXERX ETTPMGEXMSR
                                                   LS[IZIV ERH HSIW RSX VIRHIV E                                   XLEX MX LEW RSX HSRI WIGYVMX] GLIGOW SR
     HIXIGX JVEYH ERH REXMSREP WIGYVMX]                                                                             EW]PYQ WIIOIVW [LSWI ETTPMGEXMSRW LEZI
     GSRGIVRW SR MRHMZMHYEP GEWIW EW [IPP EW       HIXIVQMREXMSR SR JVMZSPMX] SV JVEYH JSV
                                                   XLI YRHIVP]MRK EW]PYQ ETTPMGEXMSR 8LI                           FIIR TIRHMRK JSV QER] QSRXLW %
     MHIRXMJ] XVIRHW ERH GSQTMPI WXEXMWXMGEP                                                                        GSQQIRXIV WXEXIH XLEX FEGOKVSYRH
     HEXE SR GEWIW MRZSPZMRK JVEYH ERHSV          +%3 EGORS[PIHKIW XLI PMQMXEXMSRW
                                                   97'-7 JEGIW MR MHIRXMJ]MRK ERH XVEGOMRK                          GLIGOWGERFIKMR[MXLERETTPMGERXvW
     REXMSREP WIGYVMX] GSRGIVRW                                                                                    EVVMZEP EX XLI FSVHIV [LIR XLIMV
        'SQQIRXW % GSQQIRXIV WXEXIH XLEX          JVEYH ERH IRGSYVEKIH XLI EKIRG] XS
                                                                                                                    FMSQIXVMGW EVI XEOIR [MXL XLI -()28
     XLI QENSVMX] SJ )%( ETTPMGEXMSRW EVI RSX MQTPIQIRX EHHMXMSREP XSSPW XS HIXIGX                                  W]WXIQ ERH GSYPH FI GSQTEVIH EKEMRWX
     JVEYHYPIRX ERH GER FI TVSGIWWIH               JVEYH ;MXL XLMW VYPIQEOMRK 97'-7
                                                   LSTIW XS TVSZMHI MXW EHNYHMGEXSVW [MXL                           *&- ERH -RXIVTSP HEXEFEWIW 7MQMPEVP]
     UYMGOP] EW IZMHIRGIH F] GSQTPMERGI                                                                            ER MRHMZMHYEP GSQQIRXIV UYIWXMSRIH
     [MXL XLI 6SWEVMS PMXMKEXMSR 8LI              XLI VIUYMWMXI XMQI XS EGGSQQSHEXI
                                                   I\MWXMRK ZIXXMRK VIUYMVIQIRXW ERH XS                             97'-7vWXEXIQIRXXLEXEWPS[IVTVSGIWW
     GSQQIRXIV WXEXIH XLEX XLMW MRHMGEXIW                                                                           [MPP MRGVIEWI REXMSREP WIGYVMX] FIGEYWI
     XLEX )%( EHNYHMGEXMSR TVSGIWWIW RIIH XS QEMRXEMR JPI\MFMPMX] WLSYPH XVIRHW                                     ETTPMGERXW [LS EVI WIIOMRK [SVO
     GLERKI RSX XLI HIEHPMRI MXWIPJ              GLERKI
                                                      *VEYH MW RSX E GSRWXERX -X MW IZIV                          EYXLSVM^EXMSR HYI XS TIRHMRK EW]PYQ
     7MQMPEVP] ER SVKERM^EXMSR WXEXIH XLEX                                                                         ETTPMGEXMSRW EPVIEH] LEZI WYTTPMIH
     97'-7 JEMPIH XS TVSZMHI IZMHIRGI SJ           IZSPZMRK ERH IJJSVXW XS GSQQMX JVEYH
                                                   FIGSQI MRGVIEWMRKP] WSTLMWXMGEXIH EW                             FMSQIXVMG ERH FMSKVETLMGEP HEXE [LMGL
     JVEYH MQTEGXMRK XLI )%( TVSGIWW %R                                                                            WLSYPH EPPS[ TVSGIWWMRK XS KS UYMGOP]
     MRHMZMHYEP EPWS WXEXIH XLEX 97'-7 LEW         QIXLSHW JSV HIXIGXMRK JVEYH MQTVSZI
                                                   97'-7 QYWX FI GSRXMRYSYWP] ZMKMPERX MR                              6IWTSRWI 97'-7 EGORS[PIHKIW XLEX
     RSX GSRHYGXIH ER] MRZIWXMKEXMSR EW XS                                                                          FMSQIXVMG HEXE MW SJXIR GSPPIGXIH TVMSV XS
     XLI I\XIRX SJ )%( JVEYH FYX XLEX E           ER IJJSVX XS HIXIGX RI[ ERH EHZERGIH
                                                   IJJSVXW XS GSQQMX JVEYH %HHMXMSREPP]                           ER EW]PYQ WIIOIV ETTP]MRK JSV
     +SZIVRQIRX %GGSYRXEFMPMX] 3JJMGI                                                                               IQTPS]QIRX EYXLSVM^EXMSR MRGPYHMRK EX
      +%3 VITSVX WXEXIH XLEX uuSRP]             EKIRG] VMKSV ERH HIHMGEXMSR XS
                                                   YRGSZIVMRK JVEYH WGLIQIW WIVZIW EW E                             EFSVHIVIRGSYRXIVEWTEVXSJ97'-7v
     EW]PYQ WXEXYWIW [IVI XIVQMREXIH JSV                                                                            EHNYHMGEXMSR SJ ER EW]PYQ ETTPMGEXMSR
     JVEYHFIX[IIRz-RXLIWEQI         HIXIVVIRX 2S EQSYRX SJ IJJSVX [MPP
                                                   HIXIGX EPP EXXIQTXW XS GSQQMX JVEYH FYX                         ERHSV HYVMRK VIQSZEP TVSGIIHMRKW
     XMQIJVEQI [IPP SZIV  TISTPI                                                                            ;LIR ER EPMIR WYFQMXW ER ETTPMGEXMSR SV
     JPIIMRK [EV HMWEWXIV TSPMXMGEP YTLIEZEP     97'-7 QYWX VIQEMR JSGYWIH ERH
                                                   HMPMKIRX MR SVHIV XS HIXIV JVEYHYPIRX                            TIXMXMSR [MXL ER EWWSGMEXIH FMSQIXVMGW
     ERH MQQMRIRX GVMWMW [IVI EHQMXXIH XS                                                                           VIUYMVIQIRX IK E TIRHMRK EW]PYQ
     XLI 9RMXIH 7XEXIW XS IWXEFPMWL                GPEMQW 97'-7 VIPMIW SR EPP EZEMPEFPI
                                                   W]WXIQW ERH HSGYQIRXW XS HIXIGX                                  ETTPMGEXMSR  XLI HEXE GSPPIGXIH MR
     XLIQWIPZIW JSV E FIXXIV PMJI ERH                                                                               VIPEXMSR XS XLI EW]PYQ ETTPMGEXMSR MW RSX
     STTSVXYRMX]vv%RMRHMZMHYEPGSQQIRXIV EXXIQTXW XS GSQQMX JVEYH [LMGL                                        W]WXIQEXMGEPP] PMROIH XS E WYFWIUYIRXP]
     WXEXIHXLEXXLIVIPMERGISRuuJVEYHvvEWXLI MRGVIEWIW XLI XMQI WTIRX SR IEGL                                 JMPIH ERGMPPEV] ETTPMGEXMSR JSV
     GEXGLEPP NYWXMJMGEXMSR JSV IZIV] GLERKI      EHNYHMGEXMSR 1EMRXEMRMRK ETTVSTVMEXI
     XLEX YRHIVQMRIW XLI WXVIRKXL SJ XLMW          ZIXXMRK [LMPI TVSGIWWMRK LMWXSVMGEPP]                               7II  '*6  F  MM ERH  '*6

     GSYRXV]vWEW]PYQTVSKVEQMWuuXMVIWSQIvv LMKL RYQFIVW SJ ETTPMGEXMSRW QEOIW XLI                               E  
        6IWTSRWI 97'-7 EKVIIW [MXL                GYVVIRX HE] XMQIJVEQI YRXIREFPI                                  (,7 TPERW XS TVSTSWI E VYPI XS QSHMJ] MXW

     GSQQIRXIVW XLEX XLI QENSVMX] SJ G            [MXLSYX HMZIVXMRK WMKRMJMGERX VIWSYVGIW                          FMSQIXVMGW TVSGIHYVIW IWXEFPMWL GSRWMWXIRX MHIRXMX]
     )%( ETTPMGERXW EVI JSYRH IPMKMFPI JSV         JVSQ SXLIV FIRIJMX VIUYIWX X]TIW                                IRVSPPQIRX ERH ZIVMJMGEXMSR TSPMGMIW ERH EPMKR
                                                      'SQQIRXW 7IZIVEP GSQQIRXIVW                                  97'-7vFMSQIXVMGWGSPPIGXMSR[MXLSXLIV
     IQTPS]QIRX EYXLSVM^EXMSR FEWIH SR                                                                              MQQMKVEXMSR STIVEXMSRW 3JJMGI SJ 1EREKIQIRX ERH
     XLIMV TIRHMRK EW]PYQ ETTPMGEXMSRW ERH         WXEXIH XLEX (,7 EPVIEH] LEW XLI STXMSR                           &YHKIX )\IGYXMZI 3JJMGI SJ XLI 4VIWMHIRX
     VIGSKRM^IW XLI EHNYHMGEXMSR SJ                                                                                 'SPPIGXMSR ERH 9WI SJ &MSQIXVMGW F] 97'-7 *EPP
                                                      +%3 %W]PYQ %HHMXMSREP %GXMSRW 2IIHIH XS                    9RMJMIH %KIRHE  LXXTW[[[VIKMRJSKSZ
     IQTPS]QIRX EYXLSVM^EXMSR ETTPMGEXMSRW         %WWIWW ERH %HHVIWW *VEYH 6MWOW (IG                         TYFPMGHS
     MW RSX E JPE[PIWW W]WXIQ *SV VIEWSRW         EZEMPEFPI EX LXXTW[[[KESKSZEWWIXW                     I%KIRHE:MI[6YPI#TYF-H! 6-2!
     WXEXIH IPWI[LIVI MR XLMW VYPI EPXLSYKL       THJ                                                      %'



:IV(EXI 7IT "    .YR     .OX    43    *VQ    *QX    7JQX    )@*6@*1@.267+1   .26
                                                                                                                                           AR005553
                         *IHIVEP 6IKMWXIV  :SP  2S   1SRHE] .YRI    6YPIW ERH 6IKYPEXMSRW                                             

     IQTPS]QIRX EYXLSVM^EXMSR :IXXMRK MW                       6IWTSRWI 97'-7 MW GLEVKIH [MXL                        TIXMXMSRW ERH FIRIJMX VIUYIWXW
     XVMKKIVIH F] MRHMZMHYEP FIRIJMX VIUYIWXW               EHQMRMWXIVMRK ERH WEJIKYEVHMRK XLI                        WYFQMXXIH XS XLI EKIRG] %W MRHMGEXIH MR
     MR XLMW GEWI XLI )%( ETTPMGEXMSR *MPMRK               MRXIKVMX] SJ XLI PE[JYP MQQMKVEXMSR                       VIWTSRWI XS E TVIZMSYW GSQQIRX ZIXXMRK
     ER ETTPMGEXMSR JSV ER )%( XVMKKIVW RI[                  FIRIJMXW ;LMPI WSQI FEGOKVSYRH GLIGOW                    MW XVMKKIVIH F] MRHMZMHYEP FIRIJMX
     ZIXXMRK MR EWWSGMEXMSR [MXL XLMW                        EVI W]WXIQEXMGEPP] MRMXMEXIH EX MRXEOI                   VIUYIWXW MR XLMW GEWI XLI )%(
     ETTPMGEXMSR )%( SJJMGIVW EVI RSX                       WEJIKYEVHMRK EKEMRWX JVEYH ERH REXMSREP                   ETTPMGEXMSR -X MW TSWWMFPI ER EW]PYQ
     TIVQMXXIHXSuuVIJVIWLvvSVSXLIV[MWIVIP]             WIGYVMX] GSRGIVRW EPWS VIPMIW SR QERYEP                   ETTPMGERX FIGEQI E TSXIRXMEP XLVIEX XS
     SR ZIXXMRK TIVJSVQIH MR EWWSGMEXMSR [MXL                TVSGIWWIW MR [LMGL SJJMGIVW EREP]^I ERH                   REXMSREP WIGYVMX] SV TYFPMG WEJIX] EJXIV
     ERSXLIVETTPMGEXMSR&IGEYWI97'-7vW                   EWWIWW XLI MRJSVQEXMSR EZEMPEFPI XS XLIQ                  XLI JMPMRK SJ XLI EW]PYQ ETTPMGEXMSR SV
     GYVVIRX ZIXXMRK TVSGIWWIW VIQEMR XMIH XS                MR XLI VIGSVH ERH IPIGXVSRMG HEXEFEWIW                   XLEX RI[ MRJSVQEXMSR FIGSQIW EZEMPEFPI
     XLI TEVXMGYPEV FIRIJMX VIUYIWX VEXLIV XLER              0MOI[MWI SJJMGIVW EVI EFPI XS EWWIWW                     FYX 97'-7 [SYPH RSX ORS[ YRXMP
     XLI MRHMZMHYEP ZIXXMRK MW MRMXMEXIH JSV                EGGYVEXIP] [LIXLIV E HIVSKEXSV] TMIGI SJ                  MRMXMEXMRK WIGYVMX] GLIGOW [LIR XLI
     XLI )%( ETTPMGEXMSR WITEVEXI ERH ETEVX                  MRJSVQEXMSR EGXYEPP] VIPEXIW XS XLI                       TIRHMRK EW]PYQ )%( ETTPMGEXMSR MW
     JVSQ XLI EW]PYQ ETTPMGEXMSR 8LI                        ETTPMGERX [LMGL EPPS[W ETTPMGERXW XS                     VIGIMZIH 8LI EKIRG] MW EXXIQTXMRK XS
     TVSTSWIH VYPI XS IPMQMREXI XLI HE]                   VIGIMZI E HIGMWMSR JEV QSVI UYMGOP] XLER                  QSZIE[E]JVSQXLIWIuuTSMRXMRXMQIvv
     EHNYHMGEXMSR XMQIJVEQI JSV MRMXMEP G                   MJ ER] TSMRX SJ GSRGIVR [EW VSYXIH                        GLIGOW FYX XLEX MW WSQIXLMRK [I
     )%(W MW RSX ER EHQMWWMSR SJ JEMPMRK XS                  SYXWMHI SJ X]TMGEP TVSGIWWMRK JSV                         GSRXMRYI XS [SVO XS[EVH 8LIWI GLIGOW
     GSRHYGX ETTVSTVMEXI ZIXXMRK MR GYVVIRX                  EHHMXMSREP WGVYXMR] 'SRGIVRW MRZSPZMRK                   HYVMRK XLI EHNYHMGEXMSR TVSGIWW EPPS[
     EHNYHMGEXMSRW FYX VEXLIV MW ER                         JVEYH SV REXMSREP WIGYVMX] EVI SJXIR                      JSV VIJIVVEP XS XLI &EGOKVSYRH 'LIGO
     STIVEXMSREP RIGIWWMX] EW EW]PYQ GPEMQW                  MHIRXMJMIH MR XLI GSYVWI SJ EHNYHMGEXMSR                 9RMX &'9 SV 'IRXIV *VEYH (IXIGXMSR
     LEZI VIEGLIH LMWXSVMG PIZIPW MR VIGIRX                  VEXLIV XLER UYMGOP] MHIRXMJMIH XLVSYKL                    3JJMGI '*(3 JSV EHHMXMSREP ZIXXMRK
     ]IEVW ERH FIGEYWI SJ XLI VIWSYVGIW                     ER YTJVSRX VIZMI[                                        [LIVI WMKRMJMGERX GSRGIVRW EVI
     RIIHIH XS EHLIVI XS XLI VIKYPEXSV]                         97'-7 TVSGIWWIW EPP )%( ETTPMGEXMSRW                   MHIRXMJMIH EW [IPP EW TSXIRXMEP
     XMQIJVEQI *MREPP] 97'-7 RSXIW XLEX                    JSV EW]PYQ ETTPMGERXW EW UYMGOP] EW                       MRZIWXMKEXMSR F] -') EPP SJ [LMGL XEOI
     EW]PYQ WIIOIVW EVI RSX VIUYMVIH XS ETTP]                TSWWMFPI MRGPYHMRK E GEVIJYP VIZMI[ SJ                   XMQI [LMGL HSIW RSX TEYWI XLI HE]
     JSV ER )%( ERH RSX EPP ETTPMGERXW [MPP                  XLSWI ETTPMGEXMSRW JSV EPMIRW [LS QE]                     VIKYPEXSV] XMQIJVEQI *YVXLIV MR WSQI
     HS WS WS XLIVI MW RS STIVEXMSREP                       FI JPEKKIH JSV EHHMXMSREP WGVYXMR] HYI XS                 GMVGYQWXERGIW XLI JMRHMRKW QE] VIRHIV
     IJJMGMIRG]XSuuTVIEHNYHMGEXIvvEFIRIJMX             REXMSREP WIGYVMX] GSRGIVRW ,S[IZIV                      XLI ETTPMGERX WYFNIGX XS QERHEXSV]
     XLEX QE] RIZIV FI WSYKLX                               WYGL EHHMXMSREP VIZMI[ VIUYMVIW XMQI                     HIXIRXMSR SV MRIPMKMFPI JSV XLI
                                                             VIWSYVGIW ERH GSSVHMREXMSR [MXL PE[                      YRHIVP]MRK EW]PYQ GPEMQ ERHSV XLI
        97'-7 HMH RSX TVSTSWI E WPS[IV
                                                             IRJSVGIQIRX EKIRGMIW 7YGL VIZMI[                         )%(
     TVSGIWW FYX VEXLIV I\TPEMRIH LS[ MXW
                                                             TIVMSHW EVI RSX MRHIJMRMXI ERH EVI                           97'-7 EPWS HSIW RSX EKVII XLEX
     ZIXXMRK TVSGIHYVIW LEZI GLERKIH WMRGI
                                                             GSQTPIXIH EW I\TIHMXMSYWP] EW TSWWMFPI                   IPMQMREXMSR SJ XLI HE] XMQIJVEQI ERH
     XLI HE] XMQIJVEQI [EW MQTPIQIRXIH                       %PXLSYKL XLIVI GSYPH FI EPXIVREXMZI                    ER] TSXIRXMEP EXXIRHERX TVSGIWWMRK
     QSVI XLER  ]IEVW EKS WTIGMJMGEPP] XS                 QIERW XS EHHVIWW EHHMXMSREP ZIXXMRK                      HIPE]W [MPP RIKEXMZIP] MQTEGX WIGYVMX] SV
     WEJIKYEVH REXMSREP WIGYVMX] MR VIWTSRWI                 WYGL EW EPXIVREXMZI XMQIPMRIW 97'-7                      TYFPMG WEJIX] F] HVMZMRK EW]PYQ WIIOIVW
     XS XLI 7ITXIQFIV   EXXEGOW                     FIPMIZIW IPMQMREXMRK XLI XMQIJVEQI                        XS GVMQMREP EGXMZMX] 8LI EVXMGPIW VIPMIH
     97'-7 MW VIQSZMRK XLMW XMQIJVEQI XS                     TVSZMHIW KVIEXIV JPI\MFMPMX] XS XLI EKIRG]                SR F] XLI GSQQIRXIV HMWGYWW WXYHMIW
     TVSZMHI MXW EHNYHMGEXSVW E WYWXEMREFPI                  XS FEPERGI MXW PEVKI [SVOPSEH IJJMGMIRXP]                GSRHYGXIH XLEX KIRIVEPP] JMRH WSGMS
     EQSYRX SJ XMQI XS GSQTPIXI XLIWI                           'SQQIRXW 7SQI GSQQIRXIVW WXEXIH                       IGSRSQMG WXEXYW MW WXVSRKP] EWWSGMEXIH
     ZIXXMRK TVSGIHYVIW EW [IPP EW EGGSYRX                  XLEX RSX EHNYHMGEXMRK )%( ETTPMGEXMSRW                    [MXL GVMQI WTIGMJMGEPP] TVSTIVX] GVMQI
     JSV XLI LMWXSVMG RYQFIV SJ JMPMRKW MR                   [MPP RSX VIHYGI REXMSREP WIGYVMX] XLVIEXW                97'-7 VIGSKRM^IW XLEX XLIVI QE] FI E
     VIGIRX ]IEVW                                           EW EW]PYQ ETTPMGERXW EVI EFPI XS VIQEMR                   GSVVIPEXMSR FIX[IIR YRIQTPS]QIRX
        'SQQIRXW 7SQI GSQQIRXIVW WEMH                       TL]WMGEPP] TVIWIRX MR XLI 9RMXIH 7XEXIW                   WSGMSIGSRSQMG WXEXYW ERH GVMQI
     JVEYH GSRGIVRW EVI YRJSYRHIH ERH                        VIKEVHPIWW SJ XLI )%( HIGMWMSR 3XLIVW                    LS[IZIV MX HSIW RSX GSRGYV XLEX XLI
     WLSYPH RSX GEYWI HIPE]W GSRGPYHMRK                     TVSZMHIH GMXEXMSRW XS EVXMGPIW VIPEXMRK                   I\XIRX SJ XLI GLERKI VIXYVRMRK XS XLI
     XLEX MJ (,7 LEW E GSRGIVR EFSYX ER                      YRIQTPS]QIRX ERH GVMQI  XS WYTTSVX                      EHNYHMGEXMSR XMQIJVEQI TVI6SWEVMS
     EPMIR XLIR MX WLSYPH UYMGOP] ZIX XLI                   EWWIVXMSRW XLEX XLI TVSTSWEP GSYPH FI                     [SYPH LEZI WYGL WIZIVI IJJIGXW *YVXLIV
     ETTPMGEXMSR VEXLIV XLER HIPE] MX 3XLIV                GSYRXIVTVSHYGXMZI XS TYFPMG WEJIX] ERH                    ER EW]PYQ WIIOIV [LS GLSSWIW GVMQMREP
     GSQQIRXIVWWXEXIHXLEX97'-7vREXMSREP                 WIGYVMX] EW EW]PYQ ETTPMGERXW [SYPH FI                   FILEZMSV XS SFXEMR E WSYVGI SJ MRGSQI
     WIGYVMX] WXEXIQIRXW WIVZI SRP] XS TVSQTX                GSQTIPPIH XS JMRH MPPIKMXMQEXI WSYVGIW SJ                 VEXLIV XLER [EMXMRK XS VIGIMZI
     XLI RIIH JSV E WTIIHMIV TVSGIWW XS                      MRGSQIFIGEYWISJ97'-7vVIJYWEPXS                      IQTPS]QIRX EYXLSVM^EXMSR GSYPH FI
     TVSTIVP] TVSXIGX REXMSREP WIGYVMX]                     TVSZMHI XLIQ [MXL )%(W                                   HIRMIH EW]PYQ EW E VIWYPX SJ WYGL
     VEXLIV XLER E TVSTSWEP XS HIPE] XLI                        6IWTSRWI 97'-7 HMWEKVIIW XLEX                         GVMQMREP EGXMZMX] HITIRHMRK SR MXW X]TI
     TVSGIWW JYVXLIV 7SQI GSQQIRXIVW                        ZIXXMRK SJ IQTPS]QIRX EYXLSVM^EXMSR                       ERH WIZIVMX]
     WXEXIH XLEX XLMW RIIH JSV E WTIIHMIV                    ETTPMGEXMSRW HSIW RSX VIHYGI REXMSREP                        'SQQIRXW 7SQI GSQQIRXIVW WXEXIH
     TVSGIWW MW JYVXLIV GSQTSYRHIH F] XLI                    WIGYVMX] XLVIEXW %W TEVX SJ MXW QMWWMSR                  XLEX 97'-7 QEOIW JVIUYIRX VIJIVIRGI XS
     JEGX XLEX XLI )%( ETTPMGERXW EVI EW]PYQ                EW E WGVIIRMRK ERH ZIXXMRK EKIRG]                        E VMWI MR REXMSREP WIGYVMX] XLVIEXW EW E
     WIIOIVW [LS EVI EPVIEH] VIWMHMRK MR XLI                 97'-7 GSRHYGXW REXMSREP WIGYVMX] ERH                      VIEWSR XS WTIRH QSVI XMQI ERH
     9RMXIH 7XEXIW ERH LEZMRK YRZIXXIH                      TYFPMG WEJIX] GLIGOW SR EPP ETTPMGEXMSRW                 VIWSYVGIW SR IEGL HIGMWMSR FYX LEW
     TISTPI MR XLI 97 WYFNIGXIH XS E                                                                                 VITSVXIH XLEX MX LEW FIIR EFPI XS HIGMHI
                                                                8LI GSQQIRXIV GMXIH XS /EVMR )HQEVO
     TSXIRXMEPP] MRHIJMRMXI VIZMI[ TIVMSH                                                                              SZIV  TIVGIRX SJ )%(W [MXLMR XLI 
     WIIQWGSRXVEV]XSXLI(,7vWWXEXIH                     9RIQTPS]QIRX ERH 'VMQI -W 8LIVI E 'SRRIGXMSR#
                                                              8LI 7GERHMREZMER .SYVREP SJ )GSRSQMGW 2S 
                                                                                                                       HE] XMQIJVEQI JSV SZIV XLI TEWX ]IEV
     MRXIVIWXW %R MRHMZMHYEP GSQQIRXIV                        .YR   7XIZIR 6ETLEIP ERH 6YHSPJ            [LMGLTVSZIWXLIEKIRG]vWEFMPMX]XS
     GSRGPYHIH XLEX ER] RIIH JSV EHHMXMSREP                  ;MRXIV)FQIV -HIRXMJ]MRK XLI )JJIGX SJ                   EHIUYEXIP] ZIX VIUYIWXW MR E XMQIP]
     ZIXXMRK TVMSV XS MWWYERGI SJ )%(W GSYPH                 9RIQTPS]QIRX SR 'VMQI :SP  8LI .SYVREP SJ             QERRIV %RSXLIV GSQQIRXIV WXEXIH XLEX
                                                             0E[ )GSRSQMGW 2S    %TV  
     FI EHHVIWWIH F] QIERW SXLIV XLER                        1MOOS %EPXSRIR IX EP 7SGMEP HIXIVQMRERXW SJ GVMQI
                                                                                                                       97'-7vREXMSREPWIGYVMX]NYWXMJMGEXMSRMW
     WMQTP] IPMQMREXMRK XLI TVSGIWWMRK                       MR E [IPJEVI WXEXI (S XLI] WXMPP QEXXIV# :SP  %GXE   YRWYFWXERXMEXIH IWTIGMEPP] FIGEYWI
     TEVEQIXIVW JSV EPP ETTPMGERXW                          7SGMSPSKMGE 2S  .YRI                           97'-7 I\TPEMRW XLEX EHHMXMSREP WIGYVMX]


:IV(EXI 7IT "    .YR     .OX    43    *VQ    *QX    7JQX    )@*6@*1@.267+1    .26
                                                                                                                                         AR005554
                    *IHIVEP 6IKMWXIV  :SP  2S   1SRHE] .YRI    6YPIW ERH 6IKYPEXMSRW

     ERH ERXMJVEYH QIEWYVIW EVI EPVIEH]                        6IWTSRWI 97'-7 LEW [SVOIH                          MRGVIEWI MR MRMXMEP )%( ETTPMGEXMSRW MR
     FYMPX MRXS XLI )%( EHNYHMGEXMSR TVSGIWW                HMPMKIRXP] XS GSQTP] [MXL XLI 6SWEVMS Z               XLI QMHW *=  LEH 
     3XLIVW WXEXIH XLEX XLI EKIRG] LEH E                     97'-7 HIGMWMSR 8LSYKL 97'-7 TVIHMGXW                  MRMXMEP )%( ETTPMGEXMSRW [LMGL NYQTIH
     HIGEHI XS MQTPIQIRX XLI TSWX                       XLEX XLMW VYPI [SYPH IRH JYXYVI PMXMKEXMSR             XS  MR *=  ERH VIQEMRIH
     WIGYVMX] GLIGOW XLEX MX RS[ GPEMQW QEOI                 SZIV XLI HE] EHNYHMGEXMSR XMQIJVEQI                LMKL [MXL  MR *=  ERH
     XLI HE] XMQIJVEQI MQTVEGXMGEFPI                     IZIR ETTPMGEXMSRW XLEX EVI RSX WYFNIGX XS               MR *=  FIJSVI HVSTTMRK
        6IWTSRWI %W RSXIH XLI EKIRG] LEW                   E WIX XMQIJVEQI GSYPH MR WSQI GEWIW FI               FIPS[  TIV ]IEV JSV WIZIVEP ]IEVW
     LEH XS GSQTP] [MXL XLI 6SWEVMS GSYVX                    XLI WYFNIGX SJ PMXMKEXMSR SR                           97'-7 RSXIW XLEX IZIR EX XLI TIEO MR
     SVHIV ERH EW HMWGYWWIH IPWI[LIVI MR                    uuYRVIEWSREFPIHIPE]vvXLISVMIW97'-7                 XLI EQSYRX SJ ETTPMGEXMSRW
     XLMW VYPI GSRXMRYMRK XS EHLIVI XS XLI               RSXIW XLEX GSWXWEZMRKW VIWYPXMRK JVSQ                 VIGIMZIH MR  MW GSRWMHIVEFP] PS[IV
     HE] XMQIJVEQI MW RSX WYWXEMREFPI JSV                    VIHYGIH PMXMKEXMSR ERH XLI GSWX JVSQ                   XLER XLI RYQFIV SJ ETTPMGEXMSRW JMPIH MR
     97'-7 ERH MXW EHNYHMGEXSVW ERH                         TSXIRXMEP JYXYVI PMXMKEXMSR SR                         VIGIRX ]IEVW [LMGL TIEOIH EX 
     VIWSYVGIW LEZI FIIR QSZIH JVSQ SXLIV                    uuYRVIEWSREFPIHIPE]vvEVIRSXQSRIXM^IH              MR *=  %RH VIKEVHPIWW (,7 MW RSX
     GSQTIXMRK TVMSVMXMIW MR SXLIV TVSHYGX                   MR XLI VIKYPEXSV] MQTEGX EWWIWWQIRX                    FSYRH XS JSVIZIV VIXEMR XLI HE]
     PMRIW                                                  FIPS[                                                 VIKYPEXSV] XMQIJVEQI IZIR EWWYQMRK
        97'-7 EGORS[PIHKIW XLEX GIVXEMR                         'SQQIRXW % GSQQIRXIV WXEXIH XLEX                   XLEX XLI -27 EHSTXIH XLEX XMQIJVEQI
     WIGYVMX] GLIGOW EVI FYMPX MRXS XLI )%(                  97'-7 GERRSX WMQTP] VIP] SR XLI                        [MXL JYPP ORS[PIHKI SJ E KVS[MRK
     EHNYHMGEXMSR TVSGIWW EGVSWW FIRIJMX                     TVSGIWWMRK FEGOPSK XS WYTTSVX MXW                      FEGOPSK (,7 VIXEMRW XLI EYXLSVMX] XS
     X]TIW ERH XLMW VYPI HSIW RSX GLERKI                     TVSTSWEP EW XLI FEGOPSK [EW IZIR                      VIQSZI XLI XMQIJVEQI ERH MX MW HSMRK WS
     XLSWI TVSGIWWIW MX WMQTP] VIJPIGXW XLEX                KVIEXIV [LIR MR  XLI .YWXMGI                     LIVI JSV XLI VIEWSRW WXEXIH MR XLMW
     WYGL TVSGIHYVIW EVI VIWSYVGI MRXIRWMZI                 (ITEVXQIRX HIGMHIH XS JMREPM^I XLI                  TVIEQFPI
     1SHIVRM^IH ZIXXMRK TVSGIHYVIW EVI EPWS                  HE] VYPI % GSQQIRXIV GMXIH XLI                           97'-7 VIZMI[IH XLI 
     RSX VIJPIGXIH MR XLI GYVVIRX VIKYPEXSV]                 TVSTSWEPvWWXEXIQIRXXLEX97'-7GERRSX                3QFYHWQER 6ITSVX ERH XLSYKL MX HMH
     XMQIJVEQI FIGEYWI XLEX XMQIJVEQI [EW                    TVIHMGX JYXYVI WIGYVMX] RIIHW ERH                      RSX PMWX MRXEOI VIUYMVIQIRXW EW E VIEWSR
     GVIEXIH QSVI XLER  ]IEVW EKS                         GSQQIRXIH XLEX RS TVSTSWIH VYPI GER                    JSV MRGVIEWIH )%( EHNYHMGEXMSR XMQIW MX
     %HHMXMSREPP] XLI PIZIP SJ JVEYH                        TVIHMGX XLI JYXYVI LS[IZIV 97'-7                     HMH WTIGMJMGEPP] WXEXI XLEX uuFEGOKVSYRH
                                                             JEGIH XLI WEQI YRGIVXEMRX] MR                     ZIXXMRK SR ETTPMGEXMSRW MRGPYHMRK XLI
     WSTLMWXMGEXMSR ERH XLI XLVIEX
                                                             [LIR MX JMREPM^IH XLI HE] XMQIJVEQI                 TVIHMGEXI TIXMXMSRW SV ETTPMGEXMSRW YTSR
     MQQMKVEXMSRVIPEXIH REXMSREP WIGYVMX]
                                                             VYPI 3XLIVW GSQQIRXIH XLEX GLERKIW XS                 [LMGL )%( ETTPMGEXMSRW EVI FEWIH EPWS
     GSRGIVRW TSWI XSHE] EVI QSVI GSQTPI\
                                                             MRXEOI ERH )%( HSGYQIRX TVSHYGXMSR                     GSRXVMFYXIXS)%(TVSGIWWMRKXMQIWvv
     XLER XLI] [IVI [LIR XLI XMQIJVEQI [EW                                                                             8LIGIRXVEPM^EXMSRSJXLIEKIRG]vW
     GVIEXIH %PXLSYKL XLI IZIRXW SJ                     XLEX LEZI FIIR MR TPEGI JSV QSVI XLER 
                                                             ]IEVW GERRSX NYWXMJ] XLI TVSTSWIH VYPI                MRXEOI ERH )%( HSGYQIRX TVSHYGXMSR
     TVSQTXIH E RI[ ERH MRXIRWMZI JSGYW SR                                                                          XLSYKL MQTPIQIRXIH MR  LEH PIH XS
     REXMSREP WIGYVMX] IWTIGMEPP] MR XLI                    WMRGI PSKMG [SYPH HMGXEXI XLEX
                                                             GIRXVEPM^EXMSR [SYPH QEOI XLI TVSGIWW                  E RIIH XS VIQSZI XLI HE] XMQIJVEQI
     MQQMKVEXMSR GSRXI\X ZIXXMRK HSIW RSX                                                                          'IRXVEPM^IH VEXLIV XLER PSGEP MRXEOI
     VIQEMR WXEXMG EW 97'-7 GSRXMRYEPP]                      QSVI IJJMGMIRX %RSXLIV GSQQIRXIV
                                                             GMXIH XLI  3QFYHWQER 6ITSVX  EW                  TVSGIHYVIW TVSZMHI IJJMGMIRG] MR XLEX
     EWWIWWIW MXW QIXLSHW ERH W]WXIQW XS                                                                            97'-7 MW EFPI XS PIZIVEKI GSRXVEGX WXEJJ
     MQTVSZI MXW EFMPMX] XS HIXIGX ERH HIXIV                 JEMPMRK XS PMWX MRXEOI VIUYMVIQIRXW SV
                                                                                                                    XS GSRHYGX LMKLZSPYQI HEXE IRXV] ERH
     XLSWI [LS [SYPH IRXIV XLI 9RMXIH                        WIGYVMX] ERH ZIXXMRK EW GLEPPIRKIW XS XLI
                                                                                                                    SXLIV EWWSGMEXIH MRXEOI XEWOW ,S[IZIV
     7XEXIW XS HS LEVQ 8LSWI [LS HS LEZI                    XMQIP] EHNYHMGEXMSR SJ )%(
                                                                                                                    GIRXVEPM^IH MRXEOI [LMGL SGGYVW EX
     MPP MRXIRX GSRXMRYI XS VIJMRI ERH MQTVSZI               ETTPMGEXMSRW
                                                                6IWTSRWI 97'-7 EGORS[PIHKIW XLEX                   SJJWMXI PSGEXMSRW EPWS MRGYVW HIPE] ERH
     XLIMV QIXLSHW ERH 97'-7 QYWX HS XLI                                                                            GSWXW EWWSGMEXIH [MXL WLMTTMRK TL]WMGEP
     WEQI -R EPP EHNYHMGEXMSRW 97'-7 [SVOW                 FEGOPSKW IFF ERH JPS[ ERH EKVIIW [MXL
                                                                                                                    JMPIW XS ERSXLIV PSGEXMSR JSV
     XS TVSZMHI XLSVSYKL ZIXXMRK ERH                         GSQQIRXIVW XLEX MR WSQI GEWIW ER
                                                                                                                    EHNYHMGEXMSR 8S GSQTP] [MXL XLI
     IPMKMFMPMX] HIXIVQMREXMSRW ERH EHZERGI                  EKIRG] GERRSX TVIHMGX JYXYVI RIIHW
                                                                                                                    6SWEVMS GSYVX SVHIV 97'-7 LEW FIIR
     97 MRXIVIWXW MR JEMVP] EHQMRMWXIVMRK                  'LERKMRK FEGOPSKW GER VIWYPX JVSQ ER]
                                                                                                                    JSVGIH XS GSRHYGX ETTPMGEXMSR MRXEOI
     PE[JYP MQQMKVEXMSR [LMPI HIXIGXMRK ERH                  RYQFIV SJ GLERKIH GMVGYQWXERGIW
                                                                                                                    SRWMXI EX XLI EHNYHMGEXMRK SJJMGI XS EZSMH
     HIXIVVMRK JVEYH ERH XLVIEXW XS REXMSREP                 MRGPYHMRK FYX RSX PMQMXIH XS GLERKIW MR
                                                                                                                    XLI HIPE] GEYWIH F] JMPI WLMTQIRX 8LMW
     WIGYVMX] ERH TYFPMG WEJIX]                             VIGIMTX ZSPYQIW PIKEP VIUYMVIQIRXW
                                                                                                                    TVSGIWW MW PIWW IJJMGMIRX ERH QSVI GSWXP]
        'SQQIRXW 3RI GSQQIRXIV EWOIH                        GSYVX VYPMRKW VIKYPEXMSR ERH TSPMG]
                                                                                                                    XLER 0SGOFS\ MRXEOI FYX MW RIGIWWEV] XS
     LS[ PSRK MX XEOIW XS ZIX WSQIFSH] JVSQ                  GLERKIW ERH GLERKIW XS MRXIVREP
                                                                                                                    EXXEMR GSQTPMERGI [MXL XLI 6SWEVMS
     ERSXLIV GSYRXV] [MXLSYX ER] TETIV[SVO                   TVSGIWWMRK &IGEYWI SJ XLI QER]                        GSYVX SVHIV 8LIWI GLERKIW MR MRXEOI
     SV QIHMGEP VIGSVHW                                     ZEVMEFPIW [LMGL GSRXVMFYXI XS GLERKMRK                 TVSGIHYVIW GSYTPIH [MXL XLI MRGVIEWIH
        6IWTSRWI 8S XLI I\XIRX XLEX XLI                     FEGOPSKW 97'-7 MW FIWX EFPI XS TVSGIWW                JMPMRKW ERH QSHMJMGEXMSRW XS ZIXXMRK
     GSQQIRX MW VIPIZERX XS XLMW VYPIQEOMRK                 XLI KVIEX RYQFIV SJ FIRIJMX VIUYIWXW                   TVSGIHYVIW I\TPEMR [L] XLI HE]
     97'-7 RSXIW XLEX XLI PIRKXL SJ XLI                      XMQIP] [LIR MX LEW JPI\MFMPMX] XS EHNYWX               XMQIJVEQI MW RS PSRKIV JIEWMFPI
     ZIXXMRK TVSGIWW ZEVMIW ERH XLMW QE]                    [SVOJPS[W ERH WXEJJMRK PIZIPW EGVSWW                      'SQQIRXW % GSYTPI SJ GSQQIRXIVW
     HITIRH SR XLI HSGYQIRXW ER EPMIR                        JSVQ X]TIW ,EVH TVSGIWWMRK XMQIPMRIW                  VIJIVIRGIH(,7vWWXEXIQIRXXLEXMX
     WIIOMRK EW]PYQ QE] LEZI MR XLIMV                        JSV SRI FIRIJMX X]TI FS\ XLI EKIRG] MR                 I\TIGXW XS FI EFPI XS QIIX *= 
     TSWWIWWMSR SV XS [LMGL XLI] LEZI EGGIWW                ERH EW MR XLMW GEWI VIUYMVI XLI                      EHNYHMGEXMSR XMQIJVEQIW MI XS
     97'-7 YWIW E GSQFMREXMSR SJ W]WXIQW                    HMZIVWMSR SJ VIWSYVGIW JVSQ SXLIV FIRIJMX              EHNYHMGEXI  TIVGIRX SJ )%(
     FMSQIXVMGW ERH HSGYQIRXW XS ZIX EPMIRW                 X]TIW XS QEMRXEMR E TVSGIWWMRK XMQI JSV                ETTPMGEXMSRW [MXLMR  HE]W 8LI
     VIUYIWXMRK FIRIJMXW                                    SRI MRHMZMHYEP EHNYHMGEXMSR PMRI                      GSQQIRXIVW WXEXIH XLEX XLMW GSRXIRXMSR
                                                                ;MXL VIWTIGX XS XLI  FEGOPSK                   WIIQW HMWMRKIRYSYW GSRWMHIVMRK XLEX
     6IWSYVGI 'SRGIVRW ERH )JJMGMIRG]                        97'-7 VIGSKRM^IW XLEX XLIVI [EW E WLEVT                (,7 HSIW RSX TVSTSWI E HE]
        'SQQIRXW % GSQQIRXIV WXEXIH XLEX                       97'-7 3QFYHWQER %RRYEP 6ITSVX  .YP
                                                                                                                    XMQIJVEQI 8LI GSQQIRXIVW [IRX SR XS
     XLI TVSTSWIH VYPI [SYPH WEZI GSWXW F]                     EZEMPEFPI EX LXXTW[[[HLWKSZWMXIW
                                                                                                                    WXEXIXLEX(,7vWPEGOSJGSQQMXQIRXXS
     IPMQMREXMRK XLI RIIH XS PMXMKEXI ERH                    HIJEYPXJMPIWTYFPMGEXMSRWGMWSQFGMWSQFC         E WTIGMJMG XMQIJVEQI GSYTPIH [MXL
     GSQTP] [MXL 6SWEVMS                                    ERRYEPVITSVXXSGSRKVIWWTHJ                         GYVVIRX )%( FEGOPSKW HSIW RSX WYTTSVX


:IV(EXI 7IT "    .YR     .OX    43    *VQ    *QX    7JQX    )@*6@*1@.267+1   .26
                                                                                                                                      AR005555
                         *IHIVEP 6IKMWXIV  :SP  2S   1SRHE] .YRI    6YPIW ERH 6IKYPEXMSRW                                                     

     (,7vWGPEMQSJFIMRKEFPIXSEHNYHMGEXI                HIQERH TVSGIWWMRK XMQI GSRWXVEMRXW                      QEMRXEMR JPI\MFMPMX] WLSYPH XVIRHW
      TIVGIRX SJ )%( ETTPMGEXMSRW [MXLMR                   VIWSYVGI EZEMPEFMPMX] PIKMWPEXMZI ERH                    GLERKIvv*6EX
      HE]W %RSXLIV GSQQIRXIV VIJIVIRGIH                   TSPMG] GLERKIW ERH SXLIV                                    'SQQIRXW 1YPXMTPI GSQQIRXIVW
     XLI  TIVGIRX WXEXMWXMG ERH EWOIH MJ XLMW              GSRWMHIVEXMSRW 8S GSQTP] [MXL XLI                        WXEXIHXLEX97'-7vGSQTPMERGI[MXLXLI
     [SYPH GSRXMRYI XS SGGYV MJ 97'-7 MW RSX                 6SWEVMS HIGMWMSR 97'-7 MRGVIEWIH                         6SWEVMS GSYVX SVHIV HIQSRWXVEXIW XLEX E
     QERHEXIH XS VIXYVR XLIQ [MXLMR                        SJJMGIV LSYVW JSV EHNYHMGEXMSR SJ MRMXMEP                 HE] XMQIJVEQI MW TVEGXMGEFPI ERH XLEX
     HE]W %RSXLIV GSQQIRXIV WXEXIH XLEX                     G  ETTPMGEXMSRW ERH GIRXVEPM^IH XLIWI                  97'-7 GSYPH GSQTP] [MXL XLI HE]
     IZIR RS[ [MXL KYMHIPMRIW MR TPEGI XLI                 EHNYHMGEXMSRW XS QMRMQM^I XMQI PSWX XS                    XMQIJVEQI ERH VIXEMR ZIXXMRK
     EKIRG] JEMPW XS QIIX XLI HE] QERHEXI                 JMPI QSZIQIRX ERH EPPS[ JSV QSVI                          TVSGIHYVIW GSRXVEV] XS XLI TVSTSWIH
     MR QSVI XLER LEPJ SJ GEWIW                             EGGYVEXIXVEGOMRKSJGPEWWQIQFIVWv                      VYPIvWGSRXIRXMSRXLEX97'-7[SYPH
        6IWTSRWI 97'-7 [SYPH PMOI XS                        ETTPMGEXMSRW [LMGL LEW TPEGIH E WXVEMR                   LEZI XS VIHYGI SV IPMQMREXI ZIXXMRK XS
     TVSZMHI GPEVMX] XS GSQQIRXIVW VIKEVHMRK                 SRXLIEKIRG]vWVIWSYVGIWMREQERRIV                    GSRXMRYI GSQTP]MRK %RSXLIV
     XLI EHNYHMGEXMSR VEXIW 97'-7 WXEXIH XLEX               XLEX MW HMJJMGYPX XS WYWXEMR 97'-7 HMH                   GSQQIRXIV GMXIH XS XLI 
      TIVGIRX SJ MRMXMEP ETTPMGEXMSRW [IVI                 TVSZMHI VIGIRX ERH EGXYEP TVSGIWWMRK                      3QFYHWQER 6ITSVX ERH GSQQIRXIH
     EHNYHMGEXIH [MXLMR  HE]W TVMSV XS XLI                 XMQIW MR XLI TVSTSWIH VYPI ERH LEW                       XLEX XLI )%( TVSGIWWMRK HIPE]W LEH
     6SWEVMS GSYVX SVHIV FYX WMRGI MXW                      WYTTPIQIRXIH XLMW JMREP VYPI [MXL                         FIIR MRGVIEWMRK FIJSVI XLI 6SWEVMS
     MWWYERGI 97'-7 LEW FIIR MR GSQTPMERGI                  YTHEXIH HEXE 97'-7 EPWS I\TPEMRIH MR                     HIGMWMSR ERH [IVI YRVIPEXIH XS ER]
     [MXL XLI SVHIV 97'-7 GSRXMRYIW XS JEGI                 XLI TVSTSWIH VYPI  ,S[ MXW                              VIEPPSGEXMSR SJ VIWSYVGIW 3RI
     E WMKRMJMGERX FEGOPSK FYX WXVMZIW XS                    EHNYHMGEXMSRW LEZI GLERKIH ERH                            GSQQIRXIV WXEXIH XLEX uu97'-7 XMQI
     TVSZMHI XMQIP] EHNYHMGEXMSR EGVSWW EPP                  VIWSYVGIW LEZI WLMJXIH WMRGI XLI HE]                   JVEQIWTSWXIHTYFPMGP]vvWLS[XLEX*SVQ
     JSVQ X]TIW VIKEVHPIWW SJ E VIKYPEXSV]                  TVSZMWMSR [EW TVSQYPKEXIH  LS[ MX                       -zXEOIWQIVIQMRYXIWXSTVSGIWW
     XMQIJVEQI %W WXEXIH MR XLI TVSTSWIH                    TVMSVMXM^IW EHNYHMGEXMSRW XLVSYKL                         8LI GSQQIRXIV WXEXIH XLEX FIGEYWI MX
     VYPI (,7 I\TIGXW XS VIXYVR XS XLI TVI                 0-*3  ERH  LS[ GLERKIW MR                             XEOIW QIVI QMRYXIW XS TVSGIWW WYGL
     6SWEVMS XMQIJVEQI [MXL JMREPM^MRK XLMW                  XIGLRSPSK] ERH WIGYVMX] MRMXMEXMZIW LEZI                  ETTPMGEXMSRW MX MW SRP] VIEWSREFPI XS
     VYPI FYX MX [MPP RSX GSHMJ] ERSXLIV                    MQTEGXIH XLI TVSGIWW ;LMPI 97'-7                         VIXEMR XLI HE] XMQIJVEQI
     VIKYPEXSV] XMQIJVEQI EX XLMW XMQI ;LMPI                GSRXMRYIW XS [SVO XS MQTVSZI IJJMGMIRG]                      6IWTSRWI (,7 VIGSKRM^IW XLEX )%(
     97'-7 GERRSX TVIHMGX IFFW ERH JPS[W MR                  ERH QSHIVRM^I EHNYHMGEXMZI TVSGIWWIW                     TVSGIWWMRK XMQIW LEH FIIR MRGVIEWMRK
     VIGIMTXW VIQSZMRK XLI HE] XMQIJVEQI                 XLI MRMXMEP G  )%( ETTPMGEXMSRW                          TVMSV XS 6SWEVMS FYX (,7 EWWIVXIH ERH
     [MXLSYX GVIEXMRK ERSXLIV VIKYPEXSV]                     GSRXMRYI XS FI JMPIH SR TETIV ERH                         GSRXMRYIW XS EWWIVX XLEX MXW VIEPPSGEXMSR
     XMQIJVEQI EPPS[W XLI EKIRG] XS EHNYWX                   TVSGIWWIH YWMRK ER SPHIV GEWI                             SJ VIWSYVGIW SGGYVVIH HYI XS XLI
     [SVOJPS[W ERH WXEJJMRK VIWSYVGIW XS                     QEREKIQIRX W]WXIQ 9RJSVXYREXIP]                         PMXMKEXMSR ERH MR SVHIV XS GSQTP] [MXL
     QEMRXEMR XMQIP] TVSGIWWMRK JSV XLMW ERH                 QSHIVRM^MRK MRXEOI ERH EHNYHMGEXMSR                       XLI GSYVX SVHIV ERH XLEX WYGL
     SXLIV FIRIJMX VIUYIWXW                                 W]WXIQW MW E PIRKXL] ERH PEFSV MRXIRWMZI                  VIEPPSGEXMSR SJ VIWSYVGIW MW RSX E PSRK
        'SQQIRXW % GSQQIRXIV WXEXIH XLEX                                                                              XIVQ WYWXEMREFPI WSPYXMSR FIGEYWI
                                                             TVSGIWW ERH XLIVI MW GYVVIRXP] RS
     97'-7 MW YREFPI XS WYTTSVX IMXLIV MXW                                                                             97'-7 LEW QER] GSQTIXMRK TVMSVMXMIW
                                                             I\TIGXIH XMQIJVEQI MR [LMGL 97'-7
     NYWXMJMGEXMSRW SV MXW MQTEGX EREP]WMW                                                                             ERH QER] XMQIWIRWMXMZI EHNYHMGEXMSR
                                                             I\TIGXW E QSVI QSHIVRM^IH TVSGIWW JSV
     [MXLSYX GMXEXMSR XS VIGIRX ERH EGXYEP                                                                             XMQIJVEQIW %PXLSYKL 97'-7 MW
                                                             MRMXMEP G  )%( ETTPMGEXMSRW
     TVSGIWWMRK XMQIW 8LI GSQQIRXIV [IRX                                                                              GYVVIRXP] MR GSQTPMERGI [MXL XLI
     SR XS WXEXI XLEX 97'-7 I\TPEMRW XLEX XLI                   ;MXLVIWTIGXXSXLIEKIRG]vWWXEXIQIRX
                                                                                                                       6SWEVMS GSYVX SVHIV MX GSRXMRYIW XS
     GSYVX SVHIV LEW JSVGIH MX XS JSGYW QSVI                 SR VIHYGIH ETTPMGEXMSR ZSPYQI 97'-7
                                                                                                                       VIMXIVEXI XLEX QEMRXEMRMRK XLI HE]
     VIWSYVGIW SR EHNYHMGEXMRK MRMXMEP )%(W                  HMWEKVIIW[MXLXLIGSQQIRXIVvW
                                                                                                                       XMQIJVEQI MW RSX WYWXEMREFPI 8LMW
     JSV EW]PYQ FYX MX HSIW RSX I\TPEMR LS[                 YRHIVWXERHMRK XLEX MX [SYPH LEZI
                                                                                                                       VYPIQEOMRK MW MRXIRHIH XS IRWYVI XLEX
     MX EPPSGEXIH MXW VIWSYVGIW FIJSVI [LMGL                TVSTSWIH XLMW VYPI VIKEVHPIWW SJ XLI
                                                             GYVVIRX VIWSYVGI FYVHIR ;LMPI XLI                        PMQMXIH VIWSYVGIW EVI EPPSGEXIH MR E
     X]TIW SJ GEWIW MX TVMSVMXM^IH ERH [LMGL                                                                          QERRIV [LMGL FIWX EPPS[W XLI EKIRG] XS
     WTIGMJMG GEWI X]TIW EVI WYJJIVMRK EW E                  RYQFIV SJ ETTPMGEXMSRW VIGIMZIH LEW
                                                                                                                       TVSGIWWRSXSRP]EW]PYQWIIOIVWvMRMXMEP
     VIWYPX SJ XLI GSYVX SVHIV *YVXLIV XLMW                HVSTTIH JVSQ TIEO PIZIPW MR  XLI
                                                             WMXYEXMSR GVIEXIH F] YRJSVIWIIR ERH                       ETTPMGEXMSRW JSV IQTPS]QIRX
     GSQQIRXIV WEMH 97'-7 GPEMQW XLEX XLI                                                                              EYXLSVM^EXMSR XMQIP] FYX EPWS EPP SXLIV
     GYVVIRX VYPI MW SYXHEXIH ERH XLI GYVVIRX               WYWXEMRIH WTMOIW MR ETTPMGEXMSR ZSPYQIW
                                                                                                                       FIRIJMX VIUYIWXW EW QEMRXEMRMRK XLI
     EHNYHMGEXMSR TVSGIWW MW QSVI GSQTPI\                   LMKLPMKLXIH XLEX WYGL WTIGMJMG VIKYPEXSV]
                                                             XMQIJVEQIW GER GEYWI WMKRMJMGERX                          GYVVIRX HE] TVSGIWWMRK XMQI MW
     FYX JEMPW XS VIGSKRM^I SXLIV MQTSVXERX                                                                            EPVIEH] WMKRMJMGERXP] HMZIVXMRK VIWSYVGIW
     GSRHMXMSRW XLEX LEZI GLERKIH WMRGI XLI                  STIVEXMSREP FYVHIRW [LIR
                                                                                                                       JVSQ SXLIV EHNYHMGEXMSRW ERH MW
     VYPI [EW EHSTXIH QSVI JYRHMRK WXEJJ                   GMVGYQWXERGIWSYXWMHI97'-7vGSRXVSP
                                                             ERH EFMPMX] XS ERXMGMTEXI SGGYV 97'-7                    I\TIGXIH XS GSRXMRYI XS HS WS *YVXLIV
     ERH XIGLRSPSK]  0EWXP] XLI GSQQIRXIV                                                                            WMRGI XLI MRMXMEP G  ETTPMGEXMSR HSIW
     GMXIH XS XLI WXEXIQIRX MR XLI TVSTSWIH                  EGORS[PIHKIH XLEX MX GSYPH RSX TVIHMGX
                                                                                                                       RSX GYVVIRXP] VIUYMVI XLI ETTPMGERX XS
     VYPI XLEX MJ 97'-7 GSYPH TVIHMGX E                     LS[ EHQMRMWXVEXMZI QIEWYVIW ERH
                                                             I\XIVREP JEGXSVW WYGL EW MQQMKVEXMSR                     TE] E JII SXLIV FIRIJMX VIUYIWXSVW EVI
     VIHYGXMSR MR XSXEP ETTPMGEXMSR ZSPYQI                                                                            FIEVMRK XLI GSWX SJ XLIWI EHNYHMGEXMSRW
     WYGL E VIHYGXMSR uu[SYPH RSX SR MXW                    GSYVX FEGOPSKW ERH GLERKIW MR GSYRXV]
                                                             GSRHMXMSRW [SYPH EJJIGX XSXEP ZSPYQIW                   [LMPI VIWSYVGIW EVI TYPPIH E[E] JVSQ
     S[R WIVZI EW E WYJJMGMIRX FEWMW XS PIEZI                                                                         XLI EHNYHMGEXMSR JSV [LMGL XLI] TEMH E
     XLI HE] EHNYHMGEXMSR XMQIPMRI MR                     -X XLIR EGORS[PIHKIH XLEX IZIR MJ MX
                                                                                                                       JII 8LMW VYPIQEOMRK FVMRKW XLI
     TPEGIvvXSHIQSRWXVEXIXLEX97'-7                      GSYPH TVIHMGX WYGL GMVGYQWXERGIW MX
                                                             [EW TVSTSWMRK XS VIQSZI XLI XMQIJVEQI                     VIKYPEXSV] WGLIQI F] [LMGL XLIWI
     EHQMXW XLEX MX [SYPH LEZI TVSTSWIH XLMW                                                                           ETTPMGEXMSRW EVI TVSGIWWIH MR PMRI [MXL
     VYPI VIKEVHPIWW SJ XLI EHHMXMSREP                       uuMR PMKLX SJ XLI RIIH XS EGGSQQSHEXI
     VIWSYVGI FYVHIR 8LI GSQQIRXIV WXEXIW                   I\MWXMRK ZIXXMRK VIUYMVIQIRXW ERH XS                         (,7 LEW TVSTSWIH XS WIX E  JII JSV MRMXMEP
     XLEX XLMW VIQSZIW VIWSYVGI FYVHIR EW E                                                                            IQTPS]QIRX EYXLSVM^EXMSR ETTPMGEXMSRW JSV XLSWI
     WXERHEPSRI NYWXMJMGEXMSR JSV XLI TVSTSWIH                   97'-7 HMH RSXI MR XLI TVSTSWIH VYPI XLEX MX         [MXL TIRHMRK EW]PYQ ETTPMGEXMSRW 7II 97
     VYPI                                                   ERXMGMTEXIH YTHEXMRK MXW HEXE VIKEVHMRK 0-*3 MR XLI       'MXM^IRWLMT ERH -QQMKVEXMSR 7IVZMGIW *II 7GLIHYPI
                                                             JMREP VYPI LS[IZIV XLI GLERKI XS 0-*3 [EW               ERH 'LERKIW XS 'IVXEMR 3XLIV -QQMKVEXMSR &IRIJMX
        6IWTSRWI 97'-7vWVIWSYVGI                          EGGSQTERMIH F] E LMWXSVMG MRGVIEWI MR JMPMRKW ERH        6IUYIWX 6IUYMVIQIRXW  *6  2SZ 
     EPPSGEXMSRW ERH TVMSVMXM^EXMSRW EVI JPYMH               MX LEW FIIR HMJJMGYPX JSV 97'-7 XS EWGIVXEMR EPP SJ XLI     (,7 LEW RSX ]IX MWWYIH E JMREP VYPI [MXL
     ERH VIKYPEVP] EHNYWXIH FEWIH SR                         MQTEGXW                                                  VIWTIGX XS XLEX TVSTSWEP



:IV(EXI 7IT "    .YR     .OX    43    *VQ    *QX    7JQX    )@*6@*1@.267+1     .26
                                                                                                                                              AR005556
                    *IHIVEP 6IKMWXIV  :SP  2S   1SRHE] .YRI    6YPIW ERH 6IKYPEXMSRW

     TVSGIWWMRK JSV SXLIV X]TIW ETTPMGEXMSRW    WXVMZIW XS TVSZMHI XMQIP] ERH IJJMGMIRX                                'SQQIRXW % GSQQIRXIV GMXIH E TEWX
     JSV IQTPS]QIRX EYXLSVM^EXMSR              EHNYHMGEXMSRW JSV EPP FIRIJMX VIUYIWXW                             VYPIQEOMRK  XS WXEXI XLEX XLI HE]
        (,7 EGORS[PIHKIW XLEX XLI XMQI ER       MRGPYHMRK EW]PYQ ERH VIPEXIH FIRIJMXW                              HIEHPMRI [EW MRMXMEPP] MQTPIQIRXIH XS
     SJJMGIV WTIRHW SR XLI EGXYEP               FYX XLI WMKRMJMGERX MRGVIEWIW MR                                    IRWYVI XLEX FSRE JMHI EW]PIIW [IVI
     EHNYHMGEXMSRQE]XEOIuuQIVIQMRYXIWvv    ETTPMGEXMSRW JSV EW]PYQ MR VIGIRX ]IEVW                             IPMKMFPI XS SFXEMR IQTPS]QIRX
     SR ETTPMGEXMSRW [MXLSYX IPMKMFMPMX] SV     EVI SZIVXE\MRK EKIRG] VIWSYVGIW XS                                  EYXLSVM^EXMSR EW UYMGOP] EW TSWWMFPI RSX
     JVEYH GSRGIVRW FYX XLI XMQI ER SJJMGIV    TVSGIWW ERGMPPEV] FIRIJMXW [MXLMR XLI                            XS IRWYVI XLEX 97'-7 ERH JSVQIV -27
     WTIRHW SR E TEVXMGYPEV ETTPMGEXMSR MW RSX  HE] VIKYPEXSV] JVEQI[SVO                                           LEH WYJJMGMIRX XMQI XS TVSGIWW
     MRHMGEXMZI SJ XLI XSXEPMX] SJ [SVO XLEX MW                                                                     ETTPMGEXMSRW
                                                   'SQQIRXW % GSQQIRXIV UYIWXMSRIH
     MRZSPZIH MR VIGIMZMRK ZIXXMRK                                                                                   6IWTSRWI (,7 LEW VIZMI[IH
     EHNYHMGEXMSR ERH HSGYQIRX TVSHYGXMSR     XLI FIRIJMX SJ XLI TVSTSWIH VYPI                                   I\XIRWMZIP] XLI VIKYPEXSV] LMWXSV] SJ XLI
     8LI 97'-7 'EWI 4VSGIWWMRK 8MQI             VIEWSRMRK XLEX MX [SYPH RSX VIHYGI XLI                              TVSQYPKEXMSR SJ XLI IQTPS]QIRX
     [IFWMXI TVSZMHIW VIKYPEVP] YTHEXIH ERH     MQQMKVEXMSR FEGOPSK ER] QSVI UYMGOP]                                EYXLSVM^EXMSR TVSZMWMSRW JSV XLSWI [MXL
     EGGYVEXI XSXEP GEWI TVSGIWWMRK XMQI        XLER XLI GYVVIRX XMQIJVEQI ERH EWOMRK                               TIRHMRK EW]PYQ ETTPMGEXMSRW 8LI
     MRJSVQEXMSR EX LXXTWIKSZYWGMWKSZ     [LIXLIV XLI TYVTSWI SJ XLI VYPI [EW XS                              VYPIQEOMRK TVIEQFPI GMXIH XS F]
     TVSGIWWMRKXMQIW                         VIHMVIGX VIWSYVGIW XS -') 7MQMPEVP] E                             GSQQIRXIVERHVIJIVIRGIHMR(,7vW
                                                GSQQIRXIV UYIWXMSRIH LS[ XLI EHHIH                                  TVSTSWIH VYPI HMWGYWWIW XLI
     3XLIV 'SQQIRXW                             uuJPI\MFMPMX]vvJVSQXLITVSTSWEP[SYPH                            IQTPS]QIRX EYXLSVM^EXMSR TVSZMWMSRW
        'SQQIRXW 7IZIVEP GSQQIRXIVW            LIPT VIHYGI MQQMKVEXMSR ETTPMGEXMSR                                 XLEX uuIRWYVI XLEX ETTPMGERXW [LS ETTIEV
     WXEXIH XLEX XLI XVYI MRXIRX SJ XLI         FEGOPSKW JEYPXMRK (,7 JSV VIJYWMRK XS                              XS ER EW]PYQ SJJMGIV XS FI IPMKMFPI JSV
     TVSTSWEP MW XS WIVZI EW HIXIVVIRX JSV      GSQQMX XS VIHYGMRK SXLIV [EMX XMQIW EW                              EW]PYQ FYX LEZI RSX ]IX VIGIMZIH E KVERX
     EW]PYQ ETTPMGERXW WIIOMRK TVSXIGXMSRW      E VIWYPX SJ IPMQMREXMRK XLI HE] )%(                              SJ EW]PYQ EVI EFPI XS SFXEMR
     MR XLI 9RMXIH 7XEXIW 3XLIV GSQQIRXIVW     XMQIJVEQI %RSXLIV GSQQIRXIV WXEXIH                                 IQTPS]QIRXEYXLSVM^EXMSRvv*6
     QEHI WMQMPEV WXEXIQIRXW GMXMRK XLI        XLEX VIQSZMRK XLI MRGIRXMZI JSV 97'-7 XS                             8LI VYPIQEOMRK XLIR HMWGYWWIW
     1MKVERX 4VSXIGXMSR 4VSXSGSPW ERH VYPIW    [SVO UYMGOP] [MPP VIWYPX SRP] MR                                    XLI PIRKXL] TVSGIWW SJ MHIRXMX] ERH
     WYGL EW %W]PYQ )PMKMFMPMX] ERH             SFPMKEXMSRW FIMRK WXVMTTIH ERH [MPP RSX                             JMRKIVTVMRX GLIGOW ERH WXEXIW XLEX KMZIR
     4VSGIHYVEP 1SHMJMGEXMSRW 7MQMPEVP]     GEYWI XLI EKIRG] XS [SVO QSVI                                       XLI WXEXYXSV] VIUYMVIQIRX XLEX EW]PYQ
     ERSXLIV GSQQIRXIV WEMH MRHIJMRMXIP]        IJJIGXMZIP]                                                        RSX FI KVERXIH YRXMP MREHQMWWMFMPMX]
     FPSGOMRKEW]PYQWIIOIVWvEFMPMX]XS          6IWTSRWI (,7 HMH RSX EWWIVX XLEX XLMW                           HITSVXEFMPMX] SV MRIPMKMFMPMX] EVI
     WYTTSVX XLIQWIPZIW ERH XLIMV JEQMPMIW MW GLERKI [SYPH VIHYGI MQQMKVEXMSR                                       HIXIVQMRIH EX -2% WIGXMSR
     ER EFYWI SJ HMWGVIXMSR ERH ER EXXIQTX XS FIRIJMX VIUYIWX FEGOPSKW FYX VEXLIV XLEX                              H  % M  ER EPMIR [LS [SYPH
     JYVXLIV HIXIV TISTPI JVSQ WIIOMRK                                                                              SXLIV[MWI ETTIEV XS FI IPMKMFPI QE]
                                                MX [EW TVSTSWMRK XLMW GLERKI MR
     EW]PYQ MR XLI 9RMXIH 7XEXIW                                                                                   LEZI XS [EMX E PIRKXL] TIVMSH SJ XMQI
        6IWTSRWI (,7 EGORS[PIHKIW              WMKRMJMGERX TEVX FIGEYWI SJ XLI WXVEMR SJ
                                                XLI KVS[MRK FEGOPSK GSYTPIH [MXL XLI                                FIJSVI FIMRK KVERXIH IQTPS]QIRX
     GSQQIRXIV GSRGIVRW LS[IZIV XLMW                                                                              EYXLSVM^EXMSR -H EXz8LI
     VYPIQEOMRK MW RSX MRXIRHIH EW E            WXIEH] WXVIEQ SJ RI[ JMPMRKW 8LMW
                                                VYPIQEOMRK MW RSX ER IJJSVX XS VIHMVIGX                             EKIRG] FIPMIZIH WYGL E VIWYPX [EW
     HIXIVVIRX ERH HSIW RSX MQTIHI ER                                                                               GSRXVEV] XS E QEMR KSEP SJ XLI EW]PYQ
     EPMIRvWSTTSVXYRMX]XSWIIOEW]PYQMR     VIWSYVGIW XS -') -R SVHIV XS QEMRXEMR
                                                XLI GYVVIRX HE] TVSGIWWMRK XMQI                                 VIJSVQW TVSQYPKEXIH MR  uuXS IRWYVI
     XLI 9RMXIH 7XEXIW 2IMXLIV HSIW XLMW                                                                           XLEX FSRE JMHI EW]PIIW EVI IPMKMFPI XS
     VYPIQEOMRK GLERKI XLI TVSGIWW F]           97'-7 LEW XEOIR E RYQFIV SJ HVEQEXMG
                                                                                                                    SFXEMR IQTPS]QIRX EYXLSVM^EXMSR EW
     [LMGL ER EPMIR WIIOW EW]PYQ SV ER]         QIEWYVIW XS IRWYVI GSQTPMERGI 8LMW
                                                                                                                    UYMGOP]EWTSWWMFPIvv-H uu&SREJMHIvv
     IPMKMFMPMX] GVMXIVME JSV SFXEMRMRK EW]PII  MRGPYHIW GIRXVEPM^MRK XLI [SVOPSEH MR
                                                                                                                    EW]PIIW EVI XLSWI [LS LEZI FIIR
     WXEXYW 8LMW VYPI WSPIP] EJJIGXW E FIRIJMX SRI WIVZMGI GIRXIV XS EPPS[ JSV GPSWI
                                                                                                                    HIIQIH IPMKMFPI F] XLI EKIRG] FYX LEZI
     ER EW]PYQ WIIOIV QE] VIUYIWX [LMPI         QSRMXSVMRK ERH VITSVXMRK TVEGXMGIW
                                                                                                                    RSX ]IX VIGIMZIH ER ETTVSZEP
     XLIMV ETTPMGEXMSR JSV EW]PYQ LEW FIIR      IPMQMREXMRK PSWX XMQI EGGVYIH XLVSYKL
                                                                                                                       97'-7 MW GSQQMXXIH XS EHNYHMGEXMRK
     TIRHMRK JSV E TIVMSH SJ EX PIEWX  HE]W WLMTTMRK TL]WMGEP JMPIW ERH HMZIVXMRK                              EPP IQTPS]QIRX EYXLSVM^EXMSR
     97'-7 MW WMQTP] VIQSZMRK E WIPJ           FSXL WYTTSVX ERH SJJMGIV VIWSYVGIW XS
                                                                                                                    ETTPMGEXMSRW EW UYMGOP] EW TVEGXMGEFPI
     MQTSWIH EKIRG] TVSGIWWMRK XMQIPMRI         IRWYVI XLI XMQIPMRI MW QIX ;MXL
                                                                                                                    LS[IZIV FSXL MRXIVREP TVSGIWWIW ERH
     XLEX MW RS PSRKIV STIVEXMSREPP] JIEWMFPI  JMREPM^MRK XLMW VYPI XLSWI HMZIVXIH
                                                                                                                    I\XIVREP JEGXSVW LEZI GLERKIH MR XLI
     [MXLSYX MQTEGXMRK XLI YRHIVP]MRK FEWMW     VIWSYVGIW GSYPH VIXYVR XS XLI VSPIW XLI]
                                                                                                                    MRXIVZIRMRK HIGEHIW WMRGI XLI HE]
     JSV XLI FIRIJMX VIUYIWX                   TIVJSVQIH TVMSV XS 6SWEVMS (,7 LEW
                                                                                                                    VYPI [EW TVSQYPKEXIH
        )QTPS]QIRX EYXLSVM^EXMSR JSV            GLSWIR RSX XS GSQQMX XS HIJMRIH
     ETTPMGERXW [MXL E TIRHMRK EW]PYQ           EHNYHMGEXMSR XMQIW EGVSWW EPP SJ MXW                                 %PXIVREXI 7YKKIWXMSRW JSV 6IKYPEXSV]
     ETTPMGEXMSR LS[IZIV MW RSX E WXEXYXSV]   IQTPS]QIRXEYXLSVM^EXMSR TVSGIWWMRK MR                              %QIRHQIRXW XS (E] 8MQIJVEQI
     IRXMXPIQIRX YRPMOI IQTPS]QIRX             SVHIV XS TVSZMHI JPI\MFMPMX] JSV XLI                                   %TTVS\MQEXIP]  GSQQIRXIVW
     EYXLSVM^EXMSR JSV EW]PIIW [LS EVI         EKIRG] XS EPPSGEXI MXW VIWSYVGIW %W                                TVSZMHIH EPXIVREXMZI WYKKIWXMSRW JSV
     IPMKMFPI JSV IQTPS]QIRX MRGMHIRX XS        RSXIH MR XLI TVSTSWIH VYPI GSHMJ]MRK F]                            VIKYPEXSV] EQIRHQIRXW XS HE]
     WXEXYW EW XLI WXEXYXI I\TPMGMXP] WXEXIW  VIKYPEXMSR ER] RI[ EHNYHMGEXMSR                                     TVSGIWWMRK XMQIJVEQI
     'SQTEVI -2% WIGXMSR  G  & [MXL         XMQIJVEQI JSV )%(W [SYPH
                                                YRRIGIWWEVMP] GSRWXVMGX EHNYHMGEXMSR                                %PXIVREXMZI 4VSTSWEPW ERH 8MQIJVEQIW
      H  uu%R ETTPMGERX JSV EW]PYQ MW RSX
                                                [SVOJPS[W ERH XLI EKIRG] MW YREFPI XS                               6EXLIV 8LER 'SQTPIXI 6IQSZEP
     IRXMXPIH XS IQTPS]QIRX
     EYXLSVM^EXMSR?Avv 97'-7LEWTVSZMHIHE TPER MXW [SVOPSEH ERH WXEJJMRK RIIHW                                   'SQQIRXW 7SQI GSQQIRXIVW WEMH
     VIKYPEXSV] EZIRYI JSV EW]PYQ ETTPMGERXW [MXL XLI PIZIP SJ GIVXEMRX] XLEX E FMRHMRK                             (,7 WLSYPH LEZI TVSTSWIH ER
     XS WIIO IQTPS]QIRX EYXLSVM^EXMSR XLYW XMQIJVEQI QE] VIUYMVI 6IQSZMRK XLI                                    EPXIVREXMZI SV I\XIRHIH EHNYHMGEXMSR
     XLI EKIRG] LEW RSX MRHIJMRMXIP] FPSGOIH    HE] XMQIPMRI [MPP EPPS[ KVIEXIV
     ERETTPMGERXvWEFMPMX]XSWYTTSVX         JPI\MFMPMX] MRGPYHMRK XS WLEVI XLMW                                   (ITEVXQIRX SJ .YWXMGI -RWTIGXMSR ERH

                                                [SVOPSEH EQSRK SXLIV WIVZMGI GIRXIVW                                )\TIHMXIH 6IQSZEP SJ %PMIRW (IXIRXMSR ERH
     XLIQWIPZIW ERH XLIMV JEQMPMIW 97'-7                                                                           6IQSZEP SJ %PMIRW 'SRHYGX SJ 6IQSZEP
                                                ERH VIEPPSGEXI VIWSYVGIW QSVI IZIRP] XS                             4VSGIIHMRKW %W]PYQ 4VSGIHYVIW *6z
         *6  .YP]              QIIX HIQERH                                                         1EV   



:IV(EXI 7IT "    .YR     .OX    43    *VQ    *QX    7JQX    )@*6@*1@.267+1   .26
                                                                                                                                         AR005557
                         *IHIVEP 6IKMWXIV  :SP  2S   1SRHE] .YRI    6YPIW ERH 6IKYPEXMSRW                                                 

     XMQIPMRI WYGL EW  SV  HE]W SV                     VIGSKRM^IW XLEX VIQSZMRK XLI XMQIJVEQI                 TVSGIWWMRK XMQIW  XS TVSZMHI
     GSRHMXMSR XLI PIRKXL SJ XLI EHNYHMGEXMSR                QE] GEYWI GSRGIVR XS ETTPMGERXW                        ETTPMGERXW [MXL EGGYVEXI MRJSVQEXMSR XS
     XMQIJVEQI SR VITSVXEFPI QIXVMGW VEXLIV                 VIKEVHMRK TSXIRXMEP HIPE]W MR                          TPER JSV [LIR XS JMPI ETTPMGEXMSRW ERH
     XLER E GSQTPIXI XMQIJVEQI VIQSZEP MR                   EHNYHMGEXMSR LS[IZIV 97'-7 I\TIGXW                   XLIMV TIVWSREP JMRERGMEP RIIHW
     SVHIV XS TVSZMHI TVIHMGXEFMPMX] ERH VIPMIJ              XS VIXYVR XS XLI EHNYHMGEXSV] XMQIJVEQI                   'SQQIRXW 7SQI GSQQIRXIVW
     XS EW]PYQ WIIOIVW 7SQI GSQQIRXIVW                      FIJSVI 6SWEVMS ;LMPI 97'-7 ERXMGMTEXIW                WYKKIWXIH XLEX 97'-7 EPPS[ EW]PYQ
     WXEXIH XLEX VIQSZMRK E XMQIJVEQI                        XLMW GLERKI QE] PIEH XS WLSVX TVSGIWWMRK               WIIOIVW XS WYFQMX XLIMV IQTPS]QIRX
     [MXLSYX TVSZMHMRK ER EPXIVREXMZI                        HIPE]W XLMW GLERKI FVMRKW MRMXMEP )%(                 EYXLSVM^EXMSR ETTPMGEXMSRW IEVPMIV JSV
     WYKKIWXW XLEX 97'-7 ERXMGMTEXIW XLIWI                   ETTPMGEXMSR TVSGIWWMRK MR PMRI [MXL                    I\EQTPI EJXIV  HE]W SV  HE]W
     ETTPMGEXMSRW FIMRK WMKRMJMGERXP] HIPE]IH               SXLIV WMQMPEV ETTPMGEXMSRW ERH EPPS[W                  MRWXIEH SJ  HE]W  SV GSRGYVVIRXP]
     %RSXLIV GSQQIRXIV WXEXIH XLEX XLI                       STIVEXMSREP JPI\MFMPMX] XS WLMJX [SVOPSEHW             [MXL XLIMV EW]PYQ ETTPMGEXMSRW XS EPPS[
     EFWIRGI SJ ER EHNYHMGEXMSR HIEHPMRI MW                  ERH GSRXMRYI XS ZIX ERH EHNYHMGEXI                     97'-7 QSVI XMQI XS TVSTIVP] ZIX IEGL
     PMOIP] XS VIWYPX MR YRRIGIWWEVMP] PIRKXL]               ETTPMGEXMSRW MR XLI QSWX XMQIP] JEWLMSR                EPMIR [LMPI VIHYGMRK XLI VMWO SJ LEVQ XS
     EHNYHMGEXMSR TIVMSHW JSV )%(                            TVEGXMGEFPI [MXLSYX HIXVMQIRXEP MQTEGX                 IEGL ETTPMGERX ERH XLI IGSRSQ] 7SQI
     ETTPMGEXMSRW [LMGL EVI VIPEXMZIP]                      XS SXLIV FIRIJMX VIUYIWX X]TIW                        GSQQIRXIVW WXEXIH XLEX YRHIV -2%
     WMQTPI XS VIWSPZI ERH WLSYPH RSX VIUYMVI                                                                       WIGXMSR  H   EW]PYQ WIIOIVW QE]
     QSVI XLER  HE]W % JI[ GSQQIRXIVW                        'SQQIRXW % GSQQIRXIV HVI[                          RSX FI KVERXIH ER MRMXMEP )%( YRXMP XLIMV
     WXEXIH XLEX (,7 LEW RSX WYJJMGMIRXP]                    WMQMPEVMXMIW XS XLI %' VYPI VITIEPMRK                EW]PYQ ETTPMGEXMSRW LEZI FIIR TIRHMRK
     NYWXMJMIH [L] ER EPXIVREXMZI SV PSRKIV                  JSVQIV  '*6 E H  [LMGL                         JSV  HE]W FYX RSXLMRK TVIZIRXW
     HIEHPMRI [SYPH RSX FI EGGITXEFPI                       KYEVERXIIH XLI EHNYHMGEXMSR SJ                         97'-7 JVSQ EGGITXMRK MRMXMEP )%(
     %RSXLIV GSQQIRXIV WEMH EQIRHMRK E                       IQTPS]QIRX EYXLSVM^EXMSR ETTPMGEXMSRW                  ETTPMGEXMSRW GSRGYVVIRXP] [MXL XLI JMPMRK
     VYPI XS PMQMX XLI FYVHIR SR 97'-7 XS                    JSV QSWX MQQMKVERX ERH RSRMQQMKVERX                    SJ XLI EW]PYQ ETTPMGEXMSR 'SQQIRXIVW
     IRWYVI XLI FIXXIVQIRX SJ SYV GSYRXV]                    GEXIKSVMIW [MXLMR  HE]W VITPEGMRK MX                EPWS WXEXIH XLEX XLI RYQFIV SJ )%(
     QMKLX FI E KSSH MHIE FYX HSMRK WS F]                    [MXL [LEX XLI GSQQIRXIV GPEMQIH [EW                   ETTPMGEXMSRW LEW HVSTTIH WMRGI 
     VIQSZMRK XLI HIEHPMRI [MXLSYX                           ER MREHIUYEXI EYXSQEXMG HE]                        ERH [MPP PMOIP] GSRXMRYI XS HS WS
     VITPEGMRK MX MW RSX                                    I\XIRWMSR 8LMW GSQQIRXIV WXEXIH XLEX                  %RSXLIV GSQQIRXIV WEMH GSRGYVVIRX
        6IWTSRWI (,7 GSRWMHIVIH MQTSWMRK E                  XLI PEGO SJ ER] TVSGIWWMRK HIEHPMRI SR                 JMPMRKW [SYPH VIHYGI GSWXW XS PIKEP
     HE] XMQIJVEQI VEXLIV XLER VIQSZMRK                   MRMXMEP ETTPMGEXMSRW LEW GEYWIH                        WIVZMGIW TVSZMHIVW ERH EW]PYQ WIIOIVW
     XLI XMQIJVEQI IRXMVIP] ERH HMWGYWWIH                   WMKRMJMGERX HMWVYTXMSR MR XLI PMZIW SJ                 F]EPPS[MRKFSXLXLI*SVQ-z
     XLMW I\XIRWMZIP] MR XLI TVSTSWIH VYPI                  XLSWI WYFNIGX XS XLI GLERKIH VYPI 8LI                 %TTPMGEXMSR JSV %W]PYQ ERH
     (,7ETTVIGMEXIWGSQQIRXIVWv                            GSQQIRXIV STTSWIH XLMW GLERKI JSV                      ;MXLLSPHMRK SJ 6IQSZEP ERH XLI *SVQ
     WYKKIWXMSRW VIKEVHMRK EPXIVREXMZI                       WMQMPEV VIEWSRW WXEXMRK XLEX [MXLSYX E               -z%TTPMGEXMSRJSV)QTPS]QIRX
     XMQIJVEQIW ERH VIGSKRM^IW XLEX WIXXMRK                 GPIEV TVSGIWWMRK HIEHPMRI EW]PYQ                      %YXLSVM^EXMSR XS FI JMREPM^IH MR E WMRKPI
     ERSXLIV XMQIJVEQI GSYPH TVSZMHI QSVI                    WIIOIVW ERH XLIMV JEQMPMIW EVI JEGIH [MXL              ETTSMRXQIRX
     TVIHMGXEFMPMX] XS EW]PYQ WIIOIVW ERH                    YRGIVXEMRX] EW XS [LIXLIV XLI] [MPP FI                    6IWTSRWI (,7 ETTVIGMEXIW
     [SYPH TVSZMHI 97'-7 [MXL QSVI XMQI XS                   EFPI XS WYTTSVX XLIQWIPZIW ERH XLMW                   GSQQIRXIVWvWYKKIWXMSRWXSTIVQMX
     EHNYHMGEXI )%( ETTPMGEXMSRW ,S[IZIV                   YRTVIHMGXEFMPMX] [MPP WIZIVIP] MQTEGX                  EW]PYQ ETTPMGERXW XS JMPI HYVMRK XLI 
     97'-7 HIXIVQMRIH RSX XS MRGSVTSVEXI E                   XLIQ ERH XLIMV GSQQYRMXMIW                            HE] [EMXMRK TIVMSH 97'-7 XLMROW
     RI[ VIKYPEXSV] XMQIJVEQI FIGEYWI                                                                               LS[IZIV XLEX EPPS[MRK ER ETTPMGERX XS
                                                                6IWTSRWI ;MXL VIWTIGX XS
     97'-7 MW YREFPI XS TPER MXW [SVOPSEH                                                                           JMPI JSV ERH SFXEMR ER )%( IEVPMIV FEWIH
                                                             GSQQIRXIVvWGSRGIVRWVIKEVHMRK%'
     ERH WXEJJMRK RIIHW [MXL XLI PIZIP SJ                                                                           SR E TIRHMRK EW]PYQ GPEMQ GVIEXIW ER
                                                             97'-7 HSIW RSX TSWWIWW HEXE SV SXLIV
     GIVXEMRX] XLEX E FMRHMRK XMQIJVEQI QE]                                                                         MRGIRXMZI XS JMPI RSRQIVMXSVMSYW EW]PYQ
                                                             IZMHIRGIXSEHHVIWWXLIGSQQIRXIVvW
     VIUYMVI ERH LEW RS [E] SJ TVIHMGXMRK                                                                          ETTPMGEXMSRW %HHMXMSREPP] EPPS[MRK
                                                             WYFNIGXMZI EWWIVXMSR XLEX TVSGIWWMRK                   EW]PYQ WIIOIVW XS JMPI IEVPMIV GVIEXIW E
     [LEX REXMSREP WIGYVMX] ERH JVEYH
                                                             XMQIW JSV SXLIV )%( GEXIKSVMIW LEZI                    HMJJIVIRX STIVEXMSREP FYVHIR &IGEYWI
     GSRGIVRW QE] FI SV [LEX TVSGIHYVIW
                                                             GEYWIH uuWMKRMJMGERX HMWVYTXMSR MR XLI                 XLI WXEXYXSV] WGLIQI QERHEXIW XLEX
     [MPP FI RIGIWWEV] MR XLI JYXYVI -X MW
                                                             PMZIWSJXLSWIWYFNIGXXS?%'Avv-R*=             IQTPS]QIRX EYXLSVM^EXMSR GERRSX FI
     MQTVYHIRX XS MQTSWI LEVH TVSGIWWMRK
                                                              97'-7 TVSGIWWIH  TIVGIRX SJ                  KVERXIH YRXMP XLI EW]PYQ ETTPMGEXMSR LEW
     HIEHPMRIW FIGEYWI 97'-7 GERRSX
                                                             )%( GPEWWMJMGEXMSRW I\GPYHMRK G                     FIIR TIRHMRK JSV E QMRMQYQ SJ 
     VIPMEFP] TVIHMGX JYXYVI [SVOPSEH
     TVSGIWWMRK ERH SXLIV GLERKIW %PXLSYKL                 [MXLMR  HE]W MR *=  MX [EW                 HE]W RSX MRGPYHMRK HIPE]W VIUYIWXIH SV
     MQTSWMRK E HIEHPMRI VIPMERX SR                          TIVGIRX MR *=   TIVGIRX ERH                 GEYWIH F] XLI ETTPMGERX 97'-7 [SYPH
     VITSVXEFPI QIXVMGW QE] EPPIZMEXI WSQI SJ                EW SJ *IFVYEV]    TIVGIRX                    RIIH XS MQTPIQIRX RI[ XVEGOMRK ERH
     XLI GSRGIVR SJ E LEVH HIEHPMRI XLI                     [MXLMR  HE]W 97'-7 EGORS[PIHKIW                    VIGSVHW QIGLERMWQW XS IRWYVI
     GSQQIRXIV TVSTSWIH RS WTIGMJMG QIXVMGW                  XLI TSXIRXMEP IJJIGX SJ XLMW GLERKI SR                 ETTPMGEXMSRW [SYPH RSX FI EHNYHMGEXIH
     ERH GVIEXMRK EHHMXMSREP XVEGOMRK ERH                    EW]PYQ WIIOIVW ERH XLIMV WSGMEP WYTTSVX                XSS IEVP] 8LMW [SYPH MQTIHI XLI
     TVIHMGXMZI EWWIWWQIRXW JVSQ XLI EKIRG]                  RIX[SVOW FYX QYWX [IMKL XLEX IJJIGX                   EKIRG]vWEFMPMX]XSRMQFP]QSZI
     XLEX LEZI RSX ]IX FIIR IZEPYEXIH [SYPH                  EKEMRWX XLI MQTEGXW SR SXLIV FIRIJMX                   [SVOPSEHW FIX[IIR GIRXIVW ERH SJJMGIVW
     FI ER MQTSWMXMSR XS XLI EKIRG] *YVXLIV                VIUYIWXSVW ERH 97'-7 STIVEXMSREP                       %PPS[MRK ETTPMGERXW XS JMPI IEVPMIV XLER
     97'-7 HMH RSX TVSTSWI XLMW ETTVSEGL SV                  VIEPMXMIW KMZIR GLERKIH ZIXXMRK                        XLI  HE] XMQIPMRI GYVVIRXP] MR TPEGI
     VIPIZERX QIXVMGW ERH XLYW XS JMREPM^I                   VIUYMVIQIRXW ERH MRGVIEWIH VIGIMTX                     [SYPH RIGIWWMXEXI GVIEXMSR SJ E RI[
     WYGL QIXVMGW MR XLMW JMREP VYPI [SYPH FI                ZSPYQI MR VIGIRX ]IEVW &] EPPS[MRK XLI                GPSGO W]WXIQ XS XVEGO LS[ PSRK EW]PYQ
     SYXWMHI XLI WGSTI SJ XLMW VYPIQEOMRK                   EKIRG] JPI\MFMPMX] XS WLMJX [SVOPSEHW ERH              ETTPMGEXMSRW [IVI TIRHMRK TVMSV XS
        8LI TVSGIWWMRK SJ )%( ETTPMGEXMSRW MW                VIWSYVGIW XS EGGSQQSHEXI I\XIVREP ERH                  ETTVSZEP MR SVHIV XS EZSMH ETTVSZMRK ER
     RSX WMQTPI ERH MRGVIEWIW MR EW]PYQ                    MRXIVREP GLERKIW MR XLI ETTPMGEXMSR                    )%( [LIR XLI EW]PYQ ETTPMGEXMSR LEH
     FEWIH JMPMRKW MR VIGIRX ]IEVW GSYTPIH                  PERHWGETI 97'-7 FIPMIZIW XLMW VYPI [MPP
     [MXL XLI GLERKIW XS MRXEOI ERH ZIXXMRK                  EPPS[ KVIEXIV IJJMGMIRG] XLVSYKLSYX )%(                    'EWI TVSGIWWMRK XMQI MRJSVQEXMSR QE] FI JSYRH

                                                             ETTPMGEXMSR X]TIW 97'-7 VIGSKRM^IW XLI                EX LXXTWIKSZYWGMWKSZTVSGIWWMRKXMQIW ERH
     TVSGIHYVIW LEZI TPEGIH E KVIEX WXVEMR                                                                         EW]PYQ ETTPMGERXW GER EGGIWW XLI [IF TEKI JSV
     SR EKIRG] VIWSYVGIW XLEX PIEH XS ER                     TSXIRXMEP YRGIVXEMRX] XLEX QE] VIWYPX                  VIEPMWXMG TVSGIWWMRK XMQIW EW 97'-7 VIKYPEVP]
     MRGVIEWIH TVSGIWWMRK XMQI (,7                          ERH VSYXMRIP] YTHEXIW TYFPMGP] EZEMPEFPI               YTHEXIW XLMW MRJSVQEXMSR



:IV(EXI 7IT "    .YR     .OX    43    *VQ    *QX    7JQX    )@*6@*1@.267+1   .26
                                                                                                                                          AR005558
                    *IHIVEP 6IKMWXIV  :SP  2S   1SRHE] .YRI    6YPIW ERH 6IKYPEXMSRW

     FIIR TIRHMRK PIWW XLER  HE]W 8LMW                   IPMQMREXMSR SJ ER IRXMVI GEXIKSV] SJ                   FEGOKVSYRH MRZIWXMKEXMSRW JSV WIPIGXIIW
     [SYPH VIUYMVI XVEGOMRK ERH TSXIRXMEPP]                  IPMKMFMPMX] JSV JII [EMZIVW MX WIIQW PMOIP]           SRFSEVHMRK ERH XVEMRMRK ERH QIRXSVMRK
     LSPHMRK ETTPMGEXMSRW SZIV E PSRKIV WTER                 XLEX JII MRGVIEWIW [SYPH RSX IZIR FI                   FIJSVI RI[ LMVIW EVI EFPI XS EHNYHMGEXI
     SJ XMQI EHHMRK GSQTPI\MX] ERH [SYPH                   RIGIWWEV] XS MRGVIEWI VIZIRYI                         8LVSYKLSYX XLMW XMQI FEGOPSKW FYMPH
     EHHMXMSREPP] GSQTPMGEXI EGGSYRXMRK JSV                  7MQMPEVP] ERSXLIV GSQQIRXIV TVSTSWIH                  ERH VIWSYVGIW GSRXMRYI XS FI HMZIVXIH XS
     ETTPMGEXMSRW WYFNIGX XS XLI TVMSV VYPIW                 LMVMRK QSVI 97'-7 WXEJJ EW E WSPYXMSR                 WYTTSVX TVSKVEQW [MXL TVSGIWWMRK
     ERH XLSWI WYFNIGX XS XLMW VYPI SR SV EJXIV              IZIR MJ XLEX QIERW MRGPYHMRK E JII                     XMQIPMRIW
     MXW IJJIGXMZI HEXI                                     TE]QIRX-zSREW]PYQETTPMGEXMSRW                    ;LMPI (,7 VIGSKRM^IW XLEX XLI
        8LI FYVHIR EWWSGMEXIH [MXL WXEXYXSV]                 7IZIVEP GSQQIRXIVW XSSO MWWYI [MXL                     WYKKIWXIH WXEJJMRK WSPYXMSR QE] FI QSVI
     GSQTPMERGI [SYPH GVIEXI RI[                             (,7vWVEXMSREPIXLEXLMVMRKWXEJJuu[SYPH             PSRKXIVQ XLI EKIRG] HSIW RIIH ER
     STIVEXMSREP GSWXW VIPEXIH XS RI[ ERH                    RSXMQQIHMEXIP]vvWLSVXIREHNYHMGEXMSR                MQQIHMEXI WSPYXMSR EW VIWSYVGIW
     EHHMXMSREP XVEGOMRK EW [IPP EW FMJYVGEXIH               XMQIJVEQIW WXEXMRK XLEX MX MW RS I\GYWI               GSRXMRYI XS FI WXVEMRIH ;LMPI 97'-7
     VIUYMVIQIRXW VIPEXIH XS GEWIW TIRHMRK                   JSV RSX GSRWMHIVMRK XLEX EPXIVREXMZI ERH              WXVMZIW XS QEMRXEMR XLI WXEJJMRK RIGIWWEV]
     SR SV EJXIV XLI IJJIGXMZI HEXI SJ XLMW VYPI             XLEX XLI GSRGIVR WLSYPH FI [LIXLIV                     XS XMQIP] TVSGIWW EPP FIRIJMX VIUYIWX
     [LMPI RSX GVIEXMRK RI[ IJJMGMIRGMIW                    HSMRK WS [SYPH EHHVIWW XLI MWWYI PSRK                 X]TIW ERH GSRXMRYSYWP] EREP]^IW
     %W]PYQ ETTPMGEXMSRW EVI EHNYHMGEXIH F]                  XIVQ %RSXLIV GSQQIRXIV WXEXIH XLEX XLI                [SVOPSEH XVIRHW ERH TVSHYGXMSR WMQTP]
     %W]PYQ 3JJMGIVW [MXLMR XLI 6IJYKII                     XIQTSVEV] HIPE] FIX[IIR LMVMRK RI[                     LMVMRK QSVI TISTPI HSIW RSX TVSZMHI E
     %W]PYQ ERH -RXIVREXMSREP 3TIVEXMSRW                    IQTPS]IIW ERH XLIMV EFMPMX] XS TVSGIWW                 WLSVX XIVQ JM\ ERH IZIR [LIR RI[ LMVIW
     HMVIGXSVEXI [LMPI ETTPMGEXMSRW JSV )%(W                ETTPMGEXMSRW HSIW RSX VIUYMVI E                        EVI [SVOMRK EX JYPP GSQTIXIRG] WLMJXMRK
     EVI TVSGIWWIH F] -QQMKVEXMSR 7IVZMGIW                   TIVQERIRX IPMQMREXMSR SJ E JM\IH                       HIQERHW ERH TVMSVMXMIW GSRXMRYSYWP]
     3JJMGIVW [MXLMR XLI 7IVZMGI 'IRXIV                      TVSGIWWMRK XMQIJVEQI                                  TVIWIRX RI[ GLEPPIRKIW XLEX EVI IZIR
     3TIVEXMSRW (MVIGXSVEXI %W]PYQ 3JJMGIVW                    6IWTSRWI (,7 WIIOW XS GSQTPIXI                     QSVI HMJJMGYPX XS EHNYWX XS [MXL E
     VIGIMZI MRXIRWMZI ERH WTIGMEPM^IH                       IZIV] VIUYIWX EW WSSR EW MX TSWWMFP] GER               TVSGIWWMRK XMQIPMRI MR TPEGI %W RSXIH
     XVEMRMRK XS YRHIVWXERH XLI RYERGIW ERH                  [LMPI IRWYVMRK XLEX FIRIJMXW EVI                       MR XLI TVSTSWIH VYPI LMVMRK EHHMXMSREP
     WIRWMXMZMXMIW MRZSPZIH MR EWWIWWMRK                     TVSZMHIH SRP] XS XLSWI [LS EVI IPMKMFPI               WXEJJ QE] RSX WLSVXIR EHNYHMGEXMSR
     IPMKMFMPMX] JSV EW]PYQ -QQMKVEXMSR                     %W WXEXIH MR XLI TVSTSWIH VYPI (,7 LEW                XMQIJVEQIW MR EPP GEWIW FIGEYWI 
     7IVZMGIW 3JJMGIVW EPWS VIGIMZI                          HIXIVQMRIH XLEX MX WLSYPH RSX FI WYFNIGX               EHHMXMSREP XMQI [SYPH FI VIUYMVIH XS
     WTIGMEPM^IH XVEMRMRK FYX XLI] EVI                      XS E TVSGIHYVEP HIEHPMRI GSHMJMIH MR                   SRFSEVH ERH XVEMR RI[ IQTPS]IIW ERH
     JVIUYIRXP] XVEMRIH XS EHNYHMGEXI QER]                   VIKYPEXMSRW XS EHNYHMGEXI E GIVXEMR                      JSV GIVXEMR ETTPMGEXMSRW EHHMXMSREP
     HMJJIVIRX FIRIJMX VIUYIWX X]TIW ERH EW                 MQQMKVEXMSR FIRIJMX VIUYIWX MR E ZIV]                  XMQI MW RIIHIH XS JYPP] ZIX ER ETTPMGERX
     PSGEXIH MR WIVZMGI GIRXIVW ERH HS RSX                  WLSVX XMQI %W XLI GSQQIRXIVW RSXI                    VIKEVHPIWW SJ WXEJJMRK PIZIPW
     LEZI JEGI XS JEGI MRXIVEGXMSRW [MXL                     97'-7 MW EYXLSVM^IH F] PE[ XS WIX JIIW                    'SQQIRXW % GSQQIRXIV WEMH XLI VYPI
     FIRIJMX VIUYIWXSVW -R WLSVX XLI REXYVI SJ             EX E PIZIP RIGIWWEV] XS VIGSZIV XLI JYPP               WYKKIWXW XLEX MX [SYPH FI XSS I\TIRWMZI
     ERH TVSGIHYVIW JSV XLIWI EHNYHMGEXMSRW                  GSWXW SJ EHNYHMGEXMSR ERH REXYVEPM^EXMSR               XS LMVI EHHMXMSREP SJJMGIVW XS OIIT YT
     EVI ZIV] HMJJIVIRX -J 97'-7 EPPS[IH                    WIVZMGIW 7II -2% WIGXMSR  Q                      [MXL XMQIP] TVSGIWWMRK ERH GMXIW XS uuXLI
     GSRGYVVIRX JMPMRK XLI ETTPMGEXMSRW                     97'  Q  %W VIUYMVIH F] XLI                     LMWXSVMGEW]PYQFEGOPSKvvFYXXLI
     [SYPH WXMPP RIIH XS FI EHNYHMGEXIH                      'LMIJ *MRERGMEP 3JJMGIVW %GX SJ                    GSQQIRXIV WXEXIH XLI VIEWSRMRK
     XLVSYKL GSQTPIXIP] HMJJIVIRX TVSGIWWIW                  '*3%GX 97'z97'-7                    ETTIEVIH XS FI TVIXI\XYEP WMRGI XLI
     %HHMXMSREPP] EW XLI TVSTSWIH VYPI HMH                  EREP]^IW MXW GSWXW IZIV] X[S ]IEVW XS                  TVSTSWIH VIKYPEXMSRW SRP] HIEP [MXL
     RSX GSRXIQTPEXI EPPS[MRK IEVPMIV JMPMRK                HIXIVQMRI MJ MXW JIIW EVI EHIUYEXI XS                  MRMXMEP )%(W JMPIH F] EW]PYQ WIIOIVW ERH
     MX MW SYXWMHI XLI WGSTI SJ XLMW                         VIGSZIV MXW JYPP GSWXW -J JII VIZIRYI MW              RSX )%( VIRI[EPW JSV EW]PYQ WIIOIVW
     VYPIQEOMRK                                             TVSNIGXIH XS FI XSS LMKL SV PS[ 97'-7                 [LSWI GEWIW EVI GYVVIRXP] MR XLI EW]PYQ
        (,7 EGORS[PIHKIW XLEX XLI ZSPYQI SJ                  GSRHYGXW VYPIQEOMRK XS EHNYWX MXW                      SJJMGI FEGOPSK
     MRMXMEP G  )%( ETTPMGEXMSRW LEW                        MQQMKVEXMSR FIRIJMX VIUYIWX JIIW XS XLI                   6IWTSRWI 8LI 97'-7 %W]PYQ
     HVSTTIH WPMKLXP] EW GSQTEVIH XS                    EQSYRXW RIGIWWEV] XS GSZIV MXW STIVEXMRK               (MZMWMSR VIGIMZIH  EJJMVQEXMZI
     ,S[IZIV EW SJ *=  XLMW X]TI SJ                    GSWXW 7II IK  *6  2SZ                  EW]PYQ ETTPMGEXMSRW MR *=  [MXL
     ETTPMGEXMSR VIQEMRW LMWXSVMGEPP] LMKL                    -R 2SZIQFIV SJ  (,7                        MRGVIEWIW IEGL ]IEV YT XS E TIEO SJ
     [MXL *=  VIGIMTXW EX  ERH                    TYFPMWLIH E TVSTSWIH VYPI XLEX TVSTSWIW                 MR *=  8LMW QSVI E XLER
     *=  EX  QEMRXEMRMRK XLI                  E RI[ JII WGLIHYPI MRGPYHMRK E JII JSV                XLVIIJSPH MRGVIEWI MR JSYV ]IEVW RSX
     HE] XMQIJVEQI TSWIW ER YRWYWXEMREFPI                    ER MRMXMEP )%( JSV EW]PYQ ETTPMGERXW -H              SRP] GVIEXIH FEGOPSKW MR TVSGIWWMRK
     FYVHIR HYVMRK TIVMSHW SJ LMKL                           EX                                               EW]PYQ ETTPMGEXMSRW FYX EPWS GEYWIH E
     ETTPMGEXMSR ZSPYQIW [LMPI EPPS[MRK                        (,7 WXEXIH MR XLI TVSTSWIH VYPI JSV                 WXIIT MRGVIEWI MR XLI RYQFIV SJ FSXL
     ETTPMGERXW XS JMPI IEVPMIV [SYPH GVIEXI                 XLMW VYPIQEOMRK XLEX TVSZMHMRK XLI                     MRMXMEP ERH VIRI[EP ETTPMGEXMSRW JSV
     EHHMXMSREP EHQMRMWXVEXMZI GSWXW ERH                     VIWSYVGIW XS QIIX XLMW VIKYPEXSV]                      IQTPS]QIRX EYXLSVM^EXMSR [MXL *=
     FYVHIRW                                                XMQIJVEQI VIUYMVIW 97'-7 XS YWI JIIW                    XSXEPW EX  ERH *= 
                                                             TEMH F] SXLIV FIRIJMX VIUYIWXSVW 7II                XSXEPW EX  &SXL XLI MRMXMEP
     97'-7 7LSYPH %GUYMVI 1SVI 6IWSYVGIW                     *6 EX  (,7 FIPMIZIW 97'-7                        [SVOPSEH ERH VIRI[EP [SVOPSEH EVI
     -RWXIEH SJ 6IQSZMRK XLI 8MQIJVEQI                       VIUYMVIW XLI JPI\MFMPMX] XS HIZSXI MXW                 TVSGIWWIH F] SJJMGIVW [MXL HMJJIVIRX
       'SQQIRXW 7IZIVEP GSQQIRXIVW                          VIWSYVGIW [LIVI XLI] EVI RIIHIH XS QIIX                WTIGMEPM^IH XVEMRMRK XS TVSZMHI E QSVI
     WXEXIH XLEX VEXLIV XLER TVSTSWMRK XLMW                 WIEWSREP HIQERHW JMPMRK WYVKIW ERH                   WXVIEQPMRIH ERH IJJMGMIRX EHNYHMGEXMSR
     VYPI (,7 GSYPH EGUYMVI QSVI VIWSYVGIW                  (,7 TVMSVMXMIW ERH RSX XS QIIX ER
     JSV STIVEXMSRW EX IEGL WIVZMGI GIRXIV EW                SYXHEXIH VIKYPEXSV] HIEHPMRI 8LIVIJSVI                  )%(W GYVVIRXP] LEZI E ]IEV ZEPMHMX] TIVMSH

     [IPP EW EX GEVH TVSHYGXMSR JEGMPMXMIW JSV                                                                      ERH XLMW GER GEYWI G]GPMGEP JPYGXYEXMSRW MR VIRI[EP
                                                             (,7 [MPP VIQSZI XLI HE] HIEHPMRI                    VEXIW 8LI VIRI[EP VIGIMTXW JSV *=  [IVI
     I\EQTPI F] LMVMRK QSVI EHNYHMGEXMSR                    JVSQ XLI VIKYPEXMSRW                                   [LMGL VIJPIGXW XLI PS[IV MRMXMEP JMPMRKW MR *=
     WXEJJ  % GSQQIRXIV WEMH JIIW JSV SXLIV                    *YVXLIV IZIR MJ ERH [LIR XLI JYRHW                  EPXLSYKL VIGIMTX ERH EHNYHMGEXMSR HEXIW
     JSVQW GSYPH FI MRGVIEWIH XS                             EVI EZEMPEFPI XS LMVI EHHMXMSREP WXEJJ ERH             VSYXMRIP] GVSWW JMWGEP ]IEVW WS XLMW QE] MRGPYHI E
                                                                                                                    TSVXMSR SJ MRMXMEP JMPMRKW JVSQ  ERH   -X MW
     EGGSQQSHEXI XLI GSWX SJ LMVMRK                          SJJMGIVW XLIVI MW E WMKRMJMGERX PEK XMQI MR           RSXIH XLEX VITPEGIQIRX JMPMRKW EVI I\GPYHIH JVSQ
     EHHMXMSREP EHNYHMGEXSVW ,S[IZIV XLI                   XLI GSYVWI SJ TSWXMRK NSF                              XLI JMKYVIW EW XLI] EVI RSX VIPIZERX XS XLMW
     GSQQIRXIV WEMH [MXL XLI VIGIRX                         ERRSYRGIQIRXW WIPIGXMRK GERHMHEXIW                   VYPIQEOMRK



:IV(EXI 7IT "    .YR     .OX    43    *VQ    *QX    7JQX    )@*6@*1@.267+1   .26
                                                                                                                                            AR005559
                         *IHIVEP 6IKMWXIV  :SP  2S   1SRHE] .YRI    6YPIW ERH 6IKYPEXMSRW                                            

     TVSGIWW *YVXLIV )%( VIRI[EP                           MQTPIQIRXW MX XS XLI I\XIRX TVEGXMGEFPI               STXMSR SJ XIQTSVEV] [SVO TIVQMX XLEX
     ETTPMGEXMSRW JSV EW]PYQ WIIOIVW EVI RSX                 8LI GSRGPYWMSRW ERH VIGSQQIRHEXMSRW                    GER FI GERGIPPIH MJ ER] VIH JPEKW EVI
     WYFNIGX XS EHNYHMGEXMSR XMQIPMRIW ERH                  VIJIVIRGIH F] GSQQIRXIVW [IVI XLI                      JSYRH HYVMRK JYVXLIV WGVIIRMRK SJ XLI
     EPWS LEZI ER EYXSQEXMG I\XIRWMSR GPEYWI                 3QFYHWQERvWVIGSQQIRHEXMSRWJSVEPP                   MRHMZMHYEP ETTPMGERX
     XS QMXMKEXI ER] PETWI MR IQTPS]QIRX                     )%( EHNYHMGEXMSRW ERH [IVI RSX                           6IWTSRWI 97'-7 HMWEKVIIW [MXL
     EYXLSVM^EXMSR JSV XLIWI EPMIRW 8LI                  WTIGMJMG XS XLI EW]PYQFEWIH                           GSQQIRXIVvWWYKKIWXMSREWXLIEKIRG]
     HE] VYPI ERH 6SWEVMS GSYVX SVHIV LEZI                   ETTPMGEXMSRW ERH XLIVIJSVI RSX XSXEPP]                 FIPMIZIW TVSZMHMRK E XIQTSVEV] [SVO
     GVIEXIH XLI RIGIWWMX] JSV E GIRXVEPM^IH                 VIPIZERX XS E HE] TVSGIWWMRK                        TIVQMX EX XLI XMQI SJ MRMXMEP JMPMRK MRZMXIW
     TVSGIWW XS IRWYVI GSQTPMERGI [LMGL                     XMQIJVEQI 2IZIVXLIPIWW EW HMWGYWWIH                  JVEYH ERH EFYWI % FIRIJMX XLEX [SYPH
     TVIZIRXW 97'-7 JVSQ WLMJXMRK [SVOPSEHW                  IPWI[LIVI MR VIWTSRWI XS GSQQIRXW                     FI FIWXS[IH EYXSQEXMGEPP] WMQTP] YTSR
     EQSRK SJJMGIVW XVEMRIH XS EHNYHMGEXI                    EYKQIRXMRK XLI WXEJJ HIHMGEXIH XS                      JMPMRK TVSZMHIW RS STTSVXYRMX] JSV
     )%( ETTPMGEXMSRW [LIR MX QE] FI QSVI                   EW]PYQFEWIH )%( ETTPMGEXMSRW [SYPH                    ZIXXMRK ERH IRGSYVEKIW JVMZSPSYW JMPMRKW
     IJJMGMIRX ERH SJJIV E QSVI XMQIP]                       RSX MQQIHMEXIP] ERH MR EPP GEWIW WLSVXIR               XS SFXEMR IZIR E WLSVXXIVQ FIRIJMX
     EHNYHMGEXMZI TVSGIWW 8LMW VYPIQEOMRK                   EHNYHMGEXMSR XMQIJVEQIW ERH [SYPH                     *VMZSPSYW JMPMRKW MR XYVR I\EGIVFEXI
     EMQW XS MQTVSZI JPI\MFMPMX] ERH                         MRGVIEWI XLI GSWXFYVHIR SR XLI EKIRG]                FEGOPSKW ERH GEYWI KVIEXIV HIPE]W MR
     IJJMGMIRG] F] XEOMRK E[E] FEVVMIVW XS                   ;MXL VIWTIGX XS MQTPIQIRXMRK ER                        TVSGIWWMRK ETTPMGEXMSRW JSV XLSWI [MXL
     YWMRK I\MWXMRK VIWSYVGIW XS XLI KVIEXIWX                IHYGEXMSR GEQTEMKR 97'-7 [MPP YTHEXI                  QIVMXSVMSYW GPEMQW
     IJJIGX                                                 MXW TYFPMG WSYVGIW SJ MRJSVQEXMSR WYGL                   'SQQIRXW 3RI GSQQIRXIV WYKKIWXIH
        'SQQIRXW % GSQQIRXIV WXEXIH XLEX                    EW XLI 4SPMG] 1ERYEP ERH [IFWMXI                      MRGVIEWMRK XLI ZEPMHMX] SJ G  )%(W
     XLI TVSTSWEPW XLEX 97'-7 WLSYPH LMVI                    TVSZMHI YTHEXIH MRJSVQEXMSR VIKEVHMRK                  JVSQ  ]IEVW XS 
     ERH XVEMR QSVI EHNYHMGEXSVW MKRSVIW                     XLI GLERKIW XS I\TIGX VIPEXMRK XS XLI                     6IWTSRWI 8LSYKL (,7 VIGSKRM^IW
     'SRKVIWWvQERHEXIXLEX97'-7FIRIJMXW                  TVSQYPKEXMSR SJ XLMW VYPI ERH GSRXMRYI                XLEX MRGVIEWMRK XLI ZEPMHMX] TIVMSH SJ ER
     TVSGIWWMRK GSWXW QYWX FI JYRHIH                         XS TVSZMHI VIKYPEV YTHEXIW XS TVSGIWWMRK               )%( QE] VIHYGI XLI FYVHIR XS
     XLVSYKL YWIV JIIW 8LI GSQQIRXIV WXEXIH                 XMQIW ;MXL VIWTIGX XS IWXEFPMWLMRK E                  EHNYHMGEXI VIRI[EP )%( ETTPMGEXMSRW
     XLEX 97'-7 WLSYPH RSX FI GSQTIPPIH XS                   YRMJSVQ TVSGIWW XS I\TIHMXI                            XLI EKIRG] HSIW RSX FIPMIZI HSMRK WS
     EVFMXVEVMP] EHLIVI XS E VMKMH ERH                       VIWYFQMWWMSRW JMPIH HYI XS WIVZMGI IVVSV              [SYPH EPPIZMEXI XLI FYVHIR XLI EKIRG]
     HMWVYTXMZI TVSGIWWMRK HIEHPMRI JSV                      97'-7 LEW TYFPMWLIH KYMHERGI SR MXW                    JEGIW MR EHNYHMGEXMRK MRMXMEP JMPMRKW
     uuKYEVERXIIHvvHE]EW]PYQ)%(                       [IFWMXI  JSV SFXEMRMRK E GSVVIGXIH )%(               [LMGL [EW XLI QEMR KSEP SJ XLMW
     TVSGIWWMRK YRPIWW ERH YRXMP YWIV                       MJ XLIVI [EW E KSZIVRQIRX IVVSV MR XLI                 VYPIQEOMRK %HHMXMSREPP] VIRI[EPW SJ
     TVSZMHIH JII VIZIRYI MW EZEMPEFPI XS                    MWWYERGI EW [IPP EW KYMHERGI JSV                       )%(W JSV EPMIRW [MXL E TIRHMRK EW]PYQ
     JYPP] JYRH XLI RIIHIH HIHMGEXIH EKIRG]                  VIUYIWXMRK I\TIHMXIH EHNYHMGEXMSR                   ETTPMGEXMSRW EVI RSX WYFNIGX XS XLI 
     TIVWSRRIP ERH VIWSYVGIW                                   97'-7 MW EPWS [SVOMRK HMPMKIRXP] XS                 HE] EHNYHMGEXMSR HIEHPMRI
        6IWTSRWI ;LMPI 97'-7 JIIW EVI WIX                   HIZIPST XLI -8 MRJVEWXVYGXYVI ERH                         'SQQIRXW 3RI GSQQIRXIV
     XLVSYKL VYPIQEOMRK ERH LMVMRK                           W]WXIQW RIIHIH JSV I4VSGIWWMRK ERH                    VIGSQQIRHIH GVIEXMRK E RI[ HSGYQIRX
     EHHMXMSREP EHNYHMGEXSVW [SYPH RSX                       EGORS[PIHKIW XLI FIRIJMXW SJ                           JSV XLSWI KVERXIH EW]PYQ XLEX GPIEVP]
     MKRSVI E 'SRKVIWWMSREP QERHEXI 97'-7                   I4VSGIWWMRK IWTIGMEPP] [MXL VIKEVH XS                 WXEXIW XLEX XLI EW]PII MW EYXLSVM^IH XS
     ETTVIGMEXIWXLIGSQQIRXIVvW                            IJJMGMIRG] ERH REXMSREP WIGYVMX] 8LMW MW              [SVO MR XLI 9RMXIH 7XEXIW [MXLSYX
     YRHIVWXERHMRK SJ XLI GSRWXVEMRXW                        E XMQI ERH PEFSV MRXIRWMZI IRHIEZSV                   VIWXVMGXMSRW [LMGL [SYPH IPMQMREXI XLI
     MRZSPZIH MR VIWSYVGIW ERH LMVMRK                       VIUYMVMRK XLI GSPPEFSVEXMSR SJ                         IRXMVI E  TVSHYGX PMRI JSV XLSWI
                                                             HIZIPSTIVW ERH WYFNIGX QEXXIV I\TIVXW                  KVERXIH EW]PYQ ERH EYXLSVM^IH XS [SVO
     3QFYHWQER 6ITSVX                                                                                               MRGMHIRX XS WXEXYW ERH JVII YT
                                                             ERH SXLIVW EW [IPP EW I\XIRWMZI XIWXMRK
       'SQQIRXW 7IZIVEP GSQQIRXIVW WEMH                     ERH HIQSW XS IRWYVI XLI RI[ W]WXIQ                     EHNYHMGEXSVW XS [SVO SR G  W
     97'-7 JEMPIH XS GSRWMHIV                                ERH JIEXYVIW JYRGXMSR TVSTIVP] 97'-7 MW                  6IWTSRWI 8LMW VYPI TIVXEMRW XS
     VIGSQQIRHEXMSRW JVSQ XLI  97'-7                     [SVOMRK ERH [MPP GSRXMRYI XS [SVO                      ETTPMGERXW JSV EW]PYQ QIERMRK XLSWI
     3QFYHWQER 6ITSVX [LMGL                                 XS[EVHW JYPP I4VSGIWWMRK EGVSWW EPP                    [LS LEZI ETTPMIH JSV EW]PYQ WXEXYW FYX
     VIGSQQIRHW XLEX XLI EKIRG] XEOI                         FIRIJMX VIUYIWX X]TIW FYX XLIVI MW                  LEZI RSX ]IX LEH XLIMV EW]PYQ
     WIZIVEP WXITW XS IRWYVI XMQIP]                          GYVVIRXP] RS IWXMQEXI EZEMPEFPI JSV [LIR               ETTPMGEXMSR EHNYHMGEXIH SR XLI QIVMXW -J
     EHNYHMGEXMSR SJ )%(W MRGPYHMRK                         XLI ETTPMGEXMSR JSV ER )%( [MPP FI                     ER EPMIR MW KVERXIH EW]PYQ WXEXYW XLI]
     EYKQIRXMRK WXEJJMRK MQTPIQIRXMRK E                     EZEMPEFPI JSV I4VSGIWWMRK                             EVI EYXLSVM^IH XS [SVO MRGMHIRX XS
     TYFPMG IHYGEXMSR GEQTEMKR XS IRGSYVEKI                                                                         WXEXYW QIERMRK XLEX LIWLI RS PSRKIV
     ETTPMGERXWXSJMPI-zVIRI[EP                       3XLIV 7YKKIWXMSRW                                      RIIHW XS ETTP] JSV IQTPS]QIRX
     ETTPMGEXMSRW YT XS  HE]W FIJSVI XLI                    'SQQIRXW 3RI GSQQIRXIV WYKKIWXIH                    EYXLSVM^EXMSR FYX VIGIMZIW WYGL
     I\TMVEXMSR SJ XLI GYVVIRX )%( ERH                      TVSZMHMRK IEGL EW]PYQ ETTPMGERX ER                     EYXLSVM^EXMSR EW ER EYXSQEXMG FIRIJMX SJ
     IWXEFPMWLMRK E YRMJSVQ TVSGIWW XS                                                                              XLEX WXEXYW 7II  '*6 E E  
     MHIRXMJ] ERH I\TIHMXI TVSGIWWMRK SJ )%(                     97'-7 )QTPS]QIRX %YXLSVM^EXMSR (SGYQIRX         %GGSVHMRKP] XLI TVSGIWW GSRXIQTPEXIH
     ETTPMGEXMSR VIWYFQMWWMSRW JMPIH HYI XS                   PEWX YTHEXIH %TV    LXXTW[[[YWGMWKSZ    F] XLI GSQQIRXIV EPVIEH] I\MWXW ERH XLI
     WIVZMGI IVVSV %RSXLIV GSQQIRXIV WXEXIH                 KVIIRGEVHIQTPS]QIRXEYXLSVM^EXMSRHSGYQIRX           EKIRG] WXMPP JEGIW VIWSYVGI GSRWXVEMRXW
                                                                 97'-7 ,S[ XS 1EOI ER )\TIHMXI 6IUYIWX PEWX
     XLEXXLIVYPIMKRSVIHXLI3QFYHWQERvW                                                                            'SQQIRXW % GSQQIRXIV WXEXIH XLEX
                                                             YTHEXIH 1E]    LXXTW[[[YWGMWKSZ
     VIGSQQIRHEXMSR SJ MRGSVTSVEXMRK XLI                     JSVQWJSVQWMRJSVQEXMSRLS[QEOII\TIHMXI             MJ (,7 MW RSX EFPI XS QIIX E   SV
     *SVQ-zMRXSXLIEKIRG]vW                           VIUYIWX                                               IZIR HE] HIEHPMRI MR EPP GEWIW MX
     I4VSGIWWMRK TVSGIHYVIW [LMGL XLI                           7II 3JJMGI SJ 1EREKIQIRX ERH &YHKIX             GSYPH MRWXMXYXI E XMIVIH SV EPXIVREXMZI
     GSQQIRXIV MRHMGEXIH [SYPH I\TIHMXI                      )\IGYXMZI 3JJMGI SJ XLI 4VIWMHIRX )PIGXVSRMG          W]WXIQ SJ HIEHPMRIW JSV GEWIW XLEX
                                                             4VSGIWWMRK SJ -QQMKVEXMSR &IRIJMX 6IUYIWXW *EPP
     XLI VIZMI[ TVSGIWW ERH MQTVSZI VIZMI[                    9RMJMIH %KIRHE  LXXTW[[[VIKMRJSKSZ
                                                                                                                    VIUYMVI EHHMXMSREP WIGYVMX] ZIXXMRK 8LI
     JSV TYVTSWIW SJ JVEYH ERH REXMSREP                      TYFPMGHS                                             GSQQIRXIV WEMH E WXSTXMQI QIGLERMWQ
     WIGYVMX] GSRGIVRW                                      I%KIRHE:MI[6YPI#TYF-H! 6-2!                 JSV GEWIW XLEX VIUYMVI EHHMXMSREP ZIXXMRK
       6IWTSRWI 97'-7 GEVIJYPP] GSRWMHIVW                   %' 97'-7 97'-7 %GGIPIVEXIW 8VERWMXMSR XS           [SYPH FI E JIEWMFPI [E] XS QEMRXEMR E
                                                             (MKMXEP -QQMKVEXMSR 4VSGIWWMRK 1E]   
     XLI SFWIVZEXMSRW ERH VIGSQQIRHEXMSRW                    LXXTW[[[YWGMWKSZRI[WRI[WVIPIEWIWYWGMW
                                                                                                                    JM\IH TVSGIWWMRK HIEHPMRI [MXLSYX
     TVSZMHIH F] XLI 97'-7 3QFYHWQER                         EGGIPIVEXIWXVERWMXMSRHMKMXEPMQQMKVEXMSR            WEGVMJMGMRKXLIEKIRG]vWJPI\MFMPMX]%
     ERH MJ MX EKVIIW [MXL E VIGSQQIRHEXMSR                 TVSGIWWMRK                                          GSQQIRXIV WXEXIH XLEX 97'-7 HSIW RSX


:IV(EXI 7IT "    .YR     .OX    43    *VQ    *QX    7JQX    )@*6@*1@.267+1   .26
                                                                                                                                       AR005560
                    *IHIVEP 6IKMWXIV  :SP  2S   1SRHE] .YRI    6YPIW ERH 6IKYPEXMSRW

     I\TPEMR [L] MX HMH RSX GSRWMHIV XLI                     VIUYMVIQIRX [SYPH QMXMKEXI GSRJYWMSR                   %RSXLIVGSQQIRXIVWEMH97'-7vJEMPYVI
     WMQTPI STXMSR SJ EHHMRK E WXSTGPSGO JSV                ERH VIHYGI TVIWWYVI SR XLSWI XLEX LEZI                 XS IWXMQEXI XLIWI GSWXW MW uuWMQTP]
     XLI WQEPP TIVGIRXEKI SJ ETTPMGEXMSRW                    ER )%( %RSXLIV GSQQIRXIV WXEXIH XLEX                  MVVEXMSREPvvERHJEMPWXSWEXMWJ]XLIQSWX
     VIJIVVIH XS XLI &EGOKVSYRH 'LIGO 9RMX                   XLI XLVII TVIGSRHMXMSRW MR XLI %'                 FEWMG GSWXFIRIJMX SFPMKEXMSRW XLI EKIRG]
      &'9 ERH 7IVZMGI 'IRXIV *VEYH                           VYPI JSV EYXSQEXMG I\XIRWMSR IPMKMFMPMX]               QYWX QIIX YRHIV XLI %4%
     (IXIGXMSR 3TIVEXMSR '*(3  EOMR XS XLI                  [MPP EHIUYEXIP] IRWYVI XLEX VIRI[EP                       %R MRHMZMHYEP GSQQIRXIV WEMH XLI
     WXSTGPSGO GYVVIRXP] MR TPEGI JSV                       ETTPMGEXMSRW EVI RSX EYXSQEXMGEPP]                     VYPI EVKYIW XLEX uuXLI GSWX SJ LMVMRK ERH
     ETTPMGEXMSRW XLEX VIUYMVI 6IUYIWXW JSV                  KVERXIH XS ETTPMGERXW [LSWI EW]PYQ                     XVEMRMRK IQTPS]IIW XS EHNYHMGEXI )%(W
     )ZMHIRGI 6*)W  .YWX EW ER 6*) TEYWIW                   ETTPMGEXMSRW WMRGI LEZI FIIR HIRMIH                   [SYPH FI TEWWIH SRXS EW]PYQ WIIOIVW
     XLI HE] TVSGIWWMRK XMQIJVEQI YRXMP                     6IWTSRWI 97'-7 ETTVIGMEXIW XLIWI                    MR XLI JSVQ SJ PSWX [EKIW ERH LMKLIV
     EHHMXMSREP HSGYQIRXEXMSR MW VIGIMZIH E                 GSQQIRXW MR WYTTSVX SJ VIQSZMRK XLI                    ETTPMGEXMSR JIIW ,S[IZIV 97'-7 SJJIVW
     RI[ WXST GPSGO JSV &'9 ERH '*(3                         HE] VIRI[EP VIUYMVIQIRX                            RS HMVIGX IZMHIRGI SJ XLIWI XVERWJIVVIH
     VIJIVVEPW GSYPH TEYWI TVSGIWWMRK JVSQ                     'SQQIRXW % GSQQIRXIV WYTTSVXIH                      GSWXW -X QIVIP] TSMRXW XS ER EGGSYRXMRK
     XLI XMQI SJ VIJIVVEP YRXMP EHHMXMSREP                   XLI VYPI GLERKI FYX YVKIH (,7 XS WIX E                 WXEXIQIRX F] XLI 3JJMGI SJ 1EREKIQIRX
     MRJSVQEXMSR MW VIGIMZIH JVSQ &'9 ERH                   XMQIJVEQI JSV EHNYHMGEXMRK VIRI[EPW HYI                ERH &YHKIX JSV  XS TVIHMGX TSWWMFPI
     SV '*(3                                                XS GSRGIVRW EFSYX ETTPMGERXW RSX                       GSWXWJSVzvv
        6IWTSRWI ;LMPI MX MW XVYI XLEX XLI               VIGIMZMRK XLIMV )%( VIRI[EP GEVHW F]                      6IWTSRWI 97'-7 MRGPYHIH ER
     HE] EHNYHMGEXMSR XMQIJVEQI QE] FI                       XLI XMQI XLI EYXSQEXMG I\XIRWMSR IRHW                 I\XIRWMZI ERH TPEMRP] WYJJMGMIRX EREP]WMW
     TEYWIH ERH VIWXEVXIH MR GIVXEMR                           6IWTSRWI 97'-7 VIWTIGXJYPP]                         SJ XLI TVSTSWIH VYPI 97'-7
     MRWXERGIW EGGSVHMRK XS GIVXEMR                         HMWEKVIIW XLEX XLIVI MW E RIIH XS WIX ER               EGORS[PIHKIW XLEX MX HSIW RSX GSRHYGX
     VIKYPEXMSRW TEYWMRK ERH VIWXEVXMRK XLI               EHNYHMGEXMZI XMQIJVEQI JSV EHNYHMGEXMRK                E UYERXMXEXMZI GSWXFIRIJMX EWWIWWQIRX SJ
     EHNYHMGEXMSR XMQIJVEQI QE] RSX FI                       VIRI[EPW 97'-7 FIPMIZIW XLI EFMPMX] XS                XLI GSWXW ERH FIRIJMXW SJ LMVMRK
     TSWWMFPI MR EPP MRWXERGIW XS                            ETTP] JSV VIRI[EP IEVPMIV GSYTPIH [MXL                EHHMXMSREP 97'-7 SJJMGIVW XS QIIX XLI
     EGGSQQSHEXI VSYXMRI FEGOKVSYRH                          ER EYXSQEXMG I\XIRWMSR SJ  HE]W                     HE] XMQIJVEQI &YX XLMW MW FIGEYWI EX
     GLIGOW ERH JVEYH HIXIGXMSR 8LI EKIRG]                  TVSZMHIW EHIUYEXI XMQI JSV EHNYHMGEXMSR                FSXXSQ 97'-7 MW YREFPI XS TPER MXW
     MRMXMEPP] WGERW WTIGMJMGEPP] JSV MRHMGEXSVW             ERH TSWIW QMRMQEP VMWO XLEX ER                         [SVOPSEH ERH WXEJJMRK RIIHW [MXL XLI
     SJ REXMSREP WIGYVMX] GSRGIVRW ERH XLSWI                 ETTPMGERX [MPP I\TIVMIRGI E PETWI MR                   PIZIP SJ GIVXEMRX] XLEX E FMRHMRK
     GSRGIVRW EVI ZIXXIH MQQIHMEXIP]                         IQTPS]QIRX EYXLSVM^EXMSR -R *=                   XMQIJVEQI QE] VIUYMVI ERH LEW RS [E]
     [MXLSYX VIWTIGX XS XLI HE]                           XLI EZIVEKI TVSGIWWMRK XMQI JSV )%(                    SJ TVIHMGXMRK [LEX REXMSREP WIGYVMX] ERH
     EHNYHMGEXMSR XMQIJVEQI 8LI ZIXXMRK                     GPEWWMJMGEXMSRW I\GPYHMRK XLI G                       JVEYH GSRGIVRW QE] FI SV [LEX
     TVSGIWW [LIR E GSRGIVR MW MHIRXMJMIH                  ETTPMGEXMSRW [EW  HE]W ERH XLI                      TVSGIHYVIW [MPP FI RIGIWWEV] MR XLI
     GER FI PIRKXL] ERH WSQIXMQIW VIUYMVIW                   QIHMER TVSGIWWMRK XMQI [EW  HE]W                   JYXYVI
     GSRWYPXEXMSR [MXL SV VIJIVVEP XS SYXWMHI                ;LMPI 97'-7 EGORS[PIHKIW GEWIW QE]                        -R ER] GEWI XLI TVSTSWIH VYPI HMH RSX
     EKIRGMIW [LMGL GERRSX FI GSQTPIXIH                      SGGEWMSREPP] TIRH PSRKIV XLER  HE]W                 WXEXI XLEX LMVMRK ERH XVEMRMRK EHHMXMSREP
     [MXLMR XLI HE] XMQIPMRI %HHMXMSREP                  HYI XS YRYWYEP JEGXW SV GMVGYQWXERGIW SV               IQTPS]IIW [SYPH VIWYPX MR PSWX [EKIW
     ZIXXMRK EPWS SGGYVW HYVMRK EHNYHMGEXMSR                ETTPMGERXGEYWIH HIPE]W XLI HE]                   JSV EW]PYQ WIIOIVW ;MXL VIWTIGX XS
     [LMGL QE] [EVVERX MRZIWXMKEXMZI EGXMSR                  EYXSQEXMG I\XIRWMSR LEW TVSZIR XS EZSMH                ETTPMGEXMSR JIIW XLI TVSTSWIH VYPI
     SV VIUYMVI EHHMXMSREP MRJSVQEXMSR FYX                   PETWIW MR IQTPS]QIRX EYXLSVM^EXMSR JSV                 WXEXIH EQSRK SXLIV XLMRKW XLEX
     97'-7 HMWEKVIIW XLEX MX GER SV WLSYPH                   XLI QENSVMX] SJ ETTPMGERXW -R *=                 TVSZMHMRK XLI VIWSYVGIW XS QIIX XLMW
     WXST XLI EHNYHMGEXMSR XMQIJVEQI XS                       TIVGIRX SJ ETTPMGEXMSRW [IVI                      VIKYPEXSV] XMQIJVEQI [SYPH VIUYMVI
     EGGSQQSHEXI X]TMGEP EHNYHMGEXMZI                        EHNYHMGEXIH [MXLMR  HE]W MR *=                     97'-7 XS YWI E WMKRMJMGERX EQSYRX SJ
     TVSGIHYVIW VEXLIV XLER VIQSZMRK XLI                       TIVGIRX MR *=                     JIIW XLEX EVI GYVVIRXP] TEMH F] SXLIV
     XMQIJVEQI EPXSKIXLIV EW XLMW VYPI HSIW                TIVGIRX ERH EW SJ *IFVYEV]                  FIRIJMX VIUYIWXSVW (,7 HSIW RSX
     -RXVSHYGMRK EHHMXMSREP TEYWI ERH VIWXEVX                TIVGIRX SJ RSR G  ETTPMGEXMSRW [IVI                  YRHIVWXERH XLI VIQEMRHIV SJ XLI
     QIGLERMWQW JSV VSYXMRI TVSGIWWMRK                       EHNYHMGEXIH [MXLMR  HE]W MR *=                 GSQQIRX VIKEVHMRK ER EGGSYRXMRK
     EGXMSRW [SYPH EPWS EHH E RI[                                                                                   WXEXIQIRX F] XLI 3JJMGI SJ 1EREKIQIRX
     EHQMRMWXVEXMZI FYVHIR JSV 97'-7 XS                      ) 7XEXYXSV] ERH 6IKYPEXSV]                            ERH &YHKIX JSV  8LI EGGSYRXMRK
     XVEGO XLI TIRHMRK XMQI SJ E FVSEHIV                     6IUYMVIQIRXW                                           WXEXIQIRX MR XLI TVSTSWIH VYPI [EW
     W[EXL SJ GEWIW                                          'SWXW ERH &IRIJMXW )3  ERH                   TVITEVIH F] (,7 ERH MW EQTP]
                                                                                                               WYTTSVXIH F] XLI WYVVSYRHMRK XI\X
     ( 6IQSZEP SJ (E] *MPMRK                                                                                       (,7 FIPMIZIW 97'-7 VIUYMVIW XLI
     6IUYMVIQIRX                                             O 'SWXW %WWSGMEXIH ;MXL ,MVMRK                        JPI\MFMPMX] XS HIZSXI MXW VIWSYVGIW [LIVI
                                                             %HHMXMSREP -QQMKVEXMSR 3JJMGIVW                        XLI] EVI RIIHIH *YVXLIV IZIR MJ ERH
      2IGIWWMX] SJ 6YPI ERH (,7 6EXMSREPI
                                                                'SQQIRXW 7SQI GSQQIRXIVW RSXIH                     [LIR XLI JYRHW EVI EZEMPEFPI XS LMVI
        %TTVS\MQEXIP]  GSQQIRXIVW
                                                             XLEX XLI IGSRSQMG EREP]WMW HMH RSX                     EHHMXMSREP WXEJJ ERH SJJMGIVW [LMGL
     QIRXMSRIH(,7vWVEXMSREPIJSVXLI
                                                             EXXIQTX XS XEOI MRXS EGGSYRX XLI GSWXW                 VIUYMVIWMRGVIEWIWXS97'-7vSTIVEXMSREP
     HE] JMPMRK VIUYMVIQIRX
        'SQQIRXW % GSYTPI SJ GSQQIRXIVW                     ERH FIRIJMXW SJ LMVMRK EHHMXMSREP 97'-7                FYHKIX ERH XLIVIJSVI TSWWMFPI MRGVIEWIW
     EKVIIH [MXL XLI TVSTSWEP XS VIWGMRH XLI                 SJJMGIVW XS QIIX XLI HE] XMQIJVEQI                 XS MQQMKVEXMSR FIRIJMX JIIW  XLIVI MW E
     HE] HIEHPMRI JSV )%( VIRI[EPW                       3RI WXEXIH XLEX YRXMP GSWXFIRIJMX                     WMKRMJMGERX PEK XMQI MR XLI GSYVWI SJ
     WXEXMRK XLEX MX MW QSVI IJJMGMIRX QSVI                 EREP]WMW SJ EHHMXMSREP LMVMRK MW HSRI                 TSWXMRK NSF ERRSYRGIQIRXW WIPIGXMRK
     GSRWMWXIRX [MXL SXLIV VIKYPEXMSRW ERH                  ERH QSVI HIXEMPIH WIGYVMX] TVSXIGXMSRW                 GERHMHEXIW FEGOKVSYRH MRZIWXMKEXMSRW
     QSVI JEMV XS ETTPMGERXW XS EYXSQEXMGEPP]                EVI I\TPEMRIH XLMW VYPI GLERKI WLSYPH                 JSV WIPIGXIIW SRFSEVHMRK ERH XVEMRMRK
     I\XIRH ER )%( [LIR XLI EPMIR JMPIW E                    FI ZMI[IH EW EVFMXVEV] ERH GETVMGMSYW                 ERH QIRXSVMRK FIJSVI RI[ LMVIW EVI EFPI
     VIRI[EP ETTPMGEXMSR TVMSV XS XLI GYVVIRX                                                                       XS EHNYHMGEXI 8LVSYKLSYX XLMW XMQI
     HSGYQIRXvWI\TMVEXMSR%RSXLIVEKVIIH
                                                                8LI TVIGSRHMXMSRW EVI XLEX XLI ETTPMGEXMSR MW     FEGOPSKW FYMPH ERH VIWSYVGIW GSRXMRYI
                                                             TVSTIVP]JMPIHFIJSVIXLI)%(vWI\TMVEXMSRHEXI      XS FI HMZIVXIH XS WYTTSVX TVSKVEQW [MXL
     XLEX IPMQMREXMRK XLI HE] VIRI[EP                     FEWIH SR XLI WEQI GEXIKSV] SR XLIMV )%( ERH FEWIH
                                                             SR E GPEWW SJ EPMIRW IPMKMFPI XS ETTP] JSV ER )%(
                                                                                                                    TVSGIWWMRK XMQIPMRIW ;LMPI (,7
        7II  '*6  F  MM ERH  '*6                  RSX[MXLWXERHMRK I\TMVEXMSR SJ XLI )%(  '*6           VIGSKRM^IW XLEX XLI WXEJJMRK WSPYXMSR QE]
      E                                               E H                                            FI QSVI PSRKXIVQ XLI EKIRG] HSIW


:IV(EXI 7IT "    .YR     .OX    43    *VQ    *QX    7JQX    )@*6@*1@.267+1   .26
                                                                                                                                       AR005561
                         *IHIVEP 6IKMWXIV  :SP  2S   1SRHE] .YRI    6YPIW ERH 6IKYPEXMSRW                                        

     RIIH ER MQQIHMEXI WSPYXMSR EW                             'SQQIRXW 1YPXMTPI GSQQIRXIVW                        XS  [EW WSPIP] E GSRWIUYIRGI
     VIWSYVGIW GSRXMRYI XS FI WXVEMRIH ;LMPI                UYIWXMSRIH97'-7vVIPMERGISRXLI                     SJ TIRHMRK PMXMKEXMSR 97'-7
     97'-7 WXVMZIW XS QEMRXEMR XLI WXEJJMRK                  EWWYQTXMSR XLEX MX [SYPH VIXYVR XS MXW                 GSRWMWXIRXP] IZEPYEXIW ERH WLMJXW
     RIGIWWEV] XS XMQIP] TVSGIWW EPP FIRIJMX                 EHNYHMGEXMSR VEXI JVSQ  FIJSVI XLI                [SVOPSEHW ERH VIWSYVGIW XS QIIX
     VIUYIWX X]TIW ERH GSRXMRYSYWP] EREP]^IW                 6SWEVMS GSYVX SVHIV 'SQQIRXIVW WXEXIH                 GLERKMRK GMVGYQWXERGIW WYGL EW
     [SVOPSEH XVIRHW ERH TVSHYGXMSR WMQTP]                  XLEX MX MW YRPMOIP] ERH YRVIEPMWXMG XS                 MRGVIEWIH FEGOPSKW ERH PIKMWPEXMZI ERH
     LMVMRK QSVI TISTPI HSIW RSX TVSZMHI E                   I\TIGX XLEX 97'-7 [SYPH VIXYVR XS XLI                  TSPMG] GLERKIW 8LI GLERKIW MR
     WLSVX XIVQ JM\ ERH IZIR [LIR RI[ LMVIW                 TVI6SWEVMS WGIREVMS [MXLSYX E XMQIPMRI                TVSGIWWMRK XMQIW JVSQ  XS 
     EVI [SVOMRK EX JYPP GSQTIXIRG] WLMJXMRK                XS HS WS SV WXEJJMRK MRGVIEWIW ERH XLEX               [IVI PMOIP] HVMZIR F] E RYQFIV SJ
     HIQERHW ERH TVMSVMXMIW GSRXMRYSYWP]                     MR VIEPMX] HIPE]W ERH GSWXW [MPP FI QSVI              JEGXSVW 97'-7 GLSWI *=  FIGEYWI MX
     TVIWIRX RI[ GLEPPIRKIW XLEX EVI IZIR                    WMKRMJMGERX XLER IWXMQEXIH %R EHZSGEG]                VITVIWIRXW XLI PEXIWX ]IEV TVMSV XS XLI
     QSVI HMJJMGYPX XS EHNYWX XS [MXL E                      KVSYT GPEMQIH XLEX XLI TVI6SWEVMS                     6SWEVMS GSYVX SVHIV ;LMPI 97'-7 VIPMIW
     TVSGIWWMRK XMQIPMRI MR TPEGI %W RSXIH                  FEWIPMRI JEMPW XS EGGSYRX JSV uuXLI LMWXSVMG           SR  TVSGIWWMRK XMQIW [I
     MR XLI TVSTSWIH VYPI LMVMRK EHHMXMSREP                 EW]PYQETTPMGEXMSRFEGOPSKvvXLEXLEW                 EGORS[PIHKI XLEX MJ XLI EGXYEP
     WXEJJ QE] RSX WLSVXIR EHNYHMGEXMSR                      MRGVIEWIH SZIV XLI TEWX  ]IEVW [LMGL                 TVSGIWWMRK XMQIW EVI PSRKIV XLER
     XMQIJVEQIW MR EPP GEWIW FIGEYWI                       EGGSVHMRK XS (,7 MW SRI SJ XLI VIEWSRW                 EWWYQIH XLIR XLI GSWX SJ XLI VYPI [SYPH
     %HHMXMSREP XMQI [SYPH FI VIUYMVIH XS                    GMXIH JSV IPMQMREXMRK XLI HE]                       FI LMKLIV XLER IWXMQEXIH 'SRZIVWIP] MJ
     SRFSEVH ERH XVEMR RI[ IQTPS]IIW ERH                    HIEHPMRI                                              TVSGIWWMRK XMQIW EVI WLSVXIV XLER
       JSV GIVXEMR ETTPMGEXMSRW EHHMXMSREP                    3RI GSQQIRXIV I\TPEMRIH XLEX XLI                    EWWYQIH XLIR XLI GSWX SJ XLI VYPI [SYPH
     XMQI MW RIIHIH XS JYPP] ZIX ER ETTPMGERX               MQTVSZIQIRX MR TVSGIWWMRK XMQIW JVSQ                   FI PS[IV XLER IWXMQEXIH
     VIKEVHPIWW SJ WXEJJMRK PIZIPW                           XS  VIJPIGXW XLI TIRHMRK                         97'-7 EPWS FIPMIZIW XLEX EZIVEKI
                                                             PMXMKEXMSR ERH XLIVIJSVI YWMRK XLI *=                  TVSGIWWMRK XMQIW JSV EPP )%(W [MXL XLI
     P 4STYPEXMSR ERH )JJIGX SJ 6YPI SR                      TVSGIWWMRK RYQFIVW EVI MREGGYVEXI                I\GITXMSR SJ XLSWI MRMXMEP )%(W JMPIH F]
     4VSGIWWMRK 8MQIW                                        8LMW GSQQIRXIV WEMH E QSVI EGGYVEXI                    EW]PYQ ETTPMGERXW ERH EZIVEKI
        'SQQIRXW 'SQQIRXIVW UYIWXMSRIH                      FEWIPMRI [SYPH FI XS PSSO XS XLI                       TVSGIWWMRK XMQIW JSV VIRI[EPW SJ )%(W
     97'-7vWGLSMGIXSEHSTXXLIPIZIP                 RYQFIVWJSVMRMXMEP-zTVSGIWWMRK                  FEWIH SR TIRHMRK EW]PYQ ETTPMGEXMSRW
     SJ-zETTPMGEXMSRWEWMXWJSVIGEWXJSV              JVSQ FIJSVI XLI 6SWEVMS GPEWW EGXMSR [EW               [SYPH RSX FI HIQSRWXVEXMZI FIGEYWI
     XLI JYXYVI RYQFIV SJ ETTPMGEXMSRW                      JMPIH [LMGL WLS[ XLEX MR *=  SRP]                XLIVI EVI EFSYX  )%( IPMKMFMPMX]
     'SQQIRXIVW WYKKIWXIH XLEX E XVIRHPMRI                   TIVGIRX SJ MRMXMEP JMPMRKW [IVI                   GEXIKSVMIW XLEX 97'-7 TVSGIWWIW [MXL E
     SV E VERKI SJ IWXMQEXIW [SYPH FI FIXXIV                 GSQTPIXIH [MXLMR  HE]W EW GSQTEVIH                  [MHI VERKI SJ HIWGVMTXMSRW ERH
     XLERYWMRKSRI]IEVvWPIZIPEWEHIJEYPX               XS  TIVGIRX MR *=  ERH                     ZEVMEXMSRW MR XIVQW SJ ETTPMGERX X]TI
     TVIHMGXMSR                                             TIVGIRX MR *=                                     *SV ER] RYQFIV SJ VIEWSRW XLI EW]PYQ
                                                                %RSXLIV GSQQIRXIV WEMH (,7 WLSYPH                   GEXIKSV] GSYPH HMZIVKI JVSQ E
        6IWTSRWI -R XLI 2461 97'-7 [VSXI                   TVSZMHI XLI JSPPS[MRK HEXE RIIHIH XS                   KIRIVEPM^IH TVSGIWWMRK VEXI
     XLEX 97'-7 HSIW RSX YWI E XVIRH PMRI XS                 FIXXIV NYHKI XLI VIEWSREFPIRIWW SJ                        'SQQIRX % GSQQIRXIV RSXIH XLEX
     JSVIGEWXJYXYVITVSNIGXIHMRMXMEP-z                IWXMQEXIH TVSGIWWMRK XMQIW YRHIV XLI                   XLI TVSTSWIH VYPI JEMPW XS GSRWMHIV XLI
     ETTPMGEXMSRW FIGEYWI ZEVMSYW JEGXSVW                    VYPI %ZIVEKI TVSGIWWMRK XMQIW JSV EPP                 WMKRMJMGERX MQTEGX SR EW]PYQ ETTPMGERXW
     SYXWMHI XLMW VYPIQEOMRK QE] VIWYPX MR                   )%(W [MXL XLI I\GITXMSR SJ XLSWI                       MR HIJIRWMZI TVSGIIHMRKW EW QYGL SJ XLI
     IMXLIV E HIGPMRI SV GSRZIVWIP] E                      MRMXMEP )%(W JMPIH F] EW]PYQ ETTPMGERXW                EREP]WMW MR XLI 2461 JSGYWIW SR
     GSRXMRYIH VMWI SJ ETTPMGEXMSRW VIGIMZIH                ERH EZIVEKI TVSGIWWMRK XMQIW JSV                       EJJMVQEXMZI EW]PYQ ETTPMGERXW SRP] %W E
     7II  *6 EX  *SV I\EQTPI 97'-7                  VIRI[EPW SJ )%(W FEWIH SR TIRHMRK                      VIWYPX F] I\GPYHMRK HIJIRWMZI EW]PYQ
     WEMHXLEXXLIRYQFIVSJMRMXMEP-z                  EW]PYQ ETTPMGEXMSRW                                   )%(W XLI IGSRSQMG EREP]WMW JEMPW XS
     ETTPMGEXMSRW LEW WSQI GSVVIPEXMSR [MXL                     6IWTSRWI 'SWX FIRIJMX EREP]WMW SJXIR               GETXYVI XLI JYPP MQTEGXW 8LI
     GLERKIW MR ETTPMGEXMSRW JSV EW]PYQ ERH                  MRZSPZIW QEOMRK IWXMQEXIW SJ JYXYVI                    GSQQIRXIV WXEXIH XLEX (,7 QYWX
     XLEX XLI VIXYVR XS 0-*3 JSV TVSGIWWMRK                  SYXGSQIW I\ ERXI FEWIH SR XLI FIWX                     TVSZMHI JYVXLIV EREP]WMW KIVQERI XS
     EJJMVQEXMZI EW]PYQ ETTPMGEXMSRW QE]                     MRJSVQEXMSR EZEMPEFPI XS XLI EKIRG] EX                 )%( ETTPMGEXMSRW JVSQ HIJIRWMZI
     EPWSMQTEGXMRMXMEP-zETTPMGEXMSRW                XLI XMQI 97'-7 FIPMIZIW *=                        EW]PYQ ETTPMGERXW -R EHHMXMSR XLI
     ;LMPI (,7 EKVIIW [MXL XLI GSQQIRXIV                     TVSZMHIW E VIEWSREFPI EWWIWWQIRX SJ                    GSQQIRXIV GPEMQW XLEX XLI VIQSZEP SJ
     XLEXYWMRKSRI]IEVvWPIZIPEWEHIJEYPX               TVSFEFPI TVSGIWWMRK XMQIW YRHIV XLI                    XLI HE] HIEHPMRI [MPP GVIEXI
     TVIHMGXMSR MW RSX MHIEP 97'-7 RSXIW                    EHSTXMSR SJ XLMW VYPI ERH VIJPIGXW                     EHHMXMSREP FEGOPSKW MR MQQMKVEXMSR
     EKEMRXLEXQER]JEGXSVWEJJIGX97'-7vW                 TVSGIWWMRK XMQIW XLEX EVI WYWXEMREFPI                  GSYVXW ERH GVIEXI MRZIWXMKEXSV] FYVHIRW
     EFMPMX] XS TVIHMGX XLI JYXYVI RYQFIV SJ                 ERH VIEPMWXMG IZIR XLSYKL XLI JYXYVI                  JSV XLI -RXIVREP 6IZIRYI 7IVZMGI -67
     MRMXMEP-zETTPMGEXMSRW*SVI\EQTPI               TVSGIWWMRK XMQIW GERRSX FI TVIHMGXIH                   ERH (ITEVXQIRX SJ 0EFSV (30 
     8EFPI  MR XLMW JMREP VYPI WLS[W XLEX XLI               [MXL TVIGMWMSR ERH GSYPH ZEV] HYI XS                      6IWTSRWI 8LI EREP]WMW TVIWIRXIH MR
     RYQFIVSJMRMXMEP-zVIGIMTXWKVI[                  ER] RYQFIV SJ JEGXSVW                                 XLI 2461 ERH YTHEXIH MR XLMW JMREP VYPI
     WMKRMJMGERXP] JVSQ  XS  LIPH                      %W SJ XLI HVEJXMRK SJ XLMW JMREP VYPI              VIJPIGXW HEXE ERH MRJSVQEXMSR XLEX
     ETTVS\MQEXIP] GSRWXERX MR  ERH                      97'-7 WIIW RS VIEWSR [L] XLI *=                    MRGPYHIW VIGIMTXW JVSQ FSXL EJJMVQEXMZI
     HIGPMRIH MR  -R EHHMXMSR MJ                       TVSGIWWMRK XMQIW EVI YRVIEPMWXMG ERH EW                ERH HIJIRWMZI TIRHMRK EW]PYQ
     JMREPM^IH XLI FVSEHIV EW]PYQ ETTPMGERX                 WYGL WLSYPH RSX FI YXMPM^IH EW XLI                    ETTPMGERXW 7II  *6 EX 
     )%( VYPI QE] EPWS EJJIGX XLI RYQFIV SJ                  I\TIGXIH TVSGIWWMRK XMQIW EJXIV XLMW VYPI              %PXLSYKL8EFPI{8SXEP%RRYEP*SVQ
     JYXYVIMRMXMEP-zETTPMGEXMSRW8LMW                MW JMREPM^IH 8LMW VYPI EPPS[W JSV                     -z6IGIMTXW6IGIMZIHJVSQ
     MPPYWXVEXIW XLEX EWWYQMRK E XVIRH SV                    MRGVIEWIW MR TVSGIWWMRK XMQIW [LIR                     %JJMVQEXMZI%W]PYQ%TTPMGERXW{
     VERKI QMKLX RSX FI EW WMQTPI EW XLI                     RIGIWWEV] XS MHIRXMJ] JVEYH ERH XS                     EHHVIWWIW SRP] EJJMVQEXMZI GEWIW EPP
     GSQQIRXIV WYKKIWXW 97'-7 FIPMIZIW                      EHHVIWW SXLIV YRJSVIWIIR VIUYMVIQIRXW                 TEVXWSJXLIEREP]WMWVIKEVHMRK-z
     XLEX EWWYQMRK E PIZIP SJ ETTPMGEXMSRW                   8LI VYPI XEOIW MRXS GSRWMHIVEXMSR XLI                  VIGIMTXW MRGPYHI FSXL EJJMVQEXMZI ERH
     JVSQ E ORS[R ]IEV MW E FIXXIV ETTVSEGL                  EW]PYQ ETTPMGEXMSR TVSGIWWMRK XMQIW                    HIJIRWMZI ETTPMGERXW FIGEYWI 97'-7
     XLER EWWYQMRK ER YT[EVH XVIRHPMRI                      HYVMRK XLI TVI6SWEVMS FEWIPMRI ERH [I                 EHNYHMGEXIWEPP-zETTPMGEXMSRW
     IWTIGMEPP] GSRWMHIVMRK XLI HIGPMRI MR                   VIWTIGXJYPP] HMWEKVII XLEX XLI                         ,IRGI XLI MQTEGXW HS XEOI MRXS
                                                        MQTVSZIQIRX MR TVSGIWWMRK XMQIW JVSQ                   GSRWMHIVEXMSR HIJIRWMZI EW]PYQ )%(W


:IV(EXI 7IT "    .YR     .OX    43    *VQ    *QX    7JQX    )@*6@*1@.267+1   .26
                                                                                                                                     AR005562
                    *IHIVEP 6IKMWXIV  :SP  2S   1SRHE] .YRI    6YPIW ERH 6IKYPEXMSRW

       %W MX VIPEXIW XS XLI GSRGIVRW VIKEVHMRK               EWWYQTXMSRW VIKEVHMRK XLI PS[IV ERH                     XLI GSQQIRXIV GMXIH JVSQ XLI WXYH]
     MRZIWXMKEXSV] FYVHIRW 97'-7 HSIW RSX                   YTTIV FSYRHW SR EW]PII [EKI VEXIW                       ,S[IZIV 97'-7 EGORS[PIHKIW XLEX E
     FIPMIZI MX MW ETTVSTVMEXI XS EWWYQI                      QMRMQYQ [EKI ERH REXMSREP [EKI                        HE] HIPE] GEYWIH F] XLI VYPI GSYPH
     GEYWEXMSR FIX[IIR XLMW VYPI ERH WYGL                    VIWTIGXMZIP]  WXEXMRK XLEX FEWIH SR XLI               XLISVIXMGEPP] EJJIGX XLI WXVIEQ SJ
     WXEXIH MQTEGXW 8LI JEGX XLEX XE\ PSWWIW                2I[ -QQMKVERX 7YVZI] HEXE XLI] EVI                     ETTPMGERXWvJYXYVIIEVRMRKWFYXFIPMIZIW
     QE] SGGYV HSIW RSX EYXSQEXMGEPP] QET                    VIPMEFPI                                               MX MW XSS WTIGYPEXMZI XS IWXMQEXI
     XS QSVI -67 MRZIWXMKEXMSRW NYWX EW XLI                    6IWTSRWI 97'-7 VIGSKRM^IW XLEX XLI
                                                             [EKI FSYRHW VIPMIH YTSR KIRIVEXI E                      R 0SWX ;EKIW ERH &IRIJMXW
     TSWWMFMPMX] XLEX XLI XMQMRK SJ WSQI )%(W
     QE] FI MQTEGXIH HSIW RSX GEYWEPP] QET                   [MHI VERKI SJ TSXIRXMEP PSWX                               'SQQIRXW 2YQIVSYW GSQQIRXIVW
     XS MRGVIEWIW MR YREYXLSVM^IH [SVO [EKI                 GSQTIRWEXMSR ,S[IZIV HEXE EVI RSX                     WXEXIH XLEX EW]PYQ WIIOIVW [SYPH PSWI
     XLIJX ERH HERKIVSYW [SVO TVEGXMGIW                    HMVIGXP] EZEMPEFPI SR XLI IEVRMRKW SJ                   [EKIW ERH FIRIJMXW EW E VIWYPX SJ HIPE]IH
                                                             EW]PYQ WIIOIVW ERH JEGIH [MXL                          IRXV] MRXS XLI 97 PEFSV JSVGI [LMGL
     Q ;EKI &EWIW JSV 0EFSV )EVRMRKW                        YRGIVXEMRX] (,7 QEHI VIEWSREFPI                        [MPP GEYWI ER SYXWM^IH HIZEWXEXMRK
        'SQQIRXW 7IZIVEP GSQQIRXIVW                         IWXMQEXIW SJ XLI FSYRHW                                EQSYRX SJ LEVQ XS XLMW EPVIEH]
     I\TVIWWIH GSRGIVR [MXL XLI [EKI                            -R VIKEVH XS XLI TVIZEMPMRK QMRMQYQ                  ZYPRIVEFPI GSQQYRMX] 1ER]
     FIRGLQEVOW 97'-7 YXMPM^IH MR MXW                        [EKI 97'-7 JVIUYIRXP] VIPMIW SR WYGL E                 GSQQIRXIVW VIEWSRIH XLEX E PEGO SJ
     EREP]WMW 3RI GSQQIRXIV GPEMQIH XLEX                    PS[IV [EKI JSV VIGIRX SV RI[ PEFSV JSVGI                MRGSQI [SYPH PIEH XS RSX FIMRK EFPI XS
     XLI [MHI VERKI SJ TSXIRXMEP PSWX                        IRXVERXW MR MXW VYPIQEOMRKW ;I EKVII                   EJJSVH JSSH LSYWMRK IQIVKIRG]
     GSQTIRWEXMSR  QMPPMSR XS                    [MXL GSQQIRXIVW [LS RSXI XLEX WSQI                      WIVZMGIW ERH SXLIV FIRIJMXW ERH
     QMPPMSR [EW I\GIWWMZIP] [MHI ERH XLEX                   WXEXIW ERH PSGEPMXMIW LEZI EHSTXIH XLIMV                EWWMWXERGIW
     MX MW VIEWSREFPI XS EWWYQI XLEX )%(                     S[R QMRMQYQ [EKI *SV XLMW VIEWSR                         1ER] GSQQIRXIVW GEYXMSRIH XLEX XLI
     ETTPMGERXW [MPP FI TEMH XLI EZIVEKI [EKI                97'-7 GLSWI XS YWI ER IWXMQEXI SJ XLI                   VYPI GLERKI [SYPH GEYWI WMKRMJMGERX
     MR XLI IGSRSQ] ERH MQTPMIH XLEX 97'-7                  TVIZEMPMRK QMRMQYQ [EKI EW STTSWIH                     LEVHWLMT XS ETTPMGERXW ERH XLIMV
     HMH RSX XEOI MRXS EGGSYRX HIQSKVETLMG                   XS XLI FEWI JIHIVEP QMRMQYQ [EKI EW E                  JEQMPMIW MRGPYHMRK HIWXEFMPM^MRK XLI
     ERH WSGMSIGSRSQMG GLEVEGXIVMWXMGW                      PS[IV FSYRH IWXMQEXI -R EHHMXMSR                      JMRERGMEP ERH LIEPXL WMXYEXMSR SJ XLIMV
        % GSYTPI SJ GSQQIRXIVW WXEXIH XLEX                   97'-7 ETTPMIH E QYPXMTPMIV SJ  XS                   GLMPHVIR WTSYWIW TEVIRXW ERH SXLIV
     XLIVYPIvWPS[IVFSYRHIWXMQEXISJPSWX                XLI  TVIZEMPMRK QMRMQYQ [EKI XS                    JEQMP] QIQFIVW 3RI GSQQIRXIV GMXIH
     IEVRMRKW MW ER YRHIVWXEXIQIRX FIGEYWI MX                EHNYWX JSV FIRIJMXW 8LIVIJSVI XLI                     VITSVXW MRHMGEXMRK XLEX E QSRXL KET MR
     EWWYQIW ER  QMRMQYQ [EKI 8LI                      EREP]WMW YWIH E JYPP GSQTIRWEXMSR GSWX                  IQTPS]QIRX GSRXVMFYXIW XS
     GSQQIRXIVW WXEXIH XLEX  7XEXIW TPYW                   SJ   »  XS IWXMQEXI XLI                  uuQMGVSIGSRSQMG WGEVVMRK SV XLI HEQEKI
     XLI (MWXVMGX SJ 'SPYQFME GYVVIRXP] LEZI                 PS[IV FSYRH MQTEGXW RSX XLI  FEWI                 E TIVMSH SJ YRIQTPS]QIRX MRJPMGXW SR
     QMRMQYQ [EKIW I\GIIHMRK XLEX                       TVIZEMPMRK QMRMQYQ [EKI %KEMR XLMW                    MRHMZMHYEPWSVLSYWILSPHvW?WMGAJYXYVI
     QMRMQYQ                                                VIWYPXW MR E PS[IV FSYRH [EKI XLEX MW                   IGSRSQMG LIEPXL IZIR EJXIV XLI WTIPP SJ
        %RSXLIV GSQQIRXIV WXEXIH XLEX                        LMKLIV XLER XLI EGXYEP TVIZEMPMRK                       NSFPIWWRIWWIRHWvv
     GEPGYPEXMRK PSWX GSQTIRWEXMSR F]                        QMRMQYQ [EKI EPXLSYKL MX MW YRPMOIP]                      6IWTSRWI 97'-7 RSXIW XLEX EW]PYQ
     QYPXMTP]MRK E GSRWXERX [EKI VEXI F] XLI                 XLEX EPP TSWMXMSRW [SYPH TVSZMHI WYGL                   WIIOIVW WXEXYXSVMP] GERRSX VIGIMZI
     TVSNIGXIH PIRKXL SJ XLI HIPE] JEMPW XS                  FIRIJMXW                                               IQTPS]QIRX EYXLSVM^EXMSR TVMSV XS 
     EGGSYRX JSV XLI XVENIGXSV] SJ JYXYVI                       6IKEVHMRK XLI YTTIV FSYRH [EKI                      HE]W EJXIV JMPMRK ER EW]PYQ ETTPMGEXMSR
     IEVRMRKW 8LI GSQQIRXIV WEMH HEXE                       97'-7 HSIW RSX LEZI HIQSKVETLMG SV                      FYX EGORS[PIHKIW XLEX EW]PYQ
     WLS[WXLEXEW]PYQWIIOIVWv[EKIVEXIW                  WSGMSIGSRSQMG GLEVEGXIVMWXMGW EFSYX                     ETTPMGEXMSRW XLEX VIUYMVI EHHMXMSREP
     HS RSX VIQEMR GSRWXERX [LMPI XLI] [SVO                 EW]PYQ ETTPMGERXW ERH XLYW YWIW XLI                     TVSGIWWMRKXMQI[MPPHIPE]ETTPMGERXWv
     FYX VEXLIV VMWI XLI PSRKIV XLI] LEZI FIIR               REXMSREP EZIVEKI [EKI EW ER YTTIV                       IRXV] MRXS XLI 97 PEFSV JSVGI 97'-7
     MR XLI [SVO JSVGI 8LI GSQQIRXIV EPWS                   FSYRH IWXMQEXI 97'-7 EKVIIW MX MW                      HSIW RSX ERXMGMTEXI XLI EHSTXMSR SJ XLI
     GLEPPIRKIH(,7vWXVIEXQIRXSJXLI                      TSWWMFPI JSV WSQI SJ XLI [SVOIVW                        VYPI XS VIWYPX MR TVSGIWWMRK XMQIW XLEX
     JYXYVI IEVRMRKW SJ TIRHMRK EW]PYQ                       MQTEGXIH XS IEVR [EKIW LMKLIV XLER XLI                  I\GIIH XLI *=  TVI6SWEVMS
     ETTPMGERXW EW YRVIPEXIH XS XLI PIRKXL SJ                YTTIV FSYRH IWXMQEXI XLI REXMSREP                      TVSGIWWMRK XMQIW 8LMW JMREP VYPI EPPS[W
     HIPE] FIJSVI XLI] LEZI [SVO                             EZIVEKI EGVSWW EPP SGGYTEXMSRW NYWX EW MX              JSV MRGVIEWIW MR TVSGIWWMRK XMQIW [LIR
     EYXLSVM^EXMSR 8LI GSQQIRXIV GMXIH E                    MW TPEYWMFPI XLEX WSQI IEVR PIWW XLER XLI               RIGIWWEV] XS VIHYGI JVEYH ERH XS EHHVIWW
     WXYH] F] XLI -QQMKVEXMSR 4SPMG] 0EF EX                  FYVHIRIH TVIZEMPMRK QMRMQYQ [EKI                       SXLIV YRJSVIWIIR VIUYMVIQIRXW ERH
     7XERJSVH 9RMZIVWMX] XLEX JSYRH E WIZIR                 8LI PS[IV ERH YTTIV FSYRHW WMQTP]                       ZEVMEXMSRW MR TVSGIWWMRK GSYPH SGGYV HYI
     QSRXL HIPE] MR [SVO EYXLSVM^EXMSR JSV                   VITVIWIRX IWXMQEXIW SJ XLI VERKI JSV XLMW               XS YRJSVIWIIR IZIRXW ERH GMVGYQWXERGIW
     +IVQER EW]PYQWIIOIVW HVEKKIH HS[R                      TSTYPEXMSRvWEZIVEKI[EKI                             -R XLI 2461 97'-7 IWXMQEXIH ER
     XLIMV IGSRSQMG SYXGSQIW JSV E HIGEHI                       6IKEVHMRKXLIVYPIvWIJJIGXSRIEVRMRKW             EZIVEKI HIPE] SJ  GEPIRHEV HE]W MJ
     EJXIV                                                  SZIV XMQI 97'-7 EKVIIW XLEX IEVRMRKW                   TVSGIWWMRK XMQIW VIXYVRIH XS XLSWI
        % GSYTPI SJ GSQQIRXIVW GLEPPIRKIH                    KIRIVEPP] VMWI SZIV XMQI ERH XLIVIJSVI                 EGLMIZIH MR *=  %W HIWGVMFIH MR
     (,7vWEWWIVXMSRXLEX)%(LSPHIVW                       XLEX XLI IEVRMRKW SJ )%( LSPHIVW GSYPH                  XLI 2461 97'-7 EGORS[PIHKIW XLI
     uu[SYPH RSX LEZI FIIR MR XLI PEFSV JSVGI                FI PEVKIV EX E TSMRX MR XLI JYXYVI -R XLI              HMWXVMFYXMSREP MQTEGXW HYVMRK XLMW HIPE]
     PSRK ERH [SYPH XLYW RSX FI I\TIGXIH XS                  2461 97'-7 IWXMQEXIW XLEX XLMW VYPI                    SRXSXLIETTPMGERXvWWYTTSVXRIX[SVO
     IEVRVIPEXMZIP]LMKL[EKIWvv8LI                      [MPPHIPE]ETTPMGERXWvVIGIMTXSJER)%(               97'-7 EWWYQIW XLI PSRKIV ER EW]PYQ
     GSQQIRXIVW GMXIH XLI WEPEVMIW SJ                        JSV ER EZIVEKI SJ  GEPIRHEV HE]W SV                ETTPMGERXvW)%(MWHIPE]IHXLIPSRKIV
     TEVXMGMTERXW MR XLI 9T[EVHP] +PSFEP                     [SVOMRK HE]W MJ TVSGIWWMRK XMQIW                       XLIETTPMGERXvWWYTTSVXRIX[SVOMW
     TVSKVEQ WTIGMJ]MRK XLEX EW]PYQ WIIOIVW                 VIXYVRIH XS XLSWI EGLMIZIH MR *=                 TVSZMHMRK EWWMWXERGI XS XLI ETTPMGERX
     [LS LEZI GSQTPIXIH XLI TVSKVEQ IEVR                     8LMW MW QYGL PIWW XLER XLI WIZIR QSRXLW
     ER EZIVEKI SJ  ERRYEPP]                                                                                 S -QTEGX SR 7YTTSVX 2IX[SVO
     WMKRMJMGERXP] LMKLIV XLER XLI REXMSREP                     8EFPI EX  *6   ETTPMGEXMSRW          'SQQIRXW %TTVS\MQEXIP] 
     ERRYEP QIER [EKI SJ  ERH                        GSQTPIXIH EJXIV  HE]W JSV E XSXEP SJ  PSWX   GSQQIRXIVWGSQQIRXIHSRXLIVYPIvW
                                                             GEPIRHEV HE]W ERH  [SVOMRK HE]W
     WIZIVEP TVSKVEQ EPYQRM IEVRIH WM\                       ! ER EZIVEKI SJ  GEPIRHEV
                                                                                                                     MQTEGX SR XLI WYTTSVX RIX[SVOW SJ
     JMKYVI WEPEVMIW ,S[IZIV ERSXLIV                       HE]W HIPE]IH ERH  ! ER EZIVEKI         EW]PYQWIIOIVW 1ER] GSQQIRXIVW WEMH
     GSQQIRXIV GSQQIRHIH XLI                                 SJ  [SVOMRK HE]W HIPE]IH                           XLITVSTSWIHuuHIPE]IHvvMWWYERGISJ


:IV(EXI 7IT "    .YR     .OX    43    *VQ    *QX    7JQX    )@*6@*1@.267+1   .26
                                                                                                                                       AR005563
                         *IHIVEP 6IKMWXIV  :SP  2S   1SRHE] .YRI    6YPIW ERH 6IKYPEXMSRW                                           

     )%(W [SYPH SZIVFYVHIR SVKERM^EXMSRW                    VIPEXMZIW RSRTVSJMX TVSZMHIVW                       XLI VYPI [SYPH LEZI HMJJMGYPX] SFXEMRMRK
     XLEX TVSZMHI JMRERGMEP LSYWMRK PIKEP SV              RSRKSZIVRQIRXEP SVKERM^EXMSRW 2+3W                    MQTSVXERX HSGYQIRXW MRGPYHMRK E
     SXLIV JSVQW SJ EWWMWXERGI XS EW]PYQ                     VIPMKMSYW ERH GSQQYRMX] FEWIH                          HVMZIVvWPMGIRWIWXEXIMHIRXMJMGEXMSRERH
     ETTPMGERXW 1YPXMTPI GSQQIRXIVW                         EJJMPMEXMSRW ERH GLEVMXMIW -R EHHMXMSR              WSGMEP WIGYVMX] RYQFIV 3XLIVW WEMH
     GSRXIRHIH XLEX XLI VYPI [SYPH VIRHIV                    XLIVI GSYPH FI MQTEGXW XS WXEXI ERH PSGEP              SFXEMRMRK E WSGMEP WIGYVMX] GEVH MW SJXIR
     EW]PYQ ETTPMGERXW YREFPI XS [SVO ERH                    KSZIVRQIRXW EW [IPP MR XIVQW SJ FSXL                   IWWIRXMEP XS KIX MRXS NSF XVEMRMRK
     JSVGI XLIQ XS FIGSQI E TYFPMG GLEVKI XS                 XLIMV FYVHIR ERH XE\IW                                TVSKVEQW XS IRVSPP MR GSPPIKI ERH XS
     [IPJEVI TVSKVEQW 8LIWI GSQQIRXIVW                         -R XLI 2461 (,7 VIUYIWXIH GSQQIRX                   XEOI QER] SXLIV WXITW XS[EVHW
     WXEXIH XLEX XLMW VYPI MW MR HMVIGX GSRXVEWX             SR HEXE SV WSYVGIW XLEX HIQSRWXVEXI XLI                MRXIKVEXMSR MRXS E GSQQYRMX] 7SQI
     XS XLI SZIVEPP MRMXMEXMZI SJ XLI                        EQSYRX SV PIZIP SJ EWWMWXERGI TVSZMHIH                 GSQQIRXIVW [EVRIH XLEX RSX LEZMRK E
     EHQMRMWXVEXMSR ERH [MPP GVIEXI E                        XS EW]PYQ ETTPMGERXW [LS LEZI TIRHMRK                  97 KSZIVRQIRXMWWYIH MHIRXMJMGEXMSR
     JMRERGMEP FYVHIR JSV XLI 9RMXIH 7XEXIW                 )%( ETTPMGEXMSRW 7II  *6 EX                   HSGYQIRX GER JYVXLIV PMQMX ER
        %W MX VIPEXIW WTIGMJMGEPP] XS XLI GSWXW             3RI GSQQIRXIV WTIGMJMGEPP] WYKKIWXIH                   ETTPMGERXvWEGGIWWXSXVERWTSVXEXMSR
     E GSQQIRXIV WXEXIH XLEX XLI VYPI                        XLEX XLI GSWX SJ XLI TVSTSWIH VYPI XS                  FEROMRK IHYGEXMSR LIEXMRK ERH
     I\TPMGMXP] VIJYWIW XS JEGXSV MRXS MXW GSWX              ETTPMGERXWvWYTTSVXRIX[SVOMWVSYKLP]                IPIGXVMGMX] QER] KSZIVRQIRX JEGMPMXMIW
     EREP]WMW uuHMWXVMFYXMSREP MQTEGXW JSV                   IUYMZEPIRX XS XLI TVIZEMPMRK [EKI                     ERH WGLSSP KVSYRHW EW [IPP EW LMRHIV
     XLSWIMRERETTPMGERXvWWYTTSVX                        97'-7 EKVIIW XLEX XLI MQQIHMEXI                        XLI EFMPMX] XS KIX QEVVMIH
     RIX[SVOvv7MQMPEVP]EGSQQIRXIVWEMH                 MRHMVIGX MQTEGX SJ XLMW VYPI XS ER                        1YPXMTPI GSQQIRXIVW [EVRIH XLEX
     97'-7 JEMPIH XS JYPP] GSRWMHIV XLI GSWXW                ETTPMGERXvWWYTTSVXRIX[SVOMWPMOIP]RSX             EW]PYQ WIIOIVW [LS EVI RSX EYXLSVM^IH
     SJ HIPE]IH )%( EHNYHMGEXMSR XS ER                       WMKRMJMGERXP] QSVI XLER XLI [EKIW ERH                  XS [SVO ERH XLIVIJSVI PEGO WYJJMGMIRX
     EW]PYQWIIOIVvWJEQMP]ERHQEOIWXLI                   FIRIJMXW XLI ETTPMGERX [SYPH LEZI                      JYRHW EW E VIWYPX SJ XLMW VYPI [SYPH LEZI
     WXEXIQIRX XLEX MXW S[R [SVOPSEH                         IEVRIH [MXLSYX XLMW VYPI                              MQTIHIH EGGIWW XS GSQTIXIRX PIKEP
     TVMSVMXMIW SYX[IMKL XLIWI JMRERGMEP                                                                            WIVZMGIW ERH GSYRWIP 7IZIVEP
                                                             T 'SWXW 6IPEXIH XS 7SGMSIGSRSQMG
     WXVEMRW %RSXLIV GSQQIRXIV EPWS WXEXIH                                                                         GSQQIRXIVW GMXIH WXYHMIW WLS[MRK XLEX
                                                             *EGXSVW ERH -QTEGXW
     XLEX 97'-7 QMWGEPGYPEXIH XLI GSWX XS                                                                           MQQMKVERXW [LS EVI VITVIWIRXIH F] PIKEP
     WYTTSVX RIX[SVOW GMXMRK HEXE SR                           'SQQIRXW 2YQIVSYW GSQQIRXIVW                       GSYRWIP EVI QYGL QSVI PMOIP] XS [MR
     GSQQYRMX]KVSYTWvPMQMXIHFYHKIXWERH                  TVSZMHIH JIIHFEGO GSRGIVRMRK XLI                       XLIMV GEWIW XLER XLSWI ETTIEVMRK MR
     VIWSYVGIW                                              MQTEGXW SJ XLI TVSTSWIH VYPI MRZSPZMRK                 MQQMKVEXMSR GSYVX [MXLSYX ER EXXSVRI]
        %RSXLIV GSQQIRXIV HMWEKVIIH [MXL                     PSWW SJ MRGSQI XS MRHMZMHYEPW PMROIH XS                   % JI[ GSQQIRXIVW VIEWSRIH XLEX
     97'-7vGSWXEREP]WMWERHTVSZMHIHER                   KVSYTW MR XIVQW SJ ZEVMSYW                             EW]PYQ ETTPMGERXW [LS HS JMRH TVS FSRS
     EPXIVREXMZI WYKKIWXMSR SJ QIEWYVIQIRX                  WSGMSIGSRSQMG JEGXSVW *SV I\EQTPI                    SV PS[ GSWX VITVIWIRXEXMSR EVI YREFPI
     8LI GSQQIRXIV GEPGYPEXIH XLEX XLI GSWX                  QYPXMTPI GSQQIRXIVW [EVRIH XLEX                        [MXLSYX [SVO EYXLSVM^EXMSR XS TE] JSV
     SJ TVSZMHMRK JSV ER MRHMZMHYEP MW VSYKLP]               EW]PYQ WIIOIVW [LS EVI RSX EYXLSVM^IH                  SXLIV GSWXW MRLIVIRX MR MQQMKVEXMSR
     IUYMZEPIRX XS XLI TVIZEMPMRK [EKI                      XS [SVO [SYPH LEZI TVSFPIQW SFXEMRMRK                  GEWIW MRGPYHMRK XVERWTSVXEXMSR XS KIX XS
     [LMGL [SYPH QIER XLI EGXYEP GSWX SJ XLI                 LIEPXLGEVI ERH QIHMGEP XVIEXQIRX                      ERH JVSQ QIIXMRKW [MXL XLIMV EXXSVRI] SV
     TVSTSWIHVYPISRP]XSETTPMGERXWv                      1YPXMTPI GSQQIRXIVW WEMH XLEX QER]                     IZIR XS GSYVX ETTIEVERGIW
     WYTTSVX RIX[SVOW [SYPH FI EX PIEWX                      EW]PYQ WIIOIVW [MPP FI [MXLSYX                            % RYQFIV SJ WYFQMWWMSRW GEYXMSRIH
     X[MGI XLEX GEPGYPEXIH F] 97'-7                         LIEPXLGEVI HYI XS XLI PEGO SJ IQTPS]IV                 XLEX XLI EFSZI MQTEGXW [SYPH IWTIGMEPP]
        6IWTSRWI 97'-7 RSXIW XLMW VYPI HSIW                 TVSZMHIH MRWYVERGI ERH XLYW [SYPH FI                   FI WIVMSYW JSV ZYPRIVEFPI KVSYTW WYGL EW
     RSX HMVIGXP] VIKYPEXI TVMZEXI WYTTSVX                   JEV QSVI PMOIP] XS WOMT XLI TVIZIRXEXMZI               GLMPHVIR ERH XLEX XLI VYPI WXERHW XS
     RIX[SVOW SV ER] WXEXI TVSKVEQ ,S[ XLI                  GEVI XLEX OIITW XLIQ LIEPXL] [LMGL [MPP                MRGVIEWI ZYPRIVEFMPMX] XS PEFSV EFYWI
     WXEXIW SV TVMZEXI SVKERM^EXMSRW EPPSGEXI                MRGVIEWI GSRXEKMSYW HMWIEWIW HIGVIEWI                 I\TPSMXEXMSR LYQER XVEJJMGOMRK ERH
     XLIMV VIWSYVGIW MW E GLSMGI F] XLI WXEXI                ZEGGMREXMSRW ERH SZIVEPP RIKEXMZIP]                   ZMSPIRGI -R EHHMXMSR WSQI GPEMQIH XLEX
     SV SVKERM^EXMSR ERH MW RSX GSQTIPPIH F]                 MQTEGX REXMSREP TYFPMG LIEPXL %RSXLIV                 TEVXMGYPEV KVSYTW MRGPYHMRK [SQIR
     XLMW VYPI 97'-7 RSXIW XLEX EW]PYQ                      GSQQIRXIV WEMH WXEXISRP] 1IHMGEMH                     GLMPHVIR ERH PIWFMER KE] FMWI\YEP
     WIIOIVW WXEXYXSVMP] GERRSX VIGIMZI                      [SYPH PMOIP] FI XLI SRP] EJJSVHEFPI                    XVERWKIRHIV UYIIV 0+&85 ERH ,-:
     IQTPS]QIRX EYXLSVM^EXMSR TVMSV XS                    LIEPXL MRWYVERGI STXMSR JSV EW]PYQ                     TSWMXMZI EW]PYQ WIIOIVW [SYPH JEGI
     HE]W EJXIV JMPMRK ER EW]PYQ ETTPMGEXMSR                 ETTPMGERXW [LS HS RSX LEZI ER )%(                     RIKEXMZI GSRWIUYIRGIW
     FYX EGORS[PIHKIW XLEX EW]PYQ                            LS[IZIV ETTPMGERXW [MPP QSWX PMOIP] RSX                  6IWTSRWI 97'-7 IRHIEZSVW XS
     ETTPMGEXMSRW XLEX VIUYMVI EHHMXMSREP                    ETTP] JSV 1IHMGEMH SYX SJ GSRGIVR XLEX                 TVSGIWW EPP FIRIJMXW VIUYIWXW EW UYMGOP]
     TVSGIWWMRKXMQIQE]HIPE]ETTPMGERXWv                  VIGIMTX SJ ER] JSVQ SJ TYFPMG EWWMWXERGI               EW TSWWMFPI ERH XLMW VYPIQEOMRK HSIW RSX
     IRXVERGI MRXS XLI 97 PEFSV JSVGI 8LMW                [MPP LEVQ XLIMV EFMPMX] XS EHNYWX WXEXYW               GLERKI XLI IPMKMFMPMX] VIUYMVIQIRXW SV
     JMREP VYPI EPPS[W JSV MRGVIEWIW MR                      YRHIV XLI (,7 4YFPMG 'LEVKI 6YPI                      TVSGIWW F] [LMGL EW]PYQ WIIOIVW SFXEMR
     TVSGIWWMRK XMQIW [LIR RIGIWWEV] XS                         7IZIVEP GSQQIRXIVW WEMH XLI VYPI                    IQTPS]QIRX EYXLSVM^EXMSR SV EW]PYQ
     MHIRXMJ] JVEYH ERH XS EHHVIWW SXLIV                     [SYPH MRGVIEWI LSQIPIWWRIWW MR                         WXEXYW 8LMW VYPIQEOMRK HSIW RSX EMQ XS
     YRJSVIWIIR VIUYMVIQIRXW ERH ZEVMEXMSRW                 GSQQYRMXMIW 3RI HMWGYWWIH VIWIEVGL                    GVIEXI YRHYI LEVHWLMTW MRGPYHMRK
     MR TVSGIWWMRK GSYPH SGGYV HYI XS                        SR XLI EPVIEH] PMQMXIH LSYWMRK EZEMPEFPI               EHHIH WXVIWW SV ER\MIX] SR ETTPMGERXW
     YRJSVIWIIR IZIRXW ERH GMVGYQWXERGIW -R                 JSV EW]PYQ ETTPMGERXW XLEX [MPP FI                     JSV IQTPS]QIRX EYXLSVM^EXMSR SV XS
     XLI 2461 97'-7 IWXMQEXIH ER EZIVEKI                    RIKEXMZIP] MQTEGXIH F] XLMW VYPI GMXMRK               GEYWI YRRIGIWWEV] HIPE]W MR TVSGIWWMRK
     HIPE] SJ  GEPIRHEV HE]W MJ TVSGIWWMRK                 WSYVGIW % JI[ GSQQIRXIVW GMXMRK                      ETTPMGEXMSRW 6IKEVHPIWW SJ XLI
     XMQIW VIXYVR XS XLSWI EGLMIZIH MR *=                    VIWIEVGL WXYHMIW [EVRIH SJ XLI EHZIVWI                 YRHIVP]MRK FEWMW JSV ETTP]MRK JSV
      -R XLI 2461 97'-7                                WLSVX ERH PSRKXIVQ GSRWIUYIRGIW                      IQTPS]QIRX EYXLSVM^EXMSR EPP
     EGORS[PIHKIH uuXLI PSRKIV ER EW]PYQ                     EWWSGMEXIH [MXL LSQIPIWWRIWW MRGPYHMRK                ETTPMGERXW JMPMRK MRMXMEPP] EVI WYFNIGX XS
     ETTPMGERXvW)%(MWHIPE]IHXLIPSRKIV                 GLVSRMG TL]WMGEP ERH QIRXEP LIEPXL                    WSQI TIVMSH SJ TVSGIWWMRK XMQI XLEX QE]
     XLIETTPMGERXvWWYTTSVXRIX[SVOMW                     FILEZMSVEP TVSFPIQW PIEVRMRK ERH                      HIPE] XLIMV EFMPMX] XS SFXEMR IQTPS]QIRX
     TVSZMHMRKEWWMWXERGIXSXLIETTPMGERXvv               GSKRMXMSR EGEHIQMG EGLMIZIQIRX ERH                   SV SXLIV WIVZMGIW
     7II  *6 EX  8LI MQTEGXIH WSGMEP                 PMJIPSRK EHYPX TVSFPIQW                                  -RHMZMHYEP WXEXI KSZIVRQIRXW
     RIX[SVOW GSYPH MRGPYHI FYX EVI RSX                        2YQIVSYW GSQQIRXIVW EWWIVXIH XLEX                   HIXIVQMRI XLI HSGYQIRXEV]
     PMQMXIH XS JEQMP] QIQFIVW ERH JVMIRHW                 EW]PYQ WIIOIVW [MXLSYX ER )%( HYI XS                   VIUYMVIQIRXW JSV WXEXIMWWYIH


:IV(EXI 7IT "    .YR     .OX    43    *VQ    *QX    7JQX    )@*6@*1@.267+1   .26
                                                                                                                                       AR005564
                    *IHIVEP 6IKMWXIV  :SP  2S   1SRHE] .YRI    6YPIW ERH 6IKYPEXMSRW

     MHIRXMJMGEXMSRW 7XEXIW QE] GLSSWI XS                   VYPI ERH WLSYPH QSVI EGGYVEXIP]                         FIGSQI PIWW GSQTIXMXMZI F] WLVMROMRK
     VIP] SR HSGYQIRXW MWWYIH F] 97'-7 FYX                  UYERXMJ] XLI MQTEGXW SJ LMVMRK RI[                      XLI EFMPMX] XS VIGVYMX E HMZIVWI ERH
     XLIWIVIUYMVIQIRXWEVISYXWMHI97'-7v                  IQTPS]IIW                                              WOMPPIH [SVOJSVGI %RSXLIV GSQQIRXIV
     TYVZMI[ 8LMW VYPIQEOMRK HSIW RSX                         6IWTSRWI 97'-7 EKVIIW XLIVI MW E                     GMXIH VIWIEVGL WE]MRK XLEX 97'-7 JEMPIH
     GLERKI XLI IPMKMFMPMX] VIUYMVIQIRXW SV                  TSWWMFMPMX] E TSVXMSR SJ XLI MQTEGXW SJ                 XS GSRWMHIV XLEX EW]PYQ WIIOIVW FVMRK E
     TVSGIWW F] [LMGL EW]PYQ WIIOIVW SFXEMR                  XLMW VYPI GSYPH FI FSVRI F] GSQTERMIW                   ZEVMIX] SJ TVSJIWWMSREP I\TIVMIRGI XS
     IQTPS]QIRX EYXLSVM^EXMSR 97'-7                         XLEX [SYPH LEZI LMVIH XLI EW]PYQ                        XLIMV [SVO XLEX GERRSX FI VITPEGIH F] E
     ETTVIGMEXIW XLI GSRGIVRW VEMWIH SZIV                    ETTPMGERXW 97'-7 LEW EPWS VIZMI[IH XLI                 REXMZI [SVOJSVGI
     MQTEGXW XS TEVXMGYPEV KVSYTW                           &YVIEY SJ 0EFSV 7XEXMWXMGW &07 HEXE                        %RSXLIV WEMH XLI VYPI [SYPH QEOI MX
     *YVXLIVQSVI 97'-7 HSIW RSX UYIWXMSR                    ERH SXLIV VIJIVIRGIW GMXIH F] XLI                       QSVI HMJJMGYPX JSV MX XS LMVI E HMZIVWI ERH
     XLIGSQQIRXIVWvGPEMQWXLEXEW]PYQ                     GSQQIRXIVW ERH HSIW RSX RIGIWWEVMP]                    XEPIRXIH [SVOJSVGI XS QIIX XLI RIIHW SJ
     WIIOMRK MR XLI 97 XIRHW XS MRZSPZI                    HMWTYXI XLI JMKYVIW ERH WXEXMWXMGW                      MRHMZMHYEPW [MXL TW]GLMEXVMG HMWEFMPMXMIW
     KVSYTW SJ TIVWSRW [MXL TEVXMGYPEV                       VIJIVIRGIH JSV  97'-7 EPWS RSXIW                   ERH VIUYMVI EHHMXMSREP I\TIRHMXYVIW XS
     WSGMSIGSRSQMG GLEVEGXIVMWXMGW ERH                       XLEX EW SJ 2SZIQFIV  &07 HEXE                     VIGVYMX SXLIV[MWI EYXLSVM^IH IQTPS]IIW
     WMXYEXMSRW ,S[IZIV 97'-7 MW YREFPI XS                 EPWS WLS[IH ETTVS\MQEXIP]  QMPPMSR                      6IWTSRWI 97'-7 LEW VIZMI[IH XLI
     UYERXMJ] XLI MQTEGXW XS XLIQ EW 97'-7                   [SVOIVW EVI GSRWMHIVIH XS FI uuTEVX XMQI                WSYVGIW ERH JMKYVIW TVIWIRXIH MR XLI
     HSIW RSX HMJJIVIRXMEXI FIX[IIR XLI                      JSVIGSRSQMGVIEWSRWvvWYGLEWWPEGO                  GSQQIRXW FYX HSIW RSX WII ER]
     TEVXMGYPEV KVSYTW MR EHNYHMGEXMRK XLI                   [SVO SV YRJEZSVEFPI FYWMRIWW                            GSQTIPPMRK VIEWSR XS EWWIVX XLEX XLMW
     )%( ETTPMGEXMSRW %W [I LEZI                            GSRHMXMSRW MREFMPMX] XS JMRH JYPPXMQI                 VYPI [LMGL GSYPH EJJIGX XLI XMQMRK
     HIWGVMFIH XLI VYPI SRP] WXERHW XS                      [SVO SV WIEWSREP HIGPMRIW MR HIQERH                 YRHIV [LMGL WSQI )%(W EVI SFXEMRIH
     TSWWMFP] MQTEGX XLI XMQMRK YRHIV [LMGL                  97'-7 VIGSKRM^IW XLEX [LIR                              F] EPMIRW [MXL E TIRHMRK EW]PYQ
     WSQI )%(W GSYPH FI ETTVSZIH                            YRIQTPS]QIRX VEXIW EVI PS[ TVSZMHMRK                   ETTPMGEXMSR [SYPH LEQTIV GSQTERMIW
                                                             )%(W XS TIRHMRK EW]PYQ ETTPMGERXW                       JVSQ EGLMIZMRK E HMZIVWI ERH XEPIRXIH
     U -QTEGXW XS 'SQTERMIW ERH )QTPS]IVW                   TSXIRXMEPP] JMPPW ER IGSRSQMG RIIH                     [SVOJSVGI
        'SQQIRXW %FSYX  GSQQIRXIVW                        ,S[IZIV IZIR HYVMRK XLSWI XMQIW                           'SQQIRXW 7SQI GSQQIRXIVW
     JSGYWIH SR XLI MQTEGXW TVIWIRXIH MR XLI                 97'-7 QYWX JMVWX FI WYJJMGMIRXP] EWWYVIH                HIWGVMFIH XLI WTIRHMRK TS[IV SJ
     2461 MR XIVQW SJ XLI IJJIGXW SR                         SJ ETTPMGERX IPMKMFMPMX] ERH IRWYVI EPP                 MQQMKVERXW MR IEGL WXEXI ERH XLI
     FYWMRIWWIW ERH GSQTERMIW 1YPXMTPI                      FEGOKVSYRH ERH WIGYVMX] GLIGOW EVI                      RIKEXMZI MQTEGX XLMW VYPI [SYPH LEZI SR
     GSQQIRXIVW EWWIVXIH XLEX XLMW VYPI                      GSQTPIXIH                                              TVMZEXI TVSJMXW GMXMRK VIWIEVGL ERH
     [SYPH RIKEXMZIP] MQTEGX 9RMXIH 7XEXIW                     %PXLSYKL XLI VYPI [SYPH TSWWMFP]                      JMKYVIW %RSXLIV GMXMRK VIWIEVGL WXEXIH
     IQTPS]IVW ERH GSVTSVEXMSRW                             MQTEGX XLI XMQMRK XLEX WSQI EW]PYQ                      XLEX EW]PYQ [SVOIVW WTIGMJMGEPP] JMPP MR
        7SQI GSQQIRXIVW WXEXIH XLEX YRHIV                   ETTPMGERXW QMKLX I\TIVMIRGI MR IRXIVMRK                 KETW XLEX QEOI FYWMRIWWIW QSVI
     XLI VYPI GSQTERMIW XLEX [SYPH                          XLI PEFSV JSVGI 97'-7 LEW RS VIEWSR EW                TVSHYGXMZI ERH WXMQYPEXI MRHYWXVMIW
     SXLIV[MWI IQTPS] EW]PYQ WIIOIVW [MPP                    SJ XLI HVEJXMRK SJ XLMW JMREP VYPI XS                  XLVSYKL IRXVITVIRIYVWLMT %RSXLIV
     IMXLIV LEZI MRWYJJMGMIRX EGGIWW XS PEFSV                ERXMGMTEXI XLEX TVSGIWWMRK XMQIW [MPP FI                GSQQIRXIVGMXIHXLI2461vWJMKYVIXLEX
     SV FIEV XLI GSWXW SJ JMRHMRK EPXIVREXMZI                ZEWXP] HMJJIVIRX SR EZIVEKI XLER XLSWI                  XLI VYPI [MPP VIWYPX MR E PSWW SJ 
     PEFSV 7IZIVEP GSQQIRXIVW WEMH XLI NSFW                 MR *=  ERH VIMXIVEXIW XLIVI WLSYPH                  QMPPMSR ERRYEPP] [LMGL [MPP EJJIGX
     XLEX EW]PYQ WIIOIVW JMPP [MPP FI                        RSX FI E WMKRMJMGERX MRGVIEWI FEVVMRK                  FYWMRIWW TVSJMXW
     I\XVIQIP] LEVH XS VITPEGI HYI XS XLIMV                  YRJSVIWIIR ZEVMEXMSRW ERH                                  6IWTSRWI 97'-7 VIGSKRM^IW XLI
     WOMPPW ERH FIGEYWI QER] %QIVMGERW                      GMVGYQWXERGIW -R XLI 2461 97'-7                       VIWIEVGL ERH PMXIVEXYVI GSRGIVRMRK
     QE] RSX [ERX XS HS XLIMV NSFW                          IWXMQEXIH ER EZIVEKI HIPE] SJ                         MQQMKVERXW FIMRK MRZSPZIH MR
        %RSXLIV GSQQIRXIV GMXIH                              GEPIRHEV HE]W MJ TVSGIWWMRK XMQIW                       MRRSZEXMSR ERH IRXVITVIRIYVWLMT
     YRIQTPS]QIRX HEXE ERH HMWGYWWIH E                       VIXYVRIH XS XLSWI EGLMIZIH MR *=                   ,S[IZIV 97'-7 HSIW RSX FIPMIZI XLEX
     PEFSV WLSVXEKI EVKYMRK XLEX IQTPS]IVW                  8LI VYPI WLSYPH EPPS[ WYJJMGMIRX XMQI XS                XLMW VYPI [MPP VIHYGI MRRSZEXMSR ERH
     [MPP FI EHZIVWIP] EJJIGXIH F] HIPE]MRK                  EHHVIWW REXMSREP WIGYVMX] ERH JVEYH                     IRXVITVIRIYVMEP EGXMZMX] EW MX SRP]
     EW]PYQETTPMGERXWvPE[JYPPEFSVJSVGI                  GSRGIVRW ERH XS QEMRXEMR XIGLRSPSKMGEP                 WXERHW XS TSWWMFP] MQTEGX XLI XMQMRK
     TEVXMGMTEXMSR %PWS EHHVIWWMRK E PEFSV                  EHZERGIW MR HSGYQIRX TVSHYGXMSR ERH                     YRHIV [LMGL WSQI EW]PYQ WIIOIVW EVI
     WLSVXEKI ERSXLIV GSQQIRXIV GMXIH XLEX                  MHIRXMX] ZIVMJMGEXMSR [MXLSYX LEZMRK XS                 EFPI XS SFXEMR ER )%( -R XLI 2461
     XLIVI [IVI WIZIR QMPPMSR YRJMPPIH 97                  EHH ER] VIWSYVGIW                                      97'-7 IWXMQEXIH ER EZIVEKI HIPE] SJ 
     NSF STIRMRKW MR  ERH XLI TVSTSWEP                     8LI VYPI LEW XEOIR MRXS GSRWMHIVEXMSR                 GEPIRHEV HE]W MJ TVSGIWWMRK XMQIW VIXYVR
     [MPP FPSGO XLIWI JVSQ FIMRK JMPPIH                     XLEXEWYFWIXSJEW]PYQETTPMGERXWv                    XS XLSWI EGLMIZIH MR *= 
     1YPXMTPI GSQQIRXIVW HMWGYWWIH XLI                       STTSVXYRMX] XS TEVXMGMTEXI MR XLI PEFSV                    97'-7 EGORS[PIHKIW XLEX MJ
     WMKRMJMGERX PEFSV WLSVXEKI XLMW VYPI                    QEVOIX GSYPH FI HIPE]IH MJ XLIMV                        GSQTERMIW GERRSX JMRH VIEWSREFPI
     [SYPH GVIEXI JSV MRHYWXVMIW WYGL EW                     ETTPMGEXMSR VIUYMVIW EHHMXMSREP XMQI XS                 WYFWXMXYXIW JSV XLI TSWMXMSR XLI EW]PYQ
     LIEPXL GEVI EKVMGYPXYVI QERYJEGXYVMRK                TVSGIWW 8LI EREP]WMW LEW EPWS                          ETTPMGERX [SYPH LEZI JMPPIH XLMW VYPI
     GSRWXVYGXMSR ERH XIGLRSPSK] GMXMRK                    EGORS[PIHKIH XLEX JSV XLI GSQTERMIW                     [MPP VIWYPX MR PSWX TVSHYGXMZMX] ERH
     VIWIEVGL %RSXLIV GMXIH XLI TIVGIRXEKI                  [LS EVI YREFPI XS WYFWXMXYXI XLI PEFSV                  TVSJMXW XS GSQTERMIW
     SJXLIWXEXIvW[SVOJSVGIQEHIYTSJ                    XLEX [SYPH LEZI FIIR TVSZMHIH F] XLI                       'SQQIRXW % GSQQIRXIV GSQQIRXIH
     MQQMKVERXW VIQEVOMRK XLEX MQQMKVERXW                   EW]PYQ ETTPMGERXW XLI] GSYPH                           XLEX XLI VYPI [SYPH JSVGI EW]PYQ
     EVIEOI]WSPYXMSRXSXLIWXEXIvW                      TSXIRXMEPP] I\TIVMIRGI E VIHYGXMSR MR                   ETTPMGERXW XS [SVO MPPIKEPP] [LMGL MR
     [SVOJSVGI GLEPPIRKIW HYI XS XLI VIXMVMRK                TVSJMX                                                 XYVR GSYPH PS[IV PEFSV XVIEXQIRX JSV XLI
     FEF] FSSQIV TSTYPEXMSR                                   'SQQIRXW 7SQI GSQQIRXIVW WEMH                        9RMXIH 7XEXIW PEFSV JSVGI
        'MXMRK WIZIVEP WSYVGIW E GSYTPI SJ                  XLI VYPI [SYPH JSVGI XLI GSQTERMIW XS                      6IWTSRWI 8LI VYPI SRP] WXERHW XS
     GSQQIRXIVW HIWGVMFIH XLI WMKRMJMGERX                                                                            TSWWMFP] MQTEGX XLI XMQMRK MR [LMGL ER
     JMRERGMEP PSWW XS FYWMRIWWIW XLEX [SYPH                    &YVIEY SJ 0EFSV 7XEXMWXMGW )QTPS]QIRX             EW]PYQ ETTPMGERX GER SFXEMR ER )%(
     EFWSVF XLI GSWX XS JMRH ERH VITPEGI                     7MXYEXMSR2I[W6IPIEWI{2SZIQFIV8EFPI%z         [LIVI EW]PYQ ETTPMGERXW EVI SRP]
                                                              )QTPS]IH TIVWSRW F] GPEWW SJ [SVOIV ERH TEVX
     EW]PYQ WIIOIVW NSFW % JI[ GSQQIRXIVW                   XMQI WXEXYW *IFVYEV]   %ZEMPEFPI EX LXXTW
                                                                                                                     IPMKMFPI XS VIGIMZI IQTPS]QIRX
     WXEXIH XLEX 97'-7 HSIW RSX EHIUYEXIP]                   [[[FPWKSZRI[WVIPIEWIEVGLMZIWIQTWMXC               EYXLSVM^EXMSR EJXIV XLIMV EW]PYQ
     EREP]^I XLI GSWXW XS IQTPS]IVW MR XLI                   THJ                                           ETTPMGEXMSR LEW FIIR TIRHMRK  HE]W


:IV(EXI 7IT "    .YR     .OX    43    *VQ    *QX    7JQX    )@*6@*1@.267+1   .26
                                                                                                                                        AR005565
                         *IHIVEP 6IKMWXIV  :SP  2S   1SRHE] .YRI    6YPIW ERH 6IKYPEXMSRW                                                    

     1SVISZIV [I WII RS VIEWSR EX TVIWIRX                   V 8E\ -QTEGXW                                         EX  97'-7 RSXIW XLI XE\ VEXIW SJ
     XLEX XLIVI [MPP FI ER MRGVIEWI MR EZIVEKI                  'SQQIRXW 1ER] GSQQIRXIVW WEMH                      XLI WXEXIW ZEV] [MHIP] ERH QER] WXEXIW
     )%( TVSGIWWMRK XMQIW FI]SRH [LEX [EW                   XLMW VYPI [SYPH RIKEXMZIP] EJJIGX XE\                  MQTSWI RS MRGSQI XE\ EX EPP -X MW EPWS
     SGGYVVMRK TVI6SWEVMS EPXLSYKL WSQI                    VIZIRYI [MXL QER] GMXMRK 97'-7                        HMJJMGYPX XS UYERXMJ] MRGSQI XE\ PSWWIW
     )%(W QE] XEOI PSRKIV XLER EZIVEKI XS                    TVSNIGXIH PSWWIW 'SQQIRXIVW MRGPYHMRK                FIGEYWI MRHMZMHYEP XE\ WMXYEXMSRW ZEV]
     EHNYHMGEXI                                             MRHMZMHYEPW E JI[ EHZSGEG] KVSYTW ERH                [MHIP] 8LI 2461 RSXIH XLEX QSVI XLER
       'SQQIRX %RSXLIV GSQQIRXIV RSXIH                      E TVSJIWWMSREP EWWSGMEXMSR VEMWIH                      TIVGIRX SJ %QIVMGERW TE] RS JIHIVEP
     XLEX FIGEYWI (,7 LEW WEMH XLI VYPI                      GSRGIVRWVIKEVHMRKXLIVYPIvWMQTEGXSR               MRGSQI XE\ 7II  *6 EX 
     [SYPH LEZI RS IJJIGX SR [EKIW MX                       XE\ PSWWIW WXEXMRK XLEX XLIWI PSWWIW [MPP             %PXLSYKL 97'-7 MW YREFPI XS UYERXMJ]
     MQTPMIW XLEX MR XLI GEWIW [LIVI                         RIKEXMZIP] MQTEGX KSZIVRQIRX TVSKVEQW                  TSXIRXMEP PSWX MRGSQI XE\IW 97'-7 LEW
     FYWMRIWWIW EVI EFPI XS JMRH VITPEGIQIRX                 ERH XLI IGSRSQ] 1YPXMTPI GSQQIRXIVW                  TVSZMHIH E UYERXMJMIH IWXMQEXI SJ PSWX
     PEFSV JSV XLI TSWMXMSR XLI EW]PYQ                       MRGPYHMRK E JIHIVEP IPIGXIH SJJMGMEP ERH               IQTPS]QIRX XE\IW ;I [IVI EFPI XS
     ETTPMGERX [SYPH LEZI JMPPIH XLI] [SYPH                 E JI[ EHZSGEG] KVSYTW HMWGYWWIH XLI                   IWXMQEXI TSXIRXMEP PSWX IQTPS]QIRX
     FI WLMJXMRK [SVOIVW JVSQ IPWI[LIVI MR                   PSWW SJ XE\ HSPPEVW ERH MXW MQTEGX SR                  XE\IW WMRGI XLIVI MW E YRMJSVQ REXMSREP
     XLI PEFSV JSVGI VEXLIV XLER MRHYGMRK                    1IHMGEVI ERH WSGMEP WIGYVMX] %R                       VEXI  TIVGIRX WSGMEP WIGYVMX] ERH 
     TISTPI XS WLMJX E[E] JVSQ PIMWYVI 8LI                  EHZSGEG] KVSYT WEMH XLMW VYPI [SYPH                    TIVGIRX 1IHMGEVI JSV FSXL XLI IQTPS]II
     GSQQIRXIV WEMH XLEX QIERW XLI VYPI MW                   GSRXVMFYXI XS XLI HITPIXMSR SJ WXVIIXW                ERH IQTPS]IV JSV E XSXEP SJ  TIVGIRX
     I\TIGXIH XS WLVMRO VIEP SYXTYX ERH XLEX                 WGLSSPW ERH LIEPXLMIV GMXM^IRW XLVSYKL                XE\ VEXI JSV GIVXEMR IQTPS]QIRX XE\IW
     XSXEP PSWX [EKIW XLIVIJSVI ETTVS\MQEXIP]                XE\ HSPPEV PSWW                                       7II  *6 EX  97'-7 VIGSKRM^IW
     VITVIWIRX XLI XSXEP IGSRSQMG GSWX SJ XLI                   % GSQQIRXIV WXEXIH XLEX [LMPI                      XLEX XLMW UYERXMJMIH IWXMQEXI MW RSX
     VYPI ERH RSX QIVIP] XVERWJIVW                         IWXMQEXMRK XLI PSWX XE\ VIZIRYI FEWIH SR               VITVIWIRXEXMZI SJ EPP TSXIRXMEP XE\ PSWWIW
       6IWTSRWI 97'-7 HSIW RSX EKVII XLEX                   XLI PSWX IEVRMRKW IWXMQEXI XLI TVSTSWIH               F] JIHIVEP WXEXI ERH PSGEP KSZIVRQIRXW
     YRHIV XLI WGIREVMS [LIVI FYWMRIWWIW EVI                 VYPI RSXIW FYX HSIW RSX XV] XS UYERXMJ]              ERH [I QEHI RS GPEMQW XLMW UYERXMJMIH
     EFPI XS JMRH VITPEGIQIRX [SVOIVW XLMW                  XLI WMKRMJMGERX EHHMXMSREP PSWX WXEXI                  IWXMQEXI MRGPYHIH EPP XE\ PSWWIW ;I
     VYPI [SYPH WLVMRO VIEP SYXTYX -X MW                    MRGSQI XE\ VIZIRYIW 8LMW GSQQIRXIV                    GSRXMRYI XS EGORS[PIHKI XLI TSXIRXMEP
     TPEYWMFPI XLEX E GYVVIRXP] YRIQTPS]IH                   [IRX SR XS WE] XLEX VYPI HSIW RSX                      JSV EHHMXMSREP JIHIVEP WXEXI ERH PSGEP
      SV YRHIVIQTPS]IH [SVOIV GSYPH JMPP E                   QIRXMSRXLEXEW]PYQWIIOIVWvIEVRMRKW                 KSZIVRQIRX XE\ PSWW MR XLI WGIREVMS
     NSF XLEX [SYPH LEZI FIIR JMPPIH F] ER                   XVERWPEXI MRXS PS[IV WTIRHMRK SR VIRX                 [LIVI E GSQTER] GERRSX XVERWJIV
     EW]PYQ WIIOIV [MXLSYX ER MRGVIEWI MR                    JSSH ERH GSRWYQIV KSSHW [MXL XLI                     EHHMXMSREP [SVO SRXS GYVVIRX IQTPS]IIW
     [EKIW JSV XLEX NSF 97'-7 EGORS[PIHKIW                  GSVVIWTSRHMRK PSWX TVSJMXW ERH XE\                     ERH GERRSX LMVI VITPEGIQIRX PEFSV JSV
     XLEX MR IGSRSQMG XLISV] [EKI VEXIW ERH                 VIZIRYIW XLEX XLSWI I\TIRHMXYVIW [SYPH                 XLI TSWMXMSR XLI EW]PYQ ETTPMGERX [SYPH
     MRGSQI EVI IGSRSQMG ZEVMEFPIW XLEX                      KIRIVEXI 7MQMPEVP] ERSXLIV GSQQIRXIV                 LEZI JMPPIH
     MRHMZMHYEPW GSRWMHIV [LIR GLSSWMRK                      WEMH XLEX 97'-7 QMWGEPGYPEXIW XE\ PSWWIW               W 7QEPP )RXMX] -QTEGXW
     FIX[IIR PIMWYVI ERH PEFSV ERH XLEX                     F] SRP] YWMRK IQTPS]QIRX XE\IW [LMPI
     GLERKIW MR [EKI VEXIW GER IMXLIV                        MX WLSYPH FI YWMRK JIHIVEP WXEXI ERH                    'SQQIRXW % JI[ GSQQIRXIVW
     HIGVIEWI SV MRGVIEWI LSYVW SJ [SVO 8LMW                PSGEP MRGSQI XE\IW                                    HMWGYWWIHXLIVYPIvWMQTEGXSRWQEPP
     VYPI [MPP LEZI E WLSVXXIVQ MQTEGX SR                      3XLIVW WEMH XLI VYPI HSIW RSX EGGSYRX               IRXMXMIW 7SQI WEMH XLI TVSTSWIH VYPI
     PEFSV EZEMPEFMPMX] JSV E VIPEXMZIP] WQEPP               JSV XLI GSWX SJ PSWMRK XE\ VIZIRYI XS PSGEP            [SYPH RIKEXMZIP] MQTEGX WQEPP
     TSTYPEXMSR 8LI 2461 IWXMQEXIH XLEX                     KSZIVRQIRXW [LMGL XLI] I\TIGX XS FI                   FYWMRIWWIW ERH QEOI MX HMJJMGYPX JSV
     XLMW VYPI [SYPH HIPE] TIV ]IEV                          WMKRMJMGERX 1YPXMTPI GSQQIRXIVW GMXMRK               XLIQ XS JMRH [SVOIVW %RSXLIV
     ETTVS\MQEXIP]  EW]PYQ                            WXYHMIW IWXMQEXIH XLI PSWW MR XE\                     GSQQIRXIV GMXMRK VIWIEVGL WEMH
     ETTPMGERXWvIRXVERGIMRXSXLIPEFSVJSVGI              VIZIRYI JSV HMJJIVIRX MRHMZMHYEP WXEXIW EW             MQQMKVERXW VITVIWIRX  TIVGIRX SJ
     F] SR EZIVEKI  GEPIRHEV HE]W 7II                 E VIWYPX SJ XLI TVSTSWIH VYPI %RSXLIV                 IRXVITVIRIYVW EVKYMRK XLEX XLMW VYPI
     *6 EX  %W HMWGYWWIH PEXIV MR XLMW                 TVSNIGXIH XLEX XLIMV WXEXI [SYPH WYJJIV ER             [SYPH HMWTVSTSVXMSREPMX] ERH RIKEXMZIP]
     HSGYQIRX MR XLI uu0EFSV 1EVOIX                          IWXMQEXIH PSWW SJ  XS  QMPPMSR                    EJJIGX WQEPP FYWMRIWWIW %RSXLIV WEMH
     3ZIVZMI[vvWIGXMSRXLI97PEFSVJSVGI               HSPPEVW SR XST SJ PSWX JIHIVEP XE\ HSPPEVW             WQEPP XS[R IGSRSQMG HIZIPSTQIRX MW
     EW SJ 2SZIQFIV  MW ETTVS\MQEXIP]                   MJ XLI TVSTSWIH VYPI [EW MQTPIQIRXIH                   EPWS LMRHIVIH FIGEYWI JEQMP] QIQFIVW
      QMPPMSR [SVOIVW ;LMPI (,7 HSIW                     ERH VIUYIWXIH XLEX 97'-7 [MXLHVE[ XLI                  [LS LSWX EW]PYQ WIIOIVW E[EMXMRK )%(W
     RSX LEZI MRJSVQEXMSR EFSYX XLI                          VYPI GLERKI %RSXLIV WEMH XLI VYPI                     QYWX I\TIRH QEXIVMEP WYTTSVX HYVMRK
     MRHYWXVMIW MR [LMGL EW]PYQ ETTPMGERXW                   [SYPH JSVGI XLI ETTPMGERXW XS [SVO                     XLMW XMQI SJ PMQFS MRWXIEH SJ WXEVXMRK SV
     [SVO (,7 RSXIW XLEX ETTPMGERXW EVI RSX                 uuYRHIVXLIXEFPIvvXLYWRIKEXMZIP]                  GSRXMRYMRK WQEPP FYWMRIWWIW
     VIWXVMGXIH XS E GIVXEMR MRHYWXV] ERH                    EJJIGXMRK XLI IGSRSQ] F] ZMSPEXMRK XE\                   6IWTSRWI 8LMW VYPI QE] VIWYPX MR PSWX
     XLIVIJSVI XLIWI WLSVXXIVQ HIPE]W XS XLI                MRWYVERGI ERH IQTPS]QIRX PE[W                        GSQTIRWEXMSR JSV WSQI MRMXMEP
     VIPEXMZIP] JI[ RYQFIV SJ [SVOIVW EVI RSX                   6IWTSRWI 97'-7 ETTVIGMEXIW XLI                     ETTPMGERXW [LSWI )%( TVSGIWWMRK MW
     GSRGIRXVEXIH MR E WMRKPI PSGEXMSR SV                    GSRGIVRW SJ GSQQIRXIVW ERH XLI                         HIPE]IH FI]SRH XLI HE] VIKYPEXSV]
     MRHYWXV] +MZIR XLI WLSVXXIVQ REXYVI                   EGORS[PIHKIQIRX SJ XLI TSXIRXMEP                       XMQIJVEQI ,S[IZIV XLI VYPI HSIW RSX
     ERH VIPEXMZIP] WQEPP RYQFIV SJ PEFSVIVW                 TVSNIGXIH XE\ PSWW WXEXIH MR XLI VYPI                 HMVIGXP] VIKYPEXI IQTPS]IVW -R XLI
     HMWVYTXIH (,7 QEMRXEMRW XLEX XLI PSWX                  97'-7 EKVIIW [MXL GSQQIRXIVW XLEX MR                   2461 97'-7 WXEXIH XLEX MJ GSQTERMIW
     [EKIW XS EW]PYQ ETTPMGERXW MW E XVERWJIV                GMVGYQWXERGIW MR [LMGL E GSQTER]                       GERRSX JMRH VIEWSREFPI WYFWXMXYXIW JSV
     JVSQ EW]PYQ ETTPMGERXW XS SXLIV [SVOIVW                 GERRSX XVERWJIV EHHMXMSREP [SVO SRXS                   XLI PEFSV XLI EW]PYQ ETTPMGERXW [SYPH
     [LIR GSQTERMIW EVI EFPI XS JMRH                         GYVVIRX IQTPS]IIW ERH GERRSX LMVI                      LEZI TVSZMHIH XLMW VYPI [SYPH
     VIEWSREFPI PEFSV WYFWXMXYXIW JSV XLI                    VITPEGIQIRX PEFSV JSV XLI TSWMXMSR XLI                 TVMQEVMP] FI E GSWX XS XLIWI GSQTERMIW
     TSWMXMSR XLI EW]PYQ ETTPMGERX [SYPH                     EW]PYQ ETTPMGERX [SYPH LEZI JMPPIH                     XLVSYKL PSWX TVSHYGXMZMX] ERH TVSJMXW
     LEZI JMPPIH (,7 EGORS[PIHKIW XLEX                      XLIVI [SYPH FI ER MQTEGX XS WXEXI ERH                  97'-7 YWIW XLI PSWX GSQTIRWEXMSR XS
     XLIVI PMOIP] EVI LS[IZIV SXLIV                        PSGEP XE\ GSPPIGXMSR 8LI 2461 WXEXIH                      7II KIRIVEPP] 8YVFSXE\ u7XEXIW [MXL XLI ,MKLIWX
     YRUYERXMJMIH GSWXW YRHIV XLMW WGIREVMS                 uuXLIVI QE] EPWS FI WXEXI ERH PSGEP                    ERH0S[IWX8E\IWvvLXXTWXYVFSXE\MRXYMXGSQXE\
     WYGL EW SZIVXMQI TE] SV STTSVXYRMX]                     MRGSQI XE\ PSWWIW XLEX [SYPH ZEV]                      XMTWJYRJEGXWWXEXIW[MXLXLILMKLIWXERHPS[IWX
     GSWXW                                                  EGGSVHMRKXSXLINYVMWHMGXMSRvv7II  *6             XE\IW0,4%:U7* PEWX ZMWMXIH *IF   



:IV(EXI 7IT "    .YR     .OX    43    *VQ    *QX    7JQX    )@*6@*1@.267+1   .26
                                                                                                                                            AR005566
                    *IHIVEP 6IKMWXIV  :SP  2S   1SRHE] .YRI    6YPIW ERH 6IKYPEXMSRW

     EW]PYQ ETTPMGERXW EW E TVS\] JSV                        ;LMPI [I FIPMIZI [I LEZI HMWGYWWIH XLI                 EHHMXMSRGSRXVEV]XSXLIGSQQIRXIVWv
     FYWMRIWWIWvGSWXJSVPSWXTVSHYGXMZMX]                FIRIJMXW ETTVSTVMEXIP] MX MW RSX TSWWMFPI             TSWMXMSR XLI EPXIVREXMZIW EREP]WMW
     7II  *6 EX                                      XS QSRIXM^I XLIQ                                      TVSZMWMSRW SJ XLEX %GX HS RSX ETTP] XS
       (,7 MW YREFPI XS MHIRXMJ] XLI RI\X                                                                           VYPIW WYGL EW XLMW SRI XLEX HS RSX
     FIWX EPXIVREXMZI XS LMVMRK E TIRHMRK         3XLIV 7XEXYXSV] ERH 6IKYPEXSV]
                                                                                                                    GSRXEMR E GSZIVIH *IHIVEP QERHEXI 7II
     EW]PYQ ETTPMGERX ERH MW XLIVIJSVI           6IUYMVIQIRXW
                                                                                                                     97'  E   E  (,7
     YREFPI XS VIPMEFP] IWXMQEXI XLI TSXIRXMEP      'SQQIRXW 7IZIVEP GSQQIRXIVW                                    RSRIXLIPIWW MRGPYHIH ER EPXIVREXMZIW
     MRHMVIGX GSWXW XS WQEPP IRXMXMIW JVSQ XLMW  EHHVIWWIH XLI FVSEH WXEXYXSV] ERH                                  EREP]WMW MR XLI VIKYPEXSV] EREP]WMW
     VYPI 8LMW VYPI [MPP HMVIGXP] VIKYPEXI      VIKYPEXSV] VIUYMVIQIRXW 3RI                                       TSVXMSR SJ XLI TVSTSWIH VYPI WII  *6
     TIRHMRK EW]PYQ ETTPMGERXW SV               GSQQIRXIV RSXIH XLI PEGO SJ EREP]WMW                               EX  IX WIU ERH XLMW JMREP VYPI WII
     MRHMZMHYEPW ETTP]MRK JSV [SVO              YRHIV )\IGYXMZI 3VHIV                                        MRJVE
     EYXLSVM^EXMSR (,7 GERRSX VIPMEFP]          uu6IHYGMRK 6IKYPEXMSR ERH 'SRXVSPPMRK
     IWXMQEXI LS[ QER] WQEPP IRXMXMIW QE]        6IKYPEXSV]'SWXWvv[LMGLWXEXIWXLEXER]                         * 3YX SJ 7GSTI
     FI MRHMVIGXP] MQTEGXIH EW E VIWYPX SJ XLMW  VIKYPEXMSR QYWX VIWYPX MR E RIX GSWX SJ                           'SQQIRXW SR XLI &VSEHIV %W]PYQ
     VYPI FYX (,7 FIPMIZIW XLI RYQFIV SJ        SV FI TEMH JSV F] IPMQMREXMRK SXLIV                                )%( 2461
     WQEPP IRXMXMIW HMVIGXP] VIKYPEXIH F] XLMW   VIKYPEXMSRW %RSXLIV GSQQIRXIV WEMH
                                                 XLMW VYPI ZMSPEXIW )\IGYXMZI 3VHIV                               'SQQIRXW %TTVS\MQEXIP] 
     VYPI MW ^IVS
                                                 FIGEYWI MX LEW IWXMQEXIH GSWXW FIX[IIR                             WYFQMWWMSRW TVSZMHIH GSQQIRXW SR XLI
     X &IRIJMXW                                  ERH  QMPPMSR HSPPEVW XS XLI 97                            FVSEHIV %W]PYQ )%( TVSTSWIH VYPI 7II
        'SQQIRXW %TTVS\MQEXIP] E HS^IR          IGSRSQ] TPYW EHHMXMSREP XE\ VIZIRYI                                 *6  2SZ    %
     WYFQMWWMSRW TVSZMHIH GSQQIRXW SR XLI PSWW ERH YRGEPGYPEXIH GSWXW  [MXL RS                                     GSQQIRXIV WEMH IZEPYEXMSR SJ XLI
     2461vWHMWGYWWMSRSJFIRIJMXW%JI[       UYERXMXEXMZI IGSRSQMG FIRIJMXW                                     KSZIVRQIRXvWEVKYQIRXWMWuuIWWIRXMEPP]
     WXEXIH XLEX XLI PEGO SJ UYERXMXEXMZI        IWXMQEXIH 8LI GSQQIRXIV WEMH RS                                   MQTSWWMFPIvvMRPMKLXSJXLIMVETTEVIRX
     FIRIJMXWHSIWRSXWYTTSVX(,7vW            SJJWIXXMRK VIKYPEXMSRW [IVI MHIRXMJMIH                             MRGSRWMWXIRG] [MXL XLI ERXMGMTEXIH
     VEXMSREPI JSV XLI VYPI 7SQI UYIWXMSRIH     RSV [IVI WYFWIUYIRX SJJWIXXMRK GSWXW                               uu&VSEHIV)%(2461vvGEPPIHJSVF]E
     [LIXLIV XLI UYEPMXEXMZI FIRIJMXW XLEX       IWXMQEXIH                                                          TVIWMHIRXMEP QIQSVERHYQ 8LI
     (,7 TVIWIRXW [IVI EHIUYEXIP] [IMKLIH           1YPXMTPI GSQQIRXIVW WEMH XLEX XLMW                              GSQQIRXIV WEMH 97'-7 SRP] FVMIJP]
     EKEMRWX XLI WXEXIH QMPPMSRW SJ HSPPEVW SJ   VYPI HSIW RSX GSRXEMR ER EHIUYEXI                                  RSXIWXLEXXLIVYPIvWMQTEGXGSYPHFI
     VIZIRYI PSWW ERH PSWX [EKIW 3RI            EREP]WMW SJ JIHIVEPMWQ GSRGIVRW SV XLI                             SZIVWXEXIH MJ EW HMVIGXIH F] XLI
     GSQQIRXIV WEMH XLI HMWGYWWMSR SJ            TVSTSWEPvWJMWGEPMQTEGX8LI                                     4VIWMHIRX XLI &VSEHIV )%( 2461 MW
     FIRIJMXW PEGOW HIXEMPW VIKEVHMRK LS[        GSQQIRXIVW WXEXIH XLEX 97'-7 HMH RSX                               MQTPIQIRXIH 8LI GSQQIRXIV WXEXIH
     (,7[SYPHFIEFPIXSEGLMIZIXLIVYPIvW EREP]^IXLILEVQWXSWXEXIWvTVSKVEQW                                XLEX 97'-7 WMQYPXERISYWP] EVKYIW XLEX
     KSEPW %RSXLIV WXEXIH XLEX XLI JMRERGMEP    ERH E WYFWXERXMEP PSWW MR VIZIRYI                                 XLI EKIRG] RIIHW JPI\MFMPMX] XS LERHPI
     GSWXW XS MRHMZMHYEPW FYWMRIWWIW ERH XLI *YVXLIV XLI GSQQIRXIVW WXEXIH XLEX                                  MRGVIEWIW MR )%( ETTPMGEXMSRW [LMGL
     JIHIVEP KSZIVRQIRX MR XLI JSVQ SJ PSWX      97'-7 HMH RSX TVSZMHI EREP]WMW VIUYMVIH                            [SYPH FI JEPWI MJ YRHIV XLI &VSEHIV
     XE\IW JEV SYX[IMKL XLI JMRERGMEP FIRIJMXW YRHIV XLI 9RJYRHIH 1ERHEXIW 6IJSVQ                                   )%( 2461 QSWX ETTPMGERXW FIGEQI
     XS 97'-7 8LMW GSQQIRXIV EPWS WEMH MX       %GX XLEX [SYPH VIUYMVI MX XS JYPP]                                 MRIPMKMFPI JSV )%(W 8LI GSQQIRXIV
     MWEPWSuuLMKLP]MRETTVSTVMEXIvvJSV97'-7 GSRWMHIV VIEWSREFPI EPXIVREXMZIW XS XLI                            GSRGPYHIH XLEX 97'-7 QYWX GSRWMHIV XLI
     XS MRGPYHI XLI IRH SJ PMXMKEXMSR EW E       VYPI                                                              X[SMWWYIW{)%(IPMKMFMPMX]ERH
     FIRIJMX                                       6IWTSRWI 8LMW VYPI LEW FIIR                                    TVSGIWWMRKXMQIPMRIW{NSMRXP]XS
        3RI GSQQIRXIV WXEXIH XLEX 97'-7          HIWMKREXIH E uuWMKRMJMGERX VIKYPEXSV]                              HIXIVQMRI EGGYVEXIP] XLI GSWXW ERH
     JEMPIH XS UYERXMJ] FIRIJMXW GSVVIGXP]      EGXMSRvvXLEXMWIGSRSQMGEPP]WMKRMJMGERX                         MQTEGX SJ MXW JYXYVI )%( VIKMQI 7MRGI
     UYIWXMSRMRK [L] QSRIXEV] FIRIJMXW SJ        VIKYPEXSV] YRHIV WIGXMSR  J  SJ                                  XLI TVSTSWIH VYPI MW TVIHMGEXIH SR E
     RSX LEZMRK XS LMVMRK EHHMXMSREP [SVOIVW     )\IGYXMZI 3VHIV  %GGSVHMRKP]                                WMXYEXMSR XLEX XLI EKIRG] MRXIRHW XS
     MW RSX HIWGVMFIH SV IWXMQEXIH 8LMW         XLI VYPI LEW FIIR VIZMI[IH F] XLI 3JJMGI                           SFZMEXI F] SXLIV TSPMG] GLERKIW XLI
     GSQQIRXIV EPWS UYIWXMSRIH [L] XLIVI         SJ 1EREKIQIRX ERH &YHKIX 8LMW VYPI MW                             GSQQIRXIV WEMH MXW WXEXIH VIEWSRMRK MW
     [EW RS IZMHIRGI TVSZMHIH XS WYKKIWX         E VIKYPEXSV] EGXMSR YRHIV )\IGYXMZI                                MVVEXMSREP ERH JEMPW XS WEXMWJ] XLI %4%
     XLEX VIQSZMRK EHNYHMGEXMSR WXERHEVHW        3VHIV  (,7 MW RSX VIUYMVIH F]                                   6IWTSRWI 8LI X[S VYPIW EVI MRXIRHIH
     [SYPH WTIIH YT XLI EHNYHMGEXMSR             PE[ XS MRGPYHI MR XLMW VYPIQEOMRK                                  XS EHHVIWW HMJJIVIRX TVSFPIQW ERH EVI
     TVSGIWW %RSXLIV GSQQIRXIV WXEXIH XLEX JYVXLIV HMWGYWWMSR VIKEVHMRK )\IGYXMZI                                  XLIVIJSVI XLI WYFNIGX SJ WITEVEXI
     XLI WXEXIH FIRIJMXW SJ XLI VYPI EVI         3VHIV  WYGL EW HMWGYWWMSRW                                   TVSGIIHMRKW %PXLSYKL XLI FVSEHIV
     EGLMIZEFPI [MXL E QIVI I\XIRWMSR SJ XLI VIKEVHMRK SJJWIXW FYX (,7 MRXIRHW XS                                  EW]PYQ VYPI LEW FIIR TVSTSWIH MX MW RSX
     HIEHPMRI ERH (,7 LEW TVSZMHIH RS            GSRXMRYI XS GSQTP] [MXL XLI )\IGYXMZI                              ]IX JMREP ERH QE] RSX FI JMREPM^IH EW
     IZMHIRGI XS XLI GSRXVEV]                   3VHIV                                                             TVSTSWIH 97'-7 VIGSKRM^IW XLEX XLMW
        6IWTSRWI &] IPMQMREXMRK XLI HE]         (,7 HMH GSRWMHIV JIHIVEPMWQ GSRGIVRW                            VYPI ERH XLI TVSTSWIH FVSEHIV EW]PYQ
     TVSZMWMSR (,7 WXERHW XS FI EFPI XS         ERH HIXIVQMRIH XLEX XLI VYPI [SYPH RSX                             )%( VYPI GSYPH LEZI WSQI MRXIVEGXMSR
     STIVEXI YRHIV PSRKXIVQ WYWXEMREFPI         LEZI E WYFWXERXMEP HMVIGX IJJIGX SR XLI                            ERH XS XLI I\XIRX XLEX XLIVI MW
     GEWI TVSGIWWMRK XMQIW JSV MRMXMEP )%(       WXEXIW SR XLI VIPEXMSRWLMT FIX[IIR XLI                            MRXIVEGXMSR SV SZIVPET (,7 [MPP EHHVIWW
     ETTPMGEXMSRW JSV TIRHMRK EW]PYQ             *IHIVEP +SZIVRQIRX ERH XLI WXEXIW SV                              WYGL GSRGIVRW MJ MX JMREPM^IW XLI FVSEHIV
     ETTPMGERXW XS EPPS[ WYJJMGMIRX XMQI XS     SR XLI HMWXVMFYXMSR SJ TS[IV ERH                                   VYPI 97'-7 HMWEKVIIW [MXL XLI GSQQIRX
     EHHVIWW REXMSREP WIGYVMX] ERH JVEYH         VIWTSRWMFMPMXMIW EQSRK XLI ZEVMSYW                                 GPEMQ FEWIH SR E VIHYGXMSR SJ )%(W
     GSRGIVRW ERH XS QEMRXEMR XIGLRSPSKMGEP PIZIPW SJ KSZIVRQIRX EW MX SRP] VIQSZIW                              YRHIV XLI FVSEH VYPI FIGEYWI SJ
     EHZERGIW MR HSGYQIRX TVSHYGXMSR ERH         ER EHNYHMGEXSV] XMQIJVEQI XLEX MW [MXLMR                           MRGVIEWIH MRIPMKMFMPMX] 97'-7 [SYPH
     MHIRXMX] ZIVMJMGEXMSR XLEX 97'-7 QYWX       XLI TYVZMI[ ERH EYXLSVMX] SJ 97'-7 ERH                             WXMPP VIGIMZI QER] )%( JMPMRKW EPXLSYKL
     JYPJMPP EW E TEVX SJ MXW GSVI QMWWMSR       HSIW RSX HMVIGXP] EJJIGX WXEXIW                                   MX MW TSWWMFPI XLEX QSVI ETTPMGEXMSRW QE]
     [MXLMR (,7 %TTPMGERXW [SYPH VIP] SR           ;MXL VIWTIGX XS XLI 9RJYRHIH                                    RSX FI ETTVSZIH HYI XS XLI EHHMXMSREP
     YTXSHEXI TVSGIWWMRK XMQIW [LMGL          1ERHEXIW 6IJSVQ %GX XLI TVSTSWIH VYPI                             ERHSV QSHMJMIH IPMKMFMPMX] GVMXIVME
     TVSZMHI VIEPMWXMG I\TIGXEXMSRW ERH          ERHXLMWJMREPVYPIIEGLI\TPEMR(,7vW                            TVSTSWIH -R VIEPMX] FIGEYWI SJ XLI
     TVIHMGXEFMPMX] SJ EHNYHMGEXMSR XMQIW       TSWMXMSR [MXL VIWTIGX XS XLEX %GX -R                              EHHIH GVMXIVME YRHIV XLI FVSEHIV


:IV(EXI 7IT "    .YR     .OX    43    *VQ    *QX    7JQX    )@*6@*1@.267+1   .26
                                                                                                                                       AR005567
                         *IHIVEP 6IKMWXIV  :SP  2S   1SRHE] .YRI    6YPIW ERH 6IKYPEXMSRW                                                 

     TVSTSWIH VYPI EHNYHMGEXMSR QE]                          7YQQEV]                                             GSQQIRX VYPIQEOMRK XS VEMWI JIIW ERH
     FIGSQI QSVI GSQTPI\                                       (,7 RSXIW XLEX XLI IWXMQEXIW JVSQ XLI               MRGVIEWI VIZIRYI JSV WYGL LMVMRK EGXMSRW
                                                             2461 VIKEVHMRK YRIQTPS]QIRX                              8LIVI MW GYVVIRXP] RS JII JSV EW]PYQ
      3XLIV 3YX SJ 7GSTI 'SQQIRXW
                                                             RYQFIV SJ EW]PYQ ETTPMGERXW TIV ]IEV                  ETTPMGEXMSRW SV XLI GSVVIWTSRHMRK MRMXMEP
       8LIVI [IVI NYWX SZIV  GSQQIRXW                     ERH 97'-7 TVSGIWWMRK EVI RSX GYVVIRXP]                 )%( ETTPMGEXMSRW ERH XLI GSWX XS XLI
     XLEX [I LEZI VIZMI[IH ERH HIXIVQMRIH                    ETTPMGEFPIEW'3:-(zLEWLEHE                      EKIRG] JSV EHNYHMGEXMSR MW GSZIVIH F]
     EVI SYX SJ WGSTI VIKVEHMRK XLMW VYPI                   HVEQEXMG MQTEGX SR EPP XLVII (,7 SJJIVW               JIIW TEMH F] SXLIV FIRIJMX VIUYIWXIVW %W
     8LIWI WYFQMWWMSRW GER FI FVEGOIXIH                      XLMW EREP]WMW EW E KPMQTWI SJ XLI                      E TVMQEV] KSEP 97'-7 WIIOW XS
     KIRIVEPP] EW M +IRIVEP VIUYIWXW JSV                    TSXIRXMEP MQTEGXW SJ XLI VYPI FYX XLI                 EHIUYEXIP] ZIX ETTPMGERXW ERH
     VIJSVQ XS XLI MQQMKVEXMSR W]WXIQ E JI[                  EREP]WMW VIPMIW SR EWWYQTXMSRW VIPEXIH XS              EHNYHMGEXI ETTPMGEXMSRW EW UYMGOP] ERH
     SJ XLI GSQQIRXW WTIGMJMGEPP] VIJIVVIH XS                E TVI'3:-( IGSRSQ] ;LMPI JYXYVI                      IJJMGMIRXP] EW TSWWMFPI 97'-7
     MQQMKVEXMSR PE[ 97'-7 RSXIW XLEX                       IGSRSQMG GSRHMXMSRW EVI GYVVIRXP] XSS                  EGORS[PIHKIW XLMW VYPI QE] HIPE] XLI
     WXEXYXSV]GLERKIWEVISYXWMHISJ97'-7v                HMJJMGYPX XS TVIHMGX [MXL ER] GIVXEMRX]               EFMPMX] JSV WSQI MRMXMEP ETTPMGERXW [LSWI
     EYXLSVMX] 3XLIV GLERKIW WYGL EW                       (,7 RSXIW XLEX E LMKLIV YRIQTPS]QIRX                   )%( TVSGIWWMRK MW HIPE]IH FI]SRH XLI
     WTIGMJMG VIKYPEXSV] GLERKIW RSX                         VEXI QE] VIWYPX MR PS[IV GSWXW SJ XLMW                 HE] VIKYPEXSV] XMQIJVEQI XS [SVO
     TIVXEMRMRK XS XLI MWWYIW EHHVIWWIH F]                   VYPI EW VITPEGMRK TIRHMRK EW]PYQ                          8LI MQTEGXW SJ XLMW VYPI EVI QIEWYVIH
     XLMW VYPIQEOMRK [SYPH FI SYXWMHI XLI                   ETTPMGERX [SVOIVW [SYPH QSWX PMOIP] FI                 EKEMRWX E FEWIPMRI ;LMPI [I LEZI EHHIH
     WGSTI SJ XLMW VYPIQEOMRK  MM KIRIVEP                   IEWMIV XS HS 'SRWIUYIRXP] EW                         WSQI QSVI VIGIRX HEXE ERH MRJSVQEXMSR
     WYTTSVX JSV 4VIWMHIRX 8VYQT MMM                        YRIQTPS]QIRX MW LMKL XLMW VYPI MW PIWW                TYVWYERX XS TYFPMG GSQQIRXW XLI GSWXW
     STMRMSRW SR FYMPHMRK E [EPP SR XLI                      PMOIP] XS VIWYPX MR E PSWW SJ TVSHYGXMZMX]             EVI FIRGLQEVOIH XS  MR OIITMRK
     7SYXLIVR FSVHIV ERH WIGYVMRK %QIVMGER                   SR FILEPJ SJ GSQTERMIW YREFPI XS                       [MXL XLI 2461 8LMW FEWIPMRI VIJPIGXW
     FSVHIVW MZ STTSWMXMSR XS MPPIKEP                       VITPEGI JSVKSRI PEFSV                                 XLI FIWX EWWIWWQIRX SJ XLI [E] XLI
     MQQMKVEXMSR ERH EPP JSVQW SJ                               8LMW VYPI VIQSZIW XLI XMQIPMRI XS                   [SVPH [SYPH PSSO EFWIRX XLMW EGXMSR -R
     MQQMKVEXMSR Z WYTTSVX SRP] JSV PIKEP                   EHNYHMGEXI MRMXMEP )%( ETTPMGEXMSRW JSV                XLI 2461 97'-7 EWWYQIH XLEX MR XLI
     MQQMKVEXMSR ERH ZM WYKKIWXMSRW XLEX                    TIRHMRK EW]PYQ ETTPMGERXW [MXLMR                     EFWIRGI SJ XLMW VYPI XLI FEWIPMRI EQSYRX
                                                             HE]W ERH MW IREGXMRK XLI TVSTSWEP                      SJ XMQI XLEX 97'-7 [SYPH XEOI XS
     XLI KSZIVRQIRX IRJSVGI MQQMKVEXMSR
                                                             [MXLSYX GLERKI -R *=  TVMSV XS XLI               EHNYHMGEXI EPP ETTPMGEXMSRW [SYPH FI 
     PE[W
                                                             6SWEVMS Z 97'-7 GSYVX SVHIV XLI                      HE]W 97'-7 EPWS EWWYQIW XLEX YTSR XLMW
     -: 7XEXYXSV] ERH 6IKYPEXSV]                            EHNYHMGEXMSR TVSGIWWMRK XMQIW JSV MRMXMEP              VYPI KSMRK MRXS IJJIGX EHNYHMGEXMSRW [MPP
     6IUYMVIQIRXW                                            *SVQ-zYRHIVXLI4IRHMRK%W]PYQ                   EPMKR [MXL 97'-7 TVSGIWWMRK XMQIW
                                                             %TTPMGERX GEXIKSV] I\GIIHIH XLI                        EGLMIZIH MR *=  FIJSVI XLI 6SWEVMS
     % )\IGYXMZI 3VHIVW  6IKYPEXSV]                    VIKYPEXSV] WIX XMQIJVEQI SJ  HE]W                    Z 97'-7 GSYVX SVHIV  8LMW MW SYV FIWX
     4PERRMRK ERH 6IZMI[ ERH                            QSVI XLER LEPJ XLI XMQI ,S[IZIV                      IWXMQEXI SJ [LEX [MPP SGGYV [LIR XLMW
      -QTVSZMRK 6IKYPEXMSR ERH 6IKYPEXSV]                    97'-7 EHNYHMGEXIH ETTVS\MQEXIP]                      VYPI FIGSQIW IJJIGXMZI 97'-7 FIPMIZIW
     6IZMI[                                                  TIVGIRX SJ ETTPMGEXMSRW [MXLMR  HE]W                XLI *=  XMQIJVEQIW EVI WYWXEMREFPI
        )\IGYXMZI 3VHIVW  ERH                      -R VIWTSRWI XS XLI 6SWEVMS Z 97'-7                    ERH 97'-7 I\TIGXW XS QIIX XLIWI
     HMVIGX EKIRGMIW XS EWWIWW XLI GSWXW ERH                 PMXMKEXMSR ERH XS GSQTP] [MXL XLI GSYVX                XMQIJVEQIW 8LIVIJSVI 97'-7 EREP]^IH
     FIRIJMXW SJ EZEMPEFPI VIKYPEXSV]                        SVHIV 97'-7 GSRXMRYIW XS HIHMGEXI                     XLI MQTEGXW SJ XLMW VYPI F] GSQTEVMRK
     EPXIVREXMZIW ERH MJ E VIKYPEXMSR MW                    MRGVIEWIH VIWSYVGIW XS EHNYHMGEXMSR SJ                 XLI GSWXW ERH FIRIJMXW SJ EHNYHMGEXMRK
     RIGIWWEV] XS WIPIGX VIKYPEXSV]                         TIRHMRK EW]PYQ )%( ETTPMGEXMSRW                       MRMXMEP )%( ETTPMGEXMSRW JSV TIRHMRK
     ETTVSEGLIW XLEX QE\MQM^I RIX FIRIJMXW                   97'-7 LEW HIHMGEXIH EW QER] VIWSYVGIW                  EW]PYQ ETTPMGERXW [MXLMR  HE]W
                                                             EW TVEGXMGEFPI XS XLIWI EHNYHMGEXMSRW FYX             GSQTEVIH XS XLI EGXYEP XMQI MX XSSO XS
      MRGPYHMRK TSXIRXMEP IGSRSQMG
                                                             GSRXMRYIW XS JEGI ER EW]PYQ ETTPMGEXMSR                EHNYHMGEXI XLIWI )%( ETTPMGEXMSRW MR *=
     IRZMVSRQIRXEP TYFPMG LIEPXL ERH WEJIX]
                                                             FEGOPSK [LMGL MR XYVR MRGVIEWIW XLI                   
     IJJIGXW HMWXVMFYXMZI MQTEGXW ERH
                                                             RYQFIVW SJ ETTPMGERXW IPMKMFPI JSV                        97'-7 RSXIW XLEX MR *=  
     IUYMX]  )\IGYXMZI 3VHIV 
                                                             TIRHMRK EW]PYQ )%(W ,S[IZIV XLMW                     TIVGIRX SJ ETTPMGEXMSRW [IVI TVSGIWWIH
     IQTLEWM^IW XLI MQTSVXERGI SJ
                                                             VIEPPSGEXMSR SJ VIWSYVGIW MW RSX E PSRK               [MXLMR  HE]W ERH  TIVGIRX [IVI
     UYERXMJ]MRK FSXL GSWXW ERH FIRIJMXW SJ
                                                             XIVQ WYWXEMREFPI WSPYXMSR FIGEYWI                      TVSGIWWIH [MXLMR  HE]W -R *= 
     VIHYGMRK GSWXW SJ LEVQSRM^MRK VYPIW
                                                             97'-7 LEW QER] GSQTIXMRK TVMSVMXMIW                    XLI JMKYVIW [IVI  TIVGIRX ERH 
     ERH SJ TVSQSXMRK JPI\MFMPMX] )\IGYXMZI
                                                             ERH QER] XMQIWIRWMXMZI EHNYHMGEXMSR                   TIVGIRX VIWTIGXMZIP] -R XLI EREP]WMW SJ
     3VHIV  uu6IHYGMRK 6IKYPEXMSR ERH
                                                             XMQIJVEQIW 6IEPPSGEXMRK VIWSYVGIW XS                  MQTEGXW SJ XLMW VYPI 97'-7 EWWYQIH 
     'SRXVSPPMRK6IKYPEXSV]'SWXWvv HMVIGXW
                                                             EHNYHMGEXI EW]PYQ )%( ETTPMGEXMSRW                     TIVGIRX SJ EHNYHMGEXMSRW LETTIRIH
     EKIRGMIW XS VIHYGI VIKYPEXMSR ERH
                                                             [MXL XLI GYVVIRX VIKYPEXSV]MQTSWIH                    [MXLMR  HE]W ,S[IZIV FIGEYWI
     GSRXVSP VIKYPEXSV] GSWXW ERH TVSZMHIW                   XMQIJVEQI MR XLI PSRKXIVQ MW RSX
     XLEX uuJSV IZIV] SRI RI[ VIKYPEXMSR                                                                            EGXYEP EHNYHMGEXMSRW MR *=W  ERH
                                                             WYWXEMREFPI HYI XS [SVO TVMSVMXMIW MR                   [MXLMR XLI HE] XMQIJVEQI EVI
     MWWYIH EX PIEWX X[S TVMSV VIKYPEXMSRW FI               SXLIV TVSHYGX PMRIW 97'-7 GSYPH LMVI
     MHIRXMJMIH JSV IPMQMREXMSR ERH XLEX XLI                                                                       WPMKLXP] PIWW XLER XLI  TIVGIRX
                                                             QSVI SJJMGIVW FYX XLEX [SYPH RSX                      EREP]^IH 97'-7 LEW SZIVIWXMQEXIH XLI
     GSWX SJ TPERRIH VIKYPEXMSRW FI TVYHIRXP]                MQQIHMEXIP] ERH MR EPP GEWIW WLSVXIR
     QEREKIH ERH GSRXVSPPIH XLVSYKL E                                                                               MQTEGXW SJ XLMW VYPI [MXL VIWTIGX XS XLMW
                                                             EHNYHMGEXMSR XMQIJVEQIW FIGEYWI                      ZEVMEFPI [LIR PIWW XLER  TIVGIRX SJ
     FYHKIXMRKTVSGIWWvv                                   %HHMXMSREP XMQI [SYPH FI VIUYMVIH XS                   EHNYHMGEXMSRW LETTIR [MXLMR  HE]W -X
        8LMW VYPI LEW FIIR HIWMKREXIH EW E                   VIGVYMX ZIX SRFSEVH ERH XVEMR RI[                    MW RSXIH XLEX XLI VIPMERGI SR XLI 
     uuWMKRMJMGERXVIKYPEXSV]EGXMSRvvXLEXMW              IQTPS]IIW ERH  JSV GIVXEMR                          TIVGIRX VEXI WPMKLXP] SZIVWXEXIW XLI GSWXW
     IGSRSQMGEPP] WMKRMJMGERX YRHIV WIGXMSR                 ETTPMGEXMSRW EHHMXMSREP XMQI MW RIIHIH                   8LI MQTEGXW SJ XLMW VYPI QE] MRGPYHI
      J  SJ )\IGYXMZI 3VHIV                          XS JYPP] ZIX ER ETTPMGERX VIKEVHPIWW SJ               FSXL HMWXVMFYXMSREP IJJIGXW [LMGL EVI
     %GGSVHMRKP] XLI 3JJMGI SJ 1EREKIQIRX                   WXEJJMRK PIZIPW *YVXLIV WMQTP] LMVMRK
     ERH &YHKIX 31& LEW VIZMI[IH XLMW                        QSVI SJJMGIVW MW RSX EP[E]W JIEWMFPI HYI                  8LI MRJSVQEXMSR VIKEVHMRK XLI TVSGIWWMRK SJ
     VIKYPEXMSR 8LMW JMREP VYPI MW GSRWMHIVIH               XS FYHKIXEV] GSRWXVEMRXW ERH XLI JEGX                  XLIWI ETTPMGEXMSRW [EW TVSZMHIH F] 97'-7 3JJMGI SJ
     ER )3  VIKYPEXSV] EGXMSR                        XLEX 97'-7 GSRHYGXW RSXMGI ERH                         4IVJSVQERGI ERH 5YEPMX] 345 



:IV(EXI 7IT "    .YR     .OX    43    *VQ    *QX    7JQX    )@*6@*1@.267+1   .26
                                                                                                                                          AR005568
                     *IHIVEP 6IKMWXIV  :SP  2S   1SRHE] .YRI    6YPIW ERH 6IKYPEXMSRW

     XVERWJIVW ERH GSWXW 8LI HMWXVMFYXMSREP                 HMWXVMFYXMSREP MQTEGXW XVERWJIVW SV EW E                QMPPMSR XS  QMPPMSR ERRYEPP]
     MQTEGXW JEPP SR XLI EW]PYQ ETTPMGERXW                     TVS\]JSVFYWMRIWWIWvGSWXJSVPSWX                    %HHMRK XLI PSWX GSQTIRWEXMSR XS XLI XE\
     [LS [SYPH FI HIPE]IH MR IRXIVMRK XLI                      TVSHYGXMZMX] 8LIWI UYERXMJMIH MQTEGXW                  PSWWIW TVSZMHI XSXEP QSRIXM^IH IWXMQEXIW
     97 PEFSV JSVGI 8LI HMWXVMFYXMSREP                      HS RSX MRGPYHI EHHMXMSREP GSWXW XS                      SJ XLMW VYPI XLEX VERKI JVSQ 
     MQTEGXW XVERWJIVW GSQI MR XLI JSVQ SJ                     FYWMRIWWIW JSV PSWX TVSJMXW ERH                         QMPPMSR XS  QMPPMSR ERRYEPP] MR
     PSWX GSQTIRWEXMSR [EKIW ERH FIRIJMXW                     STTSVXYRMX] GSWXW SV XLI HMWXVMFYXMSREP                 MRWXERGIW [LIVI E GSQTER] GERRSX LMVI
     % TSVXMSR SJ XLMW PSWX GSQTIRWEXMSR                       MQTEGXWJSVXLSWIMRERETTPMGERXvW                    VITPEGIQIRX PEFSV JSV XLI TSWMXMSR XLI
     QMKLX FI XVERWJIVVIH JVSQ EW]PYQ                          WYTTSVX RIX[SVO 8LI PSWX GSQTIRWEXMSR                  EW]PYQ ETTPMGERX [SYPH LEZI JMPPIH
     ETTPMGERXW XS SXLIVW XLEX EVI GYVVIRXP] MR                XS EW]PYQ ETTPMGERXW GSYPH VERKI JVSQ                   %KEMR HITIRHMRK SR XLI GMVGYQWXERGIW
     XLI 97 PEFSV JSVGI TSWWMFP] MR XLI JSVQ                 QMPPMSR XS  QMPPMSR                      SJ XLI IQTPS]II XLIVI GSYPH FI
     SJ EHHMXMSREP [SVO LSYVW SV SZIVXMQI                      ERRYEPP] HITIRHMRK SR XLI [EKIW XLI                     EHHMXMSREP JIHIVEP MRGSQI XE\ PSWWIW RSX
     TE] % TSVXMSR SJ XLI MQTEGXW SJ XLMW                     EW]PYQ ETTPMGERX [SYPH LEZI IEVRIH                     IWXMQEXIH LIVI 8LIVI QE] EPWS FI WXEXI
     VYPI QE] EPWS FI FSVRI F] GSQTERMIW                       8LI ]IEV XSXEP HMWGSYRXIH PSWX                       ERH PSGEP MRGSQI XE\ PSWWIW XLEX [SYPH
     XLEX [SYPH LEZI LMVIH XLI EW]PYQ                          GSQTIRWEXMSR XS EW]PYQ ETTPMGERXW EX                   ZEV] EGGSVHMRK XS XLI NYVMWHMGXMSR
     ETTPMGERXW LEH XLI] FIIR MR XLI PEFSV                     TIVGIRX GSYPH VERKI JVSQ  FMPPMSR                    8LMW VYPI [MPP TSXIRXMEPP] VIWYPX MR
     QEVOIX IEVPMIV FYX [IVI YREFPI XS JMRH                    XS  FMPPMSR ERH EX  TIVGIRX GSYPH                VIHYGIH STTSVXYRMX] GSWXW XS XLI *IHIVEP
     EZEMPEFPI [SVOIVW 8LIWI GSQTERMIW                        VERKI JVSQ  FMPPMSR XS                      +SZIVRQIRX 7MRGI 6SWEVMS GSQTIPPIH
     QE] MRGYV E GSWX EW XLI] GSYPH PSWI                      FMPPMSR ]IEVWz 97'-7                       97'-7 XS GSQTP] [MXL XLI HE]
     TVSHYGXMZMX] ERH TSXIRXMEP TVSJMXW XLI                    VIGSKRM^IW XLEX XLI MQTEGXW SJ XLMW VYPI                TVSZMWMSR MR *=  97'-7 LEW
     EW]PYQ ETTPMGERX [SYPH LEZI TVSZMHIH                      GSYPH FI SZIVWXEXIH MJ XLI TVSZMWMSRW MR                VIHMWXVMFYXIH MXW EHNYHMGEXMSR VIWSYVGIW
     LEH XLI EW]PYQ ETTPMGERX FIIR MR XLI                      XLI FVSEHIV EW]PYQ )%( 2461 EVI                         XS [SVO YT XS JYPP GSQTPMERGI ;MXL
     PEFSV JSVGI IEVPMIV 'SQTERMIW QE]                      JMREPM^IH EW TVSTSWIH 7TIGMJMGEPP] XLI                VIQSZMRK XLI HE] XMQIJVEQI 97'-7
     EPWS MRGYV STTSVXYRMX] GSWXW F] LEZMRK                    FVSEHIV EW]PYQ )%( 2461 TVSTSWIW XS                     I\TIGXW XLIWI VIHMWXVMFYXIH VIWSYVGIW
     XS GLSSWI XLI RI\X FIWX EPXIVREXMZI XS                    PMQMX SV HIPE] IPMKMFMPMX] JSV IQTPS]QIRX               GSYPH FI VIEPPSGEXIH TSXIRXMEPP]
     MQQIHMEXIP] JMPPMRK XLI NSF XLI EW]PYQ                    EYXLSVM^EXMSR JSV GIVXEMR EW]PYQ                        VIHYGMRK HIPE]W MR TVSGIWWMRK SJ SXLIV
     ETTPMGERX [SYPH LEZI JMPPIH 97'-7 HSIW                   ETTPMGERXW %GGSVHMRKP] MJ XLI                         ETTPMGEXMSRW ERH EZSMHMRK GSWXW
     RSX ORS[ [LEX XLMW RI\X FIWX EPXIVREXMZI                  TSTYPEXMSR SJ EJJIGXIH EPMIRW MW PIWW XLER              EWWSGMEXIH [MXL LMVMRK EHHMXMSREP
     QE] FI JSV XLSWI GSQTERMIW %W E VIWYPX                  IWXMQEXIH EW E VIWYPX SJ XLI FVSEHIV                    IQTPS]IIW 97'-7 LEW RSX IWXMQEXIH
     97'-7 HSIW RSX ORS[ XLI TSVXMSR SJ                        EW]PYQ )%( VYPI XLI IWXMQEXIH MQTEGXW                  XLIWI EZSMHIH GSWXW %HHMXMSREPP]
     SZIVEPP MQTEGXW SJ XLMW VYPI XLEX EVI                     SJ XLMW VYPI GSYPH FI SZIVWXEXIH FIGEYWI                97'-7 HSIW RSX ERXMGMTEXI XLEX VIQSZMRK
     XVERWJIVW SV GSWXW -J GSQTERMIW GER JMRH                 XLI TSTYPEXMSR EJJIGXIH QE] FI PS[IV                    XLI WITEVEXI HE] )%( JMPMRK
     VITPEGIQIRX PEFSV JSV XLI TSWMXMSR XLI                    XLER IWXMQEXIH MR XLMW VYPI                            VIUYMVIQIRX [SYPH VIWYPX MR ER] GSWXW XS
     EW]PYQ ETTPMGERX [SYPH LEZI JMPPIH XLMW                     -R MRWXERGIW [LIVI E GSQTER] GERRSX                  XLI *IHIVEP +SZIVRQIRX
     VYPI [SYPH LEZI TVMQEVMP] HMWXVMFYXMSREP                  XVERWJIV EHHMXMSREP [SVO SRXS GYVVIRX                      8LMW VYPI [MPP FIRIJMX 97'-7 F]
     IJJIGXW MR XLI JSVQ SJ XVERWJIVW JVSQ                     IQTPS]IIW ERH GERRSX LMVI VITPEGIQIRX                   EPPS[MRK MX XS STIVEXI YRHIV PSRKXIVQ
     EW]PYQ ETTPMGERXW XS SXLIVW EPVIEH] MR                    PEFSV JSV XLI TSWMXMSR XLI EW]PYQ                       WYWXEMREFPI GEWI TVSGIWWMRK XMQIW JSV
     XLI PEFSV QEVOIX SV [SVOIVW MRHYGIH XS                    ETTPMGERX [SYPH LEZI JMPPIH 97'-7                      MRMXMEP )%( ETTPMGEXMSRW JSV TIRHMRK
     VIXYVR XS XLI PEFSV QEVOIX  97'-7                        EGORS[PIHKIW XLEX HIPE]W QE] VIWYPX MR                  EW]PYQ ETTPMGERXW XS EPPS[ WYJJMGMIRX
     EGORS[PIHKIW XLEX XLIVI QE] FI                            XE\ PSWWIW XS XLI KSZIVRQIRX -X MW                     XMQI XS EHHVIWW REXMSREP WIGYVMX] ERH
     EHHMXMSREP STTSVXYRMX] GSWXW XS                           HMJJMGYPX XS UYERXMJ] MRGSQI XE\ PSWWIW                 JVEYH GSRGIVRW ERH XS QEMRXEMR
     IQTPS]IVW WYGL EW EHHMXMSREP WIEVGL                       FIGEYWI MRHMZMHYEP XE\ WMXYEXMSRW ZEV]                  XIGLRSPSKMGEP EHZERGIW MR HSGYQIRX
     GSWXW ,S[IZIV MJ GSQTERMIW GERRSX                       [MHIP]  FYX 97'-7 IWXMQEXIW XLI                       TVSHYGXMSR ERH MHIRXMJ] ZIVMJMGEXMSR
     JMRH VIEWSREFPI WYFWXMXYXIW JSV XLI PEFSV                 TSXIRXMEP PSWW XS SXLIV IQTPS]QIRX XE\                  %TTPMGERXW [MPP FI EFPI XS VIP] SR YT
     XLI EW]PYQ ETTPMGERXW [SYPH LEZI                          TVSKVEQW REQIP] 1IHMGEVI ERH WSGMEP                    XSHEXI TVSGIWWMRK XMQIW [LMGL [MPP
     TVSZMHIH XLMW VYPI [SYPH TVMQEVMP] FI                    WIGYVMX] [LMGL LEZI E GSQFMRIH XE\ VEXI                 TVSZMHI EGGYVEXI I\TIGXEXMSRW SJ
     E GSWX XS XLIWI GSQTERMIW XLVSYKL PSWX                    SJ  TIVGIRX  TIVGIRX ERH                     EHNYHMGEXMSR XMQIW 8LI XIGLRMGEP
     TVSHYGXMZMX] ERH TVSJMXW                                 TIVGIRX VIWTIGXMZIP]  ;MXL FSXL XLI                 GLERKI XS VIQSZI XLI HE] JMPMRK
        97'-7 YWIW XLI PSWX GSQTIRWEXMSR XS                    IQTPS]II ERH IQTPS]IV RSX TE]MRK XLIMV                  VIUYMVIQIRX MW ERXMGMTEXIH XS VIHYGI
     EW]PYQ ETTPMGERXW EW E QIEWYVI SJ XLI                     VIWTIGXMZI TSVXMSR SJ 1IHMGEVI ERH                      GSRJYWMSR VIKEVHMRK )%( VIRI[EP
     SZIVEPPMQTEGXSJXLIVYPI{IMXLIVEW                     7SGMEP 7IGYVMX] XE\IW XLI XSXEP IWXMQEXIH              VIUYMVIQIRXW JSV TIRHMRK EW]PYQ
                                                               XE\ PSWW JSV 1IHMGEVI ERH WSGMEP WIGYVMX]               ETTPMGERXW ERH IRWYVI XLI VIKYPEXSV]
         8VERWJIV TE]QIRXW EVI QSRIXEV] TE]QIRXW             MW  TIVGIRX 0SWX [EKIW VERKMRK                   XI\X VIJPIGXW GYVVIRX (,7 TSPMG] ERH
     JVSQ SRI KVSYT XS ERSXLIV XLEX HS RSX EJJIGX XSXEP        JVSQ  QMPPMSR XS  QMPPMSR                 VIKYPEXMSRWYRHIV(,7vWJMREP
     VIWSYVGIW EZEMPEFPI XS WSGMIX] 7II 31&'MVGYPEV%z
      TEKIW  ERH  JSV JYVXLIV HMWGYWWMSR SJ XVERWJIV      [SYPH VIWYPX MR IQTPS]QIRX XE\ PSWWIW                   %' 6YPI
     TE]QIRXWERHHMWXVMFYXMSREPIJJIGXW'MVGYPEV%zMW     XS XLI KSZIVRQIRX VERKMRK JVSQ 
                                                                                                                          'EPGYPEXMSRW 0S[IV FSYRH PSWX [EKIW 
     EZEMPEFPI EX LXXTW[[[[LMXILSYWIKSZWMXIW
     [LMXILSYWIKSZJMPIWSQFGMVGYPEVW%ETHJ                7II  1SVI XLER  TIVGIRX SJ %QIVMGERW TE] RS      QMPPMSR »  TIVGIRX IWXMQEXIH XE\ VEXI ! 
         8LI EREP]WMW EGGSYRXW JSV HIPE]IH IRXV] MRXS
                                                               JIHIVEP MRGSQI XE\ 7ITXIQFIV   EZEMPEFPI         QMPPMSR 9TTIV FSYRH PSWX [EKIW  QMPPMSR »
     XLI PEFSV JSVGI ERH HSIW RSX EGGSYRX JSV XLI              EX LXXTW[[[QEVOIX[EXGLGSQWXSV]QMPPMSR         TIVGIRX IWXMQEXIH XE\ VEXI !  QMPPMSR
                                                                                                                          'EPGYPEXMSR 0S[IV FSYRH PSWX [EKIW 
     TSXIRXMEP GMVGYQWXERGI YRHIV [LMGL XLMW VYPI QE]          EQIVMGERW[SRXTE]ER]JIHIVEPMRGSQIXE\IWXLMW
     GSQTPIXIP]JSVIGPSWIEREPMIRvWIRXV]MRXSXLIPEFSV     ]IEVLIVIW[L]                              QMPPMSR  PS[IV FSYRH XE\ PSWWIW  QMPPMSR !
     JSVGI 7YGL E TSWWMFPI GMVGYQWXERGI GSYPH SGGYV MJ            8LI ZEVMSYW IQTPS]QIRX XE\IW EVI HMWGYWWIH MR     XSXEP PS[IV FSYRH GSWX  QMPPMSR 9TTIV
     97'-7 YPXMQEXIP] HIRMIW ER )%( ETTPMGEXMSR XLEX           QSVI HIXEMP EX LXXTW[[[MVWKSZFYWMRIWWIW          FSYRH PSWX [EKIW  QMPPMSR  YTTIV FSYRH
     [EW TIRHMRK TEWX  HE]W HYI XS XLMW VYPI WSPIP]         WQEPPFYWMRIWWIWWIPJIQTPS]IHYRHIVWXERHMRK           XE\ PSWWIW  QMPPMSR ! XSXEP YTTIV FSYRH GSWX
     FIGEYWI XLI YRHIVP]MRK EW]PYQ ETTPMGEXMSR LEH             IQTPS]QIRXXE\IW 7II -67 4YFPMGEXMSR  'MVGYPEV       QMPPMSR
     FIIR HIRMIH HYVMRK XLI TIRHIRG] SJ XLI )%(                ))QTPS]IVvW8E\+YMHIJSVWTIGMJMGMRJSVQEXMSRSR       -R XLI  %' JMREP VYPI  *6 

     ETTPMGEXMSR -R WYGL E WGIREVMS XLIVI [SYPH FI           IQTPS]QIRX XE\ VEXIW LXXTW[[[MVWKSZTYFMVW      97'-7 EQIRHIH  '*6 E XS EPPS[ JSV XLI
     EHHMXMSREP GSWXW ERH XVERWJIV IJJIGXW HYI XS XLMW VYPI   THJTCTHJ                                         EYXSQEXMG I\XIRWMSR SJ I\MWXMRK ZEPMH )%(W JSV YT
     7YGL GSWXW ERH XVERWJIV IJJIGXW EVI RSX EGGSYRXIH JSV         'EPGYPEXMSR  TIVGIRX WSGMEP WIGYVMX]     XS  HE]W JSV VIRI[EP ETTPMGERXW JEPPMRK [MXLMR
     FIPS[ 7MQMPEVP] XLI VYPI HSIW RSX IWXMQEXI EZSMHIH      TIVGIRX 1IHMGEVI »  IQTPS]II ERH IQTPS]IV              GIVXEMR )%( GEXIKSVMIW EW HIWGVMFIH MR XLI
     XYVRSZIV GSWXW XS XLI IQTPS]IV EWWSGMEXIH [MXL WYGL       PSWWIW !  TIVGIRX XSXEP IWXMQEXIH XE\ PSWW XS       VIKYPEXMSR ERH HIWMKREXIH SR XLI 97'-7 [IFWMXI
     E WGIREVMS                                               KSZIVRQIRX                                             7II  '*6 E H  %QSRK XLSWI GEXIKSVMIW MW



:IV(EXI 7IT "    .YR     .OX    43    *VQ    *QX    7JQX    )@*6@*1@.267+1     .26
                                                                                                                                             AR005569
                         *IHIVEP 6IKMWXIV  :SP  2S   1SRHE] .YRI    6YPIW ERH 6IKYPEXMSRW                                                                                  

       8EFPI  TVSZMHIW E HIXEMPIH WYQQEV]
     SJ XLI VIKYPEXSV] GLERKIW ERH XLI
     I\TIGXIH MQTEGXW SJ XLMW VYPI
                                                        8%&0) {7911%6= 3* 463:-7-327 %2( -14%'87
                                                                                                                                                                            )\TIGXIH FIRIJMXW JVSQ
            'YVVIRX TVSZMWMSR                 'LERKI XS TVSZMWMSR                )\TIGXIH GSWXW ERH XVERWJIVW JVSQ GLERKIH TVSZMWMSR
                                                                                                                                                                              GLERKIH TVSZMWMSR

     97'-7 LEW E HE] MRMXMEP )%(    97'-7 MW IPMQMREXMRK XLI TVSZM    5YERXMXEXMZI 8LMW TVSZMWMSR GSYPH HIPE] XLI EFMPMX] SJ WSQI MRM                             5YERXMXEXMZI 2SX IWXMQEXIH
      EHNYHMGEXMSR XMQIJVEQI JSV ET    WMSRW JSV XLI HE] EHNY         XMEP ETTPMGERXW XS [SVO % TSVXMSR SJ XLI MQTEGXW SJ XLI VYPI
      TPMGERXW [LS LEZI TIRHMRK         HMGEXMSR    XMQIJVEQI     ERH      [SYPH FI XLI PSWX GSQTIRWEXMSR XVERWJIVVIH JVSQ EW]PYQ ET
      EW]PYQ ETTPMGEXMSRW              MWWYERGI SJ MRMXMEP )%(W JSV       TPMGERXW XS SXLIVW GYVVIRXP] MR XLI [SVOJSVGI TSWWMFP] MR XLI
                                        TIRHMRK EW]PYQ ETTPMGERXW         JSVQ SJ EHHMXMSREP [SVO LSYVW SV SZIVXMQI TE] % TSVXMSR SJ
                                                                           XLI MQTEGXW SJ XLI VYPI [SYPH FI PSWX TVSHYGXMZMX] GSWXW XS
                                                                           GSQTERMIW XLEX [SYPH LEZI LMVIH EW]PYQ ETTPMGERXW LEH
                                                                           XLI] FIIR MR XLI PEFSV QEVOIX FYX [LS [IVI YREFPI XS JMRH
                                                                           EZEMPEFPI [SVOIVW 97'-7 YWIW XLI PSWX GSQTIRWEXMSR XS
                                                                           EW]PYQ ETTPMGERXW EW E QIEWYVI SJ XLIWI HMWXVMFYXMSREP MQ
                                                                           TEGXW XVERWJIVW  ERH EW E TVS\]JSVFYWMRIWWIWv GSWXJSV PSWX
                                                                           TVSHYGXMZMX] 8LI PSWX GSQTIRWEXMSR HYI XS TVSGIWWMRK
                                                                           HIPE]W GSYPH VERKI JVSQ  QMPPMSR XS  QMPPMSR
                                                                           ERRYEPP] 8LI XSXEP XIR]IEV HMWGSYRXIH PSWX GSQTIRWEXMSR
                                                                           JSV ]IEVW zEZIVEKIW  FMPPMSRERHFMP
                                                                           PMSR EX HMWGSYRX VEXIW SJ  ERH  TIVGIRX VIWTIGXMZIP]
                                                                           97'-7 HSIW RSX ORS[ XLI TSVXMSR SJ SZIVEPP MQTEGXW SJ XLMW
                                                                           VYPI XLEX EVI XVERWJIVW SV GSWXW 0SWX [EKIW VERKMRK JVSQ
                                                                            QMPPMSR XS  QMPPMSR [SYPH VIWYPX MR IQTPS]
                                                                           QIRX XE\ PSWWIW XS XLI KSZIVRQIRX VERKMRK JVSQ  QMP
                                                                           PMSR XS  QMPPMSR ERRYEPP]
                                                                          5YEPMXEXMZI -R GEWIW [LIVI GSQTERMIW GERRSX JMRH VIEWSREFPI                                  5YEPMXEXMZI (,7 [SYPH FI EFPI
                                                                           WYFWXMXYXIW JSV XLI PEFSV XLI EW]PYQ ETTPMGERXW [SYPH LEZI                                     XS STIVEXI YRHIV PSRKXIVQ
                                                                           TVSZMHIH EJJIGXIH GSQTERMIW [SYPH EPWS PSWI TVSJMXW JVSQ                                      WYWXEMREFPI GEWI TVSGIWWMRK
                                                                           XLI PSWX TVSHYGXMZMX] -R EPP GEWIW GSQTERMIW [SYPH MRGYV ST                                 XMQIW JSV MRMXMEP )%( ETTPMGE
                                                                           TSVXYRMX] GSWXW F] LEZMRK XS GLSSWI XLI RI\X FIWX EPXIVREXMZI                                  XMSRW JSV TIRHMRK EW]PYQ ET
                                                                           XS MQQIHMEXIP] JMPPMRK XLI NSF XLI TIRHMRK EW]PYQ ETTPMGERX                                    TPMGERXW XS EPPS[ WYJJMGMIRX
                                                                           [SYPH LEZI JMPPIH 8LIVI QE] FI EHHMXMSREP STTSVXYRMX] GSWXW                                   XMQI XS EHHVIWW REXMSREP WI
                                                                           XS IQTPS]IVW WYGL EW WIEVGL GSWXW 8LIVI QE] EPWS FI EHHM                                     GYVMX] ERH JVEYH GSRGIVRW
                                                                           XMSREP HMWXVMFYXMSREP MQTEGXW JSV XLSWI MR ER ETTPMGERXvW WYT                         ERH XS QEMRXEMR XIGLRSPSKMGEP
                                                                           TSVX RIX[SVO FI]SRH E QMRMQYQ SJ  HE]W{MJ ETTPMGERXW                               EHZERGIW MR HSGYQIRX TVS
                                                                           EVI YREFPI XS [SVO PIKEPP] XLI] QE] RIIH XS VIP] SR VI                                       HYGXMSR ERH MHIRXMX]
                                                                           WSYVGIW JVSQ JEQMP] QIQFIVW JVMIRHW RSRTVSJMXW SV KSZ                                     ZIVMJMGEXMSR [MXLSYX LEZMRK XS
                                                                           IVRQIRX IRXMXMIW JSV WYTTSVX                                                                  EHH ER] VIWSYVGIW
                                                                          (,7 RSXIW XLEX XLI IWXMQEXIW JVSQ XLI 2461 VIKEVHMRK YRIQ                                    8LMW VYPI [SYPH VIWYPX MR VI
                                                                           TPS]QIRX RYQFIV SJ EW]PYQ ETTPMGERXW TIV ]IEV ERH 97'-7                                      HYGIH STTSVXYRMX] GSWXW XS
                                                                           TVSGIWWMRK EVI RSX GYVVIRXP] ETTPMGEFPI EW '3:-(z LEW                                XLI *IHIVEP +SZIVRQIRX
                                                                           LEH E HVEQEXMG MQTEGX SR EPP XLVII (,7 SJJIVW XLMW EREP]WMW                                   97'-7 QE] EPWS FI EFPI XS
                                                                           EW E KPMQTWI SJ XLI TSXIRXMEP MQTEGXW SJ XLI VYPI FYX XLI                                     VIEPPSGEXI XLI VIWSYVGIW MX VI
                                                                           EREP]WMW VIPMIW SR EWWYQTXMSRW VIPEXIH XS E TVI'3:-( IGSR                                    HMWXVMFYXIH XS GSQTP] [MXL XLI
                                                                           SQ] ;LMPI JYXYVI IGSRSQMG GSRHMXMSRW EVI GYVVIRXP] XSS HMJ                                   HE] TVSZMWMSR TSXIRXMEPP]
                                                                           JMGYPX XS TVIHMGX [MXL ER] GIVXEMRX] (,7 RSXIW XLEX E LMKLIV                                  VIHYGMRK HIPE]W MR TVSG
                                                                           YRIQTPS]QIRX VEXI QE] VIWYPX MR PS[IV GSWXW SJ XLMW VYPI EW                                    IWWMRK SJ SXLIV ETTPMGEXMSRW
                                                                           VITPEGMRK TIRHMRK EW]PYQ ETTPMGERX [SVOIVW [SYPH QSWX PMOI                                    ERH EZSMHMRK GSWXW EWWSGM
                                                                           P] FI IEWMIV XS HS 'SRWIUYIRXP] EW YRIQTPS]QIRX MW LMKL                                     EXIH [MXL LMVMRK EHHMXMSREP
                                                                           XLMW VYPI MW PIWW PMOIP] XS VIWYPX MR E PSWW SJ TVSHYGXMZMX] SR FI                            IQTPS]IIW
                                                                           LEPJ SJ GSQTERMIW YREFPI XS VITPEGI JSVKSRI PEFSV
     %TTPMGERXW GER GYVVIRXP] WYFQMX   97'-7 MW VIQSZMRK XLI HE]       5YERXMXEXMZI 2SRI      5YERXMXEXMZI 2SRI
       E VIRI[EP )%( ETTPMGEXMSR      WYFQMWWMSR VIUYMVIQIRX JSV        5YEPMXEXMZI 2SRI    5YEPMXEXMZI %TTPMGERXW{
       HE]W FIJSVI XLI I\TMVEXMSR SJ    VIRI[EP )%( ETTPMGEXMSRW                                                                                                              6IHYGIW GSRJYWMSR VI
       XLIMV GYVVIRX )%(                                                                                                                                                      KEVHMRK )%( VIRI[EP VI
                                                                                                                                                                               UYMVIQIRXW 7SQI GSR
                                                                                                                                                                               JYWMSR QE] RSRIXLIPIWW
                                                                                                                                                                               VIQEMR MJ ETTPMGERXW GSR
                                                                                                                                                                               WYPX SYXHEXIH ZIVWMSRW SJ
                                                                                                                                                                               VIKYPEXMSRW SV MRETTPM
                                                                                                                                                                               GEFPI (3. VIKYPEXMSRW
                                                                                                                                                                        (,797'-7{
                                                                                                                                                                               8LI VIKYPEXMSRW EVI
                                                                                                                                                                               FIMRK YTHEXIH XS QEXGL
                                                                                                                                                                               XLSWI SJ SXLIV )%( GEX
                                                                                                                                                                               IKSVMIW



       %W TVIZMSYWP] HMWGYWWIH 97'-7 HSIW                   QSRIXM^IH MQTEGX SJ XLMW VYPI JVSQ PSWX                                    JSV EPP SJ XLI TSWMXMSRW XLI EW]PYQ
     RSX ORS[ XLI TSVXMSR SJ SZIVEPP MQTEGXW                 GSQTIRWEXMSR MW  QMPPMSR                                            ETTPMGERXW [SYPH LEZI JMPPIH XLI] [MPP
     SJ XLMW VYPI XLEX EVI XVERWJIVW SV GSWXW               ERRYEPP] -J EPP GSQTERMIW EVI EFPI XS                                     FIEV PMXXPI SV RS GSWXW WS XLI QE\MQYQ
     FYX IWXMQEXIW XLEX XLI QE\MQYQ                          IEWMP] JMRH VIEWSREFPI PEFSV WYFWXMXYXIW                                   SJ  QMPPMSR [MPP FI XVERWJIVVIH

     EW]PYQ ETTPMGERXW 8S FIRIJMX JVSQ XLI EYXSQEXMG        I\TMVEXMSR HEXI  VIUYIWX VIRI[EP FEWIH SR XLI                            LMW SV LIV WXEXYW IZIR EJXIV XLI )%( I\TMVIW ERH
     I\XIRWMSR ER ETTPMGERX JEPPMRK [MXLMR ER IPMKMFPI      WEQI IQTPS]QIRX EYXLSVM^EXMSR GEXIKSV] YRHIV                               MW ETTP]MRK JSV VIRI[EP YRHIV E GEXIKSV] XLEX HSIW
     GEXIKSV] QYWX  TVSTIVP] JMPI LMW SV LIV VIRI[EP        [LMGL XLI I\TMVMRK )%( [EW KVERXIH ERH  [MPP                             RSX JMVWX VIUYMVI 97'-7 XS EHNYHMGEXI ER YRHIVP]MRK
     VIUYIWX JSV IQTPS]QIRX EYXLSVM^EXMSR FIJSVI MXW         GSRXMRYI XS FI EYXLSVM^IH JSV IQTPS]QIRX FEWIH SR                          ETTPMGEXMSR TIXMXMSR SV VIUYIWX



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     GYVVIRXP] MR XLI PEFSV JSVGI SV MRHYGIH                           ERH  MW XLI IWXMQEXIH QMRMQYQ MR                                GSQTERMIW ERH IQTPS]IIW XS XLI
     FEGO MRXS XLI PEFSV JSVGI [I EWWYQI RS                            QSRIXM^IH XVERWJIVW JVSQ EW]PYQ                                   *IHIVEP +SZIVRQIRX 8LI X[S WGIREVMSW
     XE\ PSWWIW EW E PEFSV WYFWXMXYXI [EW                              ETTPMGERXW XS SXLIV [SVOIVW -R EHHMXMSR                         HIWGVMFIH EFSZI VITVIWIRX XLI IWXMQEXIH
     JSYRH  'SRZIVWIP] MJ GSQTERMIW EVI                              YRHIV XLMW WGIREVMS FIGEYWI XLI NSFW                             IRHTSMRXW JSV XLI VERKI SJ QSRIXM^IH
     YREFPI XS JMRH ER] VIEWSREFPI PEFSV                               [SYPH KS YRJMPPIH XLIVI [SYPH FI E PSWW                           MQTEGXW VIWYPXMRK JVSQ XLMW VYPI ERH EVI
     WYFWXMXYXIW JSV XLI TSWMXMSRW XLI EW]PYQ                          SJ IQTPS]QIRX XE\IW XS XLI *IHIVEP                                WYQQEVM^IH MR 8EFPI  FIPS[
     ETTPMGERXW [SYPH LEZI JMPPIH XLIR                                +SZIVRQIRX 97'-7 IWXMQEXIW 
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            'EXIKSV]                               (IWGVMTXMSR                                       ETTPMGERXW                                SXLIV [SVOIVW                     LEPJ SJ XLI
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     EGGSYRXMRK WXEXIQIRX WLS[MRK XLI GSWXW                            I\GIIH  QMPPMSR ERH EW                                     JMRH VITPEGIQIRX [SVOIVW 97'-7 RSXIW
     ERH XVERWJIVW EWWSGMEXIH [MXL XLMW                                HIWGVMFIH 97'-7 MW YREFPI XS ETTSVXMSR                           XLEX XLIVI QE] FI WSQI YRQSRIXM^IH
     VIKYPEXMSR*SVXLITYVTSWIWSJXLI%z                           XLI MQTEGXW FIX[IIR GSWXW ERH XVERWJIVW                          GSWXW WYGL EW EHHMXMSREP STTSVXYRMX]
      EGGSYRXMRK WXEXIQIRX FIPS[ 97'-7                               0MOI[MWI 97'-7 YWIW E QMHTSMRX JSV                              GSWXW XS IQTPS]IVW XLEX [SYPH RSX FI
     YWIW XLI QMHTSMRX EW XLI TVMQEV]                                 XLI VIHYGXMSR MR IQTPS]QIRX XE\                                   GETXYVIH MR XLIWI QSRIXM^IH IWXMQEXIW
     IWXMQEXI JSV FSXL GSWXW ERH XVERWJIVW                             XVERWJIVW JVSQ GSQTERMIW ERH
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                                                                               UYMVIQIRXW (,7 [SYPH FI EFPI XS STIVEXI YRHIV WYWXEMREFPI
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         %RRYEPM^IH QSRIXM^IH GSWXW HMWGSYRX VEXI MR                                                                                                  6-%
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                                                                               EPP GEWIW GSQTERMIW [SYPH MRGYV STTSVXYRMX] GSWXW F] LEZMRK XS
                                                                               GLSSWI XLI RI\X FIWX EPXIVREXMZI XS MQQIHMEXIP] JMPPMRK XLI NSF XLI
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                                  'EXIKSV]                                                                        )JJIGXW                                    7SYVGI GMXEXMSR
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                                                                               JSVGI SJ MRHMZMHYEP WXEXIW MW I\TIGXIH 4SWWMFPI PSWW SJ XE\ VIZIRYI
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     6YPI                                         E  TVSZMHI XLEX 97'-7                                                   TSMRX EX [LMGL MX WXSTTIH -R WSQI
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       %PMIRW [LS EVI EVVMZMRK SV TL]WMGEPP]     SJ VIGIMZMRK E TVSTIVP] JMPIH ETTPMGEXMSR                                      EHHMXMSREP ZIXXMRK F] XLI &EGOKVSYRH
     TVIWIRX MR XLI 9RMXIH 7XEXIW KIRIVEPP]      JVSQ E TIRHMRK EW]PYQ ETTPMGERX                                               'LIGO 9RMX &'9 ERH XLI 'IRXIV *VEYH
     QE] ETTP] JSV EW]PYQ MR XLI 9RMXIH          %W]PYQ ETTPMGERXW QYWX [EMX  HE]W                                           (IXIGXMSR 3TIVEXMSRW '*(3  JSV
     7XEXIW MVVIWTIGXMZI SJ XLIMV MQQMKVEXMSR    JVSQ XLI XMQI SJ JMPMRK XLI EW]PYQ                                             MRWXERGIXSZIVMJ]ERETTPMGERXvW
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     EW]PYQ ER ETTPMGERX QYWX HIQSRWXVEXI -z97'-7GERRSXKVERXIQTPS]QIRX                                               WXST MR XLIWI WMXYEXMSRW XLSYKL XLIWI
     EQSRK SXLIV XLMRKW XLEX XLI] LEZI          EYXLSVM^EXMSR YRXMP XLI ETTPMGERX LEW                                          GEWIW QE] XEOI PSRKIV XLER  HE]W XS
     WYJJIVIH TEWX TIVWIGYXMSR SV LEZI E [IPP EGGYQYPEXIH E XSXEP SJ  HE]W RSX                                             TVSGIWW 97'-7 [SYPH QEOI E HIGMWMSR
     JSYRHIH JIEV SJ JYXYVI TIVWIGYXMSR SR       MRGPYHMRK ER] HIPE]W GEYWIH SV                                                 SRP] EJXIV EPP IPMKMFMPMX] ERH FEGOKVSYRH
     EGGSYRX SJ VEGI VIPMKMSR REXMSREPMX]     VIUYIWXIH F] XLI ETTPMGERX QIERMRK XLI                                        GLIGOW VIPEXMRK XS XLI )%( ETTPMGEXMSR
     QIQFIVWLMT MR E TEVXMGYPEV WSGMEP KVSYT ETTPMGERXvWEW]PYQGEWILEWFIIR                                                 LEZI FIIR GSQTPIXIH
     SV TSPMXMGEP STMRMSR %TTPMGERXW [MXL      TIRHMRK JSV E XSXEP SJ  HE]W  '*6                                           (,7 GSRWMHIVW XLI HE]
     PMQMXIH I\GITXMSRW EVI VIUYMVIH XS          E  z  8LMWMWORS[REWXLI                                          EHNYHMGEXMSR XMQIJVEQI XS FI SYXHEXIH
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     XLIMV PEWX EVVMZEP MR XLI 9RMXIH 7XEXIW    ETTVSZIWXLI*SVQ-z97'-7QEMPW                                          STIVEXMSREP VIEPMXMIW -R XLI TPYW
     97'-7 HSIW RSX GYVVIRXP] GLEVKI JMPMRK      ER )%( EGGSVHMRK XS XLI QEMPMRK                                                ]IEVW WMRGI XLI XMQIJVEQI [EW
     JIIW JSV GIVXEMR LYQERMXEVMER FIRIJMXW     TVIJIVIRGIW MRHMGEXIH F] XLI ETTPMGERX                                        IWXEFPMWLIH XLIVI LEW FIIR E WLMJX XS
     MRGPYHMRK EW]PYQ ETTPMGEXMSRW ERH           -J97'-7HIRMIWXLI*SVQ-zXLI                                           GIRXVEPM^IH TVSGIWWMRK EW [IPP EW
     ETTPMGEXMSRW GSRGYVVIRXP] JMPIH [MXL        EKIRG] WIRHW E [VMXXIR RSXMGI XS XLI                                           MRGVIEWIH WIGYVMX] QIEWYVIW WYGL EW XLI
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     HIGMWMSR JSV EX PIEWX  HE]W EVI IPMKMFPI    ,S[IZIV MJ 97'-7 VIUYMVIW EHHMXMSREP                                       JSV JVEYH FYX GER VIUYMVI EHHMXMSREP
     XS ETTP] JSV IQTPS]QIRX EYXLSVM^EXMSR      HSGYQIRXEXMSR JVSQ XLI ETTPMGERX                                               TVSGIWWMRK XMQI IWTIGMEPP] EW JMPMRK
     YRPIWW ER] HIPE]W EVI GEYWIH F] XLI         FIJSVI E HIGMWMSR GER FI QEHI 97'-7                                           ZSPYQIW VIQEMR LMKL &] IPMQMREXMRK
     ETTPMGERX WYGL EW E VIUYIWX XS              WIRHW E VIUYIWX JSV IZMHIRGI 6*) ERH                                           XLI HE] TVSZMWMSR (,7 [MPP FI EFPI
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     [LSEVIKVERXIHEW]PYQ uuEW]PIIWvv QE] EHHMXMSREP HSGYQIRXEXMSR MW VIGIMZIH                                            TIRHMRK EW]PYQ ETTPMGERXW WMRGI TVMSV
     [SVO MQQIHMEXIP] 7II -2% WIGXMSR           3RGI 97'-7 VIGIMZIW EPP VIUYIWXIH                                              XS XLI 6SWEVMS Z 97'-7 GSYVX SVHIV MX
      G  &   97'  G  &  %R        MRJSVQEXMSR MR VIWTSRWI XS XLI 6*) XLI                                        [EW RSX QIIXMRK XLI HE] VIKYPEXSV]
     EW]PII QE] GLSSWI XS SFXEMR ER )%( JSV                                                                                     XMQIJVEQI QSWX SJ XLI XMQI  TIVGIRX 
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     GSRZIRMIRGI SV MHIRXMJMGEXMSR TYVTSWIW                                                                                    XS EHHVIWW REXMSREP WIGYVMX] ERH JVEYH
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     FYX XLMW HSGYQIRXEXMSR MW RSX RIGIWWEV] JMPIW97'-7,YQERMXEVMER                                                          GSRGIVRW JSV XLSWI ETTPMGEXMSRW XLEX
     JSV ER EW]PII XS [SVO  '*6                6IJYKIIW   %W]PYQ%W]PYQ%W]PYQC                                         VIUYMVI EHHMXMSREP ZIXXMRK XLVSYKL 6*)W
     E E                                 'PSGOC.SMRXC2SXMGICCVIZMWIHCTHJ                                   SV VIJIVVEPW XS &'9 ERHSV '*(3 ERH XS


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     HSGYQIRX TVSHYGXMSR ERH MHIRXMX]                         ETTP] JSV ER MRMXMEP )%( YRHIV XLI G                  97'-7 XS EHNYHMGEXI ER YRHIVP]MRK
     ZIVMJMGEXMSR XLEX 97'-7 QYWX JYPJMPP EW E                GEXIKSV] SRGI XLI %W]PYQ )%( 'PSGO                     ETTPMGEXMSR TIXMXMSR SV VIUYIWX
     TEVX SJ MXW GSVI QMWWMSR [MXLMR (,7 WYGL                 VIEGLIW  HE]W
                                                                                                                      4STYPEXMSR
     EW XLI GIRXVEPM^IH TVSHYGXMSR ERH                           -R XLI IRH LS[IZIV 97'-7 GERRSX
     GVIEXMSR SJ XEQTIVVIWMWXERX GEVHW                      TVIHMGX [MXL GIVXEMRX] LS[ 0-*3 ERH                      -R XLMW WIGXMSR [I LEZI YTHEXIH JMPMRK
        8LI RIIH JSV XLMW JMREP VYPI VIWYPXW MR               SXLIV EHQMRMWXVEXMZI QIEWYVIW EW [IPP                 ZSPYQIW ERH WSQI EHHMXMSREP QIXVMGW XS
     TEVX JVSQ XLI VIWSYVGI FYVHIR                            EW I\XIVREP JEGXSVW WYGL EW MQQMKVEXMSR                GETXYVI *=  ERH  HEXE ERH
     EWWSGMEXIH [MXL EHNYHMGEXMRK [MXLMR XLI                 GSYVX FEGOPSKW ERH GLERKIW MR GSYRXV]                  MRJSVQEXMSR ,S[IZIV GSRWMWXIRX [MXL
     HE] EHNYHMGEXMSR XMQIJVEQI E PEVKI                   GSRHMXMSRW [MPP YPXMQEXIP] EJJIGX XSXEP               XLI 2461 XLI GSWXW ERH EREP]WMW MW WXMPP
     RYQFIVSJMRMXMEP*SVQW-zYRHIVXLI                 ETTPMGEXMSR ZSPYQIW ERH XLI EXXIRHERX                  FIRGLQEVOIH XS *=  TVSGIWWMRK
     4IRHMRK %W]PYQ %TTPMGERX GEXIKSV]                       VIWSYVGI FYVHIRW SR 97'-7 -R EHHMXMSR                XMQIW FIJSVI XLI 6SWEVMS Z 97'-7 GSYVX
     8LI PEVKI RYQFIV SJ ETTPMGEXMSRW VIWYPXW                 MR PMKLX SJ XLI RIIH XS EGGSQQSHEXI                    SVHIV  -R *=  97'-7 VIGIMZIH E
     JVSQ E VERKI SJ JEGXSVW WYGL EW VIGIRX                  I\MWXMRK ZIXXMRK VIUYMVIQIRXW ERH XS                   XSXEP SJ  EJJMVQEXMZI JMPMRKW SJ
     KVS[XLMR97'-7vEW]PYQFEGOPSK                        QEMRXEMR JPI\MFMPMX] WLSYPH XVIRHW                     *SVQ-zETTPMGEXMSRWJSVEW]PYQ
     [LMGL 97'-7 GSRXMRYIW XS EHHVIWW                         GLERKI 97'-7 FIPMIZIW XLEX IZIR MJ MX                 8LI RYQFIV SJ XSXEP VIGIMTXW JSV EW]PYQ
     XLVSYKL E RYQFIV SJ HMJJIVIRX QIEWYVIW                  GSYPH VIPMEFP] TVSNIGX E VIHYGXMSR MR                  ETTPMGERXW VSWI GSRWMWXIRXP] JVSQ *=
        *SV I\EQTPI MR ER IJJSVX XS WXIQ XLI                 XSXEP ETTPMGEXMSR ZSPYQI WYGL                          XS *=  FIJSVI HIGPMRMRK MR *=
     KVS[XLSJXLIEKIRG]vWEW]PYQFEGOPSK                  VIHYGXMSR [SYPH RSX SR MXW S[R WIVZI                  ERH *=  8EFPI   %W XLI
     97'-7 VIXYVRIH XS TVSGIWWMRK                             EW E WYJJMGMIRX FEWMW XS PIEZI XLI HE]              RYQFIV SJ EW]PYQ ETTPMGERXW MRGVIEWIW
     EJJMVQEXMZI EW]PYQ ETTPMGEXMSRW SR E                     EHNYHMGEXMSR XMQIJVEQI MR TPEGI                       XLI FEGOPSK GSRXMRYIW XS KVS[
     uuPEWXMRJMVWXSYXvv 0-*3 FEWMW7XEVXMRK              *MREPP] SRGI ER )%( MW ETTVSZIH                    VIWYPXMRK MR E KVIEXIV RYQFIV SJ TISTPI
     .ERYEV]   97'-7 FIKER                            YRHIV XLI G  4IRHMRK %W]PYQ                           [LS EVI IPMKMFPI XS ETTP] JSV )%(W [LMPI
     TVMSVMXM^MRK XLI QSWX VIGIRXP] JMPIH                     %TTPMGERX GEXIKSV] MX MW GYVVIRXP] ZEPMH              XLI] E[EMX EHNYHMGEXMSR SJ XLIMV EW]PYQ
     EJJMVQEXMZI EW]PYQ ETTPMGEXMSRW [LIR                     JSV X[S ]IEVW ERH VIUYMVIW VIRI[EP XS                  ETTPMGEXMSR
     WGLIHYPMRK EW]PYQ MRXIVZMI[W 8LI                        I\XIRHERETTPMGERXvWIQTPS]QIRX
     JSVQIV -27 JMVWX IWXEFPMWLIH XLMW                        EYXLSVM^EXMSR MJ XLI YRHIVP]MRK EW]PYQ                  8%&0) {838%0 %229%0 %**-61%8-:)
     MRXIVZMI[ WGLIHYPMRK ETTVSEGL EW TEVX                    ETTPMGEXMSR VIQEMRW TIRHMRK                           *361 -z 6)')-487 6)')-:)(
     SJ EW]PYQ VIJSVQW MQTPIQIRXIH MR                         'YVVIRXP] (,7 VIKYPEXMSRW EX  '*6                      *631 %7=091 %440-'%287 
     .ERYEV]  ERH MX VIQEMRIH MR TPEGI                     H VIUYMVI XLEX 97'-7 QYWX
     YRXMP (IGIQFIV  97'-7 LEW                           VIGIMZI VIRI[EP ETTPMGEXMSRW EX PIEWX                         *MWGEP ]IEV                      8SXEP VIGIMTXW
     VIXYVRIH XS XLMW ETTVSEGL MR SVHIV XS                    HE]W TVMSV XS XLI IQTPS]QIRX
     HIXIV EPMIRW JVSQ YWMRK EW]PYQ FEGOPSKW                  EYXLSVM^EXMSR I\TMVEXMSR 6IQSZMRK                                  
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     WSPIP] EW E QIERW XS SFXEMR IQTPS]QIRX                   XLI HE] VIUYMVIQIRX [MPP FVMRK  '*6
                                                                                                                                    
     EYXLSVM^EXMSR F] JMPMRK JVMZSPSYW                        H MR PMRI [MXL  '*6 E H                                
     JVEYHYPIRX SV SXLIV[MWI RSRQIVMXSVMSYW                  EW EQIRHIH MR  WYGL EQIRHQIRXW                                  
     EW]PYQ ETTPMGEXMSRW +MZMRK TVMSVMX] XS                  EYXSQEXMGEPP] I\XIRH VIRI[EP                                         
     VIGIRX JMPMRKW EPPS[W 97'-7 XS TVSQTXP]                  ETTPMGEXMSRW JSV YT XS  HE]W                                      
     EHNYHMGEXI EW]PYQ ETTPMGEXMSRW                        %HHMXMSREPP] YRHIV XLI  %'
                                                                                                                        7SYVGI %PP 97'-7 %TTPMGEXMSR ERH 4IXMXMSR
        %RSXLIV TSWWMFPI IJJIGX SJ VIMRWXEXMRK                6YPI ETTPMGERXW IPMKMFPI JSV                          *SVQ 8]TIW %PP *SVQ 8]TIW 4IVJSVQERGI
     0-*3 MW XLEX MR XLI JYXYVI JI[IV                        IQTPS]QIRX EYXLSVM^EXMSR GER LEZI XLI                  (EXE *MWGEP=IEVzXL5XV LXXTW
     EJJMVQEXMZI EW]PYQ ETTPMGEXMSRW [SYPH                    ZEPMHMX] SJ XLIMV )%(W EYXSQEXMGEPP]                   [[[YWGMWKSZXSSPWVITSVXWWXYHMIWMQQMKVE
     VIQEMR TIRHMRK FIJSVI 97'-7 JSV                       I\XIRHIH JSV YT XS  HE]W JVSQ XLI                   XMSRJSVQWHEXEHEXEWIXEPPYWGMWETTPMGEXMSR
                                                                                                                     ERHTIXMXMSRJSVQX]TIW
     HE]W ,S[IZIV XLI QENSVMX] SJ EW]PYQ                    HSGYQIRXvWI\TMVEXMSRHEXIMJXLI]  
     ETTPMGEXMSRW JMPIH [MXL 97'-7 LEZI FIIR                  JMPI FIJSVI MXW I\TMVEXMSR HEXI  EVI                    8LMWPEVKIVRYQFIVSJ*SVQ-z
     VIJIVVIH XS XLI (ITEVXQIRX SJ .YWXMGI                    VIUYIWXMRK VIRI[EP FEWIH SR XLI WEQI                   JMPMRKW PMROIH XS EW]PYQ GPEMQW LEW
     )\IGYXMZI 3JJMGI JSV -QQMKVEXMSR                         IQTPS]QIRX EYXLSVM^EXMSR GEXIKSV]                      WXVEMRIH VIWSYVGIW ERH PIH XS PSRKIV
     6IZMI[ )3-6 JSV GSRWMHIVEXMSR SJ XLI                     YRHIV [LMGL XLI I\TMVMRK )%( [EW                       TVSGIWWMRK XMQIW JSV EHNYHMGEXMSR 8EFPI
     EW]PYQ ETTPMGEXMSR F] ER MQQMKVEXMSR                     KVERXIH ERH  [MPP GSRXMRYI XS FI                      WLS[W XLI XSXEP MRMXMEP ERH VIRI[EP
     NYHKI -R *=   TIVGIRX SJ EW]PYQ                  EYXLSVM^IH JSV IQTPS]QIRX FEWIH SR                     ETTPMGEXMSRWVIGIMZIHJSV*SVQ-zJSV
     JMPMRKW TVSGIWWIH F] 97'-7 VIWYPXIH MR                   XLIMV WXEXYW IZIR EJXIV XLI )%( I\TMVIW               EW]PYQ ETTPMGERXW JSV *=  XS *=
     E VIJIVVEP XS ER MQQMKVEXMSR NYHKI                    ERH EVI ETTP]MRK JSV VIRI[EP YRHIV E                    
         97'-7 RS[ WGLIHYPIW EW]PYQ MRXIVZMI[W FEWIH        VIPIEWICHEXICZEPYIC                                    SJ97'-7v%W]PYQ(MZMWMSR(IJIRWMZIEW]PYQ
     SR XLVII TVMSVMX] PIZIPW *MVWX TVMSVMX] %TTPMGEXMSRW    &ZEPYI ( &]IEV (! QYPXMTPI! MXIQWC               ETTPMGEXMSRWJMPIH[MXLXLI(ITEVXQIRXSJ.YWXMGIvW
     WGLIHYPIH JSV ER MRXIVZMI[ FYX XLI MRXIVZMI[ LEH        TIVCTEKI!                                           )\IGYXMZI 3JJMGI JSV -QQMKVEXMSR 6IZMI[ )3-6 EVI
     XSFIVIWGLIHYPIHEXXLIETTPMGERXvWVIUYIWXSVXLI        )%(W MWWYIH TVMSV XS 3GXSFIV   LEH E
                                                                                                                     EPWS IPMKMFPI JSV G  )%(W 8LIVI MW ER SRKSMRK
     RIIHW SJ 97'-7 7IGSRH TVMSVMX] %TTPMGEXMSRW            ZEPMHMX] TIVMSH SJ SRI ]IEV 7II 97'-7 -RGVIEWIW       FEGOPSK SJ TIRHMRK HIJIRWMZI EW]PYQ GEWIW EX )3-6
     TIRHMRK  HE]W SV PIWW 8LMVH TVMSVMX] %PP SXLIV       :EPMHMX] SJ ;SVO 4IVQMXW XS 8[S =IEVW JSV %W]PYQ
                                                                                                                     [LMGL LEW ETTVS\MQEXIP]  GEWIW TIRHMRK
     TIRHMRK EJJMVQEXMZI EW]PYQ ETTPMGEXMSRW [LMGL           %TTPMGERXW 3GX    EZEMPEFPI EX LXXTW
     [MPP FI WGLIHYPIH JSV MRXIVZMI[W WXEVXMRK [MXL           [[[YWGMWKSZRI[WEPIVXWYWGMWMRGVIEWIWZEPMHMX]    7II 1IQSVERHYQ JVSQ .IJJ 7IWWMSRW %XXSVRI]
     RI[IV JMPMRKW ERH [SVOMRK FEGO XS[EVHW SPHIV             [SVOTIVQMXWX[S]IEVWEW]PYQETTPMGERXW              +IRIVEP 6IRI[MRK 3YV 'SQQMXQIRX XS XLI 8MQIP]
     JMPMRKW 7II %JJMVQEXMZI %W]PYQ -RXIVZMI[                   *SV VIRI[EP ETTPMGEXMSRW E TVSTIVP] JMPIH        ERH )JJMGMIRX %HNYHMGEXMSR SJ -QQMKVEXMSR 'EWIW XS
     7GLIHYPMRK .ER    EZEMPEFPI EX LXXTW         ETTPMGEXMSR JSV TIRHMRK EW]PYQ ETTPMGERXW MW SRI       7IVZI XLI 2EXMSREP -RXIVIWX (IG    8LI
     [[[YWGMWKSZLYQERMXEVMERVIJYKIIWEW]PYQ              XLEX MW GSQTPIXI WMKRIH EGGSQTERMIH F] EPP           HIJIRWMZI EW]PYQ FEGOPSK EX )3-6 EPWS GSRXVMFYXIW
     EW]PYQEJJMVQEXMZIEW]PYQMRXIVZMI[WGLIHYPMRK          RIGIWWEV] HSGYQIRXEXMSR ERH XLI GYVVIRX JMPMRK JII     XS ER MRGVIEWI MR FSXL MRMXMEP ERH VIRI[EP G  )%(
         7II 2SXIW JVSQ 4VIZMSYW )RKEKIQIRXW %W]PYQ        SJ                                                ETTPMGEXMSRW
                                                                 %W SJ .YRI  XLI EW]PYQ FEGOPSK [EW WXMPP
     (MZMWMSR 5YEVXIVP] 7XEOILSPHIV 1IIXMRK *IF                                                                      7MRGI 0-*3 [EW VIMRWXEXIH EX XLI IRH SJ .ERYEV]
     1E]  %YK  ERH 2SZ    LXXTW              MRGVIEWMRK FYX MXW KVS[XL VEXI LEW FIKYR XS
                                                                                                                      XLIVI MW RSX ]IX IRSYKL HEXE GYVVIRXP]
     [[[YWGMWKSZSYXVIEGLRSXIWTVIZMSYW                   WXEFMPM^I
                                                                 8LIWI RYQFIVW SRP] EHHVIWW XLI EJJMVQEXMZI
                                                                                                                     EZEMPEFPI XS HIXIVQMRI XLI MQTEGX SR EW]PYQ
     IRKEKIQIRXW#XSTMGCMH! JMIPHCVIPIEWICHEXIC
     ZEPYI &ZEPYI ( &QSRXL (! JMIPHC                      EW]PYQ ETTPMGEXMSRW XLEX JEPP YRHIV XLI NYVMWHMGXMSR   ETTPMGEXMSRW SV MRMXMEP )%( ETTPMGEXMSRW




:IV(EXI 7IT "    .YR     .OX    43    *VQ    *QX    7JQX    )@*6@*1@.267+1    .26
                                                                                                                                                    AR005573
                                 *IHIVEP 6IKMWXIV  :SP  2S   1SRHE] .YRI    6YPIW ERH 6IKYPEXMSRW                                                                                          

                           8%&0) {838%0 %229%0 *361 -z6)')-487 6)')-:)( *631 4)2(-2+ %7=091 %440-'%287
                                                                                                                                                                                    8SXEP MRMXMEP        8SXEP VIRI[EP
                                                                      *MWGEP ]IEV                                                                             8SXEP VIGIMTXW        VIGIMTXW              VIGIMTXW

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        7SYVGI *MPI 8VEGOMRK (EXE 97'-7 3JJMGI SJ 4IVJSVQERGI ERH 5YEPMX]
         8SXEP VIGIMTXW HS RSX MRGPYHI VITPEGIQIRX VIGIMTXW
        2SXI 8LMW HEXE MRGPYHIW VIGIMTXW VIGIMZIH JVSQ FSXL EJJMVQEXMZI ERH HIJIRWMZI TIRHMRK EW]PYQ ETTPMGERXW


        -R *=  97'-7 VIGIMZIH E XSXEP SJ                                      SJ XLEX YRHIVP]MRK EW]PYQ ETTPMGEXMSR                                         HMJJIVIRXMEXIW FIX[IIR MRMXMEP
      RSRVITPEGIQIRX ETTPMGEXMSRW                                          [SYPH EPWS VMWI 3R XLI SXLIV LERH                                          ETTPMGEXMSRW XLEX 97'-7 EHNYHMGEXIH
     JSV*SVQ-zJVSQTIRHMRKEW]PYQ                                           MRMXMEP )%( ETTPMGEXMSRW QE] HIGPMRI                                        [MXLMR XLI HE] XMQIJVEQI ERH XLSWI
     ETTPMGERXW [MXL PIWW XLER LEPJ EW MRMXMEP                                    *SVMRWXERGI97'-7vVIXYVRXSE0-*3                                       XLEX MX HMH RSX 7TIGMJMGEPP] 8EFPI %
     ETTPMGEXMSRW  SV  TIVGIRX                                         MRXIVZMI[ WGLIHYPI XS TVSGIWW                                                TVIWIRXW XLI HEXE JSV *=  VIJPIGXMRK
     8LIVI [IVI  VIRI[EP                                                    EJJMVQEXMZI EW]PYQ ETTPMGEXMSRW QE]                                         XLI ERXMGMTEXIH SYXGSQI SJ XLMW VYPI
     ETTPMGEXMSRW  TIVGIRX MR *=                                          LIPTWXIQXLIKVS[XLSJXLIEKIRG]vW                                        [LMPI 8EFPI & TVIWIRXW MRJSVQEXMSR JSV
     *SV XLMW EREP]WMW 97'-7 HSIW RSX YWI E                                       EW]PYQ FEGOPSK ERH QE] VIWYPX MR JI[IV                                       [LMGL VIJPIGX GYVVIRX TVSGIWWMRK
     XVIRH PMRI XS JSVIGEWX JYXYVI TVSNIGXIH                                       TIRHMRK EW]PYQ ETTPMGERXW ETTP]MRK JSV                                       XMQIW YRHIV XLI 6SWEVMS Z 97'-7 GSYVX
     ETTPMGEXMSRW FIGEYWI ZEVMSYW JEGXSVW                                          ER )%( &YX 97'-7 GERRSX TVIHMGX WYGL                                        SVHIV 8LI XEFPI EPWS MRGPYHIW XLI MRMXMEP
     SYXWMHI SJ XLMW VYPIQEOMRK QE] VIWYPX MR                                      ER SYXGSQI [MXL GIVXEMRX] EX XLMW XMQI
                                                                                                                                                                ETTPMGEXMSRW XLEX [IVI EHNYHMGEXIH
     IMXLIV E HIGPMRI SV GSRZIVWIP] E                                            8LIVIJSVI WMRGI (,7 ERXMGMTEXIW WMQMPEV
     GSRXMRYIH VMWI SJ ETTPMGEXMSRW VIGIMZIH                                      SYXGSQIW XS XLSWI EGLMIZIH MR *=                                        [MXLMR E HE] XMQIJVEQI EPSRK [MXL
     *SV I\EQTPI [LMPI XLI RYQFIV SJ MRMXMEP                                      97'-7 ERXMGMTEXIW VIGIMZMRK                                                  XLI GSVVIWTSRHMRK MRMXMEP ETTPMGEXMSRW
     ETTPMGERXW ERH VIRI[EPW VSWI WLEVTP]                                          ETTVS\MQEXIP]*SVQ-z                                            XLEX VIUYMVIH EHHMXMSREP ZIXXMRK 8LMW
     HYVMRK XLI PEWX JMZI ]IEVW TIEOMRK MR                                        ETTPMGEXMSRW ERRYEPP] JVSQ TIRHMRK                                           EHHMXMSREP ZIXXMRK MRGPYHIW XLI MWWYERGI
      (,7 EWWYQIW XLI MRGVIEWI MR                                             EW]PYQ ETTPMGERXW [MXL ER IWXMQEXIH                                         SJ 6*)W ERH VIJIVVEPW JSV MHIRXMX]
     MRMXMEP )%( ETTPMGEXMSRW LEW WSQI                                              MRMXMEP ETTPMGEXMSRW ERH                                      ZIVMJMGEXMSR F] XLI &'9 ERH XLI '*(3
     GSVVIPEXMSR [MXL XLI LMKL ZSPYQIW SJ                                          VIRI[EP ETTPMGEXMSRW                                                        [LMGL GER GEYWI HIPE]W MR TVSGIWWMRK
     EW]PYQ ETTPMGEXMSRW MR XLI WEQI ]IEVW                                           -R SVHIV XS EREP]^I 97'-7 TVSGIWWMRK                                      (,7 RSXIW XLEX XLI HE] XMQIJVEQI
     %W TIRHMRK EW]PYQ ETTPMGEXMSRW                                                XMQIWJSV*SVQ-z97'-7SFXEMRIH                                        TEYWIW JSV 6*)W FYX HSIW RSX TEYWI JSV
     MRGVIEWIH XLI PIRKXL SJ XMQI MX XEOIW XS                                     HEXE SR GSQTPIXIH MRMXMEP ETTPMGEXMSRW                                      &'9 SV '*(3 GLIGOW RSV ER] VIJIVVEPW
     EHNYHMGEXI XLSWI ETTPMGEXMSRW MRGVIEWIW                                      [LMGL MRGPYHIH XLI PIRKXL SJ XMQI XS                                         XS SYXWMHI EKIRGMIW XLEX QE] FI RIIHIH
     ERH MX MW VIEWSREFPI XS EWWYQI XLEX XLI                                       GSQTPIXI EHNYHMGEXMSR ERH MRJSVQEXMSR                                        (IPE]W GSYPH EPWS FI GEYWIH F]
     RYQFIV SJ ETTPMGERXW [LS WIIO                                                 SR MRZIWXMKEXMZI JEGXSVW XLEX QE]                                            VIWGLIHYPIH JMRKIVTVMRXMRK
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        2SXI %HHMXMSREP ZIXXMRK MRGPYHIW XLI ETTPMGEXMSRW MWWYIH ER 6*) VIJIVVIH XS &'9'*(3 ERH FSXL


       -R *=  97'-7 EHNYHMGEXIH [MXLMR                                      &] GSQTEVMWSR MR *=  XLI                         ETTPMGEXMSRW *SV ETTPMGEXMSRW XLEX
     XLI HE] XMQIJVEQI XLI QENSVMX]                                      ERXMGMTEXIH SYXGSQI SJ XLMW VYPI 97'-7                   VIUYMVI EHHMXMSREP ZIXXMRK QSWX
     TIVGIRX  SJEPPMRMXMEP*SVQ-z                                    EHNYHMGEXIH [MXLMR XLI HE]                             ETTPMGEXMSRW XSSO QSVI XLER  HE]W XS
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      TIVGIRX XLEX HMH RSX VIUYMVI ER]                                      HE]W  TIVGIRX  SJ XLI MRMXMEP                         TVSGIWWMRK XMQI 8LI JMRHMRKW MR 8EFPI
     EHHMXMSREP ZIXXMRK 3J XLI  TIVGIRX SJ                                 ETTPMGEXMSRW VIGIMZIH ERH HIRMIH                         % YRHIVWGSVI XLEX [LMPI EHHMXMSREP
     ETTVSZIH ETTPMGEXMSRW SRP]  TIVGIRX                                    TIVGIRX XLEX HMH RSX VIUYMVI ER]                          ZIXXMRK ERH SXLIV HIPE]W QE] GSRXVMFYXI
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      TIVGIRX SZIVEPP [MXL  TIVGIRX  SJ                                TIVGIRXHMHRSX97'-7vGSQTPIXMSRVEXI                  MRGVIEWMRK RYQFIV SJ MRMXMEP )%(
     XLI  TIVGIRX SJ ETTPMGEXMSRW ETTVSZIH                                  [MXLMR E HE] XMQIJVEQI MRGVIEWIH XS                    ETTPMGEXMSRW MW HYI XS LMWXSVMGEPP]LMKL
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     ETTPMGEXMSRW HIRMIH 3RP]  TIVGIRX                                   ETTPMGEXMSRW ETTVSZIH ERH  TIVGIRX                     XLI EW]PYQ MRXIVZMI[ FEGOPSKW ERH
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     ETTPMGEXMSRW HMH RSX  TIVGIRX SJ XLI                                   QENSVMX] SJ ETTVSZIH ETTPMGEXMSRW HMH                     EHNYHMGEXMSR XMQIJVEQI (,7 ERXMGMTEXIW
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     HYI XS XLI XMQI HIHYGXMSRW EWWSGMEXIH [MXL VIUYIWXW                      JSV 97'-7 XS EHNYHMGEXI XLI QENSVMX] SJ
     JSV IZMHIRGI 6*)  8LI PEXXIV PS[IV JMKYVI I\GPYHIW                                                                               6YPI
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     QEHI JSV XLI 2461 EREP]WMW FIRGLQEVOIH XS *=                             (IRMIHzHE]W  2S%HHMXMSREP:IXXMRK
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      HE]W !  TIVGIRX                                                     2S%HHMXMSREP:IXXMRK4IVGIRX%TTVSZIHz             EYXLSVM^EXMSR MW SFXEMRIH % TSVXMSR SJ
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                         *IHIVEP 6IKMWXIV  :SP  2S   1SRHE] .YRI    6YPIW ERH 6IKYPEXMSRW                                                     

     SXLIVW XLEX EVI GYVVIRXP] MR XLI 97                    ETTVSZIH ETTPMGEXMSRW  TEWX                    FSYRH ERH E REXMSREP EZIVEKI [EKI VEXI
     PEFSV JSVGI TSWWMFP] MR XLI JSVQ SJ                    XLI VIKYPEXSV] WIX XMQIJVEQI                            SJ   XS XEOI MRXS GSRWMHIVEXMSR
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     -R GEWIW [LIVI GSQTERMIW XLEX [SYPH                     EW]PYQ )%( ETTPMGERXW HS RSX GYVVIRXP]                   WXEXIWEWERYTTIVFSYRH97'-7vWPS[IV
     LEZI LMVIH EW]PYQ ETTPMGERXW LEH XLI]                   TEVXMGMTEXI MR XLI 97 PEFSV QEVOIX                    ERH YTTIV FSYRHW VITVIWIRX IWXMQEXIW SJ
     FIIR MR XLI PEFSV QEVOIX IEVPMIV EVI RSX                ERH EW E VIWYPX EVI RSX VITVIWIRXIH MR                 XLIVERKIJSVXLMWTSTYPEXMSRvWEZIVEKI
     EFPI XS JMRH EZEMPEFPI [SVOIVW XLI PSWX                REXMSREP EZIVEKI [EKI GEPGYPEXMSRW                      [EKI YRHIVWXERHMRK XLEX MX MW TSWWMFPI
     GSQTIRWEXMSR XS EW]PYQ [SVOIVW [SYPH                    *YVXLIV 97'-7 VIGSKRM^IW XLEX TIRHMRK                   XLEX WSQI [SVOIVW QE] IEVR QSVI XLER
     FI GSRWMHIVIH E TVS\] JSV XLI GSWX SJ PSWX              EW]PYQ ETTPMGERXW [LS SFXEMR ER )%(                      XLI EZIVEKI [EKI EGVSWW EPP SGGYTEXMSRW
     TVSHYGXMZMX] XS XLSWI GSQTERMIW                        EVI RSX PMQMXIH XS GIVXEMR X]TIW SJ                      ERH XLEX WSQI QE] IEVR PS[IV XLER XLI
                                                             IQTPS]QIRX SV SGGYTEXMSRW RSV HSIW                       TVIZEMPMRK QMRMQYQ [EKI WYGL EW
     ,S[IZIV 97'-7 HSIW RSX ORS[ XLI
                                                             97'-7 XVEGO XLI X]TI SJ IQTPS]QIRX                       JIHIVEP QMRMQYQ [EKI
     TSVXMSR SJ XLI SZIVEPP MQTEGXW SJ XLMW
                                                             ETTPMGERXWSFXEMR&IGEYWIXLI*SVQ-z                    -R SVHIV XS IWXMQEXI XLI JYPP] PSEHIH
     VYPI XLEX EVI XVERWJIVW SV GSWXW 3RI                    JSV XLI G  GEXIKSV] HSIW RSX                        [EKI VEXIW XS MRGPYHI FIRIJMXW WYGL EW
     VIEWSR 97'-7 MW YREFPI XS ETTSVXMSR                     MRGPYHI SV PIKEPP] VIUYMVI EX XLI MRMXMEP               TEMH PIEZI MRWYVERGI ERH VIXMVIQIRX
     XLIWI MQTEGXW MW FIGEYWI XLI MRHYWXVMIW                 SV VIRI[EP WXEKI ER] HEXE SR                            YWMRK &07 HEXE 97'-7 GEPGYPEXIH E
     MR [LMGL EW]PYQ ETTPMGERXW [MPP [SVO                    IQTPS]QIRX ERH WMRGI MX HSIW RSX                       FIRIJMXWXS[EKI QYPXMTPMIV SJ  
     [MXL XLIMV IQTPS]QIRX EYXLSVM^EXMSR MW                  MRZSPZI ER EWWSGMEXIH PEFSV GSRHMXMSR                    ERH QYPXMTPMIH MX F] XLI TVIZEMPMRK
     YRORS[RGSQTERMIWvVIWTSRWIWXSWYGL                  ETTPMGEXMSR (,7 LEW RS MRJSVQEXMSR SR                   QMRMQYQ LSYVP] [EKI VEXI 8LI JYPP]
     E WMXYEXMSR [MPP ZEV] HITIRHMRK SR XLI                  [EKIW SGGYTEXMSRW MRHYWXVMIW SV                       PSEHIH TIV LSYV [EKI VEXI JSV WSQISRI
     MRHYWXV] ERH PSGEXMSR SJ XLI GSQTER]                    FYWMRIWWIW XLEX QE] MRZSPZI WYGL                         IEVRMRK XLI TVIZEMPMRK QMRMQYQ [EKI
      JSV I\EQTPI XVYGO HVMZIVW EVI PMQMXIH XS              [SVOIVW                                                 VEXI MW   ERH   JSV
     XLI RYQFIV SJ SZIVXMQI LSYVW XLI] GER                      -R WSQI (,7 VYPIQEOMRKW XLI                          WSQISRI IEVRMRK XLI EZIVEKI [EKI VEXI
     [SVO  %HHMXMSREP YRGIVXEMRX] MR LS[                    IWXMQEXIW SJ HMWXVMFYXMSREP MQTEGXW ERH                  1YPXMTP]MRK XLIWI JYPP] PSEHIH LSYVP]
     GSQTERMIW [MPP VIWTSRH I\MWXW FIGEYWI                   XMQIVIPEXIH STTSVXYRMX] GSWXW EVI                       [EKI VEXIW F]  XS VIJPIGX ER EWWYQIH 
     [LMPI XLI SJJMGMEP YRIQTPS]QIRX VEXI                    PMROIH XS XLI JIHIVEP QMRMQYQ [EKI JSV                   LSYV [SVOHE] TVSHYGIW HEMP] [EKI VEXIW
     [EW PS[ EW SJ 2SZIQFIV  XLIVI MW                   RI[ IRXVERXW XS XLI PEFSV JSVGI 8LMW                    SJ  ERH  VIWTIGXMZIP]
     WXMPP IZMHIRGI SJ WSQI PEFSV QEVOIX                     VIPMERGI MW KVSYRHIH MR XLI RSXMSR XLEX                  97'-7 EPWS EWWYQIW XLEX )%( LSPHIVW
     WPEGO ;LMPI 97'-7 MW YREFPI XS                       QSWX SJ XLI VIPIZERX )%( LSPHIVW [SYPH                   [SYPH [SVO  SYX SJ IZIV]  HE]W SV ER
     ETTSVXMSR XLIWI MQTEGXW FIX[IIR                         RSX LEZI FIIR MR XLI PEFSV JSVGI PSRK                   EZIVEKI SJ  HE]W TIV QSRXL
     XVERWJIVW ERH GSWXW 97'-7 HSIW YWI XLI                 ERH [SYPH XLYW RSX FI I\TIGXIH XS IEVR                     -R XLI TVSTSWIH VYPI YWMRK *= 
     PSWX GSQTIRWEXMSR XS EW]PYQ ETTPMGERXW                 VIPEXMZIP] LMKL [EKIW -R XLMW                           HEXE 97'-7 IWXMQEXIH XLEX XLI 
     EW HIWGVMFIH FIPS[ EW E QIEWYVI SJ                     VYPIQEOMRK [I VIP] SR E WPMKLXP] QSVI                   ETTVSZIH )%( ETTPMGERXW I\TIVMIRGIH
     XLIWI XSXEP MQTEGXW                                    VSFYWXuuTVIZEMPMRKvvQMRMQYQ[EKISJ                   ER IWXMQEXIH XSXEP  PSWX
                                                              %W MW VITSVXIH F] XLI )GSRSQMG                    [SVOMRK HE]W ERH PSWX GSQTIRWEXMSR
        -R *=  XLI TVSGIWWMRK XMQIW JSV                 4SPMG] -RWXMXYXI )4-   QER] WXEXIW                 GSYPH VERKI JVSQ  QMPPMSR XS
     MRMXMEP*SVQ-zJMPMRKWYRHIVXLI                   LEZI XLIMV S[R QMRMQYQ [EKI ERH                         QMPPMSR 97'-7 YRHIVWXERHW
     4IRHMRK %W]PYQ %TTPMGERX GEXIKSV]                       IZIR [MXLMR WXEXIW XLIVI EVI QYPXMTPI                   XLEX RSX EPP )%( VIGMTMIRXW [SYPH [SVO
     I\GIIHIH XLI VIKYPEXSV] WIX XMQIJVEQI SJ                XMIVW %PXLSYKL XLI QMRMQYQ [EKI                       MR QMRMQYQ SV EZIVEKI [EKI
      HE]W QSVI XLER LEPJ XLI XMQI                        GSYPH FI GSRWMHIVIH E PS[IVIRH FSYRH                    SGGYTEXMSRW FYX TVSZMHIW XLIWI
     ,S[IZIV 97'-7 EHNYHMGEXIH                              SR XVYI IEVRMRKW XLI TVIZEMPMRK                         IWXMQEXIW EW TSWWMFPI PS[IV ERH YTTIV
     ETTVS\MQEXIP]  TIVGIRX SJ                             QMRMQYQ [EKI MW JYPP] PSEHIH EX                         FSYRHW JSV ETTVSZIH ETTPMGERXW [LS
     ETTPMGEXMSRW [MXLMR  HE]W -R *=                  [LMGL MW  TIVGIRX LMKLIV                     [SYPH IRKEKI MR JYPPXMQI IQTPS]QIRX
     97'-7 EHNYHMGEXIH ETTVS\MQEXIP]                       XLER XLI JIHIVEP QMRMQYQ [EKI (,7                     8EFPI  WLS[W XLI RYQFIV SJ
     TIVGIRX SJ ETTPMGEXMSRW [MXLMR  HE]W                 EPWS HSIW RSX VYPI SYX XLI TSWWMFMPMX]                   ETTPMGEXMSRW GSQTPIXIH MR E TIVMSH
     8S IWXMQEXI PSWX [EKIW ERH SXLIV                        XLEX WSQI TSVXMSR SJ XLI TSTYPEXMSR                      PSRKIV XLER XLI HE] VIKYPEXSV]
     FIRIJMXW 97'-7 YWIH *=  HEMP]                      QMKLX IEVR [EKIW EX XLI EZIVEKI PIZIP JSV                XMQIJVEQI MR *=  XLI EWWSGMEXIH
     TVSGIWWMRK XMQI HEXE EW GSQTEVIH XS XLI                 EPP SGGYTEXMSRW 8LIVIJSVI JSV XLI                      RYQFIV SJ PSWX [SVOMRK HE]W ERH ER
     FEWIPMRI [LMGL EWWYQIW  TIVGIRX SJ                  TYVTSWI SJ XLMW EREP]WMW 97'-7 YWIW                     IWXMQEXI SJ XLI VIWYPXMRK PSWX
     ETTPMGEXMSRW EVI EHNYHMGEXIH [MXLMR                   FSXL XLI TVIZEMPMRK QMRMQYQ LSYVP]                       GSQTIRWEXMSR 8LI X[S GEXIKSVMIW SZIV
     HE]W -R *=  97'-7 EHNYHMGEXIH                     [EKI VEXI SJ  XS IWXMQEXI E PS[IV                    HE]W WLS[ XLI HIGPMRMRK RYQFIV SJ
        7II &YVIEY SJ 0EFSV 7XEXMWXMGW )QTPS]QIRX         WXEXIW XLEX ETTP] XS WM^I SJ FYWMRIWW VIZIRYI ERH           8LI FIRIJMXWXS[EKI QYPXMTPMIV MW GEPGYPEXIH F]

     7MXYEXMSR2I[W6IPIEWI{2SZIQFIV8EFPI%z         IQTPS]QIRX  SGGYTEXMSRW [SVOMRK LSYVW ERH             XLI &YVIEY SJ 0EFSV 7XEXMWXMGW &07 EW JSPPS[W
      )QTPS]IH TIVWSRW F] GPEWW SJ [SVOIV ERH TEVX         SXLIV GVMXIVME 7SQI SJ XLIWI ZEVMEXMSRW TIV WXEXI EVI     8SXEP )QTPS]II 'SQTIRWEXMSR TIV LSYV 
     XMQI WXEXYW *IFVYEV]   %ZEMPEFPI EX LXXTW   HIWGVMFIH EX LXXTW[[[QMRMQYQ[EKISVK                ;EKIW ERH 7EPEVMIW TIV LSYV !  
     [[[FPWKSZRI[WVIPIEWIEVGLMZIWIQTWMXC                   'EPGYPEXMSRW  JSV TVIZEMPMRK QMRMQYQ [EKI        VSYRHIH  7II 97 (ITEVXQIRX SJ 0EFSV &YVIEY SJ
     THJ                                                                                                    0EFSV 7XEXMWXMGW )GSRSQMG 2I[W 6IPIEWI 8EFPI 
                                                              LSYVP] [EKI » FIRIJMXW FYVHIR SJ  !
        -R *=  97'-7 EHNYHMGEXIH  HIRMIH                                                                 )QTPS]IV GSWXW TIV LSYV [SVOIH JSV IQTPS]II
                                                              JSV JIHIVEP QMRMQYQ [EKI  LSYVP]
      G  )%( ETTPMGEXMSRW TEWX XLI VIKYPEXSV] WIX                                                                    GSQTIRWEXMSR ERH GSWXW EW E TIVGIRX SJ XSXEP
                                                             [EKI » FIRIJMXW FYVHIR SJ  !  7II              GSQTIRWEXMSR 'MZMPMER [SVOIVW F] QENSV
     XMQIJVEQI 7MRGI HIRMIH ETTPMGERXW [SYPH RSX            1MRMQYQ ;EKI 97 (ITEVXQIRX SJ 0EFSV EZEMPEFPI
     SFXEMR [SVO EYXLSVM^EXMSR ERH [SYPH RSX PSWI                                                                     SGGYTEXMSREP ERH MRHYWXV] KVSYT %TVMP  
                                                             EX LXXTW[[[HSPKSZKIRIVEPXSTMG[EKIW              EZEMPEFPI EX LXXTW[[[FPWKSZRI[WVIPIEWI
     [SVOMRK HE]W XLMW TSTYPEXMSR MW RSX MQTEGXIH F]
                                                             QMRMQYQ[EKI   [EKI [EKI                  EVGLMZIWIGIGCTHJ
     XLMW VYPI ERH EVI XLIVIJSVI RSX MRGPYHIH MR XLI
     EREP]WMW JSV PSWX GSQTIRWEXMSR                          [EKI !  [LMGL VSYRHIH ERH                      'EPGYPEXMSR  »  !  TIV LSYV

        7II ;LIR MX GSQIW XS XLI QMRMQYQ [EKI [I          QYPXMTPMIH F]  !  TIVGIRX                           'EPGYPEXMSR  »  !  TIV LSYV
                                                                 8LI [EKI YTHEXI MR %TVMP  VIJPIGXW XLI            'EPGYPEXMSRW  TIV LSYV »  LSYVW !
     GERRSXNYWXuPIEZIMXXSXLIWXEXIWv 2SZIQFIV 
      EZEMPEFPI EX LXXTW[[[ITMSVKTYFPMGEXMSR      EZIVEKI JSV EPP SGGYTEXMSRW REXMSREPP] 8LI          TIV HE]  TIV LSYV »  LSYVW ! 
     [LIRMXGSQIWXSXLIQMRMQYQ[EKI[IGERRSX            HEXE EVI JSYRH EX XLI &07 3GGYTEXMSREP                   TIV HE]
     NYWXPIEZIMXXSXLIWXEXIWIJJIGXMZIWXEXIQMRMQYQ    )QTPS]QIRX ERH ;EKI )WXMQEXIW 9RMXIH 7XEXIW               'EPGYPEXMSRW  PSWX [SVOMRK HE]W 

     [EKIWXSHE]ERHTVSNIGXIHJSV 8LIVI EVI         JSYRH EX LXXTW[[[FPWKSZSIWQE]SIWC            TIV HE] !  QMPPMSR  PSWX
     QYPXMTPI XMIVW SJ QMRMQYQ [EKIW EGVSWW QER]             REXLXQ                                         [SVOMRK HE]W   TIV HE] !  QMPPMSR



:IV(EXI 7IT "    .YR     .OX    43    *VQ    *QX    7JQX    )@*6@*1@.267+1    .26
                                                                                                                                             AR005576
                        *IHIVEP 6IKMWXIV  :SP  2S   1SRHE] .YRI    6YPIW ERH 6IKYPEXMSRW

     ETTPMGEXMSRW XLEX VIQEMR TIRHMRK EJXIV                     GSQTPIXIH MR *=  [LMGL [EW 
      HE]W ERH XLI QE\MQYQ RYQFIV SJ                         GEPIRHEV HE]W
     HE]W MX XSSO XS EHNYHMGEXI ER MRMXMEP )%(
           8%&0) {7911%6= 3* '%0'90%8-327 *36 -2-8-%0 *361 -z *36 4)2(-2+ %7=091 %440-'%287 8,%8 833/
                                                    032+)6 8,%2
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                                    z(E]W              z(E]W           z(E]W            z(E]W         z(E]W                8SXEP

     *=  'SQTPI
       XMSRW                                                                                                          
     0SWX 'EPIRHEV
       (E]W                                                                                                
     0SWX ;SVOMRK (E]W                                                                                                        
     0SWX 'SQTIRWE
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       7SYVGI 97'-7 EREP]WMW
       2SXI 8LI TVIZEMPMRK QMRMQYQ [EKI MW YWIH XS GEPGYPEXI XLI PS[IV FSYRH [LMPI E REXMSREP EZIVEKI [EKI MW YWIH XS GEPGYPEXI XLI YTTIV FSYRH
     PSWX GSQTIRWEXMSR


        -J GSQTERMIW GER JMRH VITPEGIQIRX                       GSQTIXMRK TVMSVMXMIW ERH QER] XMQI                    7TIGMJMGEPP] XLI FVSEHIV EW]PYQ )%(
     PEFSV JSV XLI TSWMXMSR XLI EW]PYQ                          WIRWMXMZI EHNYHMGEXMSR XMQIJVEQIW                     2461 TVSTSWIW XS PMQMX SV HIPE]
     ETTPMGERX [SYPH LEZI JMPPIH XLMW VYPI                     6IEPPSGEXMRK VIWSYVGIW MR XLI PSRKXIVQ                IPMKMFMPMX] JSV IQTPS]QIRX EYXLSVM^EXMSR
     [SYPH LEZI TVMQEVMP] HMWXVMFYXMSREP                        MW RSX WYWXEMREFPI HYI XS [SVO TVMSVMXMIW              JSV GIVXEMR EW]PYQ ETTPMGERXW
     IJJIGXW MR XLI JSVQ SJ XVERWJIVW JVSQ                      MR SXLIV TVSHYGX PMRIW 97'-7 GSYPH LMVI               %GGSVHMRKP] MJ XLI TSTYPEXMSR SJ EPMIRW
     EW]PYQ ETTPMGERXW XS SXLIVW EPVIEH] MR                     QSVI SJJMGIVW FYX XLEX [SYPH RSX                      MW PIWW XLER IWXMQEXIH EW E VIWYPX SJ XLI
     XLI PEFSV QEVOIX SV [SVOIVW MRHYGIH XS                     MQQIHMEXIP] ERH MR EPP GEWIW WLSVXIR                   FVSEHIV EW]PYQ )%( VYPI XLI IWXMQEXIH
     VIXYVR XS XLI PEFSV QEVOIX  97'-7                         EHNYHMGEXMSR XMQIJVEQIW FIGEYWI                       MQTEGXW SJ XLMW VYPI GSYPH FI SZIVWXEXIH
     EGORS[PIHKIW XLEX XLIVI QE] FI                             EHHMXMSREP XMQI [SYPH FI VIUYMVIH XS                   FIGEYWI XLI TSTYPEXMSR EJJIGXIH QE] FI
     EHHMXMSREP STTSVXYRMX] GSWXW XS                            SRFSEVH ERH XVEMR RI[ IQTPS]IIW ERH                    PS[IV XLER IWXMQEXIH MR XLMW VYPI
     IQTPS]IVW WYGL EW EHHMXMSREP WIEVGL                          JSV GIVXEMR ETTPMGEXMSRW EHHMXMSREP                   -R MRWXERGIW [LIVI E GSQTER] GERRSX
     GSWXW ,S[IZIV MJ GSQTERMIW GERRSX                        XMQI MW RIIHIH XS JYPP] ZIX ER ETTPMGERX              LMVI VITPEGIQIRX PEFSV JSV XLI TSWMXMSR
     JMRH VIEWSREFPI WYFWXMXYXIW JSV XLI PEFSV                  VIKEVHPIWW SJ WXEJJMRK PIZIPW -R EHHMXMSR            XLI EW]PYQ ETTPMGERX [SYPH LEZI JMPPIH
     XLI EW]PYQ ETTPMGERXW [SYPH LEZI                           XLIVI MW GYVVIRXP] RS JII JSV EW]PYQ                   97'-7 EGORS[PIHKIW XLEX HIPE]W QE]
     TVSZMHIH XLMW VYPI [SYPH TVMQEVMP] FI                     ETTPMGEXMSRW SV XLI GSVVIWTSRHMRK MRMXMEP              VIWYPX MR XE\ VIZIRYI PSWWIW XS XLI
     E GSWX XS XLIWI GSQTERMIW XLVSYKL PSWX                     )%( ETTPMGEXMSRW ERH XLI GSWX SJ                      KSZIVRQIRX -X MW HMJJMGYPX XS UYERXMJ]
     TVSHYGXMZMX]                                              EHNYHMGEXMSR MW GSZIVIH F] JIIW TEMH F]                MRGSQI XE\ PSWWIW FIGEYWI MRHMZMHYEP
        97'-7 EPWS VIGSKRM^IW XLEX GSQTERMIW                    SXLIV FIRIJMX VIUYIWXIVW 97'-7 MW                     XE\ WMXYEXMSRW ZEV] [MHIP]  FYX 97'-7
     [SYPH MRGYV EHHMXMSREP GSWXW RSX                           YRGIVXEMR SJ XLI EGXYEP GSWX MQTEGXW SJ                IWXMQEXIW XLI TSXIRXMEP PSWW XS SXLIV
     GETXYVIH MR XLI IWXMQEXIW SJ PSWX                          LMVMRK EHHMXMSREP EHNYHMGEXSVW XS TVSGIWW              IQTPS]QIRX XE\ TVSKVEQW REQIP]
     GSQTIRWEXMSR EFSZI -R GEWIW [LIVI                         XLIWI )%( ETTPMGEXMSRW EX XLMW XMQI -J                1IHMGEVI ERH 7SGMEP 7IGYVMX] [LMGL
     GSQTERMIW GERRSX JMRH VIEWSREFPI                           XLI FEGOPSK HMWWMTEXIW MR XLI JYXYVI                  LEZI E GSQFMRIH XE\ VEXI SJ  TIVGIRX
     WYFWXMXYXIW JSV XLI PEFSV XLI EW]PYQ                       97'-7 QE] WIIO XS VIHMWXVMFYXI                           TIVGIRX ERH  TIVGIRX
     ETTPMGERXW [SYPH LEZI TVSZMHIH                            EHNYHMGEXMSR VIWSYVGIW 97'-7 QE] EPWS                 VIWTIGXMZIP]  ;MXL FSXL XLI IQTPS]II
     EJJIGXIH GSQTERMIW [SYPH EPWS PSWI                         VIHMWXVMFYXI EHNYHMGEXMSR VIWSYVGIW JSV                ERH IQTPS]IV RSX TE]MRK XLIMV
     TVSJMXW JVSQ XLI PSWX TVSHYGXMZMX] -R EPP                 SXLIV STIVEXMSREP RIIHW                               VIWTIGXMZI TSVXMSR SJ 1IHMGEVI ERH
     GEWIW GSQTERMIW [SYPH MRGYV                                  8LMW VYPI QE] VIWYPX MR E HIPE] JSV                 7SGMEP 7IGYVMX] XE\IW XLI XSXEP IWXMQEXIH
     STTSVXYRMX] GSWXW F] LEZMRK XS GLSSWI                      WSQI ETTPMGERXW XS IEVR GSQTIRWEXMSR MJ                XE\ PSWW JSV 1IHMGEVI ERH WSGMEP WIGYVMX]
     XLI RI\X FIWX EPXIVREXMZI XS MQQIHMEXIP]                   )%( TVSGIWWMRK MW HIPE]IH FI]SRH XLI                   MW  TIVGIRX 0SWX [EKIW VERKMRK
     JMPPMRK XLI NSF XLI TIRHMRK EW]PYQ                         GYVVIRX HE] VIKYPEXSV] XMQIJVEQI                   JVSQ  QMPPMSR XS  QMPPMSR
     ETTPMGERX [SYPH LEZI JMPPIH                               8LI PSWX GSQTIRWEXMSR XS EW]PYQ
        97'-7 GSRXMRYIW XS VIWSYVGI XLI                         ETTPMGERXW GSYPH VERKI JVSQ                         7II 1SVI XLER  TIVGIRX SJ %QIVMGERW TE] RS

     EHNYHMGEXMSR SJ TIRHMRK EW]PYQ )%(                         QMPPMSR XS  QMPPMSR ERRYEPP]                   JIHIVEP MRGSQI XE\ 7ITXIQFIV   EZEMPEFPI
                                                                                                                       EX LXXTW[[[QEVOIX[EXGLGSQWXSV]QMPPMSR
     ETTPMGEXMSRW -R VIWTSRWI XS XLI 6SWEVMS                   HITIRHMRK SR XLI [EKIW XLI EW]PYQ                      EQIVMGERW[SRXTE]ER]JIHIVEPMRGSQIXE\IWXLMW
     Z 97'-7 PMXMKEXMSR ERH XS GSQTP] [MXL                     ETTPMGERX [SYPH LEZI IEVRIH 8LI XIR                  ]IEVLIVIW[L]
     XLI GSYVX SVHIV 97'-7 LEW HIHMGEXIH EW                    ]IEV XSXEP HMWGSYRXIH GSWXW EX  TIVGIRX                   8LI ZEVMSYW IQTPS]QIRX XE\IW EVI HMWGYWWIH MR

     QER] VIWSYVGIW EW TVEGXMGEFPI XS XLIWI                     GSYPH VERKI JVSQ  FMPPMSR XS                     QSVI HIXEMP EX LXXTW[[[MVWKSZFYWMRIWWIW
                                                                                                                       WQEPPFYWMRIWWIWWIPJIQTPS]IHYRHIVWXERHMRK
     EHNYHMGEXMSRW FYX GSRXMRYIW XS JEGI ER                      FMPPMSR ERH EX  TIVGIRX GSYPH                 IQTPS]QIRXXE\IW 7II -67 4YFPMGEXMSR  'MVGYPEV
     MRGVIEWMRK EW]PYQ ETTPMGEXMSR FEGOPSK                     VERKI JVSQ  FMPPMSR XS                     ))QTPS]IVvW8E\+YMHIJSVWTIGMJMGMRJSVQEXMSRSR
     [LMGL MR XYVR MRGVIEWIW XLI RYQFIVW SJ                     FMPPMSR ]IEVWz 97'-7                      IQTPS]QIRX XE\ VEXIW LXXTW[[[MVWKSZTYFMVW
     ETTPMGERXW IPMKMFPI JSV TIRHMRK EW]PYQ                     VIGSKRM^IW XLEX XLI ERXMGMTEXIH MQTEGXW                THJTTHJ PEWX ZMI[IH (IGIQFIV   
                                                                                                                           'EPGYPEXMSR  TIVGIRX WSGMEP WIGYVMX]  
     )%(W ,S[IZIV XLMW VIEPPSGEXMSR SJ                        SJ XLMW VYPI GSYPH FI SZIVWXEXIH MJ XLI                TIVGIRX 1IHMGEVI »  IQTPS]II ERH IQTPS]IV
     VIWSYVGIW MW RSX E PSRKXIVQ WYWXEMREFPI                   TVSZMWMSRW MR XLI FVSEHIV EW]PYQ )%(                   PSWWIW !  TIVGIRX XSXEP IWXMQEXIH XE\ PSWW XS
     WSPYXMSR FIGEYWI 97'-7 LEW QER]                            2461 EVI JMREPM^IH EW TVSTSWIH                        KSZIVRQIRX



:IV(EXI 7IT "       .YR     .OX    43    *VQ    *QX    7JQX    )@*6@*1@.267+1   .26
                                                                                                                                              AR005577
                         *IHIVEP 6IKMWXIV  :SP  2S   1SRHE] .YRI    6YPIW ERH 6IKYPEXMSRW                                                 

     [SYPH VIWYPX MR IQTPS]QIRX XE\ PSWWIW                   VIHMWXVMFYXIH MXW EHNYHMGEXMSR VIWSYVGIW               ETTPMGEXMSRW ERRYEPP] JVSQ TIRHMRK
     XS XLI KSZIVRQIRX VERKMRK JVSQ                    XS [SVO YT XS JYPP GSQTPMERGI ;LIR XLI                EW]PYQ ETTPMGERXW [MXL ER IWXMQEXIH
     QMPPMSR XS  QMPPMSR ERRYEPP]                  HE] XMQIJVEQI MW VIQSZIH XLIWI                      MRMXMEP ETTPMGEXMSRW ERH 
     %KEMR HITIRHMRK SR XLI GMVGYQWXERGIW                   VIHMWXVMFYXIH VIWSYVGIW QE] FI                         VIRI[EP ETTPMGEXMSRW 7MRGI XLMW VYPI
     SJ XLI IQTPS]II XLIVI GSYPH FI                         VIEPPSGEXIH TSXIRXMEPP] VIHYGMRK HIPE]W               [MPP SRP] EJJIGX MRMXMEP ETTPMGERXW [LS
     EHHMXMSREP JIHIVEP MRGSQI XE\ PSWWIW RSX                MR TVSGIWWMRK SJ SXLIV ETTPMGEXMSRW ERH                I\TIVMIRGI TSXIRXMEP HIPE]W MR
     IWXMQEXIH LIVI 8LIVI QE] EPWS FI WXEXI                 EZSMHMRK GSWXW EWWSGMEXIH [MXL LMVMRK                  TVSGIWWMRK 97'-7 IWXMQEXIW XLI EJJIGXIH
     ERH PSGEP MRGSQI XE\ PSWWIW XLEX [SYPH                  EHHMXMSREP IQTPS]IIW 97'-7 LEW RSX                    TSTYPEXMSR XS FI ETTVS\MQEXIP] 
     ZEV] EGGSVHMRK XS XLI NYVMWHMGXMSR                     IWXMQEXIH XLIWI EZSMHIH GSWXW                         ETTPMGEXMSRW 8LI 97 PEFSV JSVGI
        -R EHHMXMSR XS XE\IW 97'-7 EPWS                       (,7 EPWS EGORS[PIHKIW XLI                            GSRWMWXW SJ E XSXEP SJ 
     GSRWMHIVIH XLI IJJIGXW SJ XLMW VYPI SR                  HMWXVMFYXMSREP MQTEGXW EWWSGMEXIH [MXL                 EGGSVHMRK XS 2SZIQFIV  HEXE
     97'-7 VIWSYVGIW -R VIWTSRWI XS XLI                     ER ETTPMGERX [EMXMRK JSV ER )%( SRXS                   8LIVIJSVI XLI TSTYPEXMSR EJJIGXIH F]
     6SWEVMS Z 97'-7 PMXMKEXMSR ERH XS                      XLIETTPMGERXvWWYTTSVXRIX[SVO(,7                  XLMW VYPI VITVIWIRXW  TIVGIRX SJ XLI
     GSQTP] [MXL XLI GSYVX SVHIV 97'-7 LEW                  EWWYQIW XLI PSRKIV ER EW]PYQ                           97 PEFSV JSVGI WYKKIWXMRK XLEX XLI
     HIHMGEXIH EW QER] VIWSYVGIW EW                          ETTPMGERXvW)%(MWHIPE]IHXLIPSRKIV                RYQFIV SJ TSXIRXMEP [SVOIVW RS PSRKIV
     TVEGXMGEFPI XS EHNYHMGEXMSRW SJ MRMXMEP                 XLIETTPMGERXvWWYTTSVXRIX[SVOMW                    I\TIGXMRK E HE] TVSGIWWMRK
     )%( ETTPMGEXMSRW JSV TIRHMRK EW]PYQ                     TVSZMHMRK EWWMWXERGI XS XLI ETTPMGERX                 XMQIJVEQI QEOI YT E ZIV] WQEPP
     ETTPMGERXW FYX GSRXMRYIW XS JEGI E                     (,7 GERRSX HIXIVQMRI LS[ QYGL                          TIVGIRXEKI SJ XLI 97 PEFSV QEVOIX
     LMWXSVMG EW]PYQ ETTPMGEXMSR FEGOPSK                    QSRIXEV] SV SXLIV EWWMWXERGI MW TVSZMHIH                 -R ER] GEWI 97'-7 RSXIW XLEX XLMW VYPI
     [LMGL MR XYVR MRGVIEWIW XLI RYQFIVW SJ                  XS WYGL ETTPMGERXW                                    HSIW RSX MRXVSHYGI ER] RI[P] IPMKMFPI
     ETTPMGERXW IPMKMFPI JSV TIRHMRK EW]PYQ                    97'-7 HSIW RSX ERXMGMTEXI XLEX                       [SVOIVW MRXS XLI PEFSV JSVGI SV
     )%(W ,S[IZIV XLMW VIEPPSGEXMSR SJ                     VIQSZMRK XLI WITEVEXI HE] )%( JMPMRK                TIVQERIRXP] TVIZIRX ER] IPMKMFPI
     VIWSYVGIW MW RSX E PSRKXIVQ WYWXEMREFPI               VIUYMVIQIRX [SYPH VIWYPX MR ER] GSWXW XS               [SVOIVW JVSQ NSMRMRK XLI PEFSV JSVGI
     WSPYXMSR FIGEYWI 97'-7 LEW QER]                         ETTPMGERXW SV XLI *IHIVEP +SZIVRQIRX                  8LMW VYPI SRP] EQIRHW XLI TVSGIWWMRK SJ
     GSQTIXMRK TVMSVMXMIW ERH QER] XMQI                     EW MX QEOIW E TVSGIHYVEP GLERKI XLEX                   MRMXMEP ERH VIRI[EP IQTPS]QIRX
     WIRWMXMZI EHNYHMGEXMSR XMQIJVEQIW                      FIRIJMXW XLI ETTPMGERX                                EYXLSVM^EXMSRW JSV TIRHMRK EW]PYQ
     6IEPPSGEXMRK VIWSYVGIW MR XLI PSRKXIVQ                                                                        ETTPMGERXW 8LI EFMPMX] SJ TIRHMRK
                                                             F &IRIJMXW                                            EW]PYQ ETTPMGERXW XS FI IPMKMFPI JSV
     MW RSX WYWXEMREFPI HYI XS [SVO TVMSVMXMIW
     MR SXLIV TVSHYGX PMRIW ,MVMRK QSVI                        &] IPMQMREXMRK XLI HE] TVSZMWMSR                VIUYIWXMRK IQTPS]QIRX EYXLSVM^EXMSR MR
     SJJMGIVW GSYPH FVMRK MQTVSZIQIRXW FYX                   (,7 [MPP FI EFPI XS STIVEXI YRHIV PSRK                GIVXEMR GMVGYQWXERGIW MW MR I\MWXMRK
     XLEX [SYPH RSX MQQIHMEXIP] WLSVXIR                      XIVQ WYWXEMREFPI GEWI TVSGIWWMRK XMQIW                 VIKYPEXMSRW XLMW VYPIQEOMRK MW RSX
     EHNYHMGEXMSR XMQIJVEQIW FIGEYWI                         JSV MRMXMEP )%( ETTPMGEXMSRW JSV TIRHMRK               WIIOMRK XS EPXIV [LMGL TIRHMRK EW]PYQ
     EHHMXMSREP XMQI [SYPH FI VIUYMVIH XS                    EW]PYQ ETTPMGERXW XS EPPS[ WYJJMGMIRX                 ETTPMGERXW EVI IPMKMFPI XS ETTP] JSV
     SRFSEVH RI[ IQTPS]IIW ERH XVEMR XLIQ                   XMQI XS EHHVIWW REXMSREP WIGYVMX] ERH                  IQTPS]QIRX EYXLSVM^EXMSR 8LIVIJSVI
     -R EHHMXMSR XLIVI MW GYVVIRXP] RS JII JSV              JVEYH GSRGIVRW ERH XS QEMRXEMR                        XLMW VYPI [MPP RSX GLERKI XLI
     EW]PYQ ETTPMGEXMSRW SV XLI                              XIGLRSPSKMGEP EHZERGIW MR HSGYQIRX                     GSQTSWMXMSR SJ XLI TSTYPEXMSR SJ XLI
     GSVVIWTSRHMRK MRMXMEP )%( ETTPMGEXMSRW                 TVSHYGXMSR ERH MHIRXMX] ZIVMJMGEXMSR XLEX              IWXMQEXIH  MRMXMEP ETTPMGERXW
     ERH XLI GSWX SJ EHNYHMGEXMSR MW GSZIVIH                 97'-7 QYWX JYPJMPP EW E TEVX SJ MXW GSVI               [LS QE] ETTP] JSV IQTPS]QIRX
     F] JIIW TEMH F] SXLIV FIRIJMX VIUYIWXIVW               QMWWMSR [MXLMR (,7                                    EYXLSVM^EXMSR SV XLI RYQFIV SJ [SVOIVW
     97'-7 MW YRGIVXEMR SJ XLI EGXYEP GSWX                      %TTPMGERXW [MPP VIP] SR YTXSHEXI                  IRXIVMRK XLI PEFSV JSVGI VEXLIV XLMW VYPI
     MQTEGXW SJ LMVMRK EHHMXMSREP                            TVSGIWWMRK XMQIW [LMGL TVSZMHI                        GSYPH HIPE]  TIRHMRK EW]PYQ
     EHNYHMGEXSVW XS TVSGIWW XLIWI )%(                       VIEPMWXMG I\TIGXEXMSRW SJ EHNYHMGEXMSR                 ETTPMGERXW JVSQ IRXIVMRK XLI 97 PEFSV
     ETTPMGEXMSRW EX XLMW XMQI *MREPP] 97'-7               XMQIW                                                 QEVOIX F] ER EZIVEKI SJ ETTVS\MQEXIP]
                                                                8LMW VYPI [SYPH IRH JYXYVI PMXMKEXMSR                GEPIRHEV HE]W IEGL JSV E XSXEP SJ
     LEW JSYRH XLEX GIVXEMR ETTPMGEXMSRW
     MRLIVIRXP] GERRSX FI TVSGIWWIH MR E                     SZIV XLI HE] EHNYHMGEXMSR XMQIJVEQI                 HE]W
     WTIGMJMG RYQFIV SJ HE]W HYI XS ZIXXMRK                  WYGL EW XLI PMXMKEXMSR VIJIVIRGIH EFSZI
                                                                                                                    H %PXIVREXMZIW
                                                             )ZIR ETTPMGEXMSRW XLEX EVI RSX WYFNIGX XS
     TVSGIHYVIW ERH FEGOKVSYRH GLIGOW XLEX                                                                            %PXIVREXMZI (E] 6IKYPEXSV]
     WMQTP] VIUYMVI EHHMXMSREP XMQI WII                      E WIX XMQIJVEQI LS[IZIV GSYPH MR WSQI
                                                             GEWIW FI XLI WYFNIGX SJ PMXMKEXMSR SR                  8MQIJVEQI
     8EFPI  [LIVI TVSGIWWMRK HE]W MR *=
                                                             uuYRVIEWSREFPIHIPE]vvXLISVMIW%RH                     (,7 GSRWMHIVIH ER EPXIVREXMZI XS
      VIEGLIH E QE\MQYQ  HE]W 
     8LIVIJSVI QIIXMRK XLI HE]                           QSVI MQTSVXERX EW MRHMGEXIH EFSZI EW                 VIQSZMRK XLI HE] VIKYPEXSV]
     XMQIJVEQI HSIW RSX WSPIP] HITIRH SR                     E TVMQEV] KSEP 97'-7 WIIOW XS                         XMQIJVEQI XS MRWXIEH I\XIRH XLI
                                                             EHIUYEXIP] ZIX ETTPMGERXW ERH                          VIKYPEXSV] XMQIJVEQI XS  HE]W
     LMVMRK QSVI EHNYHMGEXMSR SJJMGIVW
     FIGEYWI JSV GIVXEMR ETTPMGEXMSRW                        EHNYHMGEXI ETTPMGEXMSRW EW UYMGOP] ERH                 'YVVIRXP] YRHIV XLI 6SWEVMS Z 97'-7
     EHHMXMSREP XMQI MW RIIHIH JSV                           IJJMGMIRXP] EW TSWWMFPI                               GSYVX SVHIV 97'-7 QYWX GSQTP] [MXL
                                                                97'-7 [MPP FIRIJMX JVSQ XLI VIQSZEP                 MXW I\MWXMRK VIKYPEXMSR VIUYMVMRK E HE]
     TVSGIWWMRK 8LYW 97'-7 MW VIQSZMRK
                                                             SJ XLI HE] VIRI[EP VIUYMVIQIRX
     XLI HE] XMQIPMRI VEXLIV XLER
                                                             FIGEYWI VIKYPEXMSRW EVI FIMRK YTHEXIH XS                  -R *=  97'-7 EHNYHMGEXIH 
     MRGVIEWMRK XLI RYQFIV SJ EHNYHMGEXMSR
                                                             QEXGL XLEX SJ SXLIV )%( GEXIKSVMIW ERH                 ETTVSZIH ETTPMGEXMSRW TEWX XLI VIKYPEXSV] WIX
     SJJMGIVW MR XLI PSRKXIVQ                                                                                     XMQIJVEQI
                                                             MX [SYPH IRWYVI XLEX XLI VIKYPEXSV] XI\X
        8LMW VYPI MW I\TIGXIH XS VIWYPX MR                                                                             *MKYVIW SFXEMRIH JVSQ &YVIEY SJ 0EFSV
                                                             VIJPIGXW GYVVIRX (,7 TSPMG] ERH
     VIHYGIH STTSVXYRMX] GSWXW XS XLI *IHIVEP                                                                       7XEXMWXMGW )QTPS]QIRX7MXYEXMSR2I[W6IPIEWI{
                                                             VIKYPEXMSRWYRHIV(,7vW%'                     2SZIQFIV  8EFPI%z)QTPS]IHTIVWSRWF]
     +SZIVRQIRX 7MRGI 6SWEVMS GSQTIPPIH
                                                             6YPI                                                  GPEWW SJ [SVOIV ERH TEVXXMQI WXEXYW *IFVYEV] 
     97'-7 XS GSQTP] [MXL XLI HE]                                                                                 %ZEMPEFPI EX LXXTW[[[FPWKSZ
     TVSZMWMSR MR *=  97'-7 LEW                         G 0EFSV 1EVOIX 3ZIVZMI[                               RI[WVIPIEWIEVGLMZIWIQTWMXCTHJ
                                                                                                                       'EPGYPEXMSR  ETTVS\MQEXI MRMXMEP
                                                                %W HMWGYWWIH MR XLI TSTYPEXMSR
        'EPGYPEXMSRW 0S[IV FSYRH PSWX [EKIW                                                               ETTPMGERXW [LS GSYPH I\TIVMIRGI TVSGIWWMRK HIPE]W
     QMPPMSR »  TIVGIRX IQTPS]II XE\ VEXI ! 
                                                             WIGXMSR SJ XLMW EREP]WMW 97'-7                        TIV ]IEV [SVOIVW  !  TIVGIRX
     QMPPMSR 9TTIV FSYRH PSWX [EKIW  QMPPMSR »       ERXMGMTEXIW VIGIMZMRK ETTVS\MQEXIP]                       'EPGYPEXMSR  XSXEP HE]W

      TIVGIRX IQTPS]II XE\ VEXI !  QMPPMSR        RSRVITPEGIQIRX *SVQ-z                  ETTPMGERXW !  HE]W VSYRHIH 



:IV(EXI 7IT "    .YR     .OX    43    *VQ    *QX    7JQX    )@*6@*1@.267+1   .26
                                                                                                                                          AR005578
                        *IHIVEP 6IKMWXIV  :SP  2S   1SRHE] .YRI    6YPIW ERH 6IKYPEXMSRW

     XMQIJVEQI ERH TVSGIWW EPP MRMXMEP )%(                              YRHIV XLMW EPXIVREXMZI *SV XLI                    )%( ETTPMGERXW [SYPH LEZI
     ETTPMGEXMSRW JSV EW]PYQ ETTPMGERXW                                 ETTVSZIH ETTPMGEXMSRW XLEX XSSO QSVI                     I\TIVMIRGIH ER IWXMQEXIH XSXEP
     [MXLMR  HE]W 9RHIV XLMW EPXIVREXMZI                            XLER  HE]W XS TVSGIWW MR *=                        PSWX [SVOMRK HE]W ERH PSWX
     97'-7 [SYPH MRWXIEH TVSGIWW EPP JYXYVI                             97'-7 EWWYQIW XLI TVSGIWWMRK XMQI                        GSQTIRWEXMSR GSYPH LEZI VERKIH JVSQ
     ETTPMGEXMSRW [MXLMR  HE]W -R *=                            YRHIV XLMW EPXIVREXMZI [SYPH FI  HE]W                  QMPPMSR XS  QMPPMSR 
     TVMSV XS XLI 6SWEVMS Z 97'-7 GSYVX                                EW XLMW EPXIVREXMZI [SYPH WIX XLI                        ERRYEPP] HITIRHMRK SR XLI [EKIW XLI
     SVHIV 97'-7 [EW EFPI XS WYWXEMREFP]                               QE\MQYQ TVSGIWWMRK XMQI EX  HE]W                      EW]PYQ ETTPMGERX [SYPH LEZI IEVRIH -R
     TVSGIWW ETTVS\MQEXIP]  TIVGIRX SJ                                97'-7 RSXIW XLEX [LMPI TVSGIWWMRK JSV                    *=  97'-7 EHNYHMGEXIH 
     ETTPMGEXMSRW [MXLMR  HE]W 97'-7                                XLMW KVSYT YRHIV XLI HE] EPXIVREXMZI                  ETTVSZIH ETTPMGEXMSRW MR KVIEXIV XLER 
     XLIVIJSVI EWWYQIW  TIVGIRX SJ                                   [SYPH FI PSRKIV XLER XLI GYVVIRX HE]                  HE]W 97'-7 IWXMQEXIW XLEX YRHIV XLMW
     ETTPMGERXW [SYPH VIQEMR YREJJIGXIH                                 TVSGIWWMRK XMQI YRHIV XLI 6SWEVMS Z                     EPXIVREXMZI XLI  ETTVSZIH )%(
     YRHIV XLMW HE] EPXIVREXMZI 97'-7                               97'-7 GSYVX SVHIV MX [SYPH FI WLSVXIV                   ETTPMGERXW [SYPH LEZI I\TIVMIRGIH ER
     EWWYQIW XLI VIQEMRMRK  TIVGIRX SJ                                EW GSQTEVIH XS XLMW VYPI [LMGL VIQSZIW                  IWXMQEXIH XSXEP  PSWX [SVOMRK
     ETTPMGERXW [SYPH LEZI XLIMV TVSGIWWMRK                             ER] TVSGIWWMRK XMQIJVEQI                              HE]W ERH PSWX GSQTIRWEXMSR GSYPH LEZI
     XMQI I\XIRHIH YRHIV XLMW EPXIVREXMZI -R                             &EWIH SR XLI EREP]WMW TVSZMHIH MR XLI                  VERKIH JVSQ  QMPPMSR XS 
     *=  XLIVI [IVI E XSXEP SJ                               8VERWJIVW ERH 'SWXW WIGXMSR 97'-7 YWIH                  QMPPMSR ERRYEPP] HITIRHMRK SR XLI
     ETTVSZIH ETTPMGEXMSRW JSV [LMGL                                    *=  HEMP] TVSGIWWMRK HEXE XS                         [EKIW XLI EW]PYQ ETTPMGERXW [SYPH
     TVSGIWWMRK XSSO QSVI XLER  HE]W                                 IWXMQEXI PSWX [EKIW PSWX XE\IW ERH SXLIV               LEZI IEVRIH 8EFPI  WLS[W XLI
     97'-7 EWWYQIW ETTVSZIH ETTPMGEXMSRW                                FIRIJMXW JSV XLMW EPXIVREXMZI TVSTSWEP -R               RYQFIV SJ ETTVSZIH ETTPMGEXMSRW
     XLEX[IVITVSGIWWIHMRzHE]WERH                            *=  97'-7 EHNYHMGEXIH                        GSQTPIXIH MR QSVI XLER  HE]W MR *=
     zHE]WMR*= ERH                                 ETTVSZIH ETTPMGEXMSRW  FIX[IIR                        XLI EWWSGMEXIH RYQFIV SJ PSWX
      ETTPMGERXW VIWTIGXMZIP] [SYPH                              ERH  HE]W 97'-7 IWXMQEXIW XLEX YRHIV                  [SVOMRK HE]W ERH ER IWXMQEXI SJ XLI
     FI TVSGIWWIH MR E WMQMPEV EQSYRX SJ XMQI                           XLMW EPXIVREXMZI XLI  ETTVSZIH                    VIWYPXMRK PSWX GSQTIRWEXMSR
           8%&0) {7911%6= 3* '%0'90%8-327 *36 -2-8-%0 *361 -z *36 4)2(-2+ %7=091 %440-'%287 -2 *= 
                                                                                                                                           +VIEXIV XLER
                                                                                              z(E]W             z(E]W             HE]W                  8SXEP

     *=  'SQTPIXMSRW                                                                 
     0SWX 'EPIRHEV (E]W                                                        
     0SWX ;SVOMRK (E]W                                                          
     0SWX 'SQTIRWEXMSR PS[IV FSYRH                                                       
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       7SYVGI 97'-7 EREP]WMW
       2SXI 8LI TVIZEMPMRK QMRMQYQ [EKI MW YWIH XS GEPGYPEXI XLI PS[IV FSYRH [LMPI E REXMSREP EZIVEKI [EKI MW YWIH XS GEPGYPEXI XLI YTTIV FSYRH
     PSWX GSQTIRWEXMSR


       -R EHHMXMSR XS XLI PSWX [EKIW 97'-7                             XLEX XLI MQTEGXW SJ XLMW EPXIVREXMZI GSYPH               MR IQTPS]QIRX XE\ XVERWJIVW JVSQ
     EGORS[PIHKIW XLEX WYGL TVSGIWWMRK                                  FI SZIVWXEXIH MJ XLI TVSZMWMSRW MR XLI                   GSQTERMIW ERH IQTPS]IIW XS XLI
     HIPE]W QE] VIWYPX MR XLI PSWW MR XE\                               FVSEHIV EW]PYQ )%( 2461 EVI                              *IHIVEP +SZIVRQIRX 'SRZIVWIP] MJ EPP
     VIZIRYI XS XLI KSZIVRQIRX %W [EW HSRI                             JMREPM^IH EW TVSTSWIH 7TIGMJMGEPP] XLI                 GSQTERMIW EVI EFPI XS IEWMP] JMRH
     MR XLI EREP]WMW MR XLI 8VERWJIVW ERH                               FVSEHIV EW]PYQ )%( 2461 TVSTSWIH XS                      VIEWSREFPI PEFSV WYFWXMXYXIW XLI] [MPP
     'SWXW WIGXMSR 97'-7 IWXMQEXIW XLI                                 PMQMX SV HIPE] IPMKMFMPMX] JSV IQTPS]QIRX                FIEV PMXXPI SV RS GSWXW WS 
     TSXIRXMEP PSWW XS 1IHMGEVI ERH WSGMEP                              EYXLSVM^EXMSR JSV GIVXEMR EW]PYQ                         QMPPMSR [MPP FI XVERWJIVVIH JVSQ EW]PYQ
     WIGYVMX] 0SWX [EKIW VERKMRK                                ETTPMGERXW                                              ETTPMGERXW XS [SVOIVW GYVVIRXP] MR XLI
     QMPPMSR XS  QMPPMSR [SYPH VIWYPX                               %W TVIZMSYWP] HMWGYWWIH 97'-7 HSIW                   PEFSV JSVGI SV MRHYGIH FEGO MRXS XLI
     MR IQTPS]QIRX XE\ VIZIRYI PSWWIW XS XLI                            RSX ORS[ XLI TSVXMSR SJ SZIVEPP MQTEGXW                  PEFSV JSVGI [I EWWYQI RS XE\ PSWWIW EW
     KSZIVRQIRX VERKMRK JVSQ  QMPPMSR                             SJ XLMW VYPI XLEX EVI XVERWJIVW SV GSWXW                E PEFSV WYFWXMXYXI [EW JSYRH 
     XS  QMPPMSR ERRYEPP] %KEMR                              FYX IWXMQEXIW XLEX XLI QE\MQYQ
     HITIRHMRK SR XLI GMVGYQWXERGIW SJ XLI                              QSRIXM^IH MQTEGX SJ XLMW HE]                           'SQTEVMWSR SJ %PXIVREXMZIW
     IQTPS]II XLIVI GSYPH FI EHHMXMSREP                                EPXIVREXMZI JVSQ PSWX GSQTIRWEXMSR MW                      'YVVIRXP] XLI 6SWEVMS Z 97'-7 GSYVX
     JIHIVEP MRGSQI XE\ PSWWIW RSX IWXMQEXIH                             QMPPMSR ERRYEPP] %GGSVHMRKP]                   HIGMWMSR  * 7YTT H  ;(
     LIVI 8LIVI QE] EPWS FI WXEXI ERH PSGEP                            MJ GSQTERMIW EVI YREFPI XS JMRH                          ;EWL   VIUYMVIW 97'-7 XS TVSGIWW
     MRGSQI XE\ PSWWIW XLEX [SYPH ZEV]                                  VIEWSREFPI PEFSV WYFWXMXYXIW JSV XLI                     EW]PYQ )%( ETTPMGEXMSRW MR EGGSVH [MXL
     EGGSVHMRK XS XLI NYVMWHMGXMSR 8LI XIR                            TSWMXMSR XLI EW]PYQ ETTPMGERX [SYPH                      XLI GYVVIRX VIKYPEXSV] XMQIJVEQI SJ 
     ]IEV XSXEP HMWGSYRXIH PSWX GSQTIRWEXMSR                            LEZI JMPPIH XLIR  QMPPMSR MW XLI                  HE]W 8LMW VYPI VIQSZIW ER]
     XS EW]PYQ ETTPMGERXW EX  TIVGIRX GSYPH                            IWXMQEXIH QE\MQYQ QSRIXM^IH GSWX SJ                      EHNYHMGEXMSR XMQIJVEQI JSV TVSGIWWMRK
     VERKI JVSQ  FMPPMSR XS                                 XLI VYPI ERH  MW XLI IWXMQEXIH                         JYXYVI EW]PYQ )%( ETTPMGEXMSRW 97'-7
     FMPPMSR ERH EX  TIVGIRX GSYPH VERKI                             QMRMQYQ MR QSRIXM^IH XVERWJIVW                          EPWS GSRWMHIVIH ER EPXIVREXMZI YRHIV
     JVSQ  FMPPMSR XS  FMPPMSR                              %HHMXMSREPP] YRHIV XLMW WGIREVMS XLIVI                 [LMGL 97'-7 [SYPH TVSGIWW EPP JYXYVI
      ]IEVWz 97'-7VIGSKRM^IW                               [SYPH FI E VIHYGXMSR SJ  QMPPMSR                  ETTPMGEXMSRW [MXLMR  HE]W -R XLI XEFPI
        -R *=  97'-7 EHNYHMGEXIH                           TSTYPEXMSR MW RSX FI MQTEGXIH F] XLMW VYPI ERH EVI          'EPGYPEXMSRW 0S[IV FSYRH PSWX [EKIW 

     ETTVSZIH ERH  HIRMIH G  )%( ETTPMGEXMSRW                     XLIVIJSVI RSX MRGPYHIH MR XLI EREP]WMW JSV PSWX          QMPPMSR »  TIVGIRX IQTPS]II XE\ VEXI ! 
     MR SZIV  HE]W                                                   GSQTIRWEXMSR                                            QMPPMSR 9TTIV FSYRH PSWX [EKIW  QMPPMSR »
        -R *=  97'-7 EHNYHMGEXIH  HIRMIH
                                                                           'EPGYPEXMSRW  PSWX [SVOMRK HE]W           TIVGIRX IQTPS]II XE\ VEXI !  QMPPMSR
      G  )%( ETTPMGEXMSRW FIX[IIR  ERH  HE]W
                                                                          TIV HE] !  QMPPMSR  PSWX
     7MRGI HIRMIH ETTPMGERXW [SYPH RSX SFXEMR [SVO
     EYXLSVM^EXMSR ERH [SYPH RSX PSWI [SVOMRK HE]W XLMW                [SVOMRK HE]W   TIV HE] !  QMPPMSR




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                                  *IHIVEP 6IKMWXIV  :SP  2S   1SRHE] .YRI    6YPIW ERH 6IKYPEXMSRW                                                       

     FIPS[ 97'-7 GSQTEVIW XLI PSWX                                             TVMQEVMP] XVERWJIVW JVSQ EW]PYQ                      XVERWJIVW JVSQ IQTPS]IIW XS XLI
     [SVOMRK HE]W ERH EWWSGMEXIH PSWX                                           ETTPMGERXW XS SXLIVW EPVIEH] MR XLI PEFSV            KSZIVRQIRX 97'-7 YWIW XLI PSWX
     GSQTIRWEXMSR ERH XE\IW YRHIV XLI                                        QEVOIX SV MRHYGIH XS VIXYVR  -J                     GSQTIRWEXMSR XS EW]PYQ ETTPMGERXW EW E
     HE] EPXIVREXMZI [MXL XLI VYPI %W                                          GSQTERMIW GERRSX JMRH VIEWSREFPI                     QIEWYVI SJ XLI SZIVEPP MQTEGX SJ XLI
     TVIZMSYWP] HMWGYWWIH MJ GSQTERMIW GER                                     WYFWXMXYXIW XLI VYPI [SYPH TVMQEVMP] FI             VYPI{IMXLIVEWHMWXVMFYXMSRMQTEGXW
     JMRH VITPEGIQIRX PEFSV JSV XLI TSWMXMSR                                    E GSWX XS XLIWI GSQTERMIW XLVSYKL PSWX                XVERWJIVW SVEWETVS\]JSVFYWMRIWWIWv
     XLI EW]PYQ ETTPMGERX [SYPH LEZI JMPPIH                                    TVSHYGXMZMX] ERH TVSJMXW ERH EPWS VIWYPX            GSWX JSV PSWX TVSHYGXMZMX]
     XLI IJJIGXW SJ XLMW VYPI [SYPH FI                                          MR E HIGVIEWI MR IQTPS]QIRX XE\
                                                 8%&0) {'314%6-732 3* %08)62%8-:)7  97-2+ *=  %229%0 (%8%
                                                                                                                                                   0SWX IQTPS]QIRX   0SWX IQTPS]QIRX
                                                            2YQFIV SJ
                                                                                                                                                      XE\IW [LIR        XE\IW [LIR
                                                            ETTPMGERXW
                                                                                    0SWX [SVOMRK      0SWX GSQTIRWEXMSR      0SWX GSQTIRWEXMSR       VITPEGIQIRX       VITPEGIQIRX
                                                           MQTEGXIH F]
                                                                                        HE]W             PS[IV FSYRH            YTTIV FSYRH           PEFSV MW RSX      PEFSV MW RSX
                                                             GLERKI                                                                                      JSYRH             JSYRH
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                                                                                                                                                     PS[IV FSYRH       YTTIV FSYRH

     'YVVIRX HE] 4VSGIWWMRK 8MQI
       JVEQI MI RS EGXMSR FEWIPMRI                                  2%                    2%                    2%                   2%               2%               2%
     HE] %HNYHMGEXMSR 8MQIJVEQI %P
       XIVREXMZI                                                                
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        7SYVGI 97'-7 EREP]WMW


        8LI HMWXVMFYXMSR SJ I\MWXMRK                                            & 6IKYPEXSV] *PI\MFMPMX] %GX                        IQTLEWM^IW XLEX XLI VYPI [MPP RSX
     KSZIVRQIRX VIWSYVGIW [SYPH ZEV] YRHIV                                                                                           VIKYPEXI IQTPS]IVW ERH SRP] VIKYPEXI
                                                                                   8LI 6IKYPEXSV] *PI\MFMPMX] %GX SJ 
     XLI FEWIPMRI XLI JMREP VYPI ERH XLI                                                                                        MRHMZMHYEPW % JMREP VIKYPEXSV]
                                                                                 6*% 97'zEWEQIRHIHF]
     HE] EPXIVREXMZI ;LIR 6SWEVMS                                                                                                   JPI\MFMPMX] EREP]WMW *6*% JSPPS[W
                                                                                XLI 7QEPP &YWMRIWW 6IKYPEXSV]
     GSQTIPPIH 97'-7 XS GSQTP] [MXL XLI                                         )RJSVGIQIRX *EMVRIWW %GX SJ                       % 7XEXIQIRX SJ XLI 2IIH JSV ERH
     HE] VIKYPEXSV] TVSZMWMSR MR *=                                      4YFPMG0E[z 1EVGL                 3FNIGXMZIW SJ XLI 6YPI
      XLI FEWIPMRI  97'-7 VIHMWXVMFYXIH MXW                                    VIUYMVIW JIHIVEP EKIRGMIW XS GSRWMHIV XLI
     EHNYHMGEXMSR VIWSYVGIW XS [SVO YT XS                                                                                               8LMW VYPI VIQSZIW XLI HE]
                                                                                TSXIRXMEP MQTEGX SJ VIKYPEXMSRW SR WQEPP             VIKYPEXSV] XMQIJVEQI JSV XLI
     JYPP GSQTPMERGI ;LIR XLI HE]                                           IRXMXMIW HYVMRK XLI HIZIPSTQIRX SJ XLIMV             EHNYHMGEXMSR SJ MRMXMEP )%( ETTPMGEXMSRW
     XMQIJVEQI MW VIQSZIH EPP SJ XLIWI                                          VYPIW8LIXIVQuuWQEPPIRXMXMIWvvVIJIVWXS        F] TIRHMRK EW]PYQ ETTPMGERXW FIGEYWI MX
     VIHMWXVMFYXIH VIWSYVGIW QE] FI                                             WQEPP FYWMRIWWIW RSXJSVTVSJMX                     MW SYXHEXIH HSIW RSX EGGSYRX JSV XLI
     VIEPPSGEXIH FEGO XS XLI [E] XLI] [IVI                                      SVKERM^EXMSRW XLEX EVI RSX HSQMRERX MR               VIGIRX ZSPYQI SJ ETTPMGEXMSRW ERH RS
     TVI6SWEVMS [LMGL 97'-7 EWWYQIW [MPP                                       XLIMV JMIPHW ERH KSZIVRQIRXEP                       PSRKIV VIJPIGXW GYVVIRX STIVEXMSRW 8LI
     PSSO PMOI *=   9RHIV XLI HE]                                       NYVMWHMGXMSRW [MXL TSTYPEXMSRW SJ PIWW               VYPI EPWS QEOIW E XIGLRMGEP GLERKI XS
     EPXIVREXMZI WSQI SJ XLI VIWSYVGIW GSYPH                                   XLER  8LMW VYPI [MPP GSRXMRYI XS              VIQSZI XLI HE] JMPMRK VIUYMVIQIRX XS
     FI QSZIH FEGO FYX RSX EPP SJ XLIQ                                         TVSZMHI IQTPS]QIRX EYXLSVM^EXMSR XS                  VIHYGI GSRJYWMSR VIKEVHMRK )%(
     FIGEYWI MR *=  97'-7 [EW EFPI XS                                       EW]PYQ ETTPMGERXW [LS ZSPYRXEVMP]                    VIRI[EP VIUYMVIQIRXW JSV TIRHMRK
     EHNYHMGEXI  TIVGIRX SJ ETTPMGERXW MR                                     ETTP] JSV WYGL FIRIJMXW 8LMW VYPI SRP]              EW]PYQ ETTPMGERXW ERH IRWYVI XLI
      HE]W                                                                   VIQSZIW XLI HE] EHNYHMGEXMSR                      VIKYPEXSV] XI\X VIJPIGXW GYVVIRX (,7
                                                                                XMQIJVEQI ERH XLI GSVVIWTSRHMRK HE]               TSPMG]ERHVIKYPEXMSRWYRHIV(,7vW
        (,7 HMH RSX TYVWYI XLI HE]                                           VIRI[EP VIUYMVIQIRX *SV XLI TYVTSWIW
     EPXIVREXMZI FIGEYWI EPXLSYKL MX [SYPH                                                                                           JMREP  %' 6YPI
                                                                                SJ XLI 6*% (,7 IWXMQEXIW XLEX
     TVSZMHI 97'-7 [MXL QSVI XMQI XS                                            ETTVS\MQEXIP]  EPMIRW QE] FI                    % 7XEXIQIRX SJ XLI 7MKRMJMGERX -WWYIW
     EHNYHMGEXI MRMXMEP )%( ETTPMGEXMSRW JVSQ                                   MQTEGXIH F] XLMW VYPI ERRYEPP]                      6EMWIH F] XLI 4YFPMG 'SQQIRXW MR
     TIRHMRK EW]PYQ ETTPMGERXW ERH                                              -RHMZMHYEPW EVI RSX GSRWMHIVIH F] XLI                6IWTSRWI XS XLI -RMXMEP 6IKYPEXSV]
     ETTPMGERXW [MXL E RI[ I\TIGXIH                                             6*% XS FI E WQEPP IRXMX] %W TVIZMSYWP]              *PI\MFMPMX] %REP]WMW E 7XEXIQIRX SJ XLI
     XMQIJVEQI MX [SYPH RSX TVSZMHI 97'-7                                      I\TPEMRIH XLMW VYPI QE] VIWYPX MR PSWX              %WWIWWQIRX SJ XLI %KIRG] SJ 7YGL
     [MXL XLI GIVXEMRX] ERH JPI\MFMPMX] MX                                      GSQTIRWEXMSR JSV WSQI MRMXMEP                        -WWYIW ERH E 7XEXIQIRX SJ ER] 'LERKIW
     RIIHW XS JYPJMPP MXW GSVI QMWWMSR *YVXLIV                                ETTPMGERXW [LSWI )%( TVSGIWWMRK MW                   1EHI MR XLI 6YPI EW E 6IWYPX SJ 7YGL
     YRHIV(,7vWJMREP%'6YPI                                         HIPE]IH FI]SRH XLI HE] VIKYPEXSV]                 'SQQIRXW
     97'-7 VIQSZIH XLI HE] XMQIJVEQI                                         XMQIJVEQI ,S[IZIV XLI VYPI HSIW RSX                   7IZIVEP GSQQIRXIVW QEHI VIJIVIRGI
     JSV EPP SXLIV )%( GEXIKSVMIW                                              HMVIGXP] VIKYPEXI IQTPS]IVW                         XS WQEPP IRXMXMIW
     1EMRXEMRMRK ER] EHNYHMGEXMSR XMQIJVEQI                                        8LI 6*% HSIW RSX VIUYMVI EKIRGMIW XS                 'SQQIRXW % GSYTPI SJ GSQQIRXIVW
     JSV XLMW )%( [SYPH YRRIGIWWEVMP]                                           I\EQMRI XLI MQTEGX SJ MRHMVIGX GSWXW XS              QIRXMSRIH XLEX VIJYKIIW ERH EW]PIIW
     GSRWXVMGX EHNYHMGEXMSR [SVOJPS[W                                          WQEPP IRXMXMIW 6IKEVHPIWW (,7 MW                   IRKEKI MR IRXVITVIRIYVMEP TVSNIGXW ERH
     9PXMQEXIP] 97'-7 MW YREFPI XS TPER MXW                                    YREFPI XS MHIRXMJ] XLI RI\X FIWX                     IQTPS]QIRX EX E LMKLIV VEXI XLER 97
     [SVOPSEH ERH WXEJJMRK RIIHW [MXL XLI                                       EPXIVREXMZI XS LMVMRK E TIRHMRK EW]PYQ               FSVR GMXM^IRW GVIEXMRK WQEPP FYWMRIWWIW
     PIZIP SJ GIVXEMRX] XLEX E FMRHMRK                                          ETTPMGERX ERH MW XLIVIJSVI YREFPI XS                 ERH XLYW NSFW XLEX HVMZI KVS[XL MR XLI
     XMQIJVEQI QE] VIUYMVI ERH LEW RS [E]                                       VIPMEFP] IWXMQEXI XLI TSXIRXMEP MRHMVIGX             97 IGSRSQ] ERH XLEX XLI WQEPP
     SJ TVIHMGXMRK [LEX REXMSREP WIGYVMX] ERH                                   GSWXW XS WQEPP IRXMXMIW JVSQ XLMW VYPI              FYWMRIWWIW ERH XLI NSFW XLI] GVIEXI EVI
     JVEYH GSRGIVRW QE] FI SV [LEX                                                 7IZIVEP TYFPMG GSQQIRXW GPEMQIH XLEX              XLI IRKMRIW SJ KVS[XL MRRSZEXMSR ERH
     TVSGIHYVIW [SYPH FI RIGIWWEV] MR XLI                                       XLI VYPI [SYPH TSWI FYVHIRW XS WQEPP                 WXEFMPMX] % GSYTPI GSQQIRXIVW GPEMQIH
     JYXYVI (,7 XLIVIJSVI HIGPMRIH XS EHSTX                                    IRXMXMIW FYX RS WYGL GSQQIRXW GPEMQIH               XLEX PSWX [EKIW XS EW]PYQWIIOIVW [SYPH
     E HE] VIKYPEXSV] XMQIJVEQI                                             XLEX XLI VYPI HMVIGXP] VIKYPEXIW SV                  PMOIP] VIWYPX MR PSWWIW XS WQEPP
                                                                                FYVHIRW WQEPP IRXMXMIW 97'-7                        FYWMRIWWIW MR EW]PYQWIIOIVW ERH XLEX


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                    *IHIVEP 6IKMWXIV  :SP  2S   1SRHE] .YRI    6YPIW ERH 6IKYPEXMSRW

     XLI VYPI [SYPH LEZI WMKRMJMGERX RIKEXMZI                RSX VIUYMVI ER] EHHMXMSREP TVSJIWWMSREP                HIPE]W MR IQTPS]QIRX EYXLSVM^EXMSR
     MQTEGX RSX SRP] SR EW]PYQ WIIOIVW FYX                  WOMPPW                                                ERH [SYPH RSX FI E GSRWIUYIRGI SJ ER
     EPWS SR IQTPS]IVW WQEPP FYWMRIWWIW                                                                           IRJSVGIEFPI HYX] %W E VIWYPX WYGL GSWXW
                                                               % (IWGVMTXMSR SJ XLI 7XITW XLI
     GSQQYRMXMIW ERH XLI IGSRSQ] EW E                                                                              [SYPH RSX FI EXXVMFYXEFPI XS E QERHEXI
                                                             %KIRG] ,EW 8EOIR 8S 1MRMQM^I XLI
     [LSPI                                                                                                         YRHIV 916% 7II  97'    
       97'-7 6IWTSRWI 97'-7 ETTVIGMEXIW                     7MKRMJMGERX )GSRSQMG -QTEGX SR 7QEPP
                                                             )RXMXMIW 'SRWMWXIRX ;MXL XLI 7XEXIH                     HIJMRMRK E JIHIVEP TVMZEXI WIGXSV
     XLIGSQQIRXIVWvMRTYX%W[ILEZI                                                                             QERHEXI EW MRXIV EPME E VIKYPEXMSR XLEX
     I\TPEMRIH MR SYV IEVPMIV VIWTSRWIW ERH                  3FNIGXMZIW SJ %TTPMGEFPI 7XEXYXIW
                                                             -RGPYHMRK E 7XEXIQIRX SJ XLI *EGXYEP                  MQTSWIW ER IRJSVGIEFPI HYX] YTSR XLI
     MR XLI VIKYPEXSV] EREP]WMW XLI VYPI QMKLX                                                                     TVMZEXI WIGXSV I\GITX JSV E HYX] EVMWMRK
     MQTEGX XLI XMQMRK YRHIV [LMGL EW]PYQ                    4SPMG] ERH 0IKEP 6IEWSRW JSV 7IPIGXMRK
                                                             XLI %PXIVREXMZI %HSTXIH MR XLI *MREP                   JVSQ TEVXMGMTEXMSR MR E ZSPYRXEV]
     WIIOIVW EVI EFPI XS IEVR PEFSV MRGSQI                                                                         *IHIVEP TVSKVEQ   97'   
     FYX MX HSIW RSX VIKYPEXI IQTPS]IVW -R                  6YPI ERH ;L] )EGL 3RI SJ XLI 3XLIV
                                                             7MKRMJMGERX %PXIVREXMZIW XS XLI 6YPI                   7MQMPEVP] ER] GSWXW SV XVERWJIV IJJIGXW
     XLI 2461 97'-7 EGORS[PIHKIH XLEX MJ                                                                           SR WXEXI ERH PSGEP KSZIVRQIRXW [SYPH
     GSQTERMIW GERRSX JMRH VIEWSREFPI                        'SRWMHIVIH F] XLI %KIRG] ;LMGL %JJIGX
                                                             XLI -QTEGX SR 7QEPP )RXMXMIW ;EW                       RSX VIWYPX JVSQ E QERHEXI YRHIV 916%
     WYFWXMXYXIW JSV XLI PEFSV XLI EW]PYQ                                                                           7II  97'     HIJMRMRK E
                                                             6INIGXIH
     ETTPMGERXW [SYPH LEZI TVSZMHIH XLIWI                                                                          JIHIVEP MRXIVKSZIVRQIRXEP QERHEXI EW
     GSQTERMIW [SYPH MRGYV GSWXW XLVSYKL                       (,7 MW RSX E[EVI SJ ER] EPXIVREXMZIW                 MRXIV EPME E VIKYPEXMSR XLEX MQTSWIW ER
     PSWX TVSHYGXMZMX] ERH TVSJMXW 2S                       XS XLI VYPI XLEX EGGSQTPMWL XLI WXEXIH                 IRJSVGIEFPI HYX] YTSR 7XEXI PSGEP SV
     GSQQIRXIVW GPEMQIH XLEX XLI VYPI                        SFNIGXMZIW ERH XLEX [SYPH QMRMQM^I XLI                 XVMFEP KSZIVRQIRXW I\GITX JSV E HYX]
     HMVIGXP] VIKYPEXIW SV HMVIGXP] MQTEGXW                  IGSRSQMG MQTEGX SJ XLI VYPI SR WQEPP                   EVMWMRK JVSQ TEVXMGMTEXMSR MR E ZSPYRXEV]
     WQEPP IRXMXMIW 8LI VYPI MW FIMRK EHSTXIH               IRXMXMIW EW XLMW VYPI MQTSWIW RS HMVIGX                *IHIVEP TVSKVEQ   97'   
     [MXLSYX QEXIVMEP GLERKI JVSQ XLI                        GSWXW SR WQEPP IRXMXMIW
     2461                                                                                                          ) )\IGYXMZI 3VHIV  *IHIVEPMWQ
                                                             ' 'SRKVIWWMSREP 6IZMI[ %GX
                                                                                                                      8LMW VYPI [SYPH RSX LEZI WYFWXERXMEP
       8LI 6IWTSRWI SJ XLI %KIRG] XS ER]                      8LI 3JJMGI SJ -RJSVQEXMSR ERH                        HMVIGX IJJIGXW SR XLI WXEXIW SR XLI
     'SQQIRXW *MPIH F] XLI 'LMIJ 'SYRWIP                     6IKYPEXSV] %JJEMVW LEW HIXIVQMRIH XLEX                 VIPEXMSRWLMT FIX[IIR XLI *IHIVEP
     JSV %HZSGEG] SJ XLI 7QEPP &YWMRIWW                      XLMW MW E QENSV VYPI EW HIJMRIH F]                   +SZIVRQIRX ERH XLI WXEXIW SV SR XLI
     %HQMRMWXVEXMSR MR 6IWTSRWI XS XLI                       97'  %GGSVHMRKP] EFWIRX                        HMWXVMFYXMSR SJ TS[IV ERH
     4VSTSWIH 6YPI ERH E (IXEMPIH                           I\GITXMSREP GMVGYQWXERGIW XLMW VYPI [MPP              VIWTSRWMFMPMXMIW EQSRK XLI ZEVMSYW
     7XEXIQIRX SJ ER] 'LERKI 1EHI XS XLI                     XEOI IJJIGX  HE]W EJXIV MXW TYFPMGEXMSR             PIZIPW SJ KSZIVRQIRX 8LIVIJSVI MR
     4VSTSWIH 6YPI MR XLI *MREP 6YPI EW E                    3R SV FIJSVI XLI HEXI SJ TYFPMGEXMSR                  EGGSVHERGI [MXL WIGXMSR  SJ )\IGYXMZI
     6IWYPX SJ XLI 'SQQIRXW                                  (,7 [MPP WYFQMX XS IEGL ,SYWI SJ
                                                                                                                    3VHIV  *IHIVEPMWQ  MX MW
       (,7 HMH RSX VIGIMZI GSQQIRXW SR                       'SRKVIWW ERH XLI 'SQTXVSPPIV +IRIVEP
                                                                                                                    HIXIVQMRIH XLEX XLMW VYPI HSIW RSX LEZI
     XLMW VYPI JVSQ 'LMIJ 'SYRWIP JSV                        XLI VITSVXW VIUYMVIH F]  97' 
                                                                                                                    WYJJMGMIRX JIHIVEPMWQ MQTPMGEXMSRW XS
     %HZSGEG] SJ XLI 7QEPP &YWMRIWW                          ( 9RJYRHIH 1ERHEXIW 6IJSVQ %GX SJ                     [EVVERX XLI TVITEVEXMSR SJ E JIHIVEPMWQ
     %HQMRMWXVEXMSR                                                                                            WYQQEV] MQTEGX WXEXIQIRX
       % (IWGVMTXMSR SJ ERH ER )WXMQEXI SJ                    8LI 9RJYRHIH 1ERHEXIW 6IJSVQ %GX                     * )\IGYXMZI 3VHIV  'MZMP .YWXMGI
     XLI 2YQFIV SJ 7QEPP )RXMXMIW XS ;LMGL                   SJ  916% VIUYMVIW IEGL JIHIVEP                     6IJSVQ
     XLI 6YPI ;MPP %TTP] SV ER )\TPEREXMSR                   EKIRG] XS TVITEVI E [VMXXIR WXEXIQIRX
                                                                                                                      8LMW VYPI QIIXW XLI ETTPMGEFPI
     SJ ;L] 2S 7YGL )WXMQEXI -W %ZEMPEFPI                    EWWIWWMRK XLI IJJIGXW SJ ER] JIHIVEP
                                                                                                                    WXERHEVHW WIX JSVXL MR WIGXMSRW  E ERH
        8LMW VYPI HMVIGXP] VIKYPEXIW TIRHMRK                 QERHEXI MR E TVSTSWIH SV JMREP EKIRG]
                                                                                                                     F  SJ )\IGYXMZI 3VHIV  'MZMP
     EW]PYQ ETTPMGERXW SV MRHMZMHYEPW                      VYPI XLEX QE] VIWYPX MR E  QMPPMSR SV
                                                                                                                    .YWXMGI 6IJSVQ 
     ETTP]MRK JSV [SVO EYXLSVM^EXMSR                        QSVI I\TIRHMXYVI EHNYWXIH ERRYEPP] JSV
     ,S[IZIV (,7 TVIWIRXW XLMW *6*% EW                      MRJPEXMSR MR ER] SRI ]IEV F] WXEXI PSGEP             + 4ETIV[SVO 6IHYGXMSR %GX
     XLI VYPI QE] MRHMVIGXP] MQTEGX WQEPP                    ERH XVMFEP KSZIVRQIRXW MR XLI EKKVIKEXI                9RHIV XLI 4ETIV[SVO 6IHYGXMSR %GX
     IRXMXMIW [LS MRGYV STTSVXYRMX] GSWXW F]                 SV F] XLI TVMZEXI WIGXSV 8LI ZEPYI                    SJ4YFPMG0E[zEPPEKIRGMIW
     LEZMRK XS GLSSWI XLI RI\X FIWX                          IUYMZEPIRX SJ  QMPPMSR MR                     EVI VIUYMVIH XS WYFQMX XS 31& JSV
     EPXIVREXMZI XS MQQIHMEXIP] JMPPMRK XLI NSF              EHNYWXIH JSV MRJPEXMSR XS  PIZIPW F]               VIZMI[ ERH ETTVSZEP ER] VITSVXMRK
     XLI EW]PYQ ETTPMGERX [SYPH LEZI JMPPIH                 XLI 'SRWYQIV 4VMGI -RHI\ -RJPEXMSR                     VIUYMVIQIRXW MRLIVIRX MR E VYPI 7II
     (,7 GERRSX VIPMEFP] IWXMQEXI LS[ QER]                   'EPGYPEXSV MW  QMPPMSR                        4YFPMG0E[z7XEX 1E]
                                                               7SQI TVMZEXI WIGXSV IRXMXMIW QE] MRGYV
     WQEPP IRXMXMIW QE] FI MRHMVIGXP]                                                                                  8LMW VYPI HSIW RSX MQTSWI ER]
                                                             E GSWX EW XLI] GSYPH FI PSWMRK XLI
     MQTEGXIH EW E VIWYPX SJ XLMW VYPI FYX                                                                         VITSVXMRK SV VIGSVHOIITMRK VIUYMVIQIRXW
                                                             TVSHYGXMZMX] ERH TSXIRXMEP TVSJMXW XLI
     (,7 FIPMIZIW XLI RYQFIV SJ WQEPP                                                                               YRHIV XLI 4ETIV[SVO 6IHYGXMSR %GX
                                                             EW]PYQ ETTPMGERX GSYPH LEZI TVSZMHIH
     IRXMXMIW HMVIGXP] VIKYPEXIH F] XLMW VYPI MW
                                                             LEH XLI EW]PYQ ETTPMGERX FIIR MR XLI                   , *EQMP] %WWIWWQIRX
     ^IVS
                                                             PEFSV JSVGI IEVPMIV )RXMXMIW QE] EPWS                   (,7 LEW EWWIWWIH XLMW EGXMSR MR
       % (IWGVMTXMSR SJ XLI 4VSNIGXIH                       MRGYV STTSVXYRMX] GSWXW F] LEZMRK XS                   EGGSVHERGI [MXL WIGXMSR  SJ XLI
     6ITSVXMRK 6IGSVHOIITMRK ERH 3XLIV                     GLSSWI XLI RI\X FIWX EPXIVREXMZI XS                    8VIEWYV] +IRIVEP %TTVSTVMEXMSRW %GX
     'SQTPMERGI 6IUYMVIQIRXW SJ XLI 6YPI                    MQQIHMEXIP] JMPPMRK XLI NSF XLI EW]PYQ                 4YFPMG0E[z(MZ%;MXL
     -RGPYHMRK ER )WXMQEXI SJ XLI 'PEWWIW SJ                 ETTPMGERX [SYPH LEZI JMPPIH -R WYGL                   VIWTIGX XS XLI GVMXIVME WTIGMJMIH MR
     7QEPP )RXMXMIW ;LMGL ;MPP &I 7YFNIGX XS                 MRWXERGIW 97'-7 HSIW RSX ORS[ MJ SV XS                WIGXMSR  G   (,7 LEW HIXIVQMRIH
     XLI 6IUYMVIQIRX ERH XLI 8]TI SJ                         [LEX I\XIRX XLMW [SYPH MQTEGX XLI                      XLEX XLI VYPI QE] HIPE] XLI EFMPMX] JSV
     4VSJIWWMSREP 7OMPPW 2IGIWWEV] JSV                       TVMZEXI WIGXSV FYX EWWIWWIW XLEX WYGL                 WSQI MRMXMEP ETTPMGERXW XS [SVO [LMGL
     4VITEVEXMSR SJ XLI 6ITSVX SV 6IGSVH                     MQTEGXW [SYPH VIWYPX MRHMVIGXP] JVSQ                   GSYPH HIGVIEWI HMWTSWEFPI MRGSQI SJ
       8LMW VYPI [SYPH RSX HMVIGXP] MQTSWI                      97 &YVIEY SJ 0EFSV 7XEXMWXMGW 'SRWYQIV
                                                                                                                    JEQMPMIW EW XLI PSWX GSQTIRWEXMSR XS
     ER] VITSVXMRK VIGSVHOIITMRK SV SXLIV                  4VMGI -RHI\ -RJPEXMSR 'EPGYPEXSV .ERYEV]  XS
                                                                                                                    EW]PYQ ETTPMGERXW GSYPH VERKI JVSQ
     GSQTPMERGI VIUYMVIQIRXW SR WQEPP                        .ERYEV]  EZEMPEFPI EX LXXTWHEXEFPWKSZGKM    QMPPMSR XS  QMPPMSR
     IRXMXMIW %HHMXMSREPP] XLMW VYPI [SYPH                 FMRGTMGEPGTP PEWX ZMWMXIH *IF               ERRYEPP] HITIRHMRK SR XLI [EKIW XLI


:IV(EXI 7IT "    .YR     .OX    43    *VQ    *QX    7JQX    )@*6@*1@.267+1   .26
                                                                                                                                      AR005581
                         *IHIVEP 6IKMWXIV  :SP  2S   1SRHE] .YRI    6YPIW ERH 6IKYPEXMSRW                                             

     EW]PYQ ETTPMGERX [SYPH LEZI IEVRIH                     EHNYHMGEXMSR TVSZMWMSR JSV )%(                         [SYPH RSX GVIEXI ER IRZMVSRQIRXEP VMWO
     *SV XLI VIEWSRW WXEXIH IPWI[LIVI MR XLMW                ETTPMGEXMSRW JMPIH F] EW]PYQ ETTPMGERXW               XS LIEPXL SV VMWO XS WEJIX] XLEX QMKLX
     VYPI LS[IZIV (,7 LEW HIXIVQMRIH XLEX                  ERH  XLI TVSZMWMSR VIUYMVMRK TIRHMRK                  HMWTVSTSVXMSREXIP] EJJIGX GLMPHVIR
     XLI FIRIJMXW SJ XLI EGXMSR NYWXMJ] XLI                  EW]PYQETTPMGERXWXSWYFQMX*SVQ-z                8LIVIJSVI (,7 LEW RSX TVITEVIH E
     TSXIRXMEP JMRERGMEP MQTEGX SR XLI JEQMP]               VIRI[EP ETTPMGEXMSRW  HE]W FIJSVI                    WXEXIQIRX YRHIV XLMW I\IGYXMZI SVHIV
     *YVXLIV XLI TSXIRXMEP JSV PSWX                         XLIMV IQTPS]QIRX EYXLSVM^EXMSR I\TMVIW
     GSQTIRWEXMSR HSIW RSX EGGSYRX JSV XLI                    '*6  E   H                                   2 )\IGYXMZI 3VHIV  %GXMSRW
     JEGX XLEX GSQTPMERGI [MXL XLI HE]                       8LMW VYPI GPIEVP] JEPPW [MXLMR                      'SRGIVRMRK 6IKYPEXMSRW 8LEX
     XMQIJVEQI MW RSX WYWXEMREFPI MR XLI PSRK               GEXIKSVMGEP I\GPYWMSRW RYQFIV % E MR                  7MKRMJMGERXP] %JJIGX )RIVK] 7YTTP]
     XIVQ EW (,7 LEW FIIR YREFPI XS QIIX                    -RWXzz6IZ%TTIRHM\%                 (MWXVMFYXMSR SV 9WI
     XLI HE] TVSGIWWMRK XMQIJVEQI MR                      8EFPI  uu4VSQYPKEXMSR SJ VYPIW                      )\IGYXMZI 3VHIV  VIUYMVIW
     GIVXEMR GEWIW IZIR [MXL EHHMXMSREP                      WXVMGXP] SJ ER EHQMRMWXVEXMZI SV                       EKIRGMIW XS GSRWMHIV XLI MQTEGX SJ VYPIW
     EHNYHMGEXMSR VIWSYVGIW                                 TVSGIHYVEPREXYVIvvERH% H JSVVYPIW               XLEX WMKRMJMGERXP] MQTEGX XLI WYTTP]
                                                             XLEX MRXIVTVIX SV EQIRH ER I\MWXMRK                    HMWXVMFYXMSR ERH YWI SJ IRIVK] (,7 LEW
     - )\IGYXMZI 3VHIV                                 VIKYPEXMSR [MXLSYX GLERKMRK MXW                        VIZMI[IH XLMW VYPI ERH HIXIVQMRIH XLEX
        8LMW VYPI HSIW RSX LEZI XVMFEP                       IRZMVSRQIRXEP IJJIGX *YVXLIV XLMW VYPI               XLMW VYPI [SYPH RSX LEZI E WMKRMJMGERX
     MQTPMGEXMSRW YRHIV )\IGYXMZI 3VHIV                      MW RSX TEVX SJ E PEVKIV EGXMSR ERH                     EHZIVWI IJJIGX SR XLI WYTTP]
      'SRWYPXEXMSR ERH 'SSVHMREXMSR                    TVIWIRXW RS I\XVESVHMREV] GMVGYQWXERGIW                HMWXVMFYXMSR SV YWI SJ IRIVK] 8LIVIJSVI
     [MXL -RHMER 8VMFEP +SZIVRQIRXW                         GVIEXMRK XLI TSXIRXMEP JSV WMKRMJMGERX                 XLMW VYPI HSIW RSX VIUYMVI E 7XEXIQIRX SJ
     FIGEYWI MX HSIW RSX LEZI E WYFWXERXMEP                  IRZMVSRQIRXEP IJJIGXW 8LIVIJSVI XLMW                 )RIVK] )JJIGXW YRHIV )\IGYXMZI 3VHIV
     HMVIGX IJJIGX SR SRI SV QSVI -RHMER                     VYPI MW GEXIKSVMGEPP] I\GPYHIH JVSQ                    
     XVMFIW SR XLI VIPEXMSRWLMT FIX[IIR XLI                 JYVXLIV 2)4% VIZMI[
     *IHIVEP +SZIVRQIRX ERH -RHMER XVMFIW                                                                          3 7MKREXYVI
     SV SR XLI HMWXVMFYXMSR SJ TS[IV ERH                     / 2EXMSREP 8IGLRSPSK] 8VERWJIV ERH
                                                             %HZERGIQIRX %GX                                          8LI %GXMRK 7IGVIXEV] SJ ,SQIPERH
     VIWTSRWMFMPMXMIW FIX[IIR XLI *IHIVEP                                                                           7IGYVMX] 'LEH * ;SPJ LEZMRK VIZMI[IH
     +SZIVRQIRX ERH -RHMER XVMFIW                             8LI 2EXMSREP 8IGLRSPSK] 8VERWJIV                     ERH ETTVSZIH XLMW HSGYQIRX MW
                                                             ERH %HZERGIQIRX %GX 288%%                            HIPIKEXMRK XLI EYXLSVMX] XS IPIGXVSRMGEPP]
     . 2EXMSREP )RZMVSRQIRXEP 4SPMG] %GX
      2)4%                                                   97'  RSXI HMVIGXW EKIRGMIW XS YWI                WMKR XLMW HSGYQIRX XS 'LEH 6 1M^IPPI
                                                             ZSPYRXEV] GSRWIRWYW WXERHEVHW MR XLIMV                 [LS MW XLI 7IRMSV 3JJMGMEP 4IVJSVQMRK
        (,7(MVIGXMZI (MV z6IZ                  VIKYPEXSV] EGXMZMXMIW YRPIWW XLI EKIRG]
     ERH-RWXVYGXMSR -RWX zz6IZ                                                                        XLI (YXMIW SJ XLI +IRIVEP 'SYRWIP JSV
                                                             TVSZMHIW 'SRKVIWW XLVSYKL 31& [MXL                   (,7 JSV TYVTSWIW SJ TYFPMGEXMSR MR XLI
      IWXEFPMWL XLI TSPMGMIW ERH TVSGIHYVIW                 ER I\TPEREXMSR SJ [L] YWMRK XLIWI
     XLEX (,7 ERH MXW GSQTSRIRXW YWI XS                                                                             *IHIVEP 6IKMWXIV
                                                             WXERHEVHW [SYPH FI MRGSRWMWXIRX [MXL
     GSQTP] [MXL 2)4% ERH XLI 'SYRGMP SR                     ETTPMGEFPI PE[ SV SXLIV[MWI MQTVEGXMGEP               0MWX SJ 7YFNIGXW MR  '*6 4EVX 
     )RZMVSRQIRXEP 5YEPMX] ')5                               :SPYRXEV] GSRWIRWYW WXERHEVHW EVI
     VIKYPEXMSRW JSV MQTPIQIRXMRK 2)4%                                                                             %HQMRMWXVEXMZI TVEGXMGI ERH
                                                             XIGLRMGEP WXERHEVHW IK WTIGMJMGEXMSRW               TVSGIHYVI %PMIRW -QQMKVEXMSR
     '*6TEVXWz                                   SJ QEXIVMEPW TIVJSVQERGI HIWMKR SV
        8LI ')5 VIKYPEXMSRW EPPS[ JIHIVEP                                                                           6ITSVXMRK ERH VIGSVHOIITMRK
                                                             STIVEXMSR XIWX QIXLSHW WEQTPMRK                      VIUYMVIQIRXW
     EKIRGMIW XS IWXEFPMWL [MXL ')5 VIZMI[                  TVSGIHYVIW ERH VIPEXIH QEREKIQIRX
     ERH GSRGYVVIRGI GEXIKSVMIW SJ EGXMSRW                  W]WXIQW TVEGXMGIW XLEX EVI HIZIPSTIH SV                  %GGSVHMRKP] (,7 EQIRHW TEVX  SJ
      uuGEXIKSVMGEPI\GPYWMSRWvv [LMGL                     EHSTXIH F] ZSPYRXEV] GSRWIRWYW                         GLETXIV - SJ XMXPI  SJ XLI 'SHI SJ *IHIVEP
     I\TIVMIRGI LEW WLS[R HS RSX                             WXERHEVH FSHMIW 8LMW VYPI HSIW RSX YWI                6IKYPEXMSRW EW JSPPS[W
     MRHMZMHYEPP] SV GYQYPEXMZIP] LEZI E                     XIGLRMGEP WXERHEVHW 8LIVIJSVI [I HMH
     WMKRMJMGERX IJJIGX SR XLI LYQER                                                                                4%68{463')(96)7*36
                                                             RSX GSRWMHIV XLI YWI SJ ZSPYRXEV]
     IRZMVSRQIRX ERH XLIVIJSVI HS RSX                                                                             %7=091 %2( ;-8,,30(-2+ 3*
                                                             GSRWIRWYW WXERHEVHW
     VIUYMVI ER )RZMVSRQIRXEP %WWIWWQIRX                                                                            6)13:%0
      )% SV )RZMVSRQIRXEP -QTEGX                             0 )\IGYXMZI 3VHIV 
     7XEXIQIRX )-7   '*6                                     8LMW VYPI [SYPH RSX GEYWI XLI XEOMRK                   8LI EYXLSVMX] GMXEXMSR JSV TEVX 
      F  MMM -RWXzz                                                                        GSRXMRYIW XS VIEH EW JSPPS[W
                                                             SJ TVMZEXI TVSTIVX] SV SXLIV[MWI LEZI
      6IZ  IWXEFPMWLIW 'EXIKSVMGEP                     XEOMRK MQTPMGEXMSRW YRHIV )\IGYXMZI                      %YXLSVMX]  97'   
     )\GPYWMSRW XLEX (,7 LEW JSYRH XS LEZI                   3VHIV  +SZIVRQIRXEP %GXMSRW ERH                     8MXPI :-- SJ 4YFPMG 0E[
     RSWYGLIJJIGX-RWXzz6IZ               -RXIVJIVIRGI [MXL 'SRWXMXYXMSREPP]                     z'*6TEVX
     %TTIRHM\%8EFPI-RWXzz                   4VSXIGXIH 4VSTIVX] 6MKLXW                               ?%QIRHIHA
     6IZ  VIUYMVIW XLI EGXMSR XS WEXMWJ]
     IEGL SJ XLI JSPPS[MRK XLVII GSRHMXMSRW                 1 )\IGYXMZI 3VHIV  4VSXIGXMSR SJ                    %QIRH   F]
       8LI IRXMVI EGXMSR GPIEVP] JMXW [MXLMR                'LMPHVIR *VSQ )RZMVSRQIRXEP ,IEPXL                        E -R TEVEKVETL E   VIQSZMRK XLI
     SRI SV QSVI SJ XLI GEXIKSVMGEP                          6MWOW ERH 7EJIX] 6MWOW                                 [SVHW uu-J XLI EW]PYQ ETTPMGEXMSR MW RSX
     I\GPYWMSRW  XLI EGXMSR MW RSX E TMIGI                   )\IGYXMZI 3VHIV  VIUYMVIW                       WS HIRMIH XLI 7IVZMGI WLEPP LEZI 
     SJ E PEVKIV EGXMSR ERH  RS                            EKIRGMIW XS GSRWMHIV XLI MQTEGXW SJ                    HE]W JVSQ XLI HEXI SJ JMPMRK SJ XLI
     I\XVESVHMREV] GMVGYQWXERGIW I\MWX XLEX                  IRZMVSRQIRXEP LIEPXL VMWO SV WEJIX] VMWO               VIUYIWX IQTPS]QIRX EYXLSVM^EXMSR XS
     GVIEXI XLI TSXIRXMEP JSV E WMKRMJMGERX                  XLEX QE] HMWTVSTSVXMSREXIP] EJJIGX                     KVERX SV HIR] XLEX ETTPMGEXMSR I\GITX
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                                                                                            Received: September 24, 2019
       PUBLIC SUBMISSION                                                                    Status: DoNotPost
                                                                                            Tracking No. 1k3-9ccw-b9kg
                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: API

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-DRAFT-0024
      Unrelated/PII Comment Submitted by Suyapa Guifarro



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      Submitter's Representative: TOS or
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      Government Agency Type: Local
      Government Agency: n/A


                                                      General Comment
      Suyapa Guifarro A 094-335-893 my last cad Exp 01/05/2018 I didnt renew 2018 I didnt have money for $650.00
      charges including the notary for the procedures live in the United States sep/16/1989 I do not have a felony but. I
      was have traffic tickets only one and 1 minor charge bat nothing more and I already page pay off now everything
      is going well and Im gonna fixes for my TPS I have TPS since 1998 to 2018 please lets me know how much
      money I have to pay to get my cad back my last cad # EAC1790104907 A094-335-893 Suyapa Guifarro 208-
      230-2273 phone #. / Birthday 01/31/1969 Imail guifarrothsn@gmail.com please give my information about this
      case please I live with my boyfriend for tree years but we not married I dont know if I married is necessary
      because we have plans to do in 2020 please contact me please please call me back please thank you so much
      chao




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       PUBLIC SUBMISSION                                                                    Status: DoNotPost
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                                                                                            Comments Due: November 08, 2019
                                                                                            Submission Type: API

      Docket: USCIS-2018-0001
      Removal of 30-Day Processing Provision for Form I-765 (c)(8) Employment Authorization Applications

      Comment On: USCIS-2018-0001-0001
      Removal of 30- Day Processing Provision for Asylum Applicant- Related Form I-765 Employment
      Authorization Applications

      Document: USCIS-2018-0001-DRAFT-0025
      Unrelated/PII Comment Submitted by Suyapa Guifarro



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      Government Agency Type: Federal
      Government Agency: BLM


                                                      General Comment
      See attached file(s) Suyapa Guifarro



                                                           Attachments
      Unrelated Comment Submitted by Suyapa Guifarrov




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